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                         Exhibit A
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


   CHRISTEPHER BATTS; CAROLYN
   BRAUN; VELMA COLEMAN; JOHNNY                    Case No. 4:22-cv-10685-SDK-CI
   SABBAG; and ASHA MAREDDY,
   individually and on behalf of all others        Hon. Shalina D. Kumar
   similarly situated,                             FIRST AMENDED CLASS
                                                   ACTION COMPLAINT
                       Plaintiffs,                 JURY TRIAL DEMANDED

         v.

   GANNETT CO.,


                       Defendant.

        Plaintiffs Christepher Batts (“Plaintiff Batts”), Carolyn Braun (“Plaintiff

  Braun”), Velma Coleman (“Plaintiff Coleman”), Johnny Sabbag (“Plaintiff

  Sabbag”), and Asha Mareddy (“Plaintiff Mareddy”) (collectively, “Plaintiffs”), on

  behalf of themselves and all others similarly situated, by and through their attorneys,

  make the following allegations pursuant to the investigation of their counsel and

  based upon information and belief, except as to allegations specifically pertaining to

  themselves and their counsel, which are based on personal knowledge.

                                     INTRODUCTION
        1.      Defendant Gannett Co. (“Gannett”) rented, exchanged, and/or

  otherwise disclosed detailed information about Plaintiffs’ USA Today newspaper
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  subscriptions to data aggregators, data appenders, data cooperatives, and list brokers,

  among others, which in turn disclosed their information to aggressive advertisers,

  political organizations, and non-profit companies. As a result, Plaintiffs have

  received a barrage of unwanted junk mail. By renting, exchanging, and/or otherwise

  disclosing Plaintiffs’ Private Reading Information (defined below) during the

  relevant pre-July 31, 2016 time period, 1 Gannett violated Michigan’s Preservation

  of Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4

  (Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1

  (Mich. 1989) (the “PPPA”).2

        2.      During the relevant pre-July 31, 2016 time period, numerous list

  brokers, data aggregators, data cooperatives, data brokers, and others, including but

  not limited to NextMark, Inc., acting as third party intermediaries on behalf of



  1
        The statutory period for this action is six years. See M.C.L. § 600.5813.
  2
         In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
  Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.).
  The May 2016 amendment to the PPPA, which became effective on July 31, 2016,
  does not apply retroactively to claims that accrued prior to its July 31, 2016 effective
  date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.
  2016) (holding that “the amendment to the [PP]PA does not apply to Plaintiffs’
  claims, and the Court will assess the sufficiency of those claims under the law as it
  was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S.
  224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior
  to the July 31, 2016 effective date of the amended version of the PPPA, the pre-
  amendment version of the PPPA applies in this case. See Horton v. GameStop,
  Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).
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  Gannett, offered to rent and in fact rented to numerous third parties access to mailing

  lists that contained the Personal Reading Information of all current and recently

  expired subscribers to USA Today.

        3.      By renting, exchanging, or otherwise disclosing the Private Reading

  Information of its Michigan-based subscribers during the relevant pre-July 31, 2016

  time period, Gannett violated the PPPA. Subsection 2 of the PPPA provides:

               [A] person, or an employee or agent of the person,
               engaged in the business of selling at retail, renting, or
               lending books or other written materials . . . shall not
               disclose to any person, other than the customer, a record
               or information concerning the purchase ... of those
               materials by a customer that indicates the identity of the
               customer.

  PPPA § 2.

        4.      Accordingly, Plaintiffs bring this First Amended Class Action

  Complaint against Gannett for its intentional and unlawful disclosure of its

  customers’ Private Reading Information in violation of the PPPA.

                              NATURE OF THE CASE

        5.      To supplement its revenues, Gannett rents, exchanges, or otherwise

  discloses its all of its customers’ information—including their full names, titles of

  publications subscribed to, and home addresses (collectively “Private Reading

  Information”), as well as myriad other categories of individualized data and

  demographic information such as gender and interests—to data aggregators, data


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  appenders, data cooperatives, and other third parties without the written consent of

  its customers, including during the relevant pre-July 31, 2016 time period.

        6.      By renting, exchanging, or otherwise disclosing – rather than selling –

  its customers’ Private Reading Information, Gannett is able to disclose the

  information time and time again to countless third parties.

        7.      Gannett’s disclosure of Private Reading Information and other

  individualized information is not only unlawful, but also dangerous because it allows

  for the targeting of particularly vulnerable members of society.

        8.      While Gannett profits handsomely from the unauthorized rental,

  exchange, and/or disclosure of its customers’ Private Reading Information and other

  individualized information, it does so at the expense of its customers’ statutory

  privacy rights (afforded by the PPPA) because Gannett does not obtain its

  customers’ written consent prior to disclosing their Private Reading Information.

                                       PARTIES

         9.     Plaintiff Christepher Batts is a natural person and citizen of the State

  of Michigan and resides in Southfield, Michigan. Plaintiff Batts was a subscriber to

  USA Today newspaper, including prior to July 31, 2016. USA Today newspaper is

  published by Gannett. While residing in, a citizen of, and present in Michigan,

  Plaintiff Batts purchased his subscription to USA Today newspaper directly from

  Gannett. Prior to and at the time Plaintiff Batts subscribed to USA Today, Gannett


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  did not notify Plaintiff Batts that it discloses the Private Reading Information of its

  customers, and Plaintiff Batts has never authorized Gannett to do so. Furthermore,

  Plaintiff Batts was never provided any written notice that Gannett rents, exchanges,

  or otherwise discloses its customers’ Private Reading Information, or any means of

  opting out. Since subscribing to USA Today, and during the relevant pre-July 31,

  2016 time period, Gannett disclosed, without the requisite consent or prior notice,

  Plaintiff Batts’s Private Reading Information to data aggregators, data appenders,

  and/or data cooperatives, who then supplement that information with data from their

  own files. Moreover, during that same period, Gannett rented or exchanged mailing

  lists containing Plaintiff Batts’s Private Reading Information to third parties seeking

  to contact Gannett subscribers, without first obtaining the requisite written consent

  from Plaintiff Batts or even giving him prior notice of the rentals, exchanges, and/or

  other disclosures.

         10.    Plaintiff Carolyn Braun is a natural person and citizen of the State of

  Michigan and resides in Thompsonville, Michigan. Plaintiff Braun was a subscriber

  to USA Today newspaper, including prior to July 31, 2016. USA Today newspaper

  is published by Gannett. While residing in, a citizen of, and present in Michigan,

  Plaintiff Braun purchased her subscription to USA Today newspaper directly from

  Gannett. Prior to and at the time Plaintiff Braun subscribed to USA Today, Gannett

  did not notify Plaintiff Braun that it discloses the Private Reading Information of its

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  customers, and Plaintiff Braun has never authorized Gannett to do so. Furthermore,

  Plaintiff Braun was never provided any written notice that Gannett rents, exchanges,

  or otherwise discloses its customers’ Private Reading Information, or any means of

  opting out. Since subscribing to USA Today, and during the relevant pre-July 31,

  2016 time period, Gannett disclosed, without the requisite consent or prior notice,

  Plaintiff Braun’s Private Reading Information to data aggregators, data appenders,

  and/or data cooperatives, who then supplement that information with data from their

  own files. Moreover, during that same period, Gannett rented or exchanged mailing

  lists containing Plaintiff Braun’s Private Reading Information to third parties

  seeking to contact Gannett subscribers, without first obtaining the requisite written

  consent from Plaintiff Braun or even giving her prior notice of the rentals,

  exchanges, and/or other disclosures.

         11.    Plaintiff Velma Coleman is a natural person and citizen of the State of

  Michigan and resides in Oak Park, Michigan. Plaintiff Coleman was a subscriber to

  USA Today newspaper, including prior to July 31, 2016. USA Today newspaper is

  published by Gannett. While residing in, a citizen of, and present in Michigan,

  Plaintiff Coleman purchased her subscription to USA Today newspaper directly from

  Gannett. Prior to and at the time Plaintiff Coleman subscribed to USA Today,

  Gannett did not notify Plaintiff Coleman that it discloses the Private Reading

  Information of its customers, and Plaintiff Coleman has never authorized Gannett to

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  do so. Furthermore, Plaintiff Coleman was never provided any written notice that

  Gannett rents, exchanges, or otherwise discloses its customers’ Private Reading

  Information, or any means of opting out. Since subscribing to USA Today, and

  during the relevant pre-July 31, 2016 time period, Gannett disclosed, without the

  requisite consent or prior notice, Plaintiff Coleman’s Private Reading Information to

  data aggregators, data appenders, and/or data cooperatives, who then supplement

  that information with data from their own files. Moreover, during that same period,

  Gannett rented or exchanged mailing lists containing Plaintiff Coleman’s Private

  Reading Information to third parties seeking to contact Gannett subscribers, without

  first obtaining the requisite written consent from Plaintiff Coleman or even giving

  her prior notice of the rentals, exchanges, and/or other disclosures.

         12.    Plaintiff Johnny Sabbag is a natural person and citizen of the State of

  Michigan and resides in Oak Park, Michigan. Plaintiff Sabbag was a subscriber to

  USA Today newspaper, including prior to July 31, 2016. USA Today newspaper is

  published by Gannett. While residing in, a citizen of, and present in Michigan,

  Plaintiff Sabbag purchased his subscription to USA Today newspaper directly from

  Gannett. Prior to and at the time Plaintiff Sabbag subscribed to USA Today, Gannett

  did not notify Plaintiff Sabbag that it discloses the Private Reading Information of

  its customers, and Plaintiff Sabbag has never authorized Gannett to do so.

  Furthermore, Plaintiff Sabbag was never provided any written notice that Gannett

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  rents, exchanges, or otherwise discloses its customers’ Private Reading Information,

  or any means of opting out. Since subscribing to USA Today, and during the relevant

  pre-July 31, 2016 time period, Gannett disclosed, without the requisite consent or

  prior notice, Plaintiff Sabbag’s Private Reading Information to data aggregators, data

  appenders, and/or data cooperatives, who then supplement that information with data

  from their own files.    Moreover, during that same period, Gannett rented or

  exchanged mailing lists containing Plaintiff Sabbag’s Private Reading Information

  to third parties seeking to contact Gannett subscribers, without first obtaining the

  requisite written consent from Plaintiff Sabbag or even giving him prior notice of

  the rentals, exchanges, and/or other disclosures.

         13.    Plaintiff Asha Mareddy is a natural person and citizen of the State of

  Michigan and resides in Northville, Michigan. Plaintiff Mareddy was a subscriber

  to USA Today newspaper, including prior to July 31, 2016. USA Today newspaper

  is published by Gannett. While residing in, a citizen of, and present in Michigan,

  Plaintiff Mareddy purchased her subscription to USA Today newspaper directly from

  Gannett. Prior to and at the time Plaintiff Mareddy subscribed to USA Today,

  Gannett did not notify Plaintiff Mareddy that it discloses the Private Reading

  Information of its customers, and Plaintiff Mareddy has never authorized Gannett to

  do so. Furthermore, Plaintiff Mareddy was never provided any written notice that

  Gannett rents, exchanges, or otherwise discloses its customers’ Private Reading

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   Information, or any means of opting out. Since subscribing to USA Today, and

   during the relevant pre-July 31, 2016 time period, Gannett disclosed, without the

   requisite consent or prior notice, Plaintiff Mareddy’s Private Reading Information to

   data aggregators, data appenders, and/or data cooperatives, who then supplement

   that information with data from their own files. Moreover, during that same period,

   Gannett rented or exchanged mailing lists containing Plaintiff Mareddy’s Private

   Reading Information to third parties seeking to contact Gannett subscribers, without

   first obtaining the requisite written consent from Plaintiff Mareddy or even giving

   her prior notice of the rentals, exchanges, and/or other disclosures.

          14.    Defendant Gannett Co. is a Delaware corporation with its headquarters

   and principal place of business in McLean, Virginia.          Gannett does business

   throughout Michigan and the entire United States. Gannett is the publisher of various

   newspapers across the country such as the Detroit Free Press, as well as its flagship

   publication USA Today.

                            JURISDICTION AND VENUE

         15.     This Court has subject matter jurisdiction over this civil action

   pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

   the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

   and costs, and at least one Class member is a citizen of a state different from

   Defendant.


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         16.     The Court has personal jurisdiction over Gannett because Plaintiffs’

  claims arose in substantial part from actions and omissions in Michigan, including

  from Plaintiffs’ purchases of USA Today subscriptions in Michigan, Gannett’s

  direction of such USA Today subscriptions into Michigan, and Gannett’s failure to

  obtain Plaintiffs’ written consent in Michigan prior to disclosing their Private

  Reading Information, including their residential addresses in Michigan, to other

  persons, the effects of which were felt from within Michigan by citizens and

  residents of Michigan. Personal jurisdiction also exists over Gannett in Michigan

  because Gannett conducts substantial business within Michigan, such that Gannett

  has significant, continuous, and pervasive contacts with the State of Michigan.

         17.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

  at least one of the Plaintiffs resides in this judicial District, Gannett does substantial

  business in this judicial District, and a substantial part of the events giving rise to

  Plaintiffs’ claims took place within this judicial District.

                              FACTUAL BACKGROUND

                   Michigan’s Preservation of Personal Privacy Act
         18.     In 1988, members of the United States Senate warned that records of

  consumers’ purchases and rentals of audiovisual and publication materials offer “a

  window into our loves, likes, and dislikes,” and that “the trail of information

  generated by every transaction that is now recorded and stored in sophisticated


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  record-keeping systems is a new, more subtle and pervasive form of surveillance.”

  S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and Leahy,

  respectively).

         19.       Recognizing the need to further protect its citizens’ privacy rights,

  Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

  purchase, rental, or borrowing of certain materials,” by prohibiting companies from

  disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988

  Mich. Legis. Serv. 378 (West).

         20.       Subsection 2 of the PPPA states:

               [A] person, or an employee or agent of the person,
               engaged in the business of selling at retail, renting, or
               lending books or other written materials . . . shall not
               disclose to any person, other than the customer, a record
               or information concerning the purchase . . . of those
               materials by a customer that indicates the identity of the
               customer.

  PPPA § 2 (emphasis added).

         21.       Michigan’s protection of reading information reflects the “gut feeling

  that people ought to be able to read books and watch films without the whole world

  knowing,” and recognizes that “[b]ooks and films are the intellectual vitamins that

  fuel the growth of individual thought. The whole process of intellectual growth is

  one of privacy—of quiet, and reflection. This intimate process should be protected

  from the disruptive intrusion of a roving eye.” S. Rep. No. 100–599, at 6 (Statement

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  of Rep. McCandless).

         22.     As Senator Patrick Leahy recognized in proposing the Video and

  Library Privacy Protection Act (later codified as the Video Privacy Protection Act,

  18 U.S.C. § 2710), “[i]n practical terms our right to privacy protects the choice of

  movies that we watch with our family in our own homes. And it protects the

  selection of books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

         23.     Senator Leahy also explained why choices in movies and reading

  materials are so private: “These activities . . . reveal our likes and dislikes, our

  interests and our whims. They say a great deal about our dreams and ambitions, our

  fears and our hopes. They reflect our individuality, and they describe us as people.”

  Id.

         24.     Michigan’s passage of the PPPA also established as a matter of law

  “that a person’s choice in reading, music, and video entertainment is a private matter,

  and not a fit subject for consideration by gossipy publications, employers, clubs, or

  anyone else for that matter.”      Privacy: Sales, Rentals of Videos, etc., House

  Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as

  Exhibit A).

         25.     Despite the fact that thousands of Michigan residents subscribe to

  Gannett’s     publications,   Gannett   disregarded   its   legal   responsibility   by

  systematically violating the PPPA.

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                         The Private Information Market:
                   Consumers’ Private Information Has Real Value

         26.    In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

  Swindle remarked that “the digital revolution . . . has given an enormous capacity

  to the acts of collecting and transmitting and flowing of information, unlike anything

  we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

  defined by the existing data on themselves.” 3

         27.    More than a decade later, Commissioner Swindle’s comments ring

  truer than ever, as consumer data feeds an information marketplace that supports a

  $26 billion dollar per year online advertising industry in the United States.4

         28.    The FTC has also recognized that consumer data possesses inherent

  monetary value within the new information marketplace and publicly stated that:

               Most consumers cannot begin to comprehend the types
               and amount of information collected by businesses, or why
               their information may be commercially valuable. Data is
               currency. The larger the data set, the greater potential for



  3
         Exhibit B, The Information Marketplace: Merging and Exchanging
  Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
  https://www.ftc.gov/sites/default/files/documents/public_events/information-
  marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
  July 30, 2021).
  4
          See Exhibit C, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
  http://online.wsj.com/article/SB10001424052748703529004576160764037920274
  .html (last visited July 30, 2021).

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               analysis—and profit. 5

         29.    In fact, an entire industry exists while companies known as data

  aggregators purchase, trade, and collect massive databases of information about

  consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

  information in an open and largely unregulated market. 6

         30.    The scope of data aggregators’ knowledge about consumers is

  immense: “If you are an American adult, the odds are that [they] know[] things like

  your age, race, sex, weight, height, marital status, education level, politics, buying

  habits, household health worries, vacation dreams—and on and on.”7

         31.    Further, “[a]s use of the Internet has grown, the data broker industry

  has already evolved to take advantage of the increasingly specific pieces of




  5
          Exhibit D, Statement of FTC Commissioner Pamela Jones Harbour (Dec.
  7, 2009), at 2, available at
  https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
  exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
  2021) (emphasis added).
  6
       See Exhibit E, Martha C. White, Big Data Knows What You’re Doing Right
  Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
  knows-what-youre-doing-right-now/ (last visited July 30, 2021).
  7
         Exhibit F, Natasha Singer, You for Sale: Mapping, and Sharing, the
  Consumer Genome, N.Y. Times (June 16, 2012), available at
  https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
  6S.pdf (last visited July 30, 2021).

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  information about consumers that are now available.”8

         32.     Recognizing the serious threat the data mining industry poses to

  consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

  Partisan Privacy Caucus sent a letter to nine major data brokerage companies

  seeking information on how those companies collect, store, and sell their massive

  collections of consumer data.9

         33.     In their letter, the co-Chairmen recognized that “[b]y combining data

  from numerous offline and online sources, data brokers have developed hidden

  dossiers on every U.S. consumer,” which “raises a number of serious privacy

  concerns.”10

         34.     Data aggregation is especially troublesome when consumer

  information is sold to direct-mail advertisers. In addition to causing waste and

  inconvenience, direct-mail advertisers often use consumer information to lure


  8
         Exhibit G, Letter from Senator John D. Rockefeller IV, Chairman, Senate
  Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
  Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
  http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
  4157-a97b-a658c3c3061c (last visited July 30, 2021).
  9
         See Exhibit H, Bipartisan Group of Lawmakers Query Data Brokers About
  Practices Involving Consumers’ Personal Information, Website of Senator Ed
  Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
  releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
  involving-consumers-personal-information (last visited July 30, 2021).
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         Id.
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  unsuspecting consumers into various scams, 11 including fraudulent sweepstakes,

  charities, and buying clubs. Thus, when companies like Gannett share information

  with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

  to the “[v]ast databases” of consumer data that are often “sold to thieves by large

  publicly traded companies,” which “put[s] almost anyone within the reach of

  fraudulent telemarketers” and other criminals.12

         35.    Information disclosures like those made by Gannett are particularly

  dangerous to the elderly. “Older Americans are perfect telemarketing customers,

  analysts say, because they are often at home, rely on delivery services, and are lonely

  for the companionship that telephone callers provide.” 13 The FTC notes that “[t]he

  elderly often are the deliberate targets of fraudulent telemarketers who take

  advantage of the fact that many older people have cash reserves or other assets to

  spend on seemingly attractive offers.”14 Indeed, an entire black market exists where


  11
        See Exhibit I, Prize Scams, Federal                  Trade Commission,
  http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).
  12
         Exhibit J, Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y.
  Times,            May           20,           2007,            available          at
  http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
  2021).
  13
         Id.
  14
      Exhibit K, Fraud Against Seniors: Hearing before the Senate Special
  Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
  at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
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  the private information of vulnerable elderly Americans is exchanged.

         36.       Thus, information disclosures like Gannett’s are particularly

  troublesome because of their cascading nature: “Once marked as receptive to [a

  specific] type of spam, a consumer is often bombarded with similar fraudulent offers

  from a host of scam artists.”15

         37.       Gannett is not alone in jeopardizing its subscribers’ privacy and well-

  being in exchange for increased revenue: disclosing subscriber information to data

  aggregators, data appenders, data cooperatives, direct marketers, and other third

  parties is a widespread practice in the publishing industry.

         38.       Thus, as consumer data has become an ever-more valuable

  commodity, the data mining industry has experienced rapid and massive growth.

  Unfortunately for consumers, this growth has come at the expense of their most

  basic privacy rights.

               Consumers Place Monetary Value on Their Privacy and
                Consider Privacy Practices When Making Purchases

         39.       As the data aggregation and cooperative industry has grown, so too

  have consumer concerns regarding the privacy of their information.

         40.       A recent survey conducted by Harris Interactive on behalf of


  statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
  visited July 30, 2021).
  15
         See id.
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  TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

  with companies who they believe do not protect their privacy online.16 As a result,

  81 percent of smartphone users polled said that they avoid using smartphone apps

  that they don’t believe protect their privacy online. 17

         41.    Thus, as consumer privacy concerns grow, consumers are increasingly

  incorporating privacy concerns and values into their purchasing decisions and

  companies viewed as having weaker privacy protections are forced to offer greater

  value elsewhere (through better quality and/or lower prices) than their privacy-

  protective competitors.

         42.    In fact, consumers’ private information has become such a valuable

  commodity that companies are beginning to offer individuals the opportunity to sell

  their information themselves.18

         43.    These companies’ business models capitalize on a fundamental tenet

  underlying the consumer information marketplace:           consumers recognize the


  16
        See Exhibit L, 2014 TRUSTe US Consumer Confidence Privacy Report,
  TRUSTe, http://www.theagitator.net/wp-
  content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
  30, 2021).
  17
         Id.
  18
         See Exhibit M, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
  Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
  http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
  price-on-their-personal-data.html (last visited July 30, 2021).
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  economic value of their private data. Research shows that consumers are willing to

  pay a premium to purchase services from companies that adhere to more stringent

  policies of protecting their data. 19

         44.     Thus, in today’s economy, individuals and businesses alike place a

  real, quantifiable value on consumer data and corresponding privacy rights. 20

         Gannett Unlawfully Rents, Exchanges, and Discloses Its Customers’
                           Private Reading Information

         45.     Gannett maintains a vast digital database comprised of its customers’

  Private Reading Information. Gannett discloses its customers’ Private Reading

  Information to data aggregators and appenders, who then supplement that

  information with additional sensitive private information about each Gannett

  customer, including his or her gender and interests.

         46.     Gannett then rents and/or exchanges its mailing lists—which include

  subscribers’ Private Reading Information identifying which individuals purchased


  19
          See Exhibit N, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
  Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
  254, 254 (2011); see also European Network and Information Security Agency,
  Study      on    monetising    privacy     (Feb.     27,     2012),    available at
  https://www.enisa.europa.eu/activities/identity-and-
  trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
  20
         See Exhibit O, Hann, et al., The Value of Online Information Privacy: An
  Empirical       Investigation     (Oct.     2003)       at     2,    available    at
  http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
  pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
  value online privacy. It is obvious that people value online privacy.”).
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  subscriptions to particular newspapers, and can include the sensitive information

  obtained from data aggregators and appenders—to other data aggregators and

  appenders, other consumer-facing businesses, non-profit organizations seeking to

  raise awareness and solicit donations, and to political organizations soliciting

  donations, votes, and volunteer efforts.

         47.    Gannett also discloses its customers’ Private Reading Information to

  data cooperatives, who in turn give Gannett access to their own mailing list

  databases.

         48.    As a result of Gannett’s data compiling and sharing practices,

  companies can purchase and/or obtain mailing lists from Gannett that identify

  Gannett’s customers by their most intimate details such as their gender and interests.

  Gannett’s disclosures of such sensitive and private information puts consumers,

  especially the more vulnerable members of society, at risk of serious harm from

  scammers.

         49.    Gannett does not seek its customers’ prior consent, written or

  otherwise, to any of these disclosures and its customers remain unaware that their

  Private Reading Information and other sensitive information is being rented and

  exchanged on the open market.

         50.    Consumers can sign up for subscriptions to Gannett’s publications

  through numerous media outlets, including the Internet, telephone, or traditional

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  mail. Regardless of how the consumer subscribes, Gannett never required the

  individual to read or affirmatively agree to any terms of service, privacy policy, or

  information-sharing policy during the relevant pre-July 31, 2016 time period.

  Consequently, during the relevant pre-July 31, 2016 time period, Gannett uniformly

  failed to obtain any form of consent from – or even provide effective notice to – its

  customers before disclosing their Private Reading Information.

         51.    As a result, Gannett disclosed its customers’ Private Reading

  Information – including their reading habits and preferences that can “reveal

  intimate facts about our lives, from our political and religious beliefs to our health

  concerns” 21 – to anybody willing to pay for it.

         52.    By and through these actions, Gannett has intentionally disclosed to

  third parties its Michigan customers’ Private Reading Information without consent,

  in direct violation of the PPPA.

                         CLASS ACTION ALLEGATIONS

         53.   Plaintiffs seek to represent a class defined as all Michigan residents

  who, at any point during the relevant pre-July 31, 2016 time period, had their Private

  Reading Information disclosed to third parties by Gannett without consent (the

  “Class”). Excluded from the Class is any entity in which Defendant has a controlling


  21
         Exhibit P, California’s Reader Privacy Act Signed into Law, Electronic
  Frontier Foundation (Oct. 3, 2011), https://www.eff.org/press/archives/2011/10/03
  (last visited July 30, 2021).
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  interest, and officers or directors of Defendant.

         54.   Members of the Class are so numerous that their individual joinder

  herein is impracticable. On information and belief, members of the Class number in

  the thousands. The precise number of Class members and their identities are

  unknown to Plaintiffs at this time but may be determined through discovery. Class

  members may be notified of the pendency of this action by mail and/or publication

  through the distribution records of Defendant.

         55.   Common questions of law and fact exist as to all Class members and

  predominate over questions affecting only individual Class members. Common

  legal and factual questions include, but are not limited to: (a) whether Gannett is a

  “retailer or distributor” of publications (i.e., newspapers); (b) whether Gannett

  obtained consent before disclosing to third parties Plaintiffs’ and the Class’s Private

  Reading Information; and (c) whether Gannett’s disclosure of Plaintiffs’ and the

  Class’s Private Reading Information violated the PPPA.

         56.   The claims of the named Plaintiffs are typical of the claims of the Class

  in that the named Plaintiffs and the Class suffered invasions of their statutorily

  protected right to privacy (as afforded by the PPPA) as a result of Defendant’s

  uniform wrongful conduct, based upon Defendant’s disclosure of Plaintiffs’ and the

  Class’s Private Reading Information.

         57.   Plaintiffs are adequate representatives of the Class because their

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  interests do not conflict with the interests of the Class members they seek to

  represent, they have retained competent counsel experienced in prosecuting class

  actions, and they intend to prosecute this action vigorously. The interests of Class

  members will be fairly and adequately protected by Plaintiffs and their counsel.

         58.    The class mechanism is superior to other available means for the fair

  and efficient adjudication of the claims of Class members. Each individual Class

  member may lack the resources to undergo the burden and expense of individual

  prosecution of the complex and extensive litigation necessary to establish

  Defendant’s liability. Individualized litigation increases the delay and expense to

  all parties and multiplies the burden on the judicial system presented by the complex

  legal and factual issues of this case. Individualized litigation also presents a potential

  for inconsistent or contradictory judgments. In contrast, the class action device

  presents far fewer management difficulties and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single court on

  the issue of Defendant’s liability. Class treatment of the liability issues will ensure

  that all claims and claimants are before this Court for consistent adjudication of the

  liability issues.

                               CAUSE OF ACTION
            Violation of Michigan’s Preservation of Personal Privacy Act
                                     (PPPA § 2)

         59.    Plaintiffs repeat the allegations contained in the foregoing paragraphs


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  as if fully set forth herein.

         60.    Plaintiffs bring this claim individually and on behalf of members of the

  Class against Defendant Gannett.

         61.    As a newspaper publisher that sells subscriptions to consumers, Gannett

  is engaged in the business of selling written materials at retail. See PPPA § 2.

         62.    By purchasing subscriptions to USA Today newspaper, each of the

  Plaintiffs purchased written materials directly from Gannett. See PPPA § 2.

         63.    Because each of the Plaintiffs purchased written materials directly from

  Gannett, they are each a “customer” within the meaning of the PPPA. See PPPA §

  1.

         64.    At various times during the pre-July 31, 2016 time period, Gannett

  disclosed Plaintiffs’ Private Reading Information, which identified each of them as

  a USA Today customer, in at least three ways.

         65.    First, Gannett disclosed mailing lists containing Plaintiffs’ Private

  Reading Information to data aggregators and data appenders, who then

  supplemented the mailing lists with additional sensitive information from their own

  databases, before sending the mailing lists back to Gannett.

         66.    Second, Gannett disclosed mailing lists containing Plaintiffs’ Private

  Reading Information to data cooperatives, who in turn gave Gannett access to their

  own mailing list databases.

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         67.   Third, Gannett rented and/or exchanged its mailing lists containing

  Plaintiffs’ Private Reading Information—enhanced with additional information

  from data aggregators and appenders—to third parties, including other consumer-

  facing companies, direct-mail advertisers, and organizations soliciting monetary

  contributions, volunteer work, and votes.

         68.   Because the mailing lists included the additional information from the

  data aggregators and appenders, the lists were more valuable, and Gannett was able

  to increase its profits gained from the mailing list rentals and/or exchanges.

         69.   By renting, exchanging, or otherwise disclosing its customer lists,

  during the relevant pre-July 31, 2016 time period, Gannett disclosed to persons other

  than Plaintiffs records or information concerning their purchases of written materials

  from Gannett. See PPPA § 2.

         70.   The information Gannett disclosed indicates Plaintiffs’ names and

  addresses, as well as the fact that they subscribed to USA Today. Accordingly, the

  records or information disclosed by Gannett indicated Plaintiffs’ identities. See

  PPPA § 2.

         71.   Plaintiffs and the members of the Class never consented to Gannett

  disclosing their Private Reading Information to anyone.

         72.   Worse yet, Plaintiffs and the members of the Class did not receive

  notice before Gannett disclosed their Private Reading Information to third parties.

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         73.   Gannett’s disclosures of Plaintiffs’ and the Class’s Private Reading

  Information during the relevant pre-July 31, 2016 time period were not made

  pursuant to a court order, search warrant, or grand jury subpoena.

         74.   Gannett’s disclosures of Plaintiffs’ and the Class’s Private Reading

  Information during the relevant pre-July 31, 2016 time period were not made to

  collect payment for their subscriptions.

         75.   Gannett’s disclosures of Plaintiffs’ Private Reading Information during

  the relevant pre-July 31, 2016 time period were made to data aggregators, data

  appenders, data cooperatives, direct-mail advertisers, and organizations soliciting

  monetary contributions, volunteer work, and votes—all in order to increase

  Gannett’s revenue. Accordingly, Gannett’s disclosures were not made for the

  exclusive purpose of marketing goods and services directly to Plaintiffs and the

  members of the Class.

         76.   By disclosing Plaintiffs’ and the Class’s Private Reading Information

  during the relevant pre-July 31, 2016 time period, Gannett violated Plaintiffs’ and

  the Class’s statutorily protected right to privacy in their reading habits. See PPPA §

  2.

         77.   As a result of Gannett’s unlawful disclosure of their Private Reading

  Information, Plaintiffs and the members of the Class have suffered invasions of their

  statutorily protected right to privacy (afforded by the PPPA).         On behalf of

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  themselves and the Class, Plaintiffs seek: (1) $5,000.00 to each of the Plaintiffs and

  each Class member pursuant to PPPA § 5(a); and (2) costs and reasonable attorneys’

  fees pursuant to PPPA § 5(b).

                                PRAYER FOR RELIEF
         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

  situated, seek a judgment against Defendant as follows:

                A.     For an order certifying the Class under Rule 23 of the
                       Federal Rules of Civil Procedure and naming Plaintiffs as
                       representatives of the Class and Plaintiffs’ attorneys as
                       Class Counsel to represent the Class;

                B.     For an order declaring that Defendant’s conduct as
                       described herein violated the Preservation of Personal
                       Privacy Act;

                C.     For an order finding in favor of Plaintiffs and the Class on
                       all counts asserted herein;

                D.     For an award of $5,000 to each of the Plaintiffs and each
                       Class member, as provided by the Preservation of Personal
                       Privacy Act, PPPA § 5(a);

                E.     For prejudgment interest on all amounts awarded; and

                F.     For an order awarding Plaintiffs and the Class their
                       reasonable attorneys’ fees and expenses and costs of suit.


                                    JURY DEMAND

         Plaintiffs demand a trial by jury on all causes of action and issues so triable.




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  Dated: July 29, 2022                  Respectfully submitted,

                                        CHRISTEPHER BATTS, CAROLYN
                                        BRAUN, VELMA COLEMAN, JOHNNY
                                        SABBAG & ASHA MAREDDY

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                                        Counsel for Plaintiffs and the Putative Class

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                            CERTIFICATE OF SERVICE

         I, E. Powell Miller, an attorney, hereby certify that on July 29, 2022, I served

  the above and foregoing on all counsel of record by filing it electronically with the

  Clerk of the Court using the CM/ECF filing system.

                                          /s/ E. Powell Miller
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  B.     The Information Marketplace: Merging and Exchanging Consumer Data
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  C.     Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011)

  D.     Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7, 2009)

  E.     Martha C. White, Big Data Knows What You’re Doing Right Now,
         TIME.com (July 31, 2012)

  F.     Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer
         Genome, N.Y. Times (June 16, 2012)

  G.     Letter from Senator John D. Rockefeller IV, Chairman, Senate Committee
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         Executive Officer, Acxiom (Oct. 9, 2012)

  H.     Bipartisan Group of Lawmakers Query Data Brokers About Practices
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         (July 24, 2012)

  I.     Prize Scams, Federal Trade Commission

  J.     Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y. Times,
         May 20, 2007

  K.     Fraud Against Seniors: Hearing before the Senate Special Committee on
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  L.     2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe

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             1                       FEDERAL TRADE COMMISSION

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             6                            Public Workshop:

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            10                    THE INFORMATION MARKETPLACE:

            11               MERGING AND EXCHANGING CONSUMER DATA

            12

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            15                             March 13, 2001

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            19                       Federal Trade Commission

            20                 6th and Pennsylvania Avenue, N.W.

            21                            Washington, D.C.

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             4     Opening Remarks

             5        By Chairman Pitofsky                                  3

             6        By Commissioner Swindle                               6

             7        By Commissioner Thompson (video)                     14

             8     One:       Merger & Exchange of Consumer

             9                Data:   An Overview                          18

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            11                Where does it come from?                     51

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             1                        P R O C E E D I N G S

             2                        -    -    -     -      -     -

             3                MR. WINSTON:     Let me introduce myself, I'm

             4     Joel Winston, Acting Associate Director for

             5     Financial Practices at the FTC, and I want to

             6     welcome all of you to the Federal Trade Commission,

             7     and give a special greeting to those people who are

             8     listening in on our audiocast on the website,

             9     ftc.gov.

            10                Now, there are several members of the

            11     Commission who are going to be giving some opening

            12     remarks this morning, and I would like to introduce

            13     first Chairman Robert Pitofsky.               Chairman Pitofsky

            14     has served as chairman of the FTC since April of

            15     1995, and he will be beginning the proceedings.

            16     Mr. Chairman?

            17                CHAIRMAN PITOFSKY:          Good morning, everyone,

            18     and welcome to another of the Federal Trade

            19     Commission's workshops.          This one, we have entitled

            20     The Information Marketplace:             Merger and Exchange

            21     of Consumer Data.

            22                I don't think I have to belabor the point

            23     with this audience that privacy, especially privacy

            24     in the commercial marketplace, is and remains a

            25     very important issue.


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             1               If you take polls, you find today, just as

             2     you did three and four years ago, that somewhere

             3     between 88 and 92 percent of consumers when asked

             4     what their concerns were about doing business,

             5     buying online, will say that they have

             6     reservations, and think it's not a secure

             7     marketplace.      They're not giving their credit card

             8     online without having some knowledge of how it's

             9     going to be used.

            10               As a result, you now have, I think, just

            11     since Congress reconvened, something like a dozen

            12     bills addressing various issues relating to privacy

            13     in the commercial context.

            14               But let me position this workshop.            We are

            15     not looking for enforcement targets for companies

            16     that may be invading unfairly or deceptively

            17     consumer rights, and we're not looking for

            18     legislative proposals.

            19               This is another kind of workshop, and it's

            20     like many that we've conducted in the past five or

            21     six years.     We're trying to find out in a new area,

            22     a fast-changing dynamic area, what's going on, so

            23     that we are informed about the kind of issues that

            24     eventually we'll be called upon to address.

            25               We did that with our earliest privacy


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             1     workshops, just to find out how personally

             2     identifiable information was collected and whether

             3     or not it was being sold.         We did it with

             4     profiling, more recently B2B commerce on the

             5     Internet, and wireless technologies.

             6                In this instance, we would like to be able

             7     to take the measure of the extent and the ways in

             8     which firms exchange information and data that

             9     create consumer profiles; not necessarily only the

            10     information the firm collects itself, but

            11     information that someone else collects that then

            12     becomes merged into a firm's database.

            13                How is that information used commercially?

            14     Is it used commercially?         And if so, in what

            15     fashion?     What is the source of the data?           Is it

            16     mostly online, is it offline, is it a combination

            17     of the two?      Does it come from public records,

            18     private records, a combination of the two?

            19                We know that the ability of firms to

            20     collect data has been enhanced dramatically over

            21     the last five to ten years, and what we want to

            22     find out is how it's being used so that down the

            23     road we can spot issues.         It is an

            24     information-gathering enterprise.            It is not

            25     designed at the end of the day, at the end of these


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             1     sessions, to come up with policy proposals.

             2               We have no predisposition on this.            My own

             3     view, as some of you have heard me say before, is

             4     that this kind of enterprise is what Congress had

             5     in mind in 1914 when it created a Federal Trade

             6     Commission.      Not just law enforcement, but a group

             7     that would try to work with the business community,

             8     with consumers, and others, to understand new and

             9     emerging dynamic trends in the economy.

            10               That is what we've been about over the last

            11     five or six years.        We've tried to restore that

            12     tradition, and I certainly feel that this workshop

            13     moves in that direction.

            14               We have a wide variety of people here today

            15     who represent the business community, the consumer

            16     community, academics, and others, and if history is

            17     any guide, we will at the end of the day have

            18     learned a good deal from each other.

            19               With that, we'll receive some words on

            20     video from my colleague, Mozelle Thompson, but

            21     while that's being set up, let me introduce my

            22     colleague and friend, Commissioner Orson Swindle.

            23               COMMISSIONER SWINDLE:        Thank you very much,

            24     Chairman Pitofsky.        I would like to welcome you all

            25     here, and before I forget it, the last couple of


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             1     days in preparation for this, Bruce Jennings and

             2     his crew of youngsters around here have been

             3     scurrying in about 9,000 different directions

             4     making all this come together.           Wires have been

             5     dragged all over the building and I think we've got

             6     a good set-up here, and this will be recorded for

             7     posterity and hopefully there won't be too much

             8     blood on the floor when it's all over, but it's a

             9     delight to see you all.

            10               I know so many of the organizations that

            11     are represented here, you have a vital interest in

            12     this, certainly from a personal perspective of your

            13     business, but we are all, as the chairman says,

            14     grasping to understand.         And I would hope that we

            15     would view this process here today, as we have in

            16     previous workshops, as the Chairman mentioned, as a

            17     learning process in which we listen and offer our

            18     suggestions from time to time, but mostly we listen

            19     to you, the practitioners, and try to get a better

            20     understanding of what we're all about and what

            21     we're doing here with this very controversial -- is

            22     that a good word to describe it -- but the issue of

            23     information flow and its effects and the concerns

            24     that various and sundry people have today in the

            25     consumer population or in business population.


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             1               I do want to welcome you all here today.

             2     The use of third party information from public

             3     records, information aggregators and even

             4     competitors for marketing has become a major

             5     facilitator of our retail economy.

             6               Even Chairman Greenspan suggested here some

             7     time ago that it's something on the order of the

             8     life blood, the free flow of information.              This was

             9     made even more clearly by a new study released

            10     yesterday by the Privacy Leadership Initiative and

            11     the ISEC Council of the DMA.

            12               The study made it clear that consumer

            13     prices would increase if public policy

            14     significantly limited the flow of data into catalog

            15     marketing and sales.        At the same time, the digital

            16     revolution, both online and offline, has given an

            17     enormous capacity to the acts of collecting and

            18     transmitting and flowing of information, unlike

            19     anything we've ever seen in our lifetimes.

            20               Obviously the debate has been furious over

            21     the appropriateness of these data flows, this

            22     passage of information from one entity to another.

            23               The perceived harm that this data flow

            24     causes and what the appropriate remedies might be.

            25     As we all know, we've had a heavy debate on privacy


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             1     going on now for at least three years, I've been

             2     here three years, and it was going on even before I

             3     arrived.

             4                I believe that issues related to the real

             5     harm that might be caused are well addressed by

             6     existing laws, but now we need to explore issues

             7     related to customer or consumer and business

             8     entities or the seller and the buyer, if you will.

             9                It is also useful to note that the digital

           10      revolution has revolutionized the knowledge that

           11      the buyer has about the marketplace.            Buyers today

           12      are more informed than they have ever been ever

           13      before.     The information age and information

           14      technology is literally changing the way every one

           15      of us does business, the way we conduct our lives,

           16      how we pick and choose, and certainly this

           17      information flow has made the buyer far more

           18      informed.

           19                 It is crystal clear that there have been

           20      quantitative and qualitative changes in the

           21      marketplace, and the manner in which information is

           22      made available and used.

           23                 There are real benefits in this for both

           24      consumers and businesses, from these changes.

           25      There are also changes in the way we all interact


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             1     with each other.       More of the interaction is being

             2     defined by data and less by each of us based on

             3     what we reveal about ourselves.

             4               The FTC has traditionally dealt with harm

             5     that comes from bad actors and market failures.

             6     The issues being raised today don't necessarily

             7     fall easily into either of those categories.              Such

             8     as the challenge that we face.

             9               Productivity gains are well documented and

           10      the new technology, as I said earlier, is changing

           11      the way we do everything.         However, there is a

           12      great trust deficit in existence out there now.

           13      The public has concerns about the private sector's

           14      ability to govern information use, or manage that

           15      information that they happen to have on people.              At

           16      the same time, the same observations will tell you

           17      that the public has great concern as to what the

           18      government does with the information it has.

           19                And I would contend that we might ought to

           20      be a little bit more concerned about what the

           21      government is doing than the private sector, but

           22      nevertheless, we've got a great distrust going here

           23      between the consumers who more and more today

           24      understand the value of their information, and what

           25      goes on around them.


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             1               We therefore have a dilemma.          The use of

             2     information drives our economy, I think that's

             3     pretty well established.         That includes information

             4     to make sales, marketing and customer service more

             5     efficient, and more effective.          The information

             6     flow allows businesses to build the right product,

             7     deliver it at the right time, to the right place,

             8     to the right address, and meet the demands, unique

             9     as they are, among all consumers, carefully

           10      tailored to them.       That I would suggest most

           11      consumers would say not a bad deal.

           12                However, this increased use of information

           13      about people creates consumer concerns.            The public

           14      is concerned about the potential misuse of the

           15      information, and individuals are concerned about

           16      being defined by the existing data on themselves.

           17                This is a huge misunderstanding deficit

           18      that parallels and matches the trust deficit.

           19      Consumer education has lagged market changes driven

           20      by new technology.       Government is behind the new

           21      technology changes, too, as we've all noted.

           22                Consumers struggle to understand the

           23      technology itself, not just in the ways in which a

           24      technology is used in the marketplace, I'm still

           25      wrestling with my ISP, I was about to use a name


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             1     there, but I won't.       I'm having so much trouble

             2     with it, I don't want to defame the country at this

             3     point in time, but I'm having trouble with the

             4     technology itself, not to mention the information

             5     flow.

             6                Today's workshop is a great opportunity to

             7     begin to bridge this learning gap and this trust

             8     and misunderstanding or untrust and understanding

             9     deficit.     We're here today to gather facts and

           10      begin to understand the flows of data that support

           11      marketing and customer service.

           12                 This should increase our understanding of

           13      the benefits of the free flow of information, and

           14      to begin to understand the level of real harm, to

           15      whatever degree it might exist, related to

           16      information use.

           17                 And perhaps we have an opportunity to ease

           18      the fears that are related to that emotion of fear

           19      of the unknown.      I would suggest, plead with,

           20      counsel all participants to please leave your

           21      emotions at the doorway.

           22                 This session today, folks, please, is not

           23      about sound bites, it's not about exposing people

           24      in public, it is about learning and sharing what we

           25      each know and how we go about doing what we are


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             1     concerned with, and understanding how to balance

             2     legitimate privacy concerns and economic and social

             3     benefits.

             4               Remember, today's objective is to learn, to

             5     explore, and perhaps start to identify so we can

             6     put our hands on it, some policy approaches that

             7     are balanced in their -- they're balanced in a

             8     sense that they balance the consumer's interest in

             9     choice and economic opportunity, they balance the

           10      consumer's interest in not being harmed by security

           11      breaches and data misuse, they're balanced in the

           12      sense that they respect the consumer's interest in

           13      choosing when to not participate in a market, and

           14      also the other side of the coin, so to speak, is

           15      business interest in serving all markets in a most

           16      effective and efficient and, quite frankly,

           17      profitable way that they can. That's what you are

           18      our free enterprise system is all about.

           19                I thank you again for joining us.           This is

           20      an important session.        Perhaps it's the first of

           21      several important sessions on the very subject,

           22      because I think we have a lot to learn and we

           23      appreciate you coming here and being a part of our

           24      family and helping us learn more, learn faster, and

           25      hopefully, as I always say, helping us to look


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             1     before we leap.      Thank you very much.

             2               (Applause.)

             3               COMMISSIONER THOMPSON:        Good morning.      I

             4     would like to join the Chairman in welcoming you to

             5     the FTC for this important workshop on the

             6     Information Market Place.

             7               As he mentioned, today we will all be

             8     sharing what we know about the topic of Merging and

             9     Exchanging Consumer Data.         It's no secret, for

           10      example, that the Federal Trade Commission has been

           11      long talking about issues dealing with personal

           12      data and privacy.

           13                I think that today we will be talking about

           14      how the issues raised with data collection converge

           15      when we're talking about an online and offline

           16      environment.

           17                At present, there are some real reasons to

           18      distinguish those two classes of information, in

           19      light of the speed and the manner in which

           20      information is collected.         But I also recognize

           21      that, as a practical matter, it doesn't make sense

           22      for consumers and businesses to view separate

           23      protocols for online and offline data collection.

           24                So, I would encourage industry and

           25      consumers to work together to formulate practical


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             1     solutions that foster consumer confidence.

             2               But there will also be some important other

             3     questions that you'll be dealing with today about

             4     issues like legacy data, information that was

             5     collected before there was an online environment,

             6     and, also, how information changes -- does the

             7     character really change when you have offline data,

             8     including public information that's merged with

             9     online data and made available in a mode like on

           10      the internet.

           11                I look forward to hearing your

           12      presentations and hope that you'll enjoy the day.

           13                Thank you very much for coming.

           14                MR. WINSTON:      Before we get started, I have

           15      a few ground rules and announcements to make.              The

           16      first one I approach a little bit gingerly, but I

           17      have been asked to ask all of you to turn off your

           18      cell phones.     I'm just the bearer of bad tidings

           19      here.    Apparently there's some feedback between the

           20      cell phones and our equipment, and it's messing

           21      everything up, so if you could please turn off your

           22      cell phones.

           23                Also, I would like to remind our panelists

           24      that because we have so much ground to cover today,

           25      we're going to try to hold you to the time limits


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             1     that we've discussed with you previously.             We're

             2     going to give you a one-minute warning before your

             3     time elapses, and then when your time is up, we're

             4     going to gently encourage you to conclude your

             5     remarks.     If that doesn't work, we have someone

             6     with a hook who's going to come out and kind of

             7     pull you away, but if you could try to stay within

             8     the time limits.

             9                Also, it's our practice in our workshops to

           10      invite the audience to ask questions of the

           11      panelists, if time permits, at the end of each

           12      panel.     But, again, because we have so much ground

           13      to cover, I'm going to ask the questioners to limit

           14      themselves to asking questions and not to make any

           15      statements for the record.

           16                 Which brings me to my last announcement,

           17      and that is that the record of this workshop is

           18      going to remain open for 30 days, until April 13th,

           19      so that anyone who wants to file something, a

           20      comment or other materials, for the record, and for

           21      the Commission's consideration, can do so.             The

           22      instructions for filing these post workshop

           23      comments are available on our website at

           24      www.ftc.org.     So, I encourage you all of you to

           25      participate in that process.          Dotgov, I'm sorry,


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             1     somebody gave me the wrong web address here, okay.

             2     Anyway, I encourage you all to submit comments if

             3     you like.

             4                Now we're ready for our first panel, in

             5     which Professor Mary Culnan of Bentley College will

             6     lead a discussion designed to provide an overview

             7     of the flow of data through the information

             8     marketplace.     Professor Culnan is the Slade

             9     Professor of Management and Information Technology

           10      at Bentley College in Waltham, Massachusetts, where

           11      she teaches and conducts research on information

           12      privacy.     She is the author of the 1999 Georgetown

           13      Internet Privacy Policy Survey, and was a member of

           14      the FTC's Advisory Committee on Access and

           15      Security.     And Professor Culnan will introduce the

           16      members of her panel.

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             1                               SESSION ONE:

             2               MERGER & EXCHANGE OF CONSUMER DATA:

             3                                AN OVERVIEW

             4                 -      -       -      -    -    -     -

             5                MS. CULNAN:         Thank you, Joel, and thank

             6     you to the FTC for inviting me to participate in

             7     this workshop.         It's going to be a terrific day.

             8               One comment about our session.          We were

             9     instructed we're not going to have Q&A at the end

           10      of our session, because we're just providing an

           11      overview, so I didn't want you to think that we're

           12      cutting off the flow of discussion arbitrarily.

           13                What we are going to do today is we're

           14      going to talk you through a slide, which I'm going

           15      to put up here, and which you also have in your

           16      packet.    Because the other two people are going to

           17      be having their own slides.

           18                We're going to talk you through this 30,000

           19      foot view of profiling to set up the rest of the

           20      day's sessions.         And so, if we skim over a topic

           21      that you think we should have gone into in more

           22      detail, you will hear about this in more detail in

           23      the other sessions later on today.

           24                We're going to focus primarily on the

           25      compilers, the third party organizations that


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             1     collect, slice and dice and then resell consumer

             2     data (but these firms do not have a direct

             3     relationship with consumers), rather than focusing

             4     on the profiling that's done by individual firms

             5     with their own customer data.

             6               And for the purpose of simplicity, we're

             7     also not going to talk about co-op databases, which

             8     fall into the category of third party organizations

             9     that collect information on customers, because

           10      there's such a small number of these systems, but

           11      for some of the things that we're going to talk

           12      about, they also fall into our slide.

           13                So, let me first introduce our two

           14      panelists.     First is Johnny Anderson, who is the

           15      president and CEO of Hot Data, Incorporated.              He

           16      has over 30 years of technology industry

           17      experience, holding executive and management

           18      positions at e2 Software Corporation, Saber

           19      Software Corporation, Novell, Excelan and Digital

           20      Equipment.

           21                Our second speaker is Lynn Wunderman, who

           22      is the President and CEO of I-Behavior,

           23      Incorporated.      Prior to founding I-Behavior, she

           24      was the founding partner of Wunderman, Sadh &

           25      Associates, which is a consulting firm specializing


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             1     in information-based marketing services for both

             2     consumers and B2B marketers in the financial

             3     services, high-tech graphic arts, non-profit and

             4     Internet industries, and President and Chief

             5     Operating Officer of Marketing Information

             6     Technologies, a company providing database services

             7     for major Internet and Fortune 100 companies.              She

             8     currently serves on the Internet committee of the

             9     board of directors of the Direct Marketing

           10      Association.

           11                So, what we've done, we've divided the

           12      slides into thirds.       I'm going to discuss the first

           13      part which is on the left, this is the consumer

           14      part where consumers generate information in our

           15      daily lives that ends up in a compiler's database.

           16      Johnny Anderson is going to discuss the middle part

           17      of what goes on in the compiler's black box, and

           18      Lynn is going to discuss the third part on the

           19      right, how compiled data is used to generate offers

           20      to consumers, both prospects and consumers.

           21                And then as you can see, our picture begins

           22      and ends with the consumer, which is an important

           23      point I think.

           24                After I attended my first DMA convention

           25      and went through the exhibits, I came away


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             1     convinced that anything anybody does puts you on

             2     somebody's mailing list or you end up as a record

             3     in somebody's database.        And the slide shows some

             4     of the main ways that this can happen.

             5                First of all, all of us generate a number

             6     of public records, depending on the kinds of

             7     activities we engage in.         Some of these include

             8     personally identifiable information such as

             9     property records, which do have our name and

           10      address attached to them, or telephone directories

           11      or other directories, and then there's public

           12      records that have nonpersonally identifiable

           13      information in them such as census records.

           14                 And compilers can acquire this information

           15      in two ways.     First they can acquire it directly

           16      from the source, so they could buy the records from

           17      the state or local government.          Or they may acquire

           18      the information from a second firm, such as

           19      Claritas, that acquires this information and does

           20      some analytics on it and then generates geographic

           21      and demographic profiles that do not include

           22      personally identifiable information but can be

           23      overlaid on top of a record that does have an

           24      address.

           25                 And in fact there was an example of this


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             1     information in yesterday's Washington Post, if you

             2     happened to see this, of talking about Fairfax

             3     County, Virginia that has the highest average

             4     family income in the United States.           And inside the

             5     article, they talked about the different lifestyle

             6     segmentation profiles that are represented by the

             7     people who live in Fairfax County.

             8               For example, they said 22 percent of the

             9     people who live in Fairfax County are in The

           10      Winner's Circle, that's the name of the profile, or

           11      Executive Suburban Families, age 35 to 64,

           12      household income is $90,700 a year, and these

           13      people are most likely to have a passport, shop at

           14      Ann Taylor and read Epicurean Magazine.

           15                So, this will give you a flavor of how this

           16      information is used to, again, help companies

           17      understand who their customers or their prospective

           18      customers are.

           19                A second source of information is surveys,

           20      such as warranty cards or marketing surveys that

           21      could include questions about what people's product

           22      preferences are across a whole range of different

           23      kinds of products, their life styles, their

           24      hobbies, and their demographics.

           25                The third way that the information can end


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             1     up in a compiler's database is that people sign up

             2     for mailing lists, and I was thinking about this as

             3     I read the Sunday paper and, you know, there are

             4     cards that fall out of the Sunday magazine where

             5     you can request information on various topics.

             6               Or people who order things by mail, or you

             7     request information, call an 800 number, sign up

             8     for something online, enter a sweepstakes or a

             9     contest, and these types of things will put you on

           10      a mailing list.

           11                Well, mailing lists may be made available

           12      directly, without going through a compiler, either

           13      by the firm itself or more likely through a list

           14      broker who is going to manage the mailing list on

           15      behalf of the firm that owns the list.            And that

           16      can end up with targeted offers to prospective

           17      customers.

           18                Or some of the information may end up in

           19      the compiler's database, and go into subsequent

           20      uses that we'll hear about.

           21                And then, finally, down at the bottom, we

           22      see the customer database, and when consumers

           23      establish a customer relationship with an

           24      organization, with a business, they end up in the

           25      customer database.       And I think this is not a big


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             1     surprise to everybody.

             2               And then that firm can generate new

             3     targeted offers to its current customers.             I think

             4     people expect this to happen, but we're also going

             5     to hear how compilers can help these firms generate

             6     new offers to their customers, better target these

             7     offers and help these firms do cross marketing of

             8     new products and services.

             9               So now Johnny will talk about what goes on

           10      in the middle of the picture.

           11                MR. ANDERSON:      Good morning.      My name is

           12      Johnny Anderson, I'm Chief Executive at Hot Data.

           13      How Data is an infomediary that connects customer

           14      relationship management marketing automation

           15      systems to sources of both household information on

           16      consumers, and business information about

           17      businesses, and provides a complete set of data

           18      quality and standardization services for both

           19      small, medium and large-sized businesses.

           20                I'm going to spend a little time and talk

           21      about the kinds of information that's collected,

           22      how it gets compiled into a database, and then gets

           23      delivered into a marketer's, end user's, database.

           24                But first I want to kind of digress.            I've

           25      looked at some of the other slide shows, and a lot


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             1     of the topics are going to be hit.           I really want

             2     to digress and talk about why people are -- why

             3     marketers are interested in this kind of

             4     information to begin with.

             5               Building a data warehouse and collecting

             6     this kind of information is a massive undertaking,

             7     and very expensive.       What's the payback, and what

             8     are businesses looking for out of taking third

             9     party information and merging that in with their

           10      in-house information?

           11                If you think about commerce, if you think

           12      back, all the way back to the middle ages when

           13      commerce really first started.          The buyers and

           14      sellers knew each other.         There was a one-to-one

           15      relationship.      Even up into the beginning of the

           16      last century, people knew -- the storekeepers knew

           17      who their customers were.

           18                After World War II and the mobilization of

           19      America, and the move from urban centers into

           20      suburban centers, and the creation of the now

           21      shopping mall, merchants now lost track of who

           22      their customers are.        They don't know who buys

           23      products anymore.

           24                So, merchants really spend a lot of time

           25      doing product level analysis to figure out who


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             1     bought the stinky cheese, and what stinky cheese

             2     purchases drove what other kind of purchases.

             3               The change in the new economy, and the

             4     evolution of the Internet now has really empowered

             5     consumers with information, and has broken down a

             6     lot of the geographic boundaries in terms of, I

             7     have to travel to a mall to purchase something.

             8               This has already been broken down quite a

             9     bit with the direct marketing and catalog

           10      industries, but now with the Internet, people now

           11      have a lot of information.

           12                So, it is now dependent on -- a business'

           13      dependence on success is now leveraged by what kind

           14      of service they can deliver.          And to deliver that

           15      service, they again have to know who their

           16      customers are.

           17                So, you really look at all of the kinds of

           18      information that's available so that businesses can

           19      get a complete 360-degree view of their customers

           20      to be able to understand them not only in the

           21      context of their own transaction that may have

           22      taken place, but also what the likes and dislikes

           23      of that customer are.

           24                So, when you really look at the kind of

           25      information that's available, it really falls down


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             1     into three categories.        There's the geographic

             2     information, or where you live, and that kind of

             3     information is really address data, quality of the

             4     address, standardized to the Post Office's

             5     standards, what's the bar code for the address, but

             6     also includes information like what MSA that

             7     address is in, what census tract that address is

             8     in, and important things like latitude, longitude

             9     and geocoding, which are really used by businesses

           10      to do things like drive time analysis, and trade

           11      area analysis.

           12                But one of the first segmentations, at

           13      least in the retail industries, and now in the

           14      telecom industries, is where do you -- where do

           15      people live and how far are they likely to travel

           16      to get to one of my retail locations.

           17                The second is really the demographic

           18      information, and the collection and the detail of

           19      this will really be talked about a lot in panel

           20      number 2, but that's things like name, address and

           21      phone number, at a very basic level, but also

           22      reported and modeled information around a person's

           23      income level, what their marital status is, whether

           24      they buy by mail, whether they're a credit card

           25      user, whether they own their own home or not,


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             1     information about what you're like.

             2               And then the third piece is really the

             3     psychographic information, and that's really what

             4     you like, what your life style indicators are, and

             5     that's where a lot of the compiled information

             6     comes in from, lists and surveys, to determine what

             7     somebody's propensity to buy a specific kind of

             8     product is.     And those are indicators that could be

             9     that you're an outdoors enthusiast, a gardening

           10      book reader, dot, dot, dot, there are a number of

           11      different life style indicators.

           12                So, how is that information merged into one

           13      particular database?        Data compilers really look to

           14      those three sources and do a very complex job of

           15      extraction, transformation and loading of that

           16      data.    And that data is bought from public sources,

           17      and that could be things like tax records, home

           18      owner information, up until recently motor vehicle

           19      information was used, and in some states, even

           20      driver's license information.

           21                But that information is reported

           22      information that's public record that's brought

           23      into the database.       Self reported data really

           24      drives a lot of the demographic and psychographics,

           25      and that's information from surveys and warranty


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             1     cards and registrations.

             2               And then information from mail lists, and

             3     that is I'm -- I have a wooden boat, I subscribe to

             4     Wooden Boat Magazine.        If I subscribe to Wooden

             5     Boat Magazine, there is a great likelihood that I

             6     am likely to buy products for wooden boats.

             7               So, affinity modeling and propensity

             8     scoring is really driven by the self-reported data

             9     from both subscriptions and product registrations.

           10                That information is matched based on name

           11      and address, so that there's really a view of a

           12      consumer that takes into account all of those

           13      different kinds of data sources.           And then there's

           14      some additional modeling that's done on top of

           15      that, based on scientific samples and surveys,

           16      different kinds of models are put into place for

           17      specific vertical industries.

           18                Not every industry is interested in the

           19      same kind of consumer information.           A telecom

           20      merchant is not interested in the same kind of

           21      information that a retailer is interested in.

           22                So, modeling is done based on a set of

           23      attributes that's been collected to be able to put

           24      together things for financial services and other

           25      industries.     And then the output of that


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             1     information really goes to two sources.

             2               One is the data enhancement source, in that

             3     I have a customer database of people that have come

             4     to my company from a number of different sources,

             5     could be a customer that signed up for a frequent

             6     buyer program at a retail location, could be a

             7     customer that's come to me at a trade show or sent

             8     back a business reply card, or a customer that's

             9     walked into one of my retail locations.

           10                The customer that's in my database, so I'm

           11      really looking for information that's outside my

           12      organization so I can understand that customer

           13      better.

           14                And the second is the targeted lists, and

           15      that is really if I've done some analysis in terms

           16      of what my best customer looks like, give me some

           17      more prospects that I can market that look just

           18      like those folks.       I don't know who they are yet,

           19      and in most cases those targeted lists are going to

           20      go to a mail house who is going to get a mail drop,

           21      and I won't know who they are, until they respond

           22      to that direct mail campaign and come back into my

           23      database.

           24                And then they'll go into the normal process

           25      of my selling process inside my customer database.


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             1               So, there will be a lot of detailed talk

             2     about both the collection of data in the second

             3     panel, and then the use and kind of how the

             4     technology drives some of the business models for

             5     the use of that data in the third panel a little

             6     bit later on.

             7               So, with that, let me turn it over to Lynn,

             8     and let her talk about some of the internal uses of

             9     data.

           10                MS. CULNAN:     Thank you, Johnny.

           11                MS. WUNDERMAN:      Bear with me just one

           12      second here.     Thank you.

           13                Well, I've been asked to spend the next 15

           14      minutes talking to you about the end user

           15      applications that have evolved really over the last

           16      two to three decades, so it might be a little

           17      tight, but we're going to do the best we can.

           18                I'm going to start where Johnny left off,

           19      which is to help you understand how this kind of

           20      compiled data really brings a name and address

           21      record to life for a marketer.

           22                Now, this is a real, live consumer record

           23      off of a compiled database.         I can attest to it

           24      because it's me, it's the Wunderman household at 94

           25      Mercer Avenue in Hartsdale, New York.            I have


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             1     signed a release so that my data can be made public

             2     here today.     But just from that information, we can

             3     now geocode this record and find out its census

             4     block group, attach all the geographic information

             5     available for the census, as well as we can now

             6     construct a match code, which you see here on the

             7     right side of the screen.         That match code is the

             8     link to the compiled database by which we overlay

             9     the demographic and the psychographic information

           10      that Johnny was just earlier describing to you.

           11                Now, what happens when we do that?           This is

           12      pretty much what you get, on the Wunderman

           13      household, a fairly distinct profile of a

           14      relatively affluent middle-aged, suburban couple,

           15      dotes on their dog, is extremely mail responsive,

           16      somewhat techno savvy and lives pretty much a

           17      high-end, fairly active life style.

           18                Now, I can tell you this is a pretty

           19      accurate record.       There are two things they missed

           20      here.    They missed the registration on my husband's

           21      antique motorcycle, okay.         They are off by one

           22      category on our income; that's okay with me if it's

           23      okay with the IRS.

           24                But why do we want this data?          Why do we

           25      want this information?        As Johnny said before, it's


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             1     not because we're being nosy, it's because we're

             2     looking to establish and build a relationship with

             3     a consumer.

             4               Now, Webster defines a relationship as a

             5     connection, a bonding or a contract, and the way we

             6     build relationships for marketing purposes is

             7     really no different than the way we establish and

             8     nurture relationships in real life.           I mean, we do

             9     it through data, whether it's by factual

           10      information or observation, we're looking to

           11      establish some common ground by which we can create

           12      a meaningful, relevant communication to gain that

           13      connection.

           14                Now, I will tell you that the way it's done

           15      by general advertisers is different from the way we

           16      do it as direct marketers.         In fact, it's the exact

           17      opposite.

           18                As a general advertiser, I'm looking for

           19      large numbers of people with something in common.

           20      Maybe I'm targeting women, 25 to 49, maybe some

           21      broad-based income qualifier.          I'm going to talk to

           22      them based on what it is these women have in

           23      common.     Or at least I think they have in common.

           24                Now, the issue is just because these are

           25      women largely of child-bearing age doesn't


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             1     necessarily mean they have kids, but when I'm

             2     spending $7 to $10 a thousand to reach them on TV

             3     or maybe $20 to $30 a thousand to reach them in

             4     print, I can afford to have a certain amount of

             5     misses there.

             6               But it's very different when you're a

             7     direct marketer.       I may be spending $500 or $1,000

             8     a thousand to reach somebody at an individual or at

             9     a household level.

           10                So, I'm going to be much more stringent and

           11      rigorous when I look at and evaluate the success of

           12      that communication.       I'm not looking for soft

           13      measures like awareness or reach and frequency, I'm

           14      looking for that household to take a specific

           15      action, and I'm going to valuate the cost

           16      efficiency of that action based on return on

           17      investment.

           18                So, I've got to be much more precise in my

           19      ability to target that household and develop a

           20      meaningful, relevant communication so I can capture

           21      their attention and do it quickly.

           22                So, we've learned over the years as direct

           23      marketers a very important principle over the

           24      years, and that is that people's differences are

           25      more important than their similarities.


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             1               Now, what do I mean by that concept?            I

             2     mean that what it is when you're studying a group

             3     that sets them apart from everybody else is more

             4     important than what it is that the people in that

             5     group have in common with each other.

             6               So, the differences are more important than

             7     their similarities, and they respond better when

             8     those differences are recognized.

             9               Now, here's what I mean by differences.

           10      It's all the data we've been talking about.             It

           11      might be geographic, could be climate, market size,

           12      it might be demographic, life stage or life stage

           13      change, you know, maybe I just got a new spouse,

           14      got a new house, got a new baby, preferably in that

           15      order.

           16                It could be psychographic information,

           17      hobbies and interests we've been talking about, or

           18      it could be your purchase history.           Now, we haven't

           19      talked a lot about that, but that purchase history

           20      could be self reported that I got off of some kind

           21      of a survey, or it could be the purchase history

           22      that a marketer captures and utilizes in their own

           23      database.

           24                And normally when we talk about this, we

           25      talk about the recency, the frequency, the monetary


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             1     value segments as a marketer.          And I will tell you

             2     this is incredibly powerful information from a

             3     segmentation standpoint.

             4                So, I might talk to you differently if

             5     you're a new customer versus a tenured customer.

             6     I'll not only talk to you differently, but I'll

             7     invest differentially if you're a high-value versus

             8     a low-value customer, and I'll have an entirely

             9     different contact strategy, frequency of the kind

           10      of offers I'm going to send you, if I happen to

           11      know that you're a loyal customer as opposed to a

           12      competitive switcher.

           13                 Now, as I said, this behavioral information

           14      is incredibly important to marketers, and it works

           15      terrificly, if you have it.         But you don't always

           16      have it.     I mean, it's great if I'm talking to a

           17      group of customers that have been with me a long

           18      time and I have a lot of data on those people, it's

           19      an established product, it's a proven offer, but

           20      what do I do in a situation when I'm trying to

           21      attract new prospects into the base?            I don't have

           22      a lot of data about their purchase behavior,

           23      particularly about what they're buying from my

           24      competitors.

           25                 What about if I'm trying to spend on my new


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             1     customers based on their potential to become

             2     high-value customers every time.           Not much there in

             3     my database about these people.          Or if I've got

             4     some test market results that I've done with new

             5     offers, new products, I know in aggregate how

             6     people are likely to respond, but I've got to think

             7     about who do I target with those offers because I

             8     don't have that response information on everybody

             9     in my database.

           10                So, what do we do?       We use surrogate data.

           11      We use surrogate data as a bridge to help us be

           12      able to apply that behavioral information to

           13      another universe.

           14                Now, the most important data that we tend

           15      to use as surrogates is this compiled information

           16      we're talking about today, because there's a very

           17      important criterion that data has to be as

           18      available on the target audience that I'm studying

           19      as the application universe that I'm applying it

           20      to.   And the compiled data is virtually available

           21      on just about every household in the U.S.

           22                So, what I am going to do is I am going to

           23      use my behavioral data in my own customer database

           24      to define a target.       I'm then going to use the

           25      bridge data, the compiled data to describe the


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             1     target and create a profile, and then I'm going to

             2     use that profile to help me find lookalikes in some

             3     larger application base.

             4               So, let me show you schematically how this

             5     works.    I'm a marketer and I have defined a target

             6     as my high-value customers, however I define it,

             7     profits, revenues, purchase frequency, et cetera.

             8     And my goal is that I'm looking to identify

             9     prospects in the population who have a high

           10      potential to become high-value customers every

           11      time, I want to track them into my base.

           12                So what do I do?       I'm going to study how do

           13      these high-value buyers look different from

           14      everybody else in the U.S.?         And the data I'm going

           15      to use to do that is all the demographic

           16      information, the psychographic information, and I

           17      will tell you the coverage on the psychographics

           18      does not tend to be as large as some of the other

           19      data, so it doesn't often enter these statistical

           20      analyses, but we use it and we see if it's

           21      predictive.     The geographic data and the census

           22      information, all to help me understand what is it

           23      about this group that makes it look different from

           24      everybody else.

           25                I'm going to overlay statistical tools so


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             1     that I can really quantify which of these

             2     differences are statistically significant in

             3     identifying this target.         I'm going to look at the

             4     interaction and the relative weight or strength of

             5     those variables, and I'm going to apply it back to

             6     a broader universe, in this case, the U.S.

             7     population.

             8               Every household gets this -- every

             9     household gets a score, excuse me, and the highest

           10      scores are the most likely to generate and to

           11      exhibit that target behavior.          Those at the bottom

           12      are least likely to become your high-value

           13      customer, and this is nothing more than a planning

           14      tool.    Okay, I'm going to penetrate that universe

           15      of U.S. population based on my volume objectives,

           16      my budget limitations, whatever.

           17                Now, I think it's important for you to

           18      understand as we talk about these concepts, where

           19      the predictive value of that data comes from.

           20      Okay, and I promise, no formulas, you don't need to

           21      be -- have a degree in applied statistics, it's a

           22      very simplistic example.

           23                I'm just going to use marital status and

           24      I'm only going to give it two values.            So, here I

           25      am studying my high value-customers, all right, and


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             1     I'm looking at them and I see well, big deal,

             2     they're just as likely to be married as they are to

             3     be single, that doesn't tell me much of anything,

             4     does it?     How do I target anything based on this

             5     information, how do I talk to them based on this

             6     data?

             7                Well, guess what?      I compared them to the

             8     U.S. population, and they're twice as likely to be

             9     single as the rest of the population at large.

           10      Now, take this predictive value, multiply it times

           11      another half dozen to a dozen variables, you start

           12      to see where the power of these statistical tools

           13      comes from.

           14                 So, how do we use these tools?         Well, we

           15      use them to help drive differential contact

           16      strategies.     Who do we target, when do we target

           17      them, how do we target them so that we're more

           18      efficiently reaching them with more relevant

           19      communications across the entire life cycle of the

           20      customer.     From acquisition to value stimulation,

           21      all the way to eventual retention and

           22      re-activation.

           23                 So, for instance, I'm going to rank my

           24      customer database based on this information, and

           25      I'm going to spend differentially based on the


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             1     probability of these people being high-value

             2     customers, the repeat sales, cost sale, up sale,

             3     I'm also going to apply it as well to my customer

             4     information applications.         Maybe I'm even going to

             5     develop new services for high priority customers.

             6               I can overlay this data on any vertical or

             7     apply it out from a compiled database, I can use

             8     this for direct sale or regeneration offers.              Also

             9     remember, that because this tool is developed at an

           10      individual household level, I can aggregate it back

           11      up to any level of geography.

           12                So, for local support programs where

           13      there's a retail trading area or there's a sales

           14      territory, it become a very useful tool to

           15      prioritize differential media and households for

           16      these purposes.

           17                It's easy to apply them to any form of

           18      addressable media, those that are available today,

           19      such as selective binding, addressable cable and

           20      satellite, some of the Internet applications you

           21      can hear about later this afternoon, and those

           22      that, you know, we've hardly thought about in the

           23      future, wireless, interactive television and things

           24      that haven't even been invented yet today.

           25                And these tools can also be used as a


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             1     planning template, we can bridge them into

             2     syndicated research bases, such as Scarborough,

             3     MRI, Simmons, Nielsen, and help us optimize the

             4     value of our mass media, of our print and our

             5     broadcast spending.

             6               So, all of this is based on our study of a

             7     high potential end user.

             8               So, what does this do for us in the end?             I

             9     mean, basically it helps marketers invest their

           10      marketing dollars smarter, more efficiently

           11      reaching customers across virtually every channel,

           12      and for consumers, it means hopefully you receive

           13      more of the offers you want, and fewer of the

           14      offers that you don't.        And that to us is a win-win

           15      for everybody.      Thank you.

           16                MS. CULNAN:     We've got a lot of time left,

           17      we've got about 25 minutes.         What would you like us

           18      to do?

           19                MS. ALLISON BROWN:       Do you want to take

           20      questions?

           21                MS. CULNAN:     Sure, we'll take questions.

           22      We changed our minds, we'll take some questions.

           23      And there's a microphone over here, so I think

           24      Jason Catlett has a question.

           25                And then if you would address your question


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             1     to one of the panelists, if that's your preference,

             2     please do so.

             3               MR. CATLETT:      May I address it to you,

             4     ma'am?

             5               MS. CULNAN:     You may.

             6               MR. CATLIN:     Hello, this is called the

             7     bleeding edge of technology.          Well, I don't think

             8     it's doing anything, but I'm going to hold it here

             9     anyway.

           10                Mary, you said that you were not going to

           11      address co-op databases on the basis that there are

           12      so few of them.      And I think that's like saying

           13      we're not going to address suppliers of Windows

           14      operating systems because there are so few of them.

           15      The dominant co-op database, Abacus Direct, really

           16      has enormous influence, and I think it's a model

           17      different to but very relevant here.

           18                So, could you take a minute to describe

           19      what co-op databases do?

           20                MS. CULNAN:     I may punt this to one of the

           21      panelists who have more experience.           I will say one

           22      thing, for those people that are interested in

           23      co-op databases, and particularly in Abacus Direct,

           24      their data dictionary is on the DoubleClick

           25      website, so if you go to doubleclick.com and you


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             1     click on Abacus, you can see exactly what kind of

             2     information they have acquired, and I think

             3     probably it's a really good example of

             4     transparency, assuming you know to go there and

             5     look for the data.

             6               So, because Lynn is actually running a

             7     co-op database, and again, it's not that we didn't

             8     want to talk about these because we didn't want to

             9     hide anything, but because we were doing the broad

           10      overview, we decided as a panel it would confuse

           11      things, thinking our talks would take longer if we

           12      went off and then couldn't fit it all into the

           13      slide.

           14                MS. WUNDERMAN:      I do promise that we will

           15      spend some time this afternoon talking about the

           16      co-op database model, and specifically about my

           17      company, I-Behavior, unless there's something

           18      specific to these applications that you would like

           19      to talk about now.

           20                I mean, I could go into the concept of

           21      co-op database, it's going to be a little redundant

           22      this afternoon.

           23                MR. CATLETT:      Why don't you spend 30

           24      seconds describing a co-op database.

           25                MS. WUNDERMAN:      A co-op database is formed


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             1     when marketers share their customer names and

             2     related buying information in order to gain access

             3     to names of qualified prospects as well as

             4     additional data on their customers that might

             5     otherwise be unavailable for them to market and to

             6     build their business.

             7               So, if we had, I don't know, Mary, if you

             8     could put back your first slide.

             9               MS. CULNAN:     Sure.

           10                MS. WUNDERMAN:      I mean, basically with a

           11      co-op database, if we move the consumer aside to

           12      the right and we were to create another box, what

           13      you would see is the customer databases, the

           14      compiled data would all come into a co-op database

           15      and we would have a consolidation of many customer

           16      files from marketers, publishers, catalogers,

           17      e-tailers, et cetera, all going into one database

           18      as well as it would be overlaid with the

           19      demographic or the psychographic as well as the

           20      census data we've been talking about earlier, all

           21      to form a positive record.         And that is the rich

           22      behavioral and demographic base upon which

           23      marketers would be able to do selections from that

           24      file.

           25                MR. CATLETT:      Thank you.


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             1               MS. CULNAN:     One difference I think it's

             2     important to point out, you have to be a partner in

             3     the co-op database.

             4               MS. WUNDERMAN:      Yes, you do.

             5               MS. CULNAN:     You have to put data in in

             6     order to take advantage of the data that's there,

             7     as opposed to the compiled databases where

             8     basically there's no relationship between

             9     contributing data to the database and being able to

           10      acquire data from the compiler.

           11                MS. WUNDERMAN:      Yes, and I will also say

           12      that generally that there's notification to the

           13      consumer about sharing data with trusted third

           14      parties as well as the online component, there are

           15      privacy protections as well.

           16                MS. CULNAN:     Anybody else?      There's a

           17      question toward the back.

           18                MR. TUROW:     Would you talk just a little

           19      bit about the way databases get purged, based not

           20      just on what consumers want, but also recency and

           21      the decision that certain things become obsolete

           22      and how those criteria are determined?

           23                MS. WUNDERMAN:      I want to make sure that I

           24      understand your question.         You're asking, you know,

           25      I think on -- in terms of if I have information in


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             1     a customer database about an individual's purchase

             2     behavior and over time that that data is no longer

             3     relevant?     Is that --

             4               MR. TUROW:     Yeah, how do you decide -- how

             5     do you decide at what point you purge those

             6     particular data like your sports car.            Maybe you

             7     decided to get more conservative about the car and

             8     somebody has not picked it up, do you have any kind

             9     of criteria to which to purge certain kinds of data

           10      after a certain amount of time, based on certain

           11      other criteria?

           12                MS. WUNDERMAN:      Let me say something about

           13      the compiled data and its value, because they're

           14      not going to be always 100 percent accurate.              I

           15      mean, you saw even my income on my own personal

           16      record was not accurate.         What's of greatest value

           17      with the compiled data beyond its coverage is its

           18      consistency, and when you're looking for predictive

           19      value, consistency can be even more important than

           20      sheer accuracy.

           21                So, the procedures that are in place to

           22      replace that information, the models that are done

           23      to calculate data such as income, it's consistently

           24      done even if it's inconsistent across households.

           25      So that as that data is predictive, it may be


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             1     predictive, even though it's not 100 percent

             2     accurate, but if it is predictive, it will rise to

             3     the top, and then virtually it's a numbers game.

             4               You will never be 100 percent on any

             5     particular individual or household.           What you're

             6     trying to do is increase the probability of

             7     identifying a high potential consumer.

             8               So, for one or two or, you know, any number

             9     of people, that data will still not be 100 percent

           10      accurate, it ages over time, and it's the compilers

           11      that capture that information from the various and

           12      sundry public resources or surveys that gets

           13      supplied back to us, it's accurate, it's not

           14      accurate.     But if it's still predictive, we will

           15      still work with that information.

           16                MR. SMITH:     Richard Smith with Privacy

           17      Foundation.     I have a question for Lynn.          How do I

           18      get my compiled record, just like you got yours, on

           19      the screen?

           20                MS. WUNDERMAN:      Call me.

           21                MR. SMITH:     Can everybody call you if they

           22      want to see, every consumer if they want to see

           23      this?

           24                MS. WUNDERMAN:      I'm sorry, you're asking

           25      you as a consumer, how would you get access to


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             1     information?     Well, I am not a data compiler, per

             2     se, I mean we get our data from Equifax, there are

             3     others, Experian, and First USA through their

             4     Donelly unit and Acxiom through their InFobase that

             5     supply this information, but if you as a consumer

             6     are interested in seeing your record on our

             7     database, you can request a copy of your profile

             8     and we'll supply it.

             9               MR. SMITH:     Do these companies, compiler

           10      companies generally allow consumers to look at this

           11      kind of data?

           12                MS. WUNDERMAN:      You know, I --

           13      not being a compiler.        I would have to say in

           14      today's marketing environment, they should, but I

           15      cannot tell you.       Certainly the data that comes,

           16      for instance, from a credit bureau, and the credit

           17      bureau information gets channeled as part of

           18      Equifax and that gets channeled into the Polk

           19      Database, as a credit bureau, you need to be able

           20      to provide consumers with access to that data, but

           21      I'm not familiar with the policies of each and

           22      every compiler.

           23                MR. SMITH:     Thank you.

           24                MS. CULNAN:     Okay, I think we're going to

           25      take a break and you want to break for -- you're


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             1     going to let the people running this set the rules.

             2     Thank you.

             3               MR. WINSTON:      This is kind of a unique

             4     situation, we're actually ending a little early,

             5     but that gives us a little more time for lunch.

             6     So, if we could break until about 10:15, and I want

             7     to thank the panelists and the Magazine Publishers

             8     of America.

             9               (Applause.)

           10                MR. WINSTON:      Also, thank you to the

           11      Magazine Publishers of America for supplying our

           12      repast out there.

           13                (Pause in the proceedings.)

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             1                                 SESSION TWO

             2                    CONSUMER DATA:       WHAT IS IT?

             3                         WHERE DOES IT COME FROM?

             4                     -       -      -    -     -     -

             5               MS. ALLISON BROWN:        Hi, I'm Allison Brown,

             6     I'm an attorney in the FTC's Bureau of Consumer

             7     Protection, and I'll be the moderator for Session

             8     2, entitled Consumer Data:          What Is It?     Where Does

             9     It Come From?

           10                The overview that we just heard has

           11      provided us with a brief look at data merger and

           12      exchange.     Now we will begin a series of in-depth

           13      panel discussions about these practices.

           14                This panel discussion will focus on the

           15      original sources of consumer information, and we

           16      have five very experienced and knowledgable

           17      panelists with us today for the discussion.             We

           18      will also have about ten minutes at the end of the

           19      panel for the audience to ask questions.

           20                If you're sitting in an overflow room and

           21      you want to ask a question, please come up to the

           22      doorway on the main room here on the fourth floor

           23      at about 11:20 and we'll have a wireless microphone

           24      here so that you will be able to ask the panelists

           25      your questions.


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             1                I will now introduce each person on the

             2     panel and ask the panelist to spend about three

             3     minutes to provide a brief introduction to the

             4     sources of consumer data that businesses use.

             5                C. Win Billingsley is the Chief Privacy

             6     Officer of Naviant, Inc.         Naviant is a provider of

             7     marketing tools and integration methodology for

             8     online and offline environments.

             9                Win, please go ahead with your introductory

           10      remarks now and I'll introduce the other panelists

           11      in turn.

           12                 MR. BILLINGSLEY:      Okay.   Naviant is a

           13      leading provider of integrated precision marketing

           14      tools, for both online and offline environments.

           15      So, we really integrate the virtual world with the

           16      physical world.

           17                 This capability enables marketers to

           18      identify, reach and build relationships with online

           19      consumers.     So, to probably state that in a form

           20      that is more meaningful to you, Naviant has a

           21      database of about 30 million households that are

           22      Internet-enabled.

           23                 So, our niche is a database of people who

           24      have the capability to buy products and services on

           25      the Internet.      This data is collected primarily


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             1     through product registration data, and we'll talk a

             2     little bit more about that in the session on how

             3     this actually occurs.

             4               The data is fully permissioned.          We only

             5     want people in our marketing database that

             6     permission us to do so.        You know, an individual or

             7     an Internet user that does not want to participate

             8     in Naviant's database is not included in the

             9     database.

           10                And then there are other processes that we

           11      have in place to make sure that our data is

           12      accurate and as useful as possible.

           13                MS. ALLISON BROWN:       Okay, Elisabeth Brown

           14      is Senior Vice President of Product Strategy for

           15      Claritas.     Ms. Brown oversees the development of

           16      new data products and services, including

           17      demographic, cartographic and segmentation systems,

           18      and the management of the software and applications

           19      that are delivered to Claritas clients.

           20                Ms. Brown?

           21                MS. ELISABETH BROWN:        Thank you.     One

           22      comment, too, I have actually been not only am I a

           23      member of the club, but I have been a client, so I

           24      was actually a client of the Claritas marketing

           25      products and services before I joined the company.


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             1     So, I do have a little bit of perspective on how it

             2     can be used and how we used it when I was at the

             3     Prudential Insurance Company.

             4               Claritas is a marketing information company

             5     that has been in business for over 30 years, which

             6     makes us one of the more mature companies in this

             7     industry -- as evidenced by a recent Wall Street

             8     Journal article that referred to Claritas as the

             9     granddaddy of demographic providers.

           10                Claritas serves companies in financial

           11      services, telecommunications, energy, automotive,

           12      retail, restaurant and real estate industries, and

           13      we have clients ranging from the top Fortune 500

           14      companies to small, independent consultants.

           15                I'll just give you a little bit of

           16      background.     Over 30 years ago, Claritas' founder,

           17      Jonathan Robbin, who was a Harvard social

           18      scientist, was analyzing U.S. Census data and

           19      settlement patterns.        He hypothesized that American

           20      neighborhoods reflected the old adage that birds of

           21      a feather flock together, and therefore, the

           22      products and services that Americans consumed could

           23      be predicted simply by knowing summary level

           24      demographic information about the area, or "you are

           25      where you live."


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             1               This was referred to in the first slide as

             2     geodemography.      Thirty years later, our models have

             3     become more sophisticated and are able to dissect

             4     markets at a much lower level of geography, but

             5     that same old basic premise still holds true that

             6     by knowing some small amount of demographic

             7     information, you can infer or predict the

             8     likelihood that a household will be interested in

             9     the products and services that you're offering.

           10                So, we provide demographics and other

           11      consumer and business data on multiple levels of

           12      geography, delivered through our various mapping

           13      and marketing application software platforms.

           14                We are probably most well known for our

           15      consumer segmentation systems, for example, Prism,

           16      which was also identified earlier when Mary was

           17      speaking about Winner's Circle and what some of the

           18      attributes of a neighborhood would be that would be

           19      tagged as Winner's Circle across the country.              Our

           20      consumer product demand estimates that our clients

           21      use to more efficiently market their targeted

           22      customers and prospects, which you could refer to

           23      as surrogate or inferred data.

           24                Claritas data and services are used for

           25      broad marketing functions such as tracking new


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             1     customers, retaining current customers, determining

             2     site locations and appropriate sales and marketing

             3     distribution channels, and we help with more

             4     efficient reach strategies and media planning.

             5               So, basically, Claritas marketing

             6     information helps our clients offer the right

             7     products and services in the most appealing way to

             8     the consumers and prospects.          We provide basically

             9     the benchmark information or the total universe

           10      data that our customers can use to compare their

           11      current customers and markets against so that they

           12      can make better marketing decisions.            Thank you.

           13                MS. ALLISON BROWN:       Next we have Paula

           14      Bruening who is Staff Counsel for the Center for

           15      Democracy and Technology.         The Center for Democracy

           16      and Technology is a non-profit public interest

           17      organization that seeks practical solutions for

           18      enhanced free expression and privacy in global

           19      communications technologies.

           20                MS. BRUENING:      Thank you.

           21                CDT has been asked today to discuss the

           22      issue of public records as a source of information

           23      about individuals from a factual basis, and as many

           24      of you know, CDT generally has a specific viewpoint

           25      on this issue.      I will talk today about the factual


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             1     basis in my opening remarks and then any other

             2     comments will be reserved for the Q&A, but I would

             3     like to encourage the FTC to go to the state level

             4     and to some other resources and some organizations

             5     that are doing work on this issue, because I think

             6     some of the really difficult work on how the

             7     information is collected and how it is being used

             8     specifically is being done at the state level.              And

             9     I'm happy to give the FTC that information.

           10                Public records maintained by government

           11      agencies disclose a vast array of detail about an

           12      individual's life, activities and personal

           13      characteristics.       At the federal level, most

           14      personal information is not available to the

           15      public, because of the privacy exemption in the

           16      Freedom of Information Act and the Privacy Act of

           17      1974.

           18                However, bankruptcy records are an

           19      important exception to this rule and are maintained

           20      by the federal courts.        These records are a source

           21      of detailed financial information, and the

           22      sensitivity of that information has been recognized

           23      by the Office of Management and Budget, which has

           24      produced a study on this issue called Financial

           25      Privacy in Bankruptcy:        A Case Study on Privacy in


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             1     Public and Judicial Records.

             2                At the state and local level, however, the

             3     types of records that are maintained are different,

             4     and the laws and policies governing records yield

             5     disparate acts and disclosure practices, but it is

             6     possible to construct a detailed profile about an

             7     individual from public records.

             8                And while I will spare all of you the

             9     exhaustive list of all the sources of information,

           10      I'll name a few:       Name and address information come

           11      from voting records; land titles are a source of

           12      home ownership information; property taxes can give

           13      you assessed value of homes; birth and death

           14      records give you information about an individual's

           15      parents.

           16                 The list goes on, there are occupational

           17      license records, motor vehicle records that can

           18      tell you about an individual's make and model of an

           19      automobile, voter registration gives you party

           20      political affiliation, and hunting and fishing

           21      licenses, boat and airplane licenses can give you

           22      information about how a person likes to spend their

           23      leisure time.

           24                 There may be considerably more information

           25      available in public records about an individual who


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             1     has interacted with the courts as a criminal

             2     defendant, as a plaintiff or defendant in a civil

             3     litigation, in a divorce proceeding, as a juror, as

             4     the beneficiary of a will.

             5               Public access to government records serves

             6     several important goals.         Individuals need

             7     government information to make political decisions

             8     about government programs, legislative and

             9     regulatory options, and candidates running for

           10      office.

           11                Government records also assure the

           12      accountability of individuals as in the case of

           13      business and real estate transactions.            However,

           14      it's important that public record information be

           15      used for the reasons it was collected.            This

           16      information was not meant to be searchable in a

           17      database, nor was it intended to be used in

           18      marketing.     And simply because there is a tradition

           19      of collection of information, important decisions

           20      need to be made on a case-by-case basis about the

           21      appropriateness of access to public records and the

           22      role of consumer choice.

           23                MS. ALLISON BROWN:       Thank you.

           24                Michael Pashby is Executive Vice President

           25      and General Manager for Magazine Publishers of


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             1     America where he has also served as Executive Vice

             2     President of Consumer Marketing.           Before joining

             3     the MPA, Mr. Pashby was president and publisher of

             4     Art and Antiques Magazine, vice president of

             5     circulation and new product development for Gruner

             6     + Jahr USA, and Managing Director of U.S.

             7     Operations for Marshall Cavendish.

             8               Michael?

             9               MR. PASHBY:     Thank you.     That sounded

           10      impressive.

           11                MPA represents about 85 percent of the

           12      consumer magazine -- dollar volume of the consumer

           13      magazine industry in this country, and about 85

           14      percent of all magazines are sold through the

           15      mails, using direct mailing techniques or direct

           16      marketing techniques of extremely varying

           17      sophistication.

           18                The use of credit cards in our industry is

           19      extremely small, but is now growing.            Our members

           20      strongly agree that we must protect the privacy of

           21      our readers, and I think our industry has done a

           22      very good job over the years in balancing our

           23      legitimate business interests and our consumers'

           24      reasonable expectations of privacy.

           25                Obviously we value our readers and we


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             1     wouldn't be in business without them, so our

             2     industry is constantly looking for ways to improve

             3     that service to our readers.

             4               It's important to note that when our

             5     readers ask us not to share information about them,

             6     we don't.     In the information section of most

             7     magazines, the publisher discloses that the

             8     subscription list may be rented to appropriate

             9     businesses.

           10                The magazine offers an address or toll free

           11      number so that the reader can opt out.            And many

           12      magazines are taking advantage of the Internet to

           13      inform consumers of their privacy policies, and

           14      give consumers an additional opportunity to opt

           15      out.

           16                We're very careful with respect to the

           17      customers, to the wishes of the customers who

           18      choose to opt out.       Generally when a consumer

           19      requests that publishers not share information,

           20      that publisher will not only remove the consumer

           21      from their own internal rental lists, but will

           22      refer the consumer to the DMA so that the consumer

           23      can request to be on their nation-wide do-not-mail

           24      list.

           25                That said, magazines are very good sources


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             1     for consumer data.       And the reason is very simple.

             2     More than any other medium, the choice of which

             3     magazines a consumer reads can tell a lot about a

             4     person, what a person likes, and his or her

             5     interests.

             6               In enabling our readers to get information

             7     about products and services that are of interest to

             8     them, it is advantageous to everyone.            Our readers

             9     are given more choices, they get information about

           10      products of their interest and life styles, and

           11      most importantly they're not inundated with

           12      advertisements for products they have no interest

           13      in.

           14                Businesses benefit because they can target

           15      their advertising to consumers who are most likely

           16      to be interested in their products, saving them

           17      time and money.      And for magazines, with a cost of

           18      mailing now between 65 cents and a dollar per

           19      piece, and that's before the Post Office applies

           20      for its newest rate increase this June, the cost of

           21      acquiring a consumer, when the response rates are

           22      in the low single digits, and in a very competitive

           23      market, is extremely expensive.

           24                But sharing information only works if it's

           25      beneficial to everyone.        Our magazine subscriber


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             1     lists are our most important and valuable assets,

             2     our readers do not want to get advertisements for

             3     products they don't care about, so the magazine

             4     industry is selective about letting advertisers use

             5     their lists.

             6               If a business intends to mail a

             7     solicitation to a consumer, magazine staff review

             8     that promotion to ensure its use is appropriate.

             9     Most magazine publishers will not rent their list

           10      to telemarketers because they have little control

           11      over how the list is used, but if lists are rented,

           12      we expect magazine staff to review the

           13      telemarketing script.

           14                And very importantly, the list is rented,

           15      it's not sold.      That means the advertiser can use

           16      it only one time.       And publishers, as a general

           17      course, see their lists and track how that list is

           18      used.

           19                Thank you for inviting us again.

           20                MS. ALLISON BROWN:       Thank you.

           21                Our final panelist is Ted Wham.          Ted is the

           22      President of Database Marketing for the Internet, a

           23      sole proprietorship consulting practice.             His

           24      career has been concentrated in the direct and

           25      database marketing industries, focusing most


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             1     recently on Internet-enabled marketing

             2     applications.

             3               Ted?

             4               MR. WHAM:     The benefit of having the last

             5     name of Wham is that although I am always at the

             6     end of the line, I always get to hear what

             7     everybody says before me and tailor my comments to

             8     help amplify on those areas as well.

             9               Database Marketing is an independent

           10      consultancy that consists of myself as an

           11      independent business person working out of my home,

           12      and billing my cat at very low billable rates, I

           13      have had an opportunity to work with organizations

           14      such as Viacom Division, Curriculum Corporation,

           15      Hewlett Packard, I have worked with Cisco Systems

           16      here recently, NCR and so forth, helping them

           17      formulate Internet privacy strategies and also how

           18      to use information about consumers for part of

           19      their contact strategies.

           20                In general, the information which is

           21      available about consumers in the United States

           22      starts from very gross aggregate levels, compiled

           23      information which is largely demographic

           24      information, and as Ms. Wunderman explained in the

           25      session immediately before this one, to a lesser


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             1      extent psychographic information.

             2                You move from that into information which

             3      is available from a wide range of public records,

             4      such as the ones that Ms. Bruening referred to, and

             5      ones that I have personal experience with as being

             6      on the receiving side of some of the solicitations

             7      for there.

             8                That's important because those public

             9      records the consumer doesn't have much choice in

            10      terms of their participation in those lists, it's

            11      an obligatory process.        If I want to vote, I have

            12      to register to vote, and if I register to vote,

            13      those public records are then going to be available

            14      for purposes unrelated to my voting, and, you know,

            15      that's kind of the way it is.

            16                There is then a second tier, and that is

            17      government supported monopolies, and those

            18      monopolies are, because they're either a natural

            19      monopoly such as the provision of your gas service

            20      or your telephone service, and for instance white

            21      pages, telephone white pages are a major source of

            22      compiled list information, but there's also

            23      government supported monopolies in the form of

            24      patent protection and copyright protection, which

            25      gives a form of a unique ability to sell a product.


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             1                So, for instance, if I want to operate with

             2      a computer operating system called Windows, I have

             3      to support the patent and copyright protections

             4      available from Microsoft until those patents run

             5      out, and I have to use that information and

             6      Microsoft has that and has the opportunity to share

             7      that information, if that is their business

             8      practice to do so.

             9                There is a whole range of different

            10      products from drugs that you have to take to the

            11      type of services that you buy and so forth, where

            12      that government-mandated protection is there.              For

            13      monopolistic practice it serves a public good in

            14      terms of inspiring innovation.

            15                The last area is information which is in a

            16      much more competitive area.         I can go to any of a

            17      number of different retailers to buy clothing, for

            18      instance, and the retailers when I make that

            19      purchase are going to collect various amounts of

            20      information.

            21                So, if I buy at Sears, that may be a

            22      largely anonymous transaction, especially if I make

            23      it in a cash basis.       If I do it through a credit

            24      card, they may have more information, and some

            25      retailers through a traditional retail environment


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             1      such as Radio Shack actually will ask you for

             2      information about your name and address, and

             3      collect that information online.

             4                 Other businesses who run their business

             5      model through a mail order process such as Lands

             6      End and J. Crew and so forth become much, much more

             7      adept at collecting very specific information about

             8      you because what you've bought in the past becomes

             9      most predictive about what you will buy in the

            10      future.     It's dramatically better than demographic

            11      information, dramatically better than any

            12      information you're going to get from public

            13      records.

            14                 If I bought something from J. Crew in the

            15      past, I will be better than any prospect that they

            16      can find to buy stuff from them in the future.

            17                 But there's an opportunity for a consumer

            18      to make a choice in those purchases on whether

            19      they're going to choose retailer A versus retailer

            20      B, and so there's an opportunity for control there.

            21                 So, in looking at this, I think it's

            22      important to look at the spectrum of how that

            23      information is collected in terms of the consumer's

            24      ability to control the use of that information

            25      downstream.


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             1                MS. ALLISON BROWN:       Now that you've heard a

             2      brief introduction to the sources of consumer data

             3      that businesses use, I'm going to ask our panelists

             4      some questions so that we can learn some more

             5      specifics.

             6                Win, what data elements does your business

             7      collect about consumers and how do you collect the

             8      information?

             9                MR. BILLINGSLEY:       Most of us have done a

            10      product registration or a software application

            11      registration, and it's very important for the

            12      manufacturer of that product to get to know who

            13      their end user customers are, because all of them

            14      distribute their products and services through some

            15      intermediary.      So, they're really isolated from who

            16      their end user customers are.

            17                The way they try to solve that problem, and

            18      also to provide customer support and service, is

            19      through a registration process.           So, Naviant

            20      provides software that is used by companies that

            21      manufacture computer hardware and software products

            22      to facilitate that registration.

            23                So, the data that we collect for the

            24      company includes all the information that we've all

            25      seen on those product registration forms, but the


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             1      only data that Naviant really uses that goes

             2      forward into a marketing database is the name and

             3      the address, and the fact that this is an

             4      Internet-enabled household.

             5                 And that's really what we focus on and what

             6      we collect.      The other information is analyzed

             7      statistically and then passed back to the

             8      manufacturer, and they can use it for various

             9      business purposes to know who their customers are.

            10                 So, name and address, and the fact that

            11      this individual is Internet-enabled is key to

            12      our -- that's where the cycle starts with Naviant.

            13                 MS. ALLISON BROWN:      What other data

            14      elements do businesses collect about consumers and

            15      how are they collected?        Anybody?     You can just

            16      either raise your hand or put your tent card on its

            17      side?     Ted?

            18                 MR. WHAM:    Yeah, I forgot the tent card on

            19      its side, I don't live in Washington, D.C.             That's

            20      a rule.

            21                 Businesses often times have an insatiable

            22      demand for information.        They would collect as much

            23      information as the consumer will spend time to

            24      provide for them.       In fact, one of the services

            25      that I provide to my consulting clients is that I


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             1      will get the question, How much can we ask on a

             2      registration process or in a survey process or

             3      through a purchasing application before the

             4      consumer is finally going to go Aye, "I don't want

             5      to do this anymore" and will bottom out of that,

             6      and they will test that very aggressively and try

             7      several different formats.         If we ask this extra

             8      question, what's going to happen here?            If I format

             9      this as a drop-down question instead of a radio

            10      button, what happens here and so forth.             They will

            11      collect as much information as they can until they

            12      reach a point where the collection of that

            13      information degrades completion of the desired

            14      task.

            15                 MS. ALLISON BROWN:      Betsy?

            16                 MS. ELISABETH BROWN:       One of the things

            17      that I didn't go over specifically is that there

            18      are lots of sources of public information out

            19      there, including the U.S. Census data, which is

            20      pretty hot right now since it's been recently

            21      updated.

            22                 Many companies are trying to get at this

            23      information because it's a very good source for

            24      benchmark information to understand sort of the lay

            25      of the land.     And when we talk about benchmark


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             1      information, there's a lot of other domain

             2      information, public domain information that is also

             3      collected and used by businesses.

             4                 Just from my experience at Claritas and my

             5      experience with some of these customers, they

             6      really do use a variety of information for

             7      different business purposes, and from what we've

             8      seen, we -- at Claritas, we try to assist them by

             9      updating the demographic information annually so

            10      they do have these benchmarks and we use lots of

            11      different input sources, including consumer surveys

            12      that are out there, you may have heard of people

            13      like Simmons Market Research Bureau, Mediamark,

            14      Nielsen Net Ratings, Scarborough, all of these are

            15      collected with consumer consent, they're pretty

            16      much anonymized in terms of you never really know

            17      who these individual consumers are.            Basically that

            18      data is used and compiled and turned into models

            19      that really say if the person is in this

            20      demographic characteristic, they have a higher

            21      likelihood than average to do these behaviors.

            22                 Some of the magazine data is used that way

            23      as well.     You can either use the individual

            24      registration data or pretty much the anonymized

            25      version which gives you the, quote, profile.


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             1                So, there are many, many databases that

             2      Claritas and other companies produce and put out

             3      there, and the only way that information is linked

             4      back to a customer record is through an inferred

             5      modeling process, which either takes into account

             6      what we believe their demographics to be, or

             7      something as simple as the zip code or zip plus

             8      four in which they live.

             9                MS. ALLISON BROWN:       And can you be a little

            10      more specific about the types of information that

            11      Claritas gets from surveys, you know, either

            12      through Simmons or through its own surveys?

            13                MS. ELISABETH BROWN:        Depending on the

            14      panel, Simmons and Mediamark Research have various

            15      surveys that they put out there, some of them are

            16      books of information that ask everything from how

            17      much peanut butter do you eat a week, to what

            18      brands do you prefer, what media you like, how

            19      often do you spend in front of the television.

            20                A.C. Nielsen actually captures specific

            21      readership and views of which television programs

            22      and what day parts in terms of which actual

            23      physical programs you're watching.           And a lot of

            24      that data, again, it's all consumers are signing up

            25      for these panels.       That's the panel type of


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             1      research.

             2                In addition, there's other types of

             3      research which is more of the research where you're

             4      calling up people on the telephone or just sending

             5      them a direct mail package and asking them

             6      something more specific about the financial

             7      services that they're using, or the types of

             8      Internet services they have and that type of

             9      nature.

            10                Once again, most of this data, what happens

            11      is that all the data is collected at a household

            12      level, but when it's modeled and analyzed, it's

            13      analyzed in terms of demographic characteristics or

            14      segmentation codes and not -- those people that

            15      participate in the panel, that data is never used

            16      for specific marketing purposes back to those

            17      individuals.

            18                MS. ALLISON BROWN:       Thank you.     Paula?

            19                MS. BRUENING:      Yes, I just wanted to talk a

            20      little bit about business use of public record

            21      information, and clearly the kinds of information

            22      that I talked about in my opening remarks are

            23      valuable to businesses in their marketing pursuits.

            24                The problem comes with the fact that the

            25      information has been given up by the individual, is


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             1      given up so that they can participate, as Ted Wham

             2      said, in some very basic functions of life.              They

             3      want to drive a car, they want to buy a house.

             4      They've had a baby.        Someone's been born or died in

             5      the family.     Someone's received money in a will.

             6                And I think that to say that Well, that's

             7      being used for other purposes, and that's just the

             8      way it is, I think is a -- is not a really very

             9      thorough analysis.        I think that if anything, what

            10      the information age, computerization, will allow us

            11      to do is give us an opportunity to re-examine those

            12      uses to decide whether those are appropriate,

            13      whether we can limit the access to that

            14      information, to the -- to something closer to what

            15      the initial collection was intended for.

            16                MS. ALLISON BROWN:       Are there currently any

            17      restrictions on the use of public record data for

            18      marketing?     Anybody?

            19                MR. WHAM:     There's one large restriction

            20      that I am familiar with and that is recently there

            21      was legislation passed at the federal level which

            22      gives consumers an opportunity to opt out of having

            23      their information about their automobile

            24      registration used for marketing purposes.

            25                MS. BRUENING:      That's opt in.


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             1                MR. WHAM:     Opt in, opt out, excuse me,

             2      okay.    So, but it was very, very significant,

             3      because prior to that legislation 46 of 50 states

             4      made their consumer automobile registration

             5      information available to the list rental

             6      marketplace, and what type of car you own and drive

             7      is extremely predictive of your household income.

             8      It's one of the most predictive items.

             9                And so if I wanted to drive a car in the

            10      state of California, I didn't have any choice, that

            11      information was going to make it into R. L. Polk's

            12      database.

            13                That's an example where there have been

            14      some restrictions recently.

            15                MS. ALLISON BROWN:       Michael, I think you've

            16      been wanting to say something?

            17                MR. PASHBY:     I was just going to say the

            18      magazines themselves collect a relatively small

            19      amount of information about their consumers.              The

            20      sort of information that they have is the date of

            21      purchase, the source of purchase, whether it's by

            22      the telephone or from a magazine previously bought,

            23      whether it's through direct mail.           The number of

            24      times they've purchased, the value of the purchase.

            25                That's the basic information that a single


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             1      magazine would have, that information can become

             2      more valuable if you're a multimagazine publisher

             3      or you have other lines of publishing so you can

             4      then create a broader profile of the person if

             5      they're also buying books or magazines in different

             6      interests.

             7                But the interesting thing about magazines,

             8      is that on a -- say a broad interest magazine, one

             9      of the seven sisters, when a publisher is trying to

            10      promote to the consumer, probably the most useful

            11      type of information that the publisher will have is

            12      cluster information.        If a person is of a certain

            13      age and lives in a certain area, that their

            14      neighbors may be likely to buy the same magazine.

            15                The more specialized you get in a magazine,

            16      let's take a woodworking magazine, just because a

            17      person lives next door to someone who buys a

            18      woodworking magazine, there is absolutely no reason

            19      to suppose that the other person would want to buy

            20      one.

            21                So, the use of the use of data for the

            22      small -- the small publisher, the small business,

            23      is becoming far more important.           We used to have

            24      something, until a couple of years ago, called

            25      Publishers Clearinghouse and American Family


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             1      Publishers, which mailed into every household in

             2      the country, and the consumer could self select

             3      their magazines.

             4                Nowadays, those mailings are a thing of the

             5      past.    And information to a publisher has become

             6      far more important, to be able to target their

             7      consumers.

             8                MS. ALLISON BROWN:       Betsy?

             9                MS. ELISABETH BROWN:        There are fairly

            10      significant restrictions on credit card information

            11      and data that's used to actually make specific

            12      financial offers, from the list compiler companies,

            13      like Equifax and Experian.         And although I don't

            14      represent those companies, I'm not well versed in

            15      specifically what those criteria are, the financial

            16      services companies that we've worked with, they can

            17      only use certain information if they're actually

            18      making a credit offer, where they are willing to do

            19      a pre-approved credit offer, which means that they

            20      are going to say because I have pulled this

            21      information on you, I'm willing to say that I will

            22      guarantee that if I make this offer, you can have

            23      this product.

            24                And that data cannot be used by another

            25      portion of the bank to make another type of offer,


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             1      whether or not extending credit.           So, those

             2      protections are in place, I don't have all the

             3      details about all the specifics, but it's important

             4      to know that they're out there.

             5                MS. ALLISON BROWN:       Right, and the FTC is

             6      very familiar with the Fair Credit Reporting Act

             7      and the restrictions on credit data, so that's

             8      useful to know, although we are focusing here on

             9      data that's not being used for credit decisions.

            10                Paula?

            11                MS. BRUENING:      Yes, I just wanted to go

            12      back to the Driver's Privacy Protection Act.              I

            13      think that that piece of legislation really

            14      reflects heightened consumer concern about the

            15      incompatible use of this public record information,

            16      and it is a response to that.

            17                And I think what it does is really offer to

            18      individuals who are participating in these basic

            19      life experiences, the same kinds of choice that we

            20      have come to expect in the commercial realm.              We

            21      require notice and choice when we're doing business

            22      now with a website, or with an organization, and

            23      something -- legislation like the Driver's Privacy

            24      Protection Act offers that same kind of consumer

            25      choice, which I think is critical here.


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             1                MS. ALLISON BROWN:       Ted?

             2                MR. WHAM:     Just a couple of concepts I

             3      would like to throw out there, and I would like to

             4      pierce a couple of notions about what's happening

             5      with data out there.

             6                There is certainly data just being

             7      collected in a permissioned basis.           There is also

             8      certainly information which is being collected

             9      which is not personally identifiable and is going

            10      through a more of an aggregation, a blending type

            11      of a process.

            12                Ms. Brown talked about some of the

            13      practices of Claritas, and Claritas uses largely,

            14      if not exclusively, nonpersonally identifiable

            15      information available from census tract records

            16      from U.S. Government surveys through the census

            17      process, but there's an immense amount of data

            18      which is collected which is not permissioned in any

            19      way, so the consumer is not being asked whether it

            20      is okay for that information to be shared with

            21      third parties, and there's an immense amount of

            22      information which is available that is, you know,

            23      personally identifiable and shared with third

            24      parties quite readily.

            25                So, I would have you think, we have an


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             1      especially erudite audience in terms of knowing how

             2      this process works, although we're all here in this

             3      workshop, I think a lot of us have an understanding

             4      walking in the door how this process works.              But if

             5      you thought back to your five most recent

             6      purchases, I would suspect that there are very few

             7      of us in this room who would know whether the

             8      companies with whom they did that transaction have

             9      a process of sharing that information with third

            10      parties, okay?

            11                So, you know, think about what you've

            12      purchased most recently, and there are many, many

            13      companies who the difference between profit and

            14      loss for those companies is made by selling their

            15      customer information to noncompetitive businesses

            16      who are going to be targeting the same type of

            17      business.

            18                So, if I'm buying a computer peripheral and

            19      it's for an obscure, you know, system, other

            20      customers that sell computer peripherals to that

            21      same obscure system in a noncompetitive way, can

            22      almost invariably buy that information.

            23                And the best example that I can give of

            24      that is the Bible for mailing lists in the United

            25      States, the Standard Rates and Data System, SRDS.


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             1      I have a friend who is a list compiler, and before

             2      this session, I called her and I said, How many

             3      pages is that book these days?            And the current

             4      volume exceeds 3,500 pages.         Something on the order

             5      of 100,000 distinct mailing lists are available for

             6      rental in the United States.          Most of those, the

             7      majority of those, with distinct personally

             8      identifiable information in them.

             9                MS. ALLISON BROWN:       Win?

            10                MR. BILLINGSLEY:       I would just like to make

            11      one other point and discuss an anomaly that we face

            12      in our data collection process, in processing

            13      warranty information.        Some of that data is

            14      collected via a web browser technology, fully

            15      Internet-based, and clearly when you collect data

            16      using that methodology, it comes under the fair

            17      information principles of notice, choice, access,

            18      security and enforcement, but there is also a large

            19      portion of that data that's not collected using

            20      browser-based technology.         It's collected using a

            21      dial-up, a synchronous modem capability with an

            22      application that is loaded in the PC.

            23                So, some people would make the contention

            24      that since you're not on the Internet, that is

            25      offline data.      Now, you know, we have struggled


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             1      with how to deal with that issue, and the way we

             2      resolve it in Naviant is we treat data collected by

             3      either one of those two methods by the more

             4      rigorous online marketing data collection rules,

             5      but it is an anomaly that I think should be

             6      addressed so that there is clarity provided in how

             7      people that try to collect data in an ethical and

             8      permissioned way, how they really should operate

             9      when they face these kinds of dilemmas.

            10                MS. ALLISON BROWN:       I do want to go back to

            11      some of the specifics about the data that are being

            12      collected here.      Betsy, you've talked a little bit

            13      about census blocks, zip code information, and zip

            14      plus four information.        Can you give us a sense of

            15      how many households are in a census block, versus a

            16      zip code block, versus a zip plus four?

            17                MS. ELISABETH BROWN:        Yes, a zip plus four

            18      would probably be the lowest level of geography,

            19      not even geography, because there aren't

            20      boundaries, but the lowest level at which you can

            21      compile information that's not at household level.

            22      And generally a zip plus four can have anywhere

            23      from four to ten households in it.

            24                Most of the zip plus four data that gets

            25      compiled, they have factors in there whereas if


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             1      there isn't enough information for a particular

             2      variable, that is data-filled so that you don't

             3      have any privacy issues.

             4                The next level up, a block or block group

             5      tends to have anywhere from 250 to 350 households.

             6      Zip codes can have anywhere from a few thousand to

             7      25,000.    They're not really cohesive types of

             8      geographies.     And census tracks are anywhere from

             9      1,200 and up.

            10                So, low enough levels of geography so that

            11      if you're a broad, when you're looking at some of

            12      the broad applications that we're talking about,

            13      when companies are just trying to understand the

            14      lay of the land, for example, generally zip codes,

            15      counties, census tracts are a good way for them to

            16      really understand what's going on in a marketplace,

            17      if they want to enter the marketplace or not.

            18                And what we see is that there's different

            19      levels of using some of these data.            A lot of the

            20      clients that we deal with will use a lot of this

            21      information for more of their strategic marketing

            22      purposes, and when they go out to actually

            23      implement a program, they will buy a direct mail

            24      list.

            25                The attributes that they use to understand


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             1      their total marketplace may be different than they

             2      actually use on the implemented direct mail list.

             3      And I think Lynn went over that a little bit, which

             4      is that what you'll find is that just because they

             5      know that a certain demographic characteristic is

             6      currently their, quote, best customer, when they

             7      actually go to pull the mailing list, there are

             8      many different market -- let's say environments

             9      that will cause them to maybe change a specific

            10      type of demographic that they're going after, or

            11      they'll look at a list and they'll find that the

            12      people that they most want to attract, let's say

            13      for private banking, are not direct marketing type

            14      of customers, that they really aren't going to

            15      reach them through a direct marketing list.              They

            16      don't exist much on the list, there isn't enough

            17      data on them and they're not really responsive to

            18      the list.

            19                So, I think that sometimes people believe

            20      that these companies have an enormous amount of

            21      information, which they do, but in their practice

            22      of actually rolling out marketing programs, it's

            23      not as succinct as you might think it is, that they

            24      know exactly who their targets are and they can

            25      then implement against those targets.            They have to


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             1      really use a lot of strategy and analysis to just

             2      try to reach the right person.

             3                I don't know if that's a -- there's just a

             4      lot of different ways you can use that type of

             5      information.     So, you can move from these

             6      geographic levels down to the household level, but

             7      you may not have an exact fit when you do that.

             8                MS. ALLISON BROWN:       And we heard a little

             9      bit in the overview about how businesses append

            10      data from third party databases.           Can anybody give

            11      any specific examples of what types of data

            12      businesses append to their in-house customer files?

            13                Win?

            14                MR. BILLINGSLEY:       Well, just having a name

            15      and address and a flag that says you're an Internet

            16      household is not a very effective product in terms

            17      of providing marketing lists.

            18                So, that base core of information is used

            19      to do a match with various data compilers and

            20      aggregators of information, and then we ingest

            21      certain attributes that are associated with that

            22      name and address.       And some of those attributes --

            23      and there's many -- but it would be things like

            24      income range, age range, gender, hobbies,

            25      interests, things of that nature, that we use to


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             1      embellish the marketing file so that we can do

             2      selects and generate lists that are targeted for

             3      specific products and services.

             4                MS. ALLISON BROWN:       Does anybody want to

             5      add to that?

             6                Michael?

             7                MR. PASHBY:     Generally magazines will

             8      append information slightly differently, depending

             9      on the type of magazine.         A general magazine will

            10      probably append more information or have the

            11      ability to append more information.

            12                I mean, clearly, the very basic information

            13      of age, income, family size, gender, is generally

            14      available to be appended to the -- to that list,

            15      but the more general the magazine, probably the

            16      more selections that will be made available.

            17                There are a number of companies which will

            18      take a magazine list and add information to it,

            19      creating that database, and the sort of information

            20      that can be appended is everything that's being

            21      talked about today.       Whether it be the types of

            22      cars that people own, when they bought a car, the

            23      type of house, the value of the house.

            24                There's a lot of information that can be

            25      appended, but in general, magazines tend to be the


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             1      starting -- the starting place rather than the end,

             2      with all that information appended to it, because

             3      they start -- you're starting with the general

             4      interest area, and then it is merged and purged

             5      with other lists during the marketing process.

             6                MS. ALLISON BROWN:       Thanks.     Ted?

             7                MR. WHAM:     A very typical use of appended

             8      information is to take a large universe file of all

             9      your customers and presume you're a cataloguing

            10      business that has, you know, for conversation's

            11      sake, a million customers that have done business

            12      with you over time.

            13                You take a statistically representative

            14      sample of that, of perhaps 10,000 individuals and

            15      you go and append absolutely everything to those

            16      10,000 people you can possibly get our your hands

            17      on, from income, age, whether they've got children,

            18      the age of those children, whether they're

            19      grandparents, the type of interests that they have,

            20      all of the psychographic information, everything

            21      you can get to that.

            22                And then you run that against statistical

            23      processes and say, Okay, tell me of all of these

            24      different processes, which one of these are going

            25      to be predictive of the ones I care about most.


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             1                And as Ms. Wunderman pointed out this

             2      morning, different businesses care about different

             3      things.    Some businesses want lots of transactions,

             4      some businesses need to be very concerned about

             5      turnover, loss of the customers, some long distance

             6      carriers and cellular phone carriers, for instance,

             7      are extremely interested to make certain that

             8      they're getting customers who are going to stick

             9      with them and are not switchers and so forth.                And

            10      it varies by businesses.

            11                Once they identify which of those

            12      characteristics are particularly predictive for the

            13      customers that they want, they will then go to the

            14      remaining universe, those 990,000 names that they

            15      never did anything with, and they'll go back to the

            16      original appending firm and say, Please append

            17      these two or three variables that I want.             Much

            18      more cost effective than appending all 30 or 50 or

            19      150 variables to the entire universe if only three

            20      of those are going to be productive for what you're

            21      trying to do.

            22                MS. ALLISON BROWN:       Betsy?

            23                MS. ELISABETH BROWN:        Yeah, that's a very

            24      good point.     I think one of the reasons that

            25      Claritas has been in business for 30 years is that


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             1      one of the things that we have been able to do is

             2      boil down a lot of those characteristics into

             3      segment codes, which makes it a lot easier.

             4                I mean, we have seen in the financial

             5      services arena about ten years ago, they were one

             6      of the first industries to really take customer

             7      file records that they have done, they have a very

             8      -- financial institutions tend to have a very

             9      strong relationship, we talked about what a

            10      relationship was, with their clients.            There's a

            11      lot of trust there that the clients are giving a

            12      lot of very in-depth financial information to these

            13      companies.

            14                Financial services companies are fairly

            15      conservative from what we've seen with what they do

            16      with the collected information, but in addition,

            17      they didn't really have the databases and the

            18      software capability to manipulate these gigantic

            19      files with so much information that they collect,

            20      nor did they have a good way of updating them.

            21                So, even with them collecting all of this

            22      very personal information, they tended to use

            23      companies like Claritas to help them boil it down

            24      and understand from a one code type of an aspect

            25      what can we know about these people quickly and


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             1      easily without having to look at 100 or 200

             2      different variables that we've collected over time.

             3                So, that's sort of in essence what a

             4      cluster code is.      The basic information we really

             5      need there is just an address that will allow you

             6      to say the likelihood is that these people live in

             7      an upscale suburban neighborhood or an upscale

             8      urban neighborhood.       And a real quick example of

             9      how that would be used would be if you knew -- if

            10      you just had straight demographics on someone and

            11      you knew you had two males, 30 years old, and you

            12      figured out that they make about $50,000, do they

            13      need individual life insurance or not.

            14                Not quite enough information for you to

            15      make a decision on that, one male might be single,

            16      doesn't own a home, doesn't really have any

            17      dependents, where the other male might have a

            18      family with three kids, a house, a mortgage, so

            19      having a little bit more rich information on that

            20      would make you look at these two similar

            21      demographics and say I'm going to offer insurance

            22      to the one because they are going to need it and

            23      not the other.

            24                Or another quick use is if they're only

            25      using their internal data and they know that they


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             1      have got a thousand people who have $5,000 in their

             2      checking account and always have had $5,000 in

             3      their checking account, by overlaying some of these

             4      segment codes, you can get a quick idea that five

             5      of those people, that's all they're really ever

             6      going to have in demand deposits at a bank, that's

             7      really all they're qualified to have, and this

             8      segment code would be something like a number, 27,

             9      that would represent a string of demographics that

            10      would predict that that person is probably in that

            11      demographic.

            12                 And you might find out that half of these

            13      people have a very high likelihood for using a loan

            14      product.     So, if you wanted to offer them another

            15      service, you would be better off offering them a

            16      loan product than the other half who you would be

            17      better off offering an investment product.

            18                 So, without having to know a ton of

            19      personal information, you can at least make some

            20      good guesses as to what the next most likely

            21      product is to offer those people.

            22                 MS. ALLISON BROWN:      And can you give us a

            23      couple of more examples of the segments, I think

            24      that Mary in the overview gave us a couple from a

            25      newspaper article, I think people might be


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             1      interested to hear what some of the other ones are

             2      and how many there are as well.

             3                MS. ELISABETH BROWN:        Well, we have --

             4      there are several different segmentation systems,

             5      and a segmentation system really starts off as just

             6      a predictive model.       So, as Ms. Wunderman was

             7      saying earlier in the session, different industries

             8      care about different data.

             9                So, a very generic model would be something

            10      like our Prism segmentation system that's based on

            11      the demographics of where you've settled, where you

            12      live, there are several more like that out there in

            13      the public domain, and they have -- some of them

            14      have nicknames, they tend to be sort of upscale

            15      suburban, like Blueblood Estates, Urban Singles,

            16      Upscale Urban Singles, Midscale, you know, Urban

            17      Dense Areas.

            18                So, there's lots of different ways that you

            19      can just get a quick snapshot of what the

            20      settlement patterns are in that neighborhood.

            21                And one of the things that we've -- because

            22      these things, as everyone said, as I think Paula

            23      was saying earlier, there's different uses for

            24      that.    It's important to know that you're in a

            25      suburban market area if you're trying to sell lawn


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             1      mowers.     You certainly don't want to be offering

             2      that to urban upscale singles in high rises.

             3                 So, some of the data is critically

             4      important to some of the things you're trying to

             5      sell.     It may not be very important at all to

             6      somebody who is selling a very targeted niche

             7      magazine that could appeal to many different people

             8      and has no relationship in terms of a geographic

             9      reference.

            10                 So, there are 62 Prism clusters, which

            11      means that we have predicted 62 different

            12      neighborhood settlement patterns.

            13                 Another segmentation system is based more

            14      on predicting financial services behavior, or

            15      telecommunications behavior.          In those segments,

            16      there are about 42 of the financial patterns, and

            17      they are anything from upscale suburban families

            18      with children, upscale suburban singles, upscale

            19      urbanites, those type of cluster types or segment

            20      types, and that's more based on a specific range of

            21      income, asset prediction, age and presence of

            22      children.

            23                 So, those -- they're slightly different,

            24      but, you know, basically you can start with

            25      anything.     In our audit of the convergence data,


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             1      which is the telecommunications, I think we have

             2      about 57 different segments and they're based on

             3      patterns of usage that we have seen in terms of

             4      product usage, and then on the back end, we infer

             5      the demographic segment for that.

             6                MS. ALLISON BROWN:       Ted?

             7                MR. WHAM:     There's a distinction which

             8      might be valuable for the FTC in doing this,

             9      there's two major categories of lists that you can

            10      consider.     One would be compiled list information,

            11      the other being response list information.

            12                Compiled list information tends to be very

            13      broad coverage, it's information about who you are,

            14      whereas response list is more information about

            15      what you've done, what type of products you've

            16      done.

            17                So, if I want to buy something that has a

            18      very broad geographic coverage because I'm offering

            19      a service that has something which is primarily

            20      defined upon where people live and the types of

            21      birds of a feather flock together type of analogy

            22      that is the basis for Claritas' business, then I am

            23      going to want that type of a compiled list.

            24                If I'm trying to find people who have

            25      interest in doing very specific types of activities


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             1      and so forth, I am going to want to buy lists from

             2      similar businesses or businesses that point to

             3      similar types of people.

             4                Response lists tend to be very narrow.             I

             5      can't typically take a response list and very

             6      effectively use that as an overlay tool against my

             7      universe of customers, and say tell me additional

             8      things about this, because if I took my, you know,

             9      300,000 customers and matched them against somebody

            10      else's 300,000 customers, I might find, you know,

            11      700 that match between those two of them.

            12                I would have a rich data set for those, but

            13      I wouldn't have enough to make it economically

            14      worthwhile to do that.

            15                Right now it's very easy to go from the hub

            16      out to the spokes.       Go to a company that sells a

            17      specific product and tell me all of the customers

            18      for that product or set of products that they sell.

            19                It's extremely difficult to say that I want

            20      to start at a spoke and tell me all of the hubs

            21      that they're attached to, so go to a specific

            22      customer and tell me all of the products that they

            23      have bought within a category, or perhaps even all

            24      the products they have bought.

            25                I will say that although you can't do that


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             1      today, there's an enormous economic potential

             2      there, and I am certain that many, many very bright

             3      people have spent a lot of time trying to figure

             4      out how I can come up with a master universe of all

             5      of the computing products that somebody has bought,

             6      or all of the clothing purchases that somebody has

             7      bought, because if I can do that, and if I'm a

             8      marketer selling, you know, an upgrade to a

             9      particular type of computer, that's the golden

            10      list, and I will spend a lot of money to rent names

            11      from that list.

            12                MS. ALLISON BROWN:       Michael?

            13                MR. PASHBY:     Yeah.    I think in the magazine

            14      industry, one of the most important sets of data

            15      that can be added to a magazine list is catalog

            16      information, and the merging of catalog

            17      information, because it does add the recency,

            18      frequency and value component to the magazine list.

            19                If you go back to the woodworking magazine,

            20      a person may buy a woodworking magazine noting that

            21      they're interested, but if you can match that with

            22      catalog information about the purchase of tools or

            23      the purchase of other supplies, and they're showing

            24      some frequency there, that separates out one group

            25      of people who are peripherally involved to


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             1      high-volume purchases within that area, and I

             2      suppose it also gives a greater degree of value to

             3      the broader lists, like a news magazine or a seven

             4      sisters magazine, those people may be then

             5      segmented into very specific interest areas.

             6                So, you have a -- one of the seven sisters,

             7      but you can match that with kitchen and food

             8      catalogs to show a high interest in cooking.              So,

             9      it then becomes much more interesting for other

            10      marketers, and much more targeted to the consumer.

            11                MS. ALLISON BROWN:       And what do businesses

            12      do to ensure that the data that you collect are as

            13      accurate as possible?

            14                Win?

            15                MR. BILLINGSLEY:       Well, we do several

            16      things.    Marketing data does not have to be 100

            17      percent accurate to be effective, but you want to

            18      make it as accurate as you possibly can, within the

            19      economic constraints that you have to deal with.

            20                But an example of some of the things that

            21      we do to make sure our data are accurate, even if

            22      you permissioned us to use your data in a product

            23      registration effort, you say yes, I would like to

            24      receive offers from third party -- from third party

            25      marketers regarding products and services that


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             1      would be of interest to me.

             2                 You don't automatically go into Naviant's

             3      database just because you have permissioned us.               To

             4      make sure that we're doing that accurately, we

             5      match your name and address against a public data

             6      source to make sure that you really are who you say

             7      you are.     That helps us get out the Donald Ducks

             8      and the Roy Rogers and some people who like to play

             9      games, but we find the utilization of the public

            10      compiled data, a very meaningful tool to ensure

            11      that our file is as accurate as it possibly can be.

            12                 MS. ALLISON BROWN:      And can you just

            13      clarify what you mean when you say public sources

            14      of data and compiled sources of data?            Can you be

            15      more specific?

            16                 MR. BILLINGSLEY:      Well, I probably

            17      misspoke, I probably should have said compiled

            18      sources of data which originated from public

            19      sources of data.      But it's a very effective way to

            20      make sure that data is accurate.

            21                 The other advantage that it holds for us is

            22      that we're very sensitive in not collecting data on

            23      children, and so by matching the name and a

            24      registration with an aggregator's data or a

            25      compiler's data, kids don't buy real estate


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             1     property and cars and things of that nature.

             2                MR. WHAM:    You haven't met my brother.

             3                MR. BILLINGSLEY:      So, it gives us a

             4     reasonable check to make sure that we're not

             5     collecting data on children.

             6                The other thing that we do to make sure

             7     data is accurate is we use the DMA suppression

             8     file, and we find that a very effective way to make

             9     sure that we don't include data in marketing lists

            10     to the people who have gone to the trouble to go to

            11     DMA and sign up for either their direct mail

            12     suppression file or telemarketing suppression file,

            13     and a new product they started just a few months

            14     ago which is an email suppression file.

            15                So, that's another way to make sure that

            16     the data we provide a marketer is accurate.              And

            17     the third way is the good old U.S. Post Office.

            18     All marketers use the NCOA process, or should use

            19     the NCOA process.

            20                MS. ALLISON BROWN:       And what does NCOA

            21     stand for?

            22                MR. BILLINGSLEY:      National Change of

            23     Address.     And the way that basically works is if

            24     you move and you fill out a card at the Post Office

            25     so your mail will be forwarded to your new


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             1     location, that information is collected by the Post

             2     Office, and the Post Office has this very large

             3     file of people who have relocated that's utilized

             4     to redirect their mail.         And the Post Office

             5     authorizes some 20-something companies to take this

             6     data and do a match to make sure that if you have

             7     an old address in your file, and you match the old

             8     address, then you can substitute the new address.

             9               And that's something that's been in

            10     existence for a long time, it's been used in the

            11     direct marketing world for a number of years.              It's

            12     a very effective tool to make sure that if you're

            13     doing a direct mailing of a marketing list, that

            14     the marketing collateral that you're spending hard

            15     dollars for to be delivered by the Post Office is

            16     truly deliverable.

            17               MS. ALLISON BROWN:        Thanks.

            18               Michael?

            19               MR. PASHBY: Some information really has to

            20     be accurate.      Some years ago I marketed a magazine,

            21     which I won't name, but, well, let's say a parents'

            22     magazine, and our primary source of readers were

            23     parents of newborn children.

            24               We were extremely sensitive to the problems

            25     inherent in that.       Somebody's buying lists of


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             1     potential new births, and some births obviously are

             2     not live births, and you are mailing to people

             3     saying congratulations, and that can be extremely

             4     sensitive, obviously.

             5               So, correcting data is very, very

             6     important.     We spent an awful lot of time and

             7     energy making sure that the sources we were

             8     compiling that data from were accurate.             If we

             9     found that there was an incidence of inaccuracy, we

            10     would cut off from that source.           And we would not

            11     buy information from that source ever again.

            12     Because of the responsibility to the consumers that

            13     we had.

            14               MS. ALLISON BROWN:        And can you be a little

            15     more specific about what the sources of that type

            16     of data are?

            17               MR. PASHBY:      The sources of that data were

            18     from -- no, I can't, they were from compilers.               It

            19     would come from doctors' office visits, from

            20     insurance companies, from a lot of different

            21     sources, I believe.

            22               MS. ALLISON BROWN:        And what did you do to

            23     make sure it was accurate?          How did you gauge that?

            24               MR. PASHBY:      We would -- we would do it

            25     from the complaint level.         That was the difficulty.


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             1     You were doing it after the event, but if one found

             2     that there was a degree of inaccuracy there, then

             3     we would cut off from that source.

             4               MS. ALLISON BROWN:        Ted?

             5               MR. WHAM:     You talk about data quality

             6     issues, it's useful to look at it in two different

             7     ways.    There's the quality of the data at the time

             8     that it's collected, and there can be errors

             9     introduced through typographical errors, or to

            10     purposeful, you know, fraudulence, Mickey Mouse and

            11     so forth, but there's also a more significant issue

            12     of data decay.

            13               Like if I, you know, show up in a database

            14     that I'm 25 to 34 years old, how old am I tomorrow?

            15     Okay?    So, date range information is very

            16     inaccurate.      Births, deaths, marital status and so

            17     forth, and people moving all the time, but we have

            18     a very mobile society.         So, the statistic that I

            19     heard, I can't vouch, say, for this, but the

            20     average data in a data base decayed at a rate of

            21     about one and a half percent per month, that was

            22     the inaccuracy that built up over time.

            23               The marketer has an absolute vested

            24     economic interest in making sure that that

            25     information is as accurate as possible.             If it's


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             1     inaccurate, they can't use it for the goal that

             2     they have.     So the alignment of the market

             3     interest, the consumer's interest of having

             4     accurate information is absolutely, I mean,

             5     perfectly together.

             6               MS. ALLISON BROWN:        We have time for one

             7     more comment and then we will go to questions from

             8     the audience.

             9               Betsy?

            10               MS. ELISABETH BROWN:        One of the things

            11     that I wanted to talk about data accuracy is that

            12     from the Claritas standpoint, we've seen a lot of

            13     different types of data.         We not only use Census

            14     data and other public domain data, consumer

            15     surveys, which is really self-reported demographic

            16     information, but in order to -- as I was talking

            17     about implementing, in order to actually implement

            18     an actual marketing program, we will take our

            19     segmentation codes and place them on list files,

            20     such as Acxiom, InfoUSA, Experian and Equifax, and

            21     many other compiled lists.

            22               What we have found many times, especially

            23     when we're using the types of models that I

            24     discussed earlier that go down to a more specific

            25     household level, in terms of the demographic


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             1     variables that we say are predictive of the

             2     behavior that we're trying to help our customers

             3     use, what we find sometimes is that these list

             4     sources have, I guess, decay, some other

             5     information, missing information, fill-in models,

             6     and we will show them that the data that we have

             7     proves out that their list is not really

             8     distributing the way the U.S. population

             9     distributes down to a low level of geography, a zip

            10     code, a census tract, a block group.

            11               So that we can take a look at a list of

            12     data out there and say you're reporting that only

            13     two percent are in the income category, 50,000

            14     plus, and we expect to see more like 27 percent.

            15               So, we have actually created models that

            16     help some of these list sources to improve their

            17     models, their income models or whatever that might

            18     be, to base them more on sort of a benchmark of

            19     data.

            20               So, there's a lot of -- it's sort of a

            21     symbiotic relationship, back and forth with

            22     Claritas and the list providers, sometimes they

            23     actually do change some of their model information

            24     on their file based on our information, and other

            25     times we just use it to assign what we think is a


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             1     more appropriate segment code, then they don't

             2     necessarily change that source of data, it depends

             3     on how they prioritize their models, and they

             4     prioritize their input sources.

             5               MS. ALLISON BROWN:        And I believe that

             6     Claritas also updates Census data, how do you do

             7     that?

             8               MS. ELISABETH BROWN:        On an annual basis.

             9     We update census data, again, from a list of a lot

            10     of sources, some of the postal information, some of

            11     the moving information, NCOA.          There's a lot of

            12     intercensal data that is produced that's not

            13     produced on 100 percent factor.

            14               In other words, there are many, many

            15     counties, communities and states that do many

            16     updates of data and information, and we take really

            17     whatever we can get that's available and utilize

            18     that data.     There are also many models that we have

            19     perfected over time, and we've been doing this,

            20     this is our third census that we've been actually

            21     updating information where we just do projections

            22     and straight line information based on other data.

            23               So, there are many sources that we can use,

            24     both census-type sources that we think we can have

            25     a high degree, feel that we have a high degree of


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             1     accuracy in terms -- and relevance, and some of the

             2     consumer survey research that's out there just

             3     allows you to take a look at shifting data in terms

             4     of how people are self reporting where their

             5     incomes are.

             6               And in addition, we do use a lot of the

             7     list data just to try to get a handle on which

             8     areas are growing.        Postal drop rates, I think ADVO

             9     counts, which is another list source where they

            10     constantly are updating where the postal drops are

            11     going.

            12               MS. ALLISON BROWN:        One thing that becomes

            13     clear pretty quickly is how integrated the

            14     aggregators are with the sources and how the data

            15     sort of rotate in and out of the different

            16     databases.

            17               I know when I open up the discussion for

            18     questions from the audience, if you have a question

            19     you would like to ask, please raise your hand and I

            20     will recognize you after one of our staffers comes

            21     over with the wireless microphone.            Please speak

            22     into the microphone while asking your question and

            23     state your name and organization before you begin

            24     your question so the court reporters can get an

            25     accurate transcript of today's proceedings.


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             1               MR. CATLETT:      Thank you, I'm Jason Catlett

             2     from Junkbusters.       I have a question for Mr.

             3     Billingsley.      I have an advertisement in a trade

             4     magazine from Naviant, it's quite amusing, it shows

             5     a biker with tattoos and a beard, and it makes

             6     light of the fact that he likes roses, and when

             7     you're going online, you might want to -- I infer

             8     from this advertisement -- you might want to pitch

             9     a banner advertisement for roses.

            10               Could you please tell us the process by

            11     which when this biker goes online and visits a

            12     website the website would know that he likes roses?

            13               MR. BILLINGSLEY:       Well, I'll talk a little

            14     bit more about that this afternoon, if you would

            15     like, because we'll talk about how the data is used

            16     to administer marketing programs, but basically, we

            17     would have business relationships with some of the

            18     ad serving companies that collect data anonymously.

            19               We would pass data attributes to those ad

            20     serving companies anonymously, so that they could

            21     then target a banner ad that was appropriate for

            22     that particular person, without ever knowing the

            23     person's name.

            24               MR. CATLETT:      Thank you.

            25               MS. ALLISON BROWN:        Don't forget to say


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             1     your name and affiliation for the record.

             2               MR. HENDRICKS:       Thank you, Evan Hendricks,

             3     Privacy Times.      I had one question, but first I

             4     wanted to follow up on what you said about the

             5     babies, because we always wondered about that, a

             6     lot of us.

             7               So, is it the doctor's offices would sell

             8     that information, or the insurance companies were

             9     some of the sources for people who are about to

            10     have babies?

            11               MR. PASHBY:      I am not absolutely certain, I

            12     believe that was, and this was some time ago.

            13               MR. HENDRICKS:       But I also wanted to

            14     comment, hospitals and birthing classes, and do

            15     they sell it to a compiler, is that how it would

            16     work?

            17               MR. PASHBY:      It's my belief that that's how

            18     the information was compiled.

            19               MR. HENDRICKS:       Okay.   The other thing is

            20     you said that the magazines, I think correctly, are

            21     at the front end of this process, much more so than

            22     some of the others who are at the back end, and in

            23     the UK, on a subscription form, the little cards

            24     that you get in your magazine, you have a check-off

            25     box, it says if you don't want your name shared,


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             1     check here, and send it in with your subscription,

             2     and one of the big problems in the U.S. is that at

             3     the point of the collection of data from

             4     individuals, people are not notified what could

             5     happen or given the chance to even opt out.

             6               And so, do you think that makes sense from

             7     a data practices point of view, and do you think

             8     that your association is ready to sort of endorse

             9     that and recommend it, you know, considering the

            10     growing strong feelings about privacy?

            11               MR. PASHBY:      I think from the standpoint of

            12     having to fill in, check a box on a card, what we

            13     found in any promotional activity, having the

            14     consumer take actions in a promotional activity

            15     reduces the response.        Therefore, we have cards

            16     which are prechecked, and yes I want this magazine,

            17     and then all they have to do is tear the card out

            18     and put it in the mail.

            19               But as I mentioned, we also do publish in

            20     the magazine the privacy policies and the ability

            21     to -- and the ability to call an 800 number or send

            22     to the magazine fulfillment house to be taken off

            23     the list.

            24               MR. HENDRICKS:       And of course what I'm

            25     describing wouldn't even, I mean someone could


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             1     still take the card and just throw it in the mail.

             2     It's only those people that took the time to look

             3     and see that there was a check-off box, and could

             4     check off they didn't want their name sold.

             5               So, what I'm saying is would it interfere

             6     with, you know, with what you're saying?             I mean,

             7     it wouldn't require the individual to check the box

             8     to say I don't want my name sold, it would only be

             9     for those individuals that cared enough.             And if

            10     this is practice -- am I confusing you?             You look

            11     like you're not following me.

            12               MR. PASHBY:      I'm saying that any time there

            13     is -- you give people the option in a promotion,

            14     the response declines.         And as we mentioned before,

            15     the whole use of information has been more

            16     effective and more efficient when we are spending

            17     or when businesses are spending 65 cents to a

            18     dollar to put a piece of promotion into the mail

            19     and you're getting single digit responses, you're

            20     trying to be as efficient as possible.

            21               MS. ALLISON BROWN:        Ted, do you want to

            22     comment on that?

            23               MR. WHAM:     Yeah, I absolutely would.         The

            24     basic fundamental question is if I -- if consumer X

            25     chooses to do business with Business Y, should


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             1     consumer X have the opportunity to say Business Y,

             2     don't contact me.       That's question A.

             3               And question B is, Business Y, don't

             4     share my information with company Z and Z sub

             5     one and Z sub two and so forth.           I fundamentally

             6     reject the notion that a consumer should be able

             7     to say I want to do business with a particular

             8     company Y, but that company can't follow on and

             9     make money out of that relationship.            I think

            10     that that has terribly negative consequences

            11     for the efficiency of economic transactions in

            12     this country.

            13               The reason we don't have mom and pop stores

            14     in the United States very successfully anymore and

            15     the reason we have Wal-Marts in this country is

            16     because they provided a very economically efficient

            17     way of delivering low-priced goods in the United

            18     States, for better or for worse, but the wheels of

            19     that continue to turn by having the businesses be

            20     able to use that information in the most effective

            21     way possible.

            22               MS. ALLISON BROWN:        We are trying to stay

            23     on a factual level here and stay away from policy

            24     discussions.

            25               MR. WHAM:     I couldn't help myself.


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             1               MS. ALLISON BROWN:        Does anybody else have

             2     a question?

             3               MR. DIXON:      Tim Dixon from Baker McKenzie.

             4     A question, just to pick up on that point to take

             5     it a little bit further.         When we talked,

             6     particularly when you mentioned the 30 million

             7     permissioned people or households in the database

             8     that you've got, what proportion do you know is

             9     that people who have done the sort of check box as

            10     opposed to the kind of I guess you could call it

            11     permission by inertia where they would need to read

            12     a privacy policy and then go through an active

            13     process of say opting out if they wished to opt

            14     out?

            15               MR. BILLINGSLEY:       I don't know the

            16     percentage.      We use in collecting the data, and

            17     this is primarily a decision that's made between us

            18     and the client that we're providing registration

            19     services for, we use three different kinds of

            20     permissioning processes.         I'll try to get through

            21     this without confusing myself and the audience, but

            22     we use the opt-in process, which we define as a

            23     permissioning question with either yes or no, not

            24     preselected.

            25               We also use the opt-out permissioning


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             1     process, which is a permission question with

             2     yes preselected, and in certain situations,

             3     not a lot, we use the explicit process, which

             4     basically is a bold statement that says, Do

             5     not provide us your marketing information unless

             6     you're willing to receive, you know, marketing

             7     offers.

             8               So, we utilize all three of those,

             9     depending upon the circumstance.           We do flag how

            10     the permissioning process worked for that

            11     particular consumer, and we are sensitive based

            12       on the permissioning process, how that

            13     information is used when it is -- when a

            14     marketing program is generated based on that

            15     permissioning.

            16               But the percentage, I don't know the number

            17     to be very specific about your question.

            18               MS. WOODWARD:      My name is Gwendolyn Woodard

            19     with Worldwide Educational Consultants.             I'm

            20     consumer A, and I decide that I'm going to attend a

            21     conference, so I go online and complete the form.

            22     The site that I'm going to complete the form on has

            23     a third party advertising network associated with

            24     it, okay?     As I complete the form, I notice in the

            25     URL the information that I put in the form is


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             1     reflected up there.

             2               So, as a consumer, how would I know how

             3     that information is going to be used, what

             4     databases will it be going to, especially if this

             5     third party advertising network uses a push and

             6     pull technology to disseminate that information to

             7     different databases?

             8               MS. ALLISON BROWN:        Does anybody want to

             9     take that on?

            10               MR. WHAM:     It's very useful if you're

            11     omniscient.

            12               MR. BILLINGSLEY:       I'll respond a little

            13     more.    The --

            14               MR. WHAM:     Comprehensively, perhaps.

            15               MR. BILLINGSLEY:       Yeah.    The way it should

            16     work, in my opinion, is if you're in that kind of

            17     situation where a redirect is occurring, without

            18     your knowledge, then the privacy policy should be

            19     very explicit in saying -- in discussing the

            20     redirect to another website, why that is occurring,

            21     what your choices are to either participate in that

            22     or not participate in that.          And disclosure, in my

            23     opinion, is the key for the consumer in

            24     understanding what is or is not happening to

            25     their data, particularly when you see it in the


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             1     URL.

             2               MS. ALLISON BROWN:        And let me just say

             3     that that's really a question that should be

             4     directed to network advertisers, and none of the

             5     panelists up here represent any network

             6     advertisers, and it's really a separate issue that

             7     we're not addressing today.          But, you know, that's

             8     a question for other people.

             9               We are running out of time.          Paula, did you

            10     want to comment on that issue?

            11               MS. BRUENING:      No, thanks.

            12               MS. ALLISON BROWN:        So, I think we are

            13     going to break for lunch now, and we would like to

            14     see everybody back at 1:00, and I want to thank the

            15     panelists for a very informative discussion.               We

            16     really learned a lot.

            17               (Applause.)

            18               (Whereupon, at 11:30 a.m., a lunch recess

            19     was taken.)

            20

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             1                                 AFTERNOON SESSION

             2                             -    -    -    -    -    -

             3

             4     SESSION 3:     WHAT ARE THE BUSINESS PURPOSES FOR

             5     MERGING AND EXCHANGING CONSUMER DATA?

             6

             7     MARTHA LANDESBERG, Attorney, FTC, Moderator

             8

             9     PANELISTS:

            10

            11     MARTY ABRAMS, Executive Director, Center for

            12     Information Policy Leadership

            13     JOHNNY ANDERSON, Chief Executive Officer, Hot Data,

            14     Inc.

            15     C. WIN BILLINGSLEY, Chief Privacy Officer, Naviant,

            16     Inc.

            17     JERRY CERASALE, Senior Vice President, Government

            18     Affairs, Direct Marketing Association

            19     PETER CORRAO, Chief Executive Officer, Cogit

            20     Corporation

            21     LYNN WUNDERMAN, President/Chief Executive Officer,

            22     I-Behavior, Inc.

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            24

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             1                                 SESSION THREE

             2            WHAT ARE THE BUSINESS PURPOSES FOR MERGING

             3                    AND EXCHANGING CONSUMER DATA

             4                      -      -       -      -      -      -

             5               MS. LANDESBERG:           If everyone would please

             6     take a seat, we would like to get started.                 We have

             7     a very full afternoon.

             8               Good afternoon.           My name is Martha

             9     Landesberg.      I'm an attorney in the Division of

            10     Financial Practices here at the Federal Trade

            11     Commission.      Let me just state, before we get

            12     going, we have a couple of announcements to make.

            13     I want to reiterate for everyone our ground rules.

            14               We request that you turn off your cell

            15     phones, please.        Once again we are going to very

            16     gently but firmly hold our speakers to the time

            17     limits we've discussed with them.                 My colleague,

            18     Allison Brown, will be your timer.                 She's right

            19     here, so just look for a sign from her that you're

            20     coming toward the end of your time, if you would.

            21               We will as time permits again have a

            22     question and answer session.               I'll ask again that

            23     you please identify yourself for the court

            24     reporters before asking your question.

            25               And finally, the record of the workshop


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             1     will be open until April 13 for submission of any

             2     comments or materials you want the Commission to

             3     consider, and we invite you to participate in that

             4     process.

             5                And also a fond welcome for those of you

             6     listening on the audiocast.          We apologize and

             7     understand there was some trouble this morning.               We

             8     hope things are up and running, and we're happy to

             9     have you with us.

            10                One last comment,      Michael Pashby in our

            11     prior panel has submitted a written statement

            12     regarding his comments on the use of medical

            13     records to identify new prospects, and that

            14     statement, as others, will be posted in the

            15     workshop record for everyone to have a look at and

            16     comment upon.

            17                Now, it's my pleasure to begin session 3 of

            18     our workshop, and this is where we really get to

            19     the meat and potatoes of what it is that businesses

            20     do with all the information we've been hearing

            21     about all morning, and what we're going to do here

            22     is have presentations from each of our panelists

            23     one by one.      I'll introduce them one at a time, and

            24     we'll take it from there, and as time permits have

            25     some questions too.


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             1                We'll begin with Marty Abrams.          Marty is

             2     the Executive Director of the Center for

             3     Information Policy and leadership at Hunton &

             4     Williams.     Before joining Hunton & Williams Mr.

             5     Abrams, or Marty, spent 12 years as Experian

             6     leading their information policy and privacy

             7     efforts.

             8                Marty?

             9                MR. ABRAMS:     Thank you very much.       As we go

            10     through this technical process of keying up my

            11     presentation, I would first like to thank the FTC

            12     staff for inviting me here this afternoon, and I

            13     would also like to thank them for the excellent

            14     program this morning.        I found it incredibly

            15     worthwhile and very informative, and hopefully we,

            16     this afternoon, can be just as informative.

            17                And we are talking about the uses and

            18     purposes for third-party data, and I think that the

            19     best place to start with understanding third-party

            20     data is understanding that it matches with in-house

            21     data, and it begins with the in-house data because

            22     that's what marketers begin with, their own

            23     customer base, understanding their own customer

            24     base.

            25                And that data comes from multiple sources.


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             1     The most important of those sources is directly

             2     from their customer, and the second is their

             3     relationship with their customer, and this is the

             4     majority of the data that the organizations,

             5     marketers, have in their databases and their files.

             6               And to understand that data, to make the

             7     best use of that data, they have to match that up

             8     with third-party data, and I'm going to be talking

             9     about purposes and not processes.           I have

            10     colleagues on this panel who I think are going to

            11     get more into the processes, but I would like to

            12     really put the emphasis on why the data is used.

            13               And there's a paper that really goes in to

            14     how this works that was released yesterday by the

            15     Privacy Leadership Initiative and ISEC Council of

            16     the DMA, and that paper is available on the DMA web

            17     site I believe.

            18               The first process, the first purpose, the

            19     first reason for using third-party data is just to

            20     make sure that your file is clean.            20 percent of

            21     the American population moves each year.             People

            22     use variations of their names.           They use variations

            23     of spellings of their name.          I'm Marty Abrams.        I'm

            24     Martin Abrams.      I'm Martin E. Abrams.        I've lived

            25     in California.      I've lived in Ohio.        I've lived in


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             1     Texas.     I sometimes buy from my office.

             2                So one of the purposes is to merge all of

             3     those Marty Abrams that are sitting on a company's

             4     file into one Marty Abrams so that I can market

             5     that to me in a unified fashion.

             6                The second is to have a deliverable

             7     address.     We often have multiple addresses,

             8     multiple variations of our addresses.            We

             9     abbreviate our address.         We move, and one of the

            10     purposes of using third-party data is to put that

            11     data together to have an address that is

            12     deliverable.

            13                And having a deliverable address means that

            14     you can deliver up to 15 percent more of the mail

            15     that you mail on a regular basis, and that has

            16     really cost implications for an organization.

            17                The second purpose is to truly understand

            18     your own customers, and I think Lynn Wunderman did

            19     a great job of describing that this morning.

            20     You're trying to understand what is similar about

            21     your customers and what is different, and one of

            22     the ways you do that is overlay your file with

            23     demographic information from a third-party.

            24                Examples of the type of data that you might

            25     overlay is age because age is very predictive of


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             1     where you are in your life-style, what you might

             2     buy and also inferred or modeled income, and again

             3     we have no exact income on any files other than the

             4     IRS's files, and those, of course, are not

             5     available, so we model income to be able to try to

             6     figure out how individuals are similar or

             7     different.

             8               And that information helps us understand

             9     who to market to, how to market to them, what type

            10     of products we should offer them in the future.               We

            11     begin to understand what is predictive of who's a

            12     buyer and what is just really a red herring, not

            13     very predictive.

            14               And then based on what we understand about

            15     our own customers, we can go out in to the

            16     marketplace and find individuals who are very

            17     similar to our own customers, folks who have very

            18     similar demographics, very similar psychographics,

            19     so we can begin to build our customer base with new

            20     customers who are similar to the folks that we are

            21     marketing to at the moment.

            22               And those sources include competitors,

            23     because organizations do exchange lists,

            24     noncompetitive marketers, and lastly aggregators or

            25     compilers, organizations that put together files of


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             1     individuals for other organizations to use who

             2     create mailing lists, and the results are more

             3     effective communication with existing customers.

             4               We can put together the right message for

             5     the right consumer at the right time to maximize

             6     that relationship with the customer.

             7               We also find prospects who we have the

             8     greatest probability of reaching, folks who are

             9     most similar to our existing customers, and more

            10     important, in this modern age, is we begin to

            11     understand how our customers are changing so we can

            12     begin to develop the products and services that are

            13     responsive to where our customers are going over

            14     time.

            15               Martha asked me to talk a little about the

            16     differences between marketers and aggregators in

            17     terms of the type of data they have and the type of

            18     processes.     When you think about marketers, the

            19     folks who actually market to you and I, first their

            20     data primarily comes from their own customers.

            21               Even if I overlay with data from third

            22     parties, if I'm a marketer, most of the data I have

            23     is from my own customers.         Most of that data is

            24     either self reported, I give you my name and

            25     address, I volunteer information with you, or comes


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             1     from my own experiences with you as a customer.

             2                And lastly, I as a marketer typically have

             3     regular contact with my customer and can

             4     communicate with you as my customer about both what

             5     I'm selling and my processes and the choices that

             6     you have.

             7                Aggregators have data on a broader

             8     population.      Some aggregators have most of the U.S.

             9     population.      The data comes from many, many

            10     sources.     As we discussed, some of them are public

            11     record sources.       Some of them are surveys.         Some of

            12     them are purchase data, but the data comes from

            13     many sources, not a single source.

            14                Typically the data that is held by an

            15     aggregator is not experiential data.            It tends to

            16     be demographic or psychographic data, and, last,

            17     typically the aggregator does not have regular

            18     contact with the customer, the consumer, but rather

            19     relies on the party that collected the data to have

            20     had that contact with the consumer, and most

            21     aggregators build systems to make sure they only

            22     get data from reliable sources.

            23                Thank you very much.

            24                (Applause.)

            25                MS. LANDESBERG:      Thank you, Marty.


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             1               Next we'll hear from Win Billingsley, the

             2     Chief Privacy Officer of Naviant.           Win?

             3               MR. BILLINGSLEY:       As we talked this

             4     morning, Naviant's key value that they bring to the

             5     marketplace is that we provide a database of

             6     consumers that are Internet enabled, and we sort of

             7     phrase our mission statement as Naviant is a

             8     leading provider of integrated, precision marketing

             9     tools for online and offline environments, so we

            10     can send marketing messages or marketing campaigns

            11     to consumers either through direct mail or through

            12     Email or through banner ads, so we work in both of

            13     those worlds and actually try to integrate those

            14     two worlds together.

            15               So we enable marketers to reach and build

            16     relationships with online consumers, and that's

            17     really Naviant's key sole business purpose.

            18               It's always tough to get a business model

            19     on one slide, so I tried to simplify this as much

            20     as I possibly can but still make it meaningful for

            21     you, and for Naviant the world begins with

            22     electronic registrations.

            23               We work with manufacturers that build

            24     computer hardware, computer software, and we

            25     facilitate the registering of their products and


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             1     services via the Internet.          Most of that data, once

             2     it's captured, is passed back to the original

             3     manufacturer.      We keep the name and address and

             4     designate a flag that this individual, since they

             5     registered their product or service via the

             6     Internet, is an Internet enabled household.

             7               So the data point for us begins with the

             8     name and address and an Internet household.              That

             9     begins the database processing, and there's data

            10     hygiene work that's applied to that database.              I

            11     talked about it a little bit this morning.              We use

            12     the compiler's information to make sure the names

            13     that we have are accurate in our database.

            14               We also append to that from the compilers

            15     various data attributes that enrich the data and

            16     make it meaningful and store and maintain the data.

            17     We also use the DMA's file suppression list to make

            18     sure that no one is in our database that has

            19     expressed an interest not to be.

            20               And I should have mentioned back in the

            21     registration process that there is a permissioning

            22     process that we go through before you ever really

            23     enter into this diagram.

            24               So once the data is there with an

            25     enrichment of data attributes, then we have the


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             1     ability to deliver this data for marketing purposes

             2     in a variety of channels in a variety of ways, so

             3     the data can be used to administer direct mail or

             4     Email campaigns.       It be used to deliver direct mail

             5     campaigns, telemarketing and targeted banner ads.

             6               And we analyze the data to determine counts

             7     based on criteria.        A client will come to Naviant

             8     and say, I'm looking for these kind of people, tell

             9     me how many you have in your database so we can

            10     analyze the data and determine how many people we

            11     have that fulfills that particular requirement, so

            12     that in essence is Naviant's business model.

            13               Now, why do we do all this?          What purpose

            14     does it serve the business community?            There are

            15     many.    I've just noted three here that I thought

            16     might be meaningful to you.

            17               One is we provide the data back to the

            18     registration client with the enhancement of the

            19     data attributes that we've associated so the

            20     registration client has some view of who is buying

            21     their products and services.

            22               That's very important to the manufacturer

            23     to know that because they -- since they distribute

            24     through some intermediary, they are not in direct

            25     contact with their customers.


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             1               So we would provide that back to the

             2     registration client, and the registration client

             3     would say, Gee, we have this kind of person buying

             4     this model of computer, how can we find more of

             5     those kinds of customers and launch marketing

             6     campaigns to increase and enhance our business.               So

             7     that's the way a registration client would tend to

             8     use this data is to find more like customers.

             9               Another way they would use the data is say,

            10     This particular product is being bought by

            11     individuals that have these demographic

            12     characteristics, so how can we fine tune our

            13     advertising so that we are visible, more visible to

            14     individuals with these kind of characteristics, so

            15     it's used for a variety of purposes by a

            16     registration client in order to improve the

            17     efficiency of their marketing effort.

            18               Another example would be a bank.           Banks

            19     love to promote their Internet banking packages and

            20     capability because they can provide enhanced

            21     service to their customers at a reduced cost for

            22     those of us who sign up for Internet banking.

            23               So a bank will come to Naviant and say, We

            24     really would like to promote our Internet banking

            25     capability, but we have a problem, we have no idea


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             1     in our customer base who is on the Internet and who

             2     is not on the Internet, and really rather than do a

             3     mass mailing to all of our customers, we would like

             4     to do some selection.

             5               So they would come to Naviant and say, If

             6     we give you a list of our customers, can you match

             7     those names against the names in your database and

             8     tell us which ones of those are Internet enabled,

             9     and we provide that service.

            10               And then the bank can then target or

            11     deliver a marketing campaign only to those

            12     customers who are Internet enabled, and they might

            13     even refine that further.         They might refine it by

            14     an age group or income level, but the primary key

            15     for the bank, if they're promoting their Internet

            16     banking package, is to only target to those that

            17     can actually use that product or service.

            18               A third example would be a retail dot com.

            19     A retail dot com wants to drive traffic to their

            20     web site, and you know you can always buy a

            21     billboard on Highway 1 or you can by an ad for the

            22     Super Bowl, but what they would want to do is to

            23     work with Naviant looking for a particular type of

            24     customer or individual that meets the selection

            25     criteria and then do a direct mail campaign to


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             1     those customers with some kind of marketing offer

             2     that would drive them to their web site so they

             3     could offer a product or service.

             4                Thank you.

             5                MS. LANDESBERG:      Thanks very much, Win.

             6     Our next speaker is Peter Corrao.           Peter is the CEO

             7     of Cogit Corporation.        Before joining Cogit.com, he

             8     was Division President of National Accounts

             9     Marketing for ADVO and the owner and operator of

            10     Sports USA.

            11                Peter?

            12                MR. CORRAO:     Well, thank you very much for

            13     inviting me here today.         Even though I come from

            14     one of the largest direct marketing firms in the

            15     country in ADVO, my comments today will mostly be

            16     related to online marketing and its applications.

            17                So I would like to talk to you today about

            18     the developing science of visitor relationship

            19     management and how it's applied on the web.

            20                Before I do that, though, let me tell you a

            21     little bit about the dilemma in commerce today on

            22     the Internet.       My company, like many other dot

            23     coms, is a highly capitalized, venture capitalized

            24     company.     We've taken around $50 million in

            25     investment to date and have yet to turn a profit


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             1     with our company.       We look similar to others that

             2     are out there.

             3               The Internet commerce dilemma can be

             4     summarized pretty much on the slide that I've shown

             5     you here.     There's two ways in a B-to-C environment

             6     that companies are making money or trying to make

             7     money on businesses on the Internet today.

             8               One is content sites, and they're heavily

             9     required or exclusively required, excuse me, to

            10     bring advertising in, so their model is all about

            11     advertising.      They deliver free content to

            12     consumers.     They put advertising up for sale.           They

            13     sell that advertising, and their business model is

            14     developed around that.

            15               The other side of that is the commerce

            16     sites, who are the E-tailers or retailers that are

            17     trying to sell their goods and services online, and

            18     theirs is a simpler model in that they're trying to

            19     gather customers, turn those customers into

            20     repeatable revenue.

            21               Here's the dilemma.        The Internet today

            22     isn't very efficient, even with the tools that are

            23     being applied to it.        Imagine that you bought

            24     133,000 banner ads, and you paid around $15 a

            25     thousand for it, which would be the current going


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             1     rate if you had a media buying firm dealing with

             2     either direct companies or with providers of those

             3     services.

             4               Of those ads that you bought out there,

             5     around $15 a thousand, you would have earned

             6     probably in the range of 300 visitors or so, so ads

             7     saying 300 visitors clicked through from those ads

             8     and came to your site to look.

             9               Of those only five took action, so you're

            10     getting started with the 133.          Now you're left with

            11     five that took action, and if they did take action,

            12     only 20 percent of those, or one, would return

            13     within the next year to buy anything from your site

            14     again.

            15               So just think of it from its most simplest

            16     format -- and you're only dealing with the

            17     advertising and attention components of being an

            18     Internet company, your acquisition cost for a loyal

            19     customer in this model is $2,000.

            20               So the imperative here is that the Internet

            21     has got to learn to be better and more focused on

            22     how it brings -- on how it brings its clients in.

            23               Let me show you a little bit about visitor

            24     relationship management and why it's important.

            25     Merchants want to increase desired action and get


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             1     consumers to buy things and services from their

             2     site.    Consumers want meaningful things to be shown

             3     to them.

             4                Merchants again want to display relevant

             5     content to their customers.          Consumers are

             6     demanding instantaneous and ever faster access to

             7     relevant content.       Doing that is expensive.

             8                Merchants want to optimize customer visits

             9     and generate sustainable profits.           Consumers expect

            10     free Internet, other than access, or inexpensive

            11     services at significantly discounted prices often.

            12     We think that visitor conversion is critical to

            13     making this model sustainable on the Internet.

            14                What Cogit does is capture registration

            15     information, I'm giving an example of what we do

            16     here, with and amongst our customers.            We match

            17     that registration information then to available

            18     data in the offline.

            19                We have two data sources primarily.           One is

            20     Equifax Corporation, which we use their own bulk

            21     data, and the other as of March 31 will be Claritas

            22     data, which will be entered in our file at the end

            23     of this month.

            24                When that information is matched, we

            25     irreversibly discard any personally identifiable


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             1     information that we found on the consumer, so if

             2     you registered by name, we get rid of the name,

             3     replace that with a random ID, and that random ID,

             4     we can't go backwards and reengineer to find out

             5     who that consumer is.

             6               We generate then an anonymous profile on

             7     that particular consumer, and then we allow our

             8     customers to, one, know who's visiting their site

             9     if they're not a customer yet, and, two, target

            10     them with relevant content that will then incent

            11     them to want to buy.

            12               We think privacy is a big piece of doing

            13     this.    Consequently our profiles are 100 percent

            14     anonymous.     We think consumer PII shouldn't be

            15     stored and used for further personalization.              We

            16     don't -- our visitors in the Cogit model are never

            17     tracked across sites, so we only know what you're

            18     doing on a specific site that you're dealing with.

            19               Information from one client is never shared

            20     with another.      Behavior information is

            21     never appended to our profiles, so the fact that

            22     you bought something on one of our customers' sites

            23     isn't appended to further your profile.

            24               Clients aren't allowed to store Cogit's

            25     returned data, and we semiannually have our web


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             1     site audited to validate that everything that we've

             2     got in our web site is, in fact -- in our policy

             3     is, in fact, what we do.         Ernst & Young does that

             4     audit.    We were the first cyber audit that they did

             5     and first audit attestation that they did.

             6               So the notion is from a visitor

             7     relationship management standpoint or knowing who

             8     comes to your site so you can do something about

             9     it, we think that that's critical to being able to

            10     sustain the Internet commerce that's having trouble

            11     sustaining itself today.

            12               We think that convenient and relevant

            13     information for consumers is what they demand and

            14     what they want.       Most of that information is given

            15     to the consumer free today, although it's given

            16     free against a model that is not panning out from a

            17     general business model standpoint, and we think

            18     that there's an optimum balance between

            19     personalization and privacy.

            20               We think we've come up with a method of

            21     doing that and one that doesn't offend the consumer

            22     and their ability to do it but yet does give the

            23     tools needed to the sites so that they can continue

            24     to make money in their commerce sites and/or money

            25     in their content sites.


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             1               So thank you.

             2               MS. LANDESBERG:       Thank you, Peter.       Our

             3     next speaker is Johnny Anderson, President and CEO

             4     of Hot Data doing double duty for us today.

             5               MR. ANDERSON:      Thanks, Martha.       I wanted to

             6     take a second and kind of look at a higher level on

             7     how companies interact with customers and what are

             8     the analytic and customer relationship management

             9     applications that are driving a lot of the demand

            10     for third-party information.

            11               This really depicts a pretty typical

            12     architecture of a CRM application that any marketer

            13     would use one or more components of.            At the bottom

            14     what you see is customer touch points.             That's how

            15     businesses will either get information from their

            16     customers and prospects or communicate with them.

            17               So on the left-hand side you see kind of

            18     the outbound communications media that a business

            19     will use to communicate directly with the customer.

            20     This is not TV and radio ads and so forth, but

            21     they'll really use kind of Email, direct mail and

            22     maybe some telemarketing either from an in-house

            23     organization where they have their own telesales

            24     organization or a contracted organization.

            25               And on the right, what you will see is


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             1     really the way that people get information and then

             2     sometimes communicate with their customers, and

             3     that would be kiosks, which is kind of a new

             4     emerging way to communicate with customers.              You're

             5     starting to see kiosks in, of all places, baseball

             6     parks where the San Diego Padres have a customer

             7     loyalty program.

             8               And a customer puts in their preferences

             9     when they sign up for the customer loyalty program.

            10     When they visit the ball park they'll get the 10

            11     percent off coupon for a specific restaurant that

            12     happens to be in the area.

            13               In-house or in-store communications, and

            14     we're now starting to see companies even like food

            15     chains implement customer loyalty programs where

            16     transactions are tracked so that customized offers

            17     and customized coupons can now be delivered to a

            18     specific consumer.

            19               Call center being somebody is calling an

            20     800 number and talking to a customer service

            21     representative, either a sales rep or a support

            22     representative, and then obviously the web as one

            23     of the major ways that customers are getting

            24     information about products and services that a

            25     company may offer.


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             1               It is a web visit where they may fill out a

             2     form that says, "Send me more information," and so

             3     that companies are getting some explicit

             4     personalization type information that says, If I'm

             5     going to a dot com or another sports kind of web

             6     site, I'm going to check that I'm interested in

             7     golf, so send me some golf information.

             8               That's really stored in an operational data

             9     store that's used for day-to-day kind of activity.

            10     That's the data store that a CRM system may use so

            11     that sales reps and a call center get access to a

            12     customer record when an inbound call comes in.

            13     They may have some transaction information, maybe

            14     used for actually back-end processing where order

            15     fulfillment takes place, but it's the data store

            16     that's being used on a day-to-day basis.

            17               Some companies actually will have a

            18     separate data store that is used for data

            19     warehousing and the analytics, and that information

            20     is transferred back and forth with some

            21     synchronization, extraction, transformating and

            22     loading where a lot of information is both

            23     rationalized, and that is, Bill Smith is also

            24     William Smith and Bill Smith came in through the

            25     Web and William Smith called in on a call, and that


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             1     information is rationalized.

             2               And then the analytical tools at the top

             3     are the things that are really driving a lot of the

             4     marketing automation pieces, and that's things like

             5     campaign management.        If I understand who my target

             6     audience is and who my best customers are, let me

             7     generate a campaign and plan that campaign and

             8     implement that campaign and then manage the results

             9     from that campaign.

            10               RFM analysis has been talked about already.

            11     That's really understanding recency, frequency and

            12     monetary transactions on a per customer basis,

            13     really to understand who my best customer is, and

            14     then to clone that customer and find more that just

            15     look like them or be able to recognize them when

            16     one of those comes into one of my touch points.

            17               Category management's driven from that, and

            18     that's really driving product synergies so if

            19     somebody buys a particular product, they know,

            20     through doing some category management analysis,

            21     retail analytics, that a customer is likely to

            22     purchase an additional product.

            23               And then that starts to drive a lot of the

            24     tools that marketing managers use to understand

            25     their business, and those are things like data


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             1     visualization, being able to look at customer maps

             2     for drive time analysis and trade area analysis;

             3     reporting, so aggregate reporting on a per product

             4     or per customer segment or per campaign

             5     performance, and then other kinds of data mining,

             6     being able to mine data that's transactional and

             7     maybe inventory management type applications and

             8     merging that kind of piece together.

             9               Where Hot Data fits is really on the left

            10     side of the equation, and that is we provide a set

            11     of services that offer data quality and enhancement

            12     of those databases, whether that's an operational

            13     database or a data warehouse database.

            14               The business models that are really in that

            15     kind of space, and not just Hot Data related but

            16     kind of industry wide, are really geared around

            17     four sets of services.         Marty mentioned address

            18     data quality, and that's a big part, not only in

            19     the real world, but also on the electronic commerce

            20     side of being able to verify that an address is a

            21     deliverable address, that it is standardized to

            22     Post Office standards so I get a better postal

            23     rate, that I can manage the consumer's change of

            24     address, i.e., the 20 percent of consumers that

            25     move every year, that that can be tracked in a


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             1     database, and then geo-coding addresses so that

             2     addresses can be looked at in terms of where people

             3     live.

             4                Data rationalization and standardizing,

             5     that's understanding Bill Smith is William Smith.

             6     Consumer data enhancement is enhancement of

             7     demographic, psychographic, and business data

             8     enhancement.      The flipside for us is that we also

             9     deal with business to business marketers.

            10                In a broad sense this is the architecture

            11     that we use.      We house consumer household

            12     information.      We house carrier route information.

            13     We have services that house standardization, area

            14     code update changes and U.S. national change of

            15     address.

            16                We provide customer data integration

            17     technology to our customer, to our customers who

            18     are contractually bound to the privacy use

            19     restrictions and viewing restrictions that we pass

            20     along to them, and that really from one click of a

            21     button they can profile a subset or their entire

            22     database and do things like address standardization

            23     and profiling.

            24                This is kind of a bright real world example

            25     of what one of our customers uses, and they're


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             1     really a wireless broadband provider that was

             2     really looking for -- to really target market.                 I'm

             3     sure a lot of DSL, everybody has probably got DSL

             4     things in the mail, and when I did, I went to try

             5     to sign up for it, and I was out of range, and I

             6     couldn't sign up.

             7               So they got me to respond, but they got me

             8     to be hostile because I was outside the range, so

             9     our customer really wanted to target people outside

            10     10,000 foot radius from a central office, and after

            11     having done some ideal customer profiling for them,

            12     identified who their target should be and who their

            13     ideal target should be in that particular

            14     environment.

            15               I am out of time, and the band's about to

            16     start playing, so I'm going to turn it back to

            17     Martha.

            18               MS. LANDESBERG:       Thank you, Johnny.       Our

            19     next speaker is Lynn Wunderman, CEO of I-Behavior,

            20     also serving two roles for us today.

            21               MS. WUNDERMAN:       Actually, I don't know if

            22     it's true, but I heard a rumor here today that the

            23     real reason we've been asked to be here is that

            24     we're being auditioned for participants on a new TV

            25     game show.     It's called "Database Marketing


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             1     Survivor," you know the one where they put a bunch

             2     of database marketers in a room in Washington to

             3     talk about their business models.           Last one

             4     standing wins a million dollars.           Anybody else hear

             5     this?    I think I probably better keep my day job.

             6               Anyway, I'm here to talk to you today about

             7     a company called I-Behavior, and I founded this

             8     company with my father-in-law, Lester Wunderman,

             9     yes, there is a family relationship for those who

            10     have asked, and we created this company largely

            11     with the vision to bring a lot of the art and

            12     science of traditional direct marketing to the web

            13     and to new media.

            14               Now, our formula is really very

            15     straightforward.       Everything that we do, the way we

            16     manage data, the way we structure it, the way we

            17     analyze it, all the products that we create from

            18     data has its roots in a very simple but proven

            19     principle we've known for decades as traditional

            20     direct marketers.       You've heard this theme a lot

            21     today.    Past behavior is the single, strongest

            22     predictor of future behavior.          It's no coincidence

            23     that our name is I-Behavior.

            24               Now, we take for granted gaining access to

            25     behavioral information in direct mail.             We can pick


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             1     up the phone.      We can call a list broker, and we

             2     can rent names from one of any 30,000 plus odd

             3     lists based on what people bought, when they bought

             4     it, how much they spent.

             5               Can't do that today on the Internet.            That

             6     type of behavioral information doesn't exist.              We

             7     have interest categories.         We have product

             8     registration data, but not that level of

             9     behavioral, experiential information.

            10               Beyond that, what's been largely unexplored

            11     is the opportunity to target and understand

            12     consumers based on their multi-channel buying

            13     behavior.     Even though we know that a merchant's

            14     multi-channel shoppers, the buyers, tend to be

            15     their best customers, in fact statistics show that

            16     they're worth an average of over 30 percent more

            17     than their single-channel counterparts, and we know

            18     that those customers that can master these tools

            19     will be the multi-channel winners of tomorrow.

            20               So to fill this gap in the marketplace,

            21     we've created one of the first, if not some say the

            22     first, cooperative database that truly combines

            23     highly detailed, transactional information on and

            24     offline on known direct channel buyers.

            25               Now, before anybody starts slinging arrows


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             1     up here, I will tell you that there are significant

             2     privacy safeguards built into this product, but

             3     before I get to them, I want to make sure that

             4     everyone has an understanding of the business model

             5     so they have the context in which to evaluate them.

             6               First of all, I mentioned earlier for those

             7     of you who are not familiar with the concept of a

             8     co-op database, it's created when marketers pool

             9     all their customer names and related buying

            10     behavior in order to gain access to names of

            11     qualified prospects as well as additional data on

            12     their current customers that would otherwise be

            13     unavailable in the marketplace by which to build

            14     their business.

            15               Now, this is a proven business model in the

            16     offline catalog industry.         I'm sure you're probably

            17     familiar with names of companies such as Abacus.

            18     Experian has a similar offline product catalog

            19     called Z-24.

            20               The reason that these products are so

            21     successful is really two basic things; number 1,

            22     the superior performance of a list.            The fact that

            23     all this rich behavioral information goes in to

            24     fuel the selections, they have significantly higher

            25     response rates than the average mailing list,


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             1     outside mailing list, by which one would normally

             2     have the opportunity to do prospecting in the world

             3     today.

             4               Secondly, in terms of their pricing, they

             5     are offered to members, and by the way only members

             6     have access to these names.          You have to contribute

             7     in order to get data out.         Members get access to

             8     these names at a preferred rate, virtually half the

             9     price of a standard vertical list today.

            10               So what we're doing at I-Behavior is we're

            11     expanding this context so that beyond catalogers

            12     we're including publishers, E-tailers, club and

            13     continuity marketers, virtually anyone who does

            14     direct-channel marketing, and we're creating it in

            15     a way that's a true multi-channel vehicle so that

            16     you can target more efficiently the Email and

            17     postal mail today.        Tomorrow it will incorporate

            18     wireless, interactive television and virtually all

            19     forms of addressable media.

            20               Now, there are two reasons why marketers

            21     want to gain access to the data.           The first and

            22     most obvious is prospecting, and certainly you can

            23     see by the way that we consolidate information

            24     across marketers, across channels, we have a much

            25     more complete portrait of these shoppers, their


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             1     buying patterns and their value.

             2               This thing is bigger, smarter than any

             3     single marketer could ever create on their own.

             4     That's because when we take data in from a

             5     merchant, we get it down to each transaction, the

             6     entire shopping basket of a person's purchases so

             7     that we can collect all the rich recency,

             8     frequency, monetary value information we've been

             9     talking about earlier today as well as we also get

            10     one component that's generally not been available

            11     in co-op databases previously.

            12               Instead of just giving to each marketer who

            13     participates, to all their transactions, some high

            14     level general category associated with the affinity

            15     for that particular property, we actually get item

            16     level data so that we know exact products down to

            17     the SKU level that an individual is buying, and I

            18     can tell you that that is incredibly powerful

            19     information from a predictive standpoint when

            20     you're looking for those subtle predictive patterns

            21     in the data for those kinds of tools that we were

            22     talking about earlier today.

            23               Now, we have proprietary technology that

            24     allows us to create a common language across

            25     marketers that we can really leverage the value of


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             1     this product level information.           We also have

             2     proprietary technology that helps us link multiple

             3     Email addresses back to a single individual and

             4     optimize the match between the on-and the offline

             5     data, but I'm not here to talk to you about some of

             6     our competitive strengths.          I really want to focus

             7     on the business model itself.

             8               There are two key features that I think are

             9     inherent in the kinds of co-op you should be aware

            10     of.    First of all, this is the only place on the

            11     Internet today where you are assured of not talking

            12     to your own customers as prospects.            That's

            13     because, unlike in the traditional direct mail

            14     community where mailers are really familiar and

            15     comfortable with the process of sending their files

            16     to a compiler -- I'm sorry, to a reputable service

            17     bureau, I see I'm getting short on time here,

            18     whereby they can exchange their names, they can

            19     unduplicate them, you can suppress out your current

            20     customers, we already know who your customers are

            21     because we already have them in the database.

            22               Secondly, it's a closed loop process so

            23     when we send an Email to someone about this

            24     product, they may read the Email.           They may not

            25     respond to that particular communication, but if


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             1     they remember the marketer and two or three weeks

             2     later they have a particular need, they go to the

             3     Web site and they buy, we would know about that,

             4     not because we're tracking anything in terms of

             5     cookies.     I don't want to get anywhere near that,

             6     in terms of your surfing of the Web, but we know

             7     because the merchant sends us back their data.

             8                We match that back to our contact history.

             9     We get smarter about targeting you the next time

            10     around in the future, even if we don't get credit

            11     for that response, because we maintain a

            12     professional history on the file.

            13                Now, the fact that we maintain a promotion

            14     history is really of true benefit to both the

            15     consumer and to the merchant.          First of all, it

            16     allows us to identify habitual non responders.

            17     That's very important.         Don't want to keep mailing

            18     to people who don't want to purchase from you.

            19                Secondly, we keep tabs on any correlating

            20     between the volume of mail so we can look at your

            21     individual saturation rate and any negative

            22     correlation against response.

            23                Now, the second way that mailers want to

            24     gain access to this database is to be able to

            25     target their own and mine the value of their own


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             1     customers.     Now, we can do that to help them expand

             2     it into new categories, to reactivate lapsed

             3     buyers, to turn their offline buyers to more

             4     efficient online buyers.

             5               So, for example, if an apparel merchant

             6     comes and says, "We're expanding into swimwear,"

             7     and they may say, "I want to target everybody in

             8     own our file that has bought from us in the last

             9     12 months, who has bought swimwear from any other

            10     merchant in your database.          We'll create a one time

            11     file, do a one time mailing.          Anybody who responds

            12     to that mailing, they own the rights to that data.

            13               But we will not append any information

            14     permanently to that marketer's files, not an Email

            15     address, not a transaction because we don't have

            16     marketing rights, and there are privacy issues

            17     attached to that.

            18               What we will append on an ongoing basis are

            19     model scores.      Remember from our discussion

            20     earlier, it's nothing more than a mathematical

            21     probability.      I have a .8, you have a .4.         I'm

            22     twice as likely to buy swimwear as you are.              Even

            23     if we have the same score, you don't really know

            24     what it is in terms of personally identifiable

            25     information that got us there because it's a


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             1     formula, and it's made up like a Chinese menu.               I

             2     got there because of age and income.            You're there

             3     because you just bought shoes over the Web and you

             4     have kids.     We don't necessarily have the same

             5     profile.

             6                I will also say that there's some other

             7     creative ways to use these tools.           In fact you can

             8     use them to serve up dynamic content right on the

             9     Web site to register users.

            10                Now, I promised you that we would talk

            11     about privacy, and I just want to say that in terms

            12     of the offline data, we follow the industry

            13     standard which is opt-out for direct mail

            14     solicitations.      We're not looking to reinvent the

            15     wheel in direct marketing from that standpoint.

            16     All of our member companies actively notify the

            17     people who buy from them that they share data with

            18     trusted third-parties.

            19                If they choose not to do that, they send a

            20     request to the merchant.         That data comes back to

            21     us in one of their updates, and that information is

            22     removed in the course of our database build.

            23                However, online is a different animal, and

            24     we know that people have different expectations

            25     from a privacy perspective online.            We respect


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             1     that.     We've been extremely proactive on the

             2     privacy front going what we believe is really above

             3     and beyond today's best practices in industry

             4     standard.

             5                First of all, this is a double opt-in

             6     database, so in other words, no consumer will be

             7     targeted for an Email communication unless they

             8     raised their hand, self selected, and said they

             9     actively agreed to participate.           When they do, we

            10     allow them to tell us the maximum number of Emails

            11     that they're willing to receive in any time period.

            12                We will not exceed that.        We give them

            13     access and control to the aggregated level of

            14     information that we utilize for selections, so they

            15     can come in, request a copy of their profile.              They

            16     can say, "Don't use this Email address, use that

            17     one.    I know I bought sports equipment in the past;

            18     but you know what, that was just a gift, please

            19     don't send me any more sports offers."             Obviously,

            20     they can opt-out at any point in time.

            21                I will also tell you that we do not allow

            22     marketers to cherry-pick this file.            They can not

            23     come in and say, We want people of this age and

            24     this income who bought these products in this time

            25     frame."     Not online, because as far as we're


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             1     concerned, anyone who would respond to that kind of

             2     an offer, you could attach that purchase history

             3     and that profile of the individual and you would be

             4     releasing personally identifiable information, and

             5     we don't think you should do that.

             6                So we work with the marketer to understand,

             7     What's the product you're selling, what's your

             8     price point, what's the promotional nature of your

             9     offer.     We construct targeting tools, create a

            10     composite score, rank them on the database.              All

            11     you know is these people had a score of .75 and

            12     above.     That's nothing in terms of personally

            13     identifiable information.

            14                Finally, we do not release any of the data

            15     on this file to -- no addresses -- to anyone for

            16     any purpose beyond a reputable service bureau

            17     offline.     They go seemlessly through our own

            18     service bureau online.         They never get access to

            19     the data.

            20                I will also tell you that we took this

            21     concept into consumer research.           We told them what

            22     kind of data we have, how it benefits them, what we

            23     do with it, what we don't do with it, and they were

            24     not only very positive about the concept, they

            25     actually embraced our privacy policies.


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             1               So, in summary, I just want to say that we

             2     have a proven business model in terms of the

             3     behavior-based co-op, which has been expanded to

             4     meet the unique needs of multi-channel marketers.

             5     We have superior technology and a level of data

             6     that helps us generate superior behavior

             7     predictions at a good value to our clients, and

             8     we're doing it in a way that we believe respects

             9     consumer privacy and is looking to set new

            10     standards in that area.

            11               Thank you.

            12               MS. LANDESBERG:       Thank you, Lynn.      The last

            13     speaker on our panel today is Jerry Cerasale,

            14     Senior Vice President for Government Affairs at the

            15     Direct Marketing Association.          Jerry joined the DMA

            16     in January 1995 and is in charge of the DMA's

            17     contact with Congress, all federal agencies and

            18     state and local governments, a very busy man.

            19               Thanks for being with us.

            20               MR. CERASALE:      Thank you, Martha.       Lynn,

            21     just so you know, for this panel, I'm the last one

            22     standing, so send the check.

            23               Before I get to my slides, I wanted to

            24     just, first of all, thank the FTC for having me

            25     here and for having this workshop.


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             1                I wanted to make three quick points.           The

             2     first is that the information that we're talking

             3     about today is marketing information, information

             4     that's used to send you a solicitation, an offer

             5     for something.      It's not being used to give you

             6     employment or refuse employment or anything of that

             7     sort or for insurance, whether or not you're

             8     eligible for insurance and things like that.

             9                In particular as well, just to get on a

            10     topic that was raised, DMA guidelines would also

            11     say that information that comes from a doctor-

            12     patient or medical provider-patient relationship

            13     should be only on a consent basis, and that's

            14     pretty well standard within the industry as far as

            15     we know.

            16                Second, the information that you gather is

            17     basically to send a solicitation about a particular

            18     product, so it only goes once.           It's a one-time use

            19     that people use to try and find new, prospective

            20     clients.

            21                And third is that, generally speaking, the

            22     information doesn't go to the marketer.             What you

            23     receive is, the information goes to a service

            24     bureau that is either sending out -- making phone

            25     calls or sending out the mail pieces and then


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             1     returned back to the -- it's not used again, so

             2     it's that kind of information that we're talking

             3     about.

             4               Martha asked me to talk specifically about

             5     prospecting and why we do it and how is it used, so

             6     I wanted to use because of my -- to make it simple

             7     so I could understand it, use some hypotheticals,

             8     and if Allison gives me time, I'll go to some more

             9     specifics after the hypotheticals, depending how

            10     nice she is to me.

            11               The first is the idea of a new company.               I

            12     just started something, I have a brand new idea.

            13     Think about Marty's view when he had the list of

            14     what marketers have and what compilers have.              He

            15     said marketers have information on their customers.

            16               Well, I'm brand new.        I haven't got

            17     anything.     I have no customers, nothing.          I have a

            18     new idea for a new golf club, so what am I going to

            19     do?    And the other thing is I'm going to sell it

            20     over the Internet.        That's what I want to try and

            21     do.    So what do I do?

            22               Well, I'm going to go to a golfing magazine

            23     likely and try and see if I can rent the list,

            24     because those are people I would assume would be

            25     interested in golf, and I'm going to use this list


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             1     to mail it because I'm starting to find -- and

             2     we're starting to find that mail, snail mail is

             3     being used successfully to drive customers to Web

             4     sites to make sales.

             5               We find that from our catalogers and so

             6     forth, that it is a very important piece tool in

             7     E-commerce or multi-channel marketing.             So, this is

             8     what I want to do so.

             9               So I go and get the golfing magazine list,

            10     and it's one million names, and that is

            11     outrageously expensive to send, so I can't do it,

            12     so I want to go -- I go to an information compiler,

            13     and I say, Look, I would like to have some more

            14     information from an information provider, I want to

            15     try and narrow this list down.

            16               I think that maybe this piece would likely

            17     be best suitable for women.          I think that it may be

            18     for women probably over 40 because it helps give

            19     distance, and if you really swing hard it messes up

            20     the way the ball goes, so I think that that's what

            21     I want, and I know that likely I think that it's

            22     expensive, higher income, let's see if I can get

            23     that from Census data.

            24               I'm selling it over the net so I want to

            25     use Win's stuff to make sure they're Internet-


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             1     enabled, and I think maybe five miles from a golf

             2     course.     Let's just pick these out of the air.

             3     Maybe we can get these things, and it finally comes

             4     down to 500,000 pieces, people that I can send this

             5     to, and that's within my budget, and that's what

             6     I'm going to use, and that's how a marketer can try

             7     and prospect a new start-up business.

             8               Without the information from third parties,

             9     I can't start.      I cannot start a catalog.         I cannot

            10     start driving people.        I can try, put it up on a

            11     Web site, see if search engines get me some people,

            12     but that's not going to be a viable economic model.

            13               Another idea for prospecting is a current

            14     marketer looking for new customers.            The idea I'm

            15     trying to use here, I'm selling books and probably

            16     I'm selling books online, I'm trying to use online

            17     and offline because this is supposed to be online

            18     and offline information so these are my examples.

            19               And I know because I sell books that

            20     they're upper income, they're Internet-enabled and

            21     these people that purchase from me happen to be

            22     people who live more than 20 miles from a book

            23     store and more than a hundred miles from a discount

            24     book store, so that's my marketplace of my current

            25     set of customers.


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             1               40 percent of Americans never purchase

             2     remotely.     60 percent of Americans do, so I want to

             3     try and reach some new customers, so I'm going to

             4     go and try to find information that matches that

             5     market because it works for me today, and I'm going

             6     to send a mail piece to them.

             7               I may in fact ask for a split on this test,

             8     people who have purchased, those that were in the

             9     60 percent piece of the pie, and those in the 40

            10     percent that have never purchased, to try and see

            11     if I can reach new customers differently through

            12     this mail piece, and so I send it.

            13               This is what I want.        This is the

            14     information I asked for.         The information provider

            15     supplies a list to the letter shop I'm going to

            16     use.    They send it out.       They make sure the current

            17     customers are deleted.         They use hopefully the DMA

            18     mail preference list, and they prepare the pieces,

            19     and they send them out.

            20               I never see the list.        I only know someone

            21     was on the list if in fact they come back and

            22     purchase from me.       Then I would know that they

            23     responded, so that's the only way it happens, and

            24     that's generally how you use prospecting data.

            25     That's to try and find someone new.            You know from


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             1     past behavior or you have a guess, if you're brand

             2     new.     You don't have any past behavior in your --

             3     on your product.       You make a guess:       We think this

             4     is what the market is for.          That's how we use the

             5     prospecting.

             6                Now, let me give you a couple of quick

             7     examples of real life things that have been

             8     testified, to the process has been in Congress, in

             9     testimony before Congress.          One company is Grolier.

            10     It's no longer in existence.          It's been bought out,

            11     but Grolier is a bookseller selling things remotely

            12     out of Danbury, Connecticut, and it basically sells

            13     to children, basically sold discounted Dr. Seuss

            14     books.

            15                The market for this company was rural

            16     Americans who lived more than 50 miles from a book

            17     store, families that had young children and were

            18     low income.      The only way for Grolier to find these

            19     people to give them books that their children can

            20     read or books that they could read to their

            21     children was to have information to find them, so

            22     it was necessary to have a free flow of

            23     information.

            24                And marketers -- the other is stylists, an

            25     after-market automobile company that sells after-


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             1     products for minivans, seat belts that can be

             2     adjusted better for children, back-up warnings on

             3     minivans, so their market, families that own

             4     minivans that have children that are outside of car

             5     seats, to try to give them an offer of some safety

             6     to add to their cars, and that's the market, and

             7     they needed the information to try and find it.

             8               One of the things that I want to make sure

             9     that you also know, my time is now up, I did get

            10     through the two examples, thank you, I didn't get

            11     my million dollar check yet though, but the one

            12     thing that the DMA says, you have to tell people

            13     that you share information with third-parties and

            14     give them an opportunity to say "no."

            15               And that's really the basis, that people

            16     who take the information and share with

            17     third-parties have to tell you that they do that,

            18     and to be a member of DMA you must do that.

            19               Thank you for the time.

            20               (Applause.)

            21               MS. LANDESBERG:       Well, we have just a very

            22     few minutes for questions from the audience.              If

            23     you would raise your hand, and if do you have a

            24     question, we'll bring the mike to you.

            25               MR. HENDRICKS:       Two quick questions.       Evan


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             1     Hendricks, Privacy Times.         In the offline world, a

             2     lot of times people want to know when they receive

             3     a mailing, "Where did you get my name?"

             4               Aren't there a lot of instances where

             5     there's contractual language that prevents

             6     organizations from disclosing that?            That's the

             7     first question.

             8               And the second question is I assume that

             9     the 20 licensees of the NCOA sell new movers' lists

            10     which they're able to produce because of the data

            11     they get from NCOA, but do other companies also

            12     sell new movers' lists?

            13               MR. ANDERSON:      I'll answer the NCOA

            14     question, and one of the restrictions that we have

            15     from the USPS is that we specifically cannot

            16     generate new movers' list, so this is specifically

            17     -- our NCOA services are specifically for people

            18     that are in a database, but we will not, cannot

            19     contractually generate a new movers' list that can

            20     then be sent out to marketers that are interested

            21     in people that have just moved.

            22               MR. HENDRICKS:       How are they generated,

            23     where they're moving?

            24               MR. ANDERSON:      A lot of other different

            25     sources, but none of which come from the USPS.


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             1                MR. ABRAMS:     In terms of the question

             2     about, "Where did you get my name?"            Increasingly

             3     during the 12 years that I was with an information

             4     aggregator, the contractual arrangements that

             5     limited the ability of the marketer to say where

             6     the name came from began to disappear from the

             7     marketplace.

             8                And increasingly organizations are

             9     acquiring data from organizations that have given

            10     notice, and organizations that even if they say,

            11     "No, you can't tell them where the data came from"

            12     they say "Pass on the name to us and we will call

            13     the individual and let them know that we were the

            14     source."

            15                So while that was the norm ten years ago,

            16     that norm has been changing over time.

            17                MS. LANDESBERG:      Jerry, did you have a

            18     comment?

            19                MR. CERASALE:     I was going to just comment

            20     specifically on the NCOA because actually there is

            21     a contract, but no one can use that for marketing

            22     purposes.     It's just to correct mailing lists, to

            23     increase the efficiency of the Postal Service, so I

            24     don't have a lot of those letters.

            25                MS. LANDESBERG:      Other questions?      All


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             1     right, then.      Seeing no more questions, I would

             2     like to thank our panelists for a wonderfully

             3     informative session.

             4               Thank you.      If I could ask you just to bear

             5     with us for a moment, we'll go straight into the

             6     next session -- so don't go anywhere.

             7               (Discussion off the record.)

             8

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             1     SESSION 4:     HOW DO MERGER AND EXCHANGE AFFECT

             2     CONSUMERS AND BUSINESSES?

             3     JESSICA RICH, Assistant Director, Division of

             4     Financial Practices, FTC, Moderator

             5

             6     PANELISTS

             7

             8     FRED CATE, Professor of Law and Harry T. Ice

             9     Faculty Fellow, Indiana University School of Law

            10     JASON CATLETT, President, Junkbusters Corporation

            11     JERRY CERASALE, Senior Vice President, Government

            12     Affairs, Direct Marketing Association

            13     MARY CULNAN, Slade Professor of Management and

            14     Information Technology, Bentley College

            15     EVAN HENDRICKS, Editor/Publisher, Privacy Times

            16     RICK LANE, Director, eCommerce and Internet

            17     Technology, U.S. Chamber of Commerce

            18     GREGORY MILLER, Chief Privacy Officer and Vice

            19     President of Corporate Development, MEconomy, Inc.

            20     BRIAN TRETICK, Principal, eRisk Solutions, Ernst &

            21     Young

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             1                                  SESSION FOUR

             2                 HOW DO MERGER AND EXCHANGE AFFECT

             3                      CONSUMERS AND BUSINESSES?

             4                      -      -       -     -     -   -

             5                MS. RICH:        Hello.   If everyone can take

             6     your seats again, please.            We're going to start

             7     this next panel.        I'm Jessica Rich.           I'm an

             8     Assistant Director in the Division of Financial

             9     Practices here at the FTC, and I'll be moderating

            10     this fourth panel, which will focus on the effects

            11     of merging and exchanging consumer data on both

            12     businesses and consumers.

            13                In other words, how do consumers and

            14     businesses benefit from these practices and what

            15     concerns, if any, do these practices raise.

            16                I think we've heard some references to the

            17     various ways in which people benefit or some of the

            18     concerns that people have, but we're trying to

            19     drill down and talk more specifically about this

            20     particular topic.

            21                We have a great group of panelists for this

            22     session.     We're going to start with brief

            23     statements from each of them, three minutes each,

            24     and we're going to hold everyone to that, but I

            25     don't want to be too -- everyone has been great


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             1     about keeping to their time, so I probably don't

             2     have to lecture them too much.

             3               Then we'll have a discussion among the

             4     panelists so we can examine the issues in greater

             5     detail, and we'll hopefully have time for

             6     questions.     I think for this panel questions are

             7     fairly important, so at about 3:15, if you're in --

             8     get ready to ask some questions if you're in this

             9     room, and if you're in one of the overflow rooms,

            10     please come up to the door here so we can give you

            11     a microphone to ask your question.

            12               I want to emphasize that this is a long

            13     panel, and it's easy to focus on a lot of different

            14     topics, but we really want to focus on the effects

            15     of the particular practices we're talking about

            16     today, which is the merger and exchange of consumer

            17     data, the effects on consumers and businesses, that

            18     specific topic.

            19               We're going to let our speakers go

            20     alphabetically.       I think they may be seated

            21     alphabetically, and we're going to start with Fred

            22     Cate, and I'll introduce him.          He's a professor of

            23     law and Harry T. Ice Faculty Fellow and Director of

            24     the Information Law and Commerce Institute at the

            25     Indiana University School of Law in Bloomington.


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             1               He also serves as senior counsel for

             2     information law with Ice Miller Legal and Business

             3     Advisors and is a visiting scholar at the American

             4     Enterprise Institute.        He specializes in privacy

             5     and information law and appears regularly before

             6     various legislative committees and professional

             7     groups on these matters.

             8               Fred?

             9               MR. CATE:     Great.    Thank you very much, and

            10     thank you also for the opportunity to be here.

            11               I've tried all morning long to condense

            12     this to three minutes, and I think I've got it now,

            13     so let me just make two points.           I'm just going to

            14     take up one of the questions that was asked, and

            15     that is the impact on consumers, and let me talk

            16     about just briefly two points.

            17               One of them is the use of information to

            18     overcome the obstacles of market size and distance

            19     to make it possible to deliver customer service,

            20     customized service and personalized service to

            21     customers, and there are many examples of this,

            22     such as better targeting of what is stocked in

            23     stores.

            24               We've already heard about better targeting

            25     of the type of mail or commercial offers that are


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             1     sent into homes, more accurate decision-making

             2     about customers, about consumers who come seeking

             3     service, greater convenience for consumers in many

             4     ways all the way from having forms pre-filled in,

             5     one call service center being able to change your

             6     or address in multiple accounts with a single call,

             7     loyalty programs.

             8               I think frequent traveler programs are

             9     something we almost all share in common at least in

            10     this room, or returning goods without a receipt.

            11     These are exactly the types of examples of, if you

            12     will, sort of overcoming the type of problem that

            13     large, diverse and particularly online markets

            14     pose.

            15               The second, I think, set of examples of the

            16     real impact on consumers is where we see

            17     dramatically new and different types of benefits,

            18     and maybe the best example is lower cost, and this

            19     is one area in which there's been a fair amount of

            20     studies completed recently showing, for example,

            21     Mike Turner's study, a billion dollars in the

            22     retail apparel industry in cost reduction by the

            23     ability to use personalized information, Walter

            24     Kitchenman's study showing $85 to 100 billion in

            25     annual savings in the mortgage credit market


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             1     because of access to personalized information, the

             2     Staten and Barron Study showing $150 billion

             3     annually in non mortgage credit, the Ernst & Young

             4     study, Ernst & Young will be speaking later, $17

             5     billion a year focusing just on 30 percent of

             6     financial services companies.

             7               The point is this consistent evidence from

             8     these studies about the way in which the use of

             9     personalized information saves consumers money, but

            10     there are other good examples, either dramatically

            11     new and different services, for example, the wider

            12     availability of products and goods and services.

            13               I don't mean simply expanded access to

            14     credit, although we have studies clearly

            15     demonstrating that, but even the points made on the

            16     earlier panel about the way in which a business

            17     operates, the way in which AOL got started by

            18     sending out floppy disks to people who had

            19     computers (and identifying people who had computers

            20     of course was key to that strategy), and finally

            21     the more apt, rapid and efficient, more accurate

            22     fraud detection and prevention.

            23               I think one thing that almost anyone who

            24     works in that field will say is that personalized

            25     information is the key to detecting and preventing


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             1     fraud.    If you don't have access to it, you'll lose

             2     one of those key tools.

             3               Thank you.

             4               MS. RICH:     Next we have Jason Catlett.

             5     He's President and Founder of Junkbusters

             6     Corporation, a computer scientist with a Ph.D. in

             7     data mining.      Dr. Catlett has worked on issues

             8     relating to the interplay between technology,

             9     marketing and privacy at such places as AT&T, Bell

            10     Laboratories, the University of Sydney and various

            11     other academic settings.

            12               In addition to academic publications, Dr.

            13     Catlett has contributed articles to such

            14     publications as the Privacy Journal and Direct

            15     Marketing News.

            16               DR. CATLETT:      Thanks very much, Jessica,

            17     and thanks again to the Commission for inviting me

            18     today.

            19               First let me put a concern to rest of Jerry

            20     and anyone who feels like they're on a survivor

            21     program, or Commissioner Swindle, that I'm not

            22     going to be posting any profiles of people.              I did

            23     go through an exercise that you can read in the

            24     handout out there of asking people if they would be

            25     willing to have their profiles posted and then


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             1     going to companies to actually see the profiles

             2     that the consenting data subjects have.

             3               Unfortunately, though I have a number of

             4     volunteers, I have no company yet willing to place

             5     on the table before us a real profile, which I

             6     think is regrettable.

             7               However, what I'm going to talk about today

             8     is not that.      It's three points.       First, let me

             9     state that Fred is absolutely right that the

            10     benefits of information processing are enormous.

            11               Let's remember, however, that the

            12     overwhelming majority of those benefits come

            13     without personally identifying information.

            14     Wal-Mart is an extremely good example.             It's all

            15     about inventory and forecasting, and most of the

            16     benefits come without PII.

            17               Where you do use personally identifying

            18     information, as Marty Abrams pointed out, the vast

            19     majority of that is about personal information that

            20     the business already has and not that it gets from

            21     third parties.

            22               Now, turning to the question of whether

            23     direct mail actually reduces -- sorry, targeting

            24     that information reduces the amount of junk mail

            25     that people get, in fact it actually increases it.


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             1     If you look at the historical trend from say 70

             2     billion direct mail pieces per year in the United

             3     States, it's been trending up as the technology has

             4     made targeting better and better.

             5                We do see more offers that people respond

             6     to.    This is true, but the typical response rate

             7     being in the low percentage figures as Michael

             8     said, that results in a lot more junk, and Jerry's

             9     example of the golf course magazine is a good one

            10     here because without the information, a lot of

            11     offers are uneconomical and would not be mailed.

            12     So the additional information causes more offers to

            13     be responded to, also causes more unwanted

            14     solicitations because the information isn't

            15     perfect.

            16                Now, let me turn to some of the negative

            17     aspects of personal information.           One that we

            18     haven't discussed yet, I think is important, goes

            19     under the name of dynamic pricing or price

            20     discrimination.       The American public loathes the

            21     idea that the person sitting next to them is

            22     getting a lower price on the same goods that

            23     they're getting.

            24                They loathe the idea that I'm getting a

            25     lower price than Fred is for example, and I think


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             1     Amazon learned this to their distress when it came

             2     out that they were randomly, they said, pricing,

             3     and Amazon very quickly stated that they would

             4     never base price points on demographic information.

             5     They said they didn't really have click stream

             6     data.    I would like to see a clarification on that.

             7               I'll wrap up with my last point, which is

             8     the effect on non-participation.           I would dearly

             9     love to see some figures that talked about the

            10     impact on participation of profiling, but we don't

            11     have those figures.        We just have figures that

            12     Forester put out last year of $12 billion lost in

            13     online commerce due to privacy concerns.

            14               But those privacy concerns were not

            15     specified to the level of particular profiles where

            16     the people were concerned about SPAM, or about the

            17     actual nature of the profiles.           We simply do not

            18     know.

            19               I'll leave it at that.

            20               MS. RICH:     Great.    Jerry Cerasale is next.

            21     He was just on the previous panel, but I'll remind

            22     you that he's Senior Vice President of Government

            23     Affairs at the Direct Marketing Association.

            24               MR. CERASALE:      On this panel, still looking

            25     for my million dollars, but whatever, I wanted to


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             1     just take a look at that study of restriction of

             2     data that was released yesterday and just raise to

             3     you that it's a billion dollars in just the apparel

             4     area, but there's an additional study that's an

             5     overlay on it that says that the individuals -- the

             6     groups that purchase apparel remotely to a greater

             7     extent, a greater proportion than their density in

             8     the population, are rural Americans and

             9     economically disadvantaged intercity, the people

            10     who are not adequately served by brick and mortar

            11     retailers, the people who don't have other choices,

            12     who end up paying a disproportionate share of any

            13     restrictions, cost of restrictions on privacy.

            14               Those who have the fewest choices are the

            15     ones who pay the most based on that study.

            16               I want to add to what Fred had said.              What

            17     we know is that the sharing of information helps

            18     reduce fraud.      We've seen studies where fraud,

            19     credit card fraud over the net in Europe is twice

            20     as great as that in the United States.             We can

            21     attribute that in part I guess because we're more

            22     honest than Europeans, but I'm not certain that

            23     that is the full case.

            24               The real reason is that part of the

            25     restriction in Europe is you can't use information


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             1     collected for purposes other than the specific

             2     reason that information was collected, so a billing

             3     address on a credit card cannot be used for

             4     anything other than billing.

             5               So that in the United States, if you're on

             6     the Internet or even on the phone, if you call or

             7     want to purchase a good and here's the credit card

             8     saying, I'm Jerry Cerasale, give them a credit card

             9     number, and it's being delivered to the billing

            10     address, that's fine.

            11               In Europe they can't check that.           In the

            12     U.S. they can.      If it's not going to the billing

            13     address, I'm sending it to my mother or ostensibly

            14     I'm sending it to my mother, they ask for the

            15     billing address.       If I can't give them the billing

            16     address, then they figure it's probably not Jerry

            17     Cerasale, so it's an added thing for fraud

            18     prevention.

            19               So information flow is important from that

            20     score as well, giving benefits to people.             There

            21     are an awful lot of jobs, low income jobs.              It's

            22     interesting when you go on visits with senators and

            23     representatives that they want direct marketers to

            24     come with them to set up call centers, to set up

            25     warehouses and so forth in areas where there are


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             1     economic downturn areas because they want to try to

             2     build them up.

             3                These are jobs that can be part time.

             4     People can be trained fairly readily, so those are

             5     advantages as well as choices to consumers.              You

             6     also have employees and the efforts there in trying

             7     to do that.

             8                It also allows for easy entry, easier entry

             9     for new businesses so that you can get greater

            10     competition.      I do not have to build the store.             I

            11     can be L.L. Bean in my basement getting a list of

            12     Maine hunters, Maine hunting licenses, out of state

            13     people, sell 15 shoes, have to repair 14 of them,

            14     but that's how I start a billion dollar business.

            15                Those are the things that can happen and

            16     happen readily with the sharing of information.

            17                Thanks.

            18                MS. RICH:     Next we have Mary Culnan.        As we

            19     noted earlier, Mary is the Slade professor of

            20     Management and Information Technology at Bentley

            21     College in Waltham, Massachusetts, where she

            22     teaches and conducts research on information

            23     privacy.

            24                MS. CULNAN:     Thanks, Jessica.      My point I

            25     would like to make in my three minutes is that fair


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             1     information practices should apply to the merger

             2     and exchange of consumer data, that is to

             3     profiling, and it's not clear that it really does

             4     today.

             5               One way I think to close the trust gap and

             6     the misunderstanding that Commissioner Swindle

             7     talked about this morning is through much greater

             8     transparency about how compilers and co-op

             9     databases acquire personal information and what

            10     they do with it.

            11               There's some parallels here to the network

            12     advertising model where in fact consumers do not

            13     have a direct relationship with the compilers and

            14     the co-op databases, and they frequently don't know

            15     who these firms are, so if they wanted to contact

            16     them, they would not know how to start.

            17               So what are some of the things that we

            18     need?    We need much more notice where data are

            19     collected directly from consumers.            I've never seen

            20     a notice that says, "We share your name with

            21     carefully selected companies or carefully selected

            22     third parties and one of America's largest data

            23     compilers."

            24               And I think to the consumer in fact the

            25     idea of a carefully selected company, while in fact


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             1     the information is being shared for marketing

             2     purposes, that is not the same thing to the

             3     consumer as you buy from L.L. Bean and you get a

             4     mailing from Eddie Bauer or something like that.

             5               So I think that all the compilers should

             6     provide an easy way for people to opt-out, and

             7     there needs to be a better way for people to be

             8     pointed to the Web site or however the opt-out is

             9     handled, and I think the companies that enhance

            10     their customer databases should include this fact

            11     in their privacy notices just out of fairness.

            12               There are a couple questions that need to

            13     be answered.      What does opt-out mean for compiled

            14     databases?     Does my personal information stay in

            15     the database?      Is it still used for enhancement

            16     purposes, or does it just mean that my name is

            17     removed from the mailing list when people come to

            18     get a prospecting list and it is just gone?

            19               Should consumers be able to have their

            20     personal information removed from a compiled

            21     database?     And then, second, the always popular

            22     "What kind of access is appropriate?"

            23               In conclusion, I think really there's a

            24     need to bring consumers into the loop.             What I hear

            25     -- it strikes me a lot of it is "We know what's


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             1     good for you" is kind of part paternalistic because

             2     most consumers are smart, and they make good

             3     choices in their own interest when they have

             4     information.

             5               And I think access to personal information

             6     is not an entitlement just because people don't

             7     know about the compilers, and basically then they

             8     don't know about it.

             9               Consumers do benefit a lot from compiling,

            10     and I think the marketing profession needs to

            11     develop some effective strategies to educate and

            12     communicate with consumers the benefits of

            13     profiling and that these benefits outweigh the

            14     risks, which also means that the people that hold

            15     these databases have to make sure that they have

            16     very good privacy policies in place and that they

            17     enforce them.

            18               MS. RICH:     Next we have Evan Hendricks.

            19     Evan is the Editor and Publisher of Privacy Times,

            20     a biweekly newsletter that reports on privacy and

            21     freedom of information law.          He's also the author

            22     of several other publications on consumer privacy,

            23     including his book "Your Right to Privacy" and he's

            24     Chairman of the U.S. Privacy Council.

            25               He regularly lectures on information policy


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             1     issues in the U.S., Canada and Europe.

             2               MR. HENDRICKS:       Thank you, and thank you to

             3     the FTC for the hard work they've put into this and

             4     the opportunity.

             5               In January I had the good fortune of

             6     hearing Commissioner Swindle speak not once but

             7     twice in different gatherings, and he said

             8     something that I strongly agree with.

             9               He said that when we talk about this issue,

            10     we should not talk about it emotionally because it

            11     can be an emotional issue, and it doesn't really

            12     help.    This is something we need really more light

            13     than heat, so I made a commitment to him that when

            14     I come before the FTC, I will not discuss this

            15     emotionally.

            16               And then I started thinking about it this

            17     morning, and I started getting really mad because I

            18     love to talk about this emotionally, but I'm a man

            19     of my word, so I can't do that.

            20               Seriously I think that we should speak

            21     about this in cool and analytical ways, and I

            22     think, first of all, there's a greater irony here,

            23     and one of the ironies is that the direct marketing

            24     industry was subsidized by the taxpayers.             The

            25     direct marketing industry was able to get public


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             1     records at low or no cost, which was a great way to

             2     start a business if you can get your primary source

             3     that makes your business possible paid for by

             4     taxpayers.

             5               We've seen it -- and that's not such a bad

             6     thing.    We've seen it with investment in computer

             7     chips by the Defense Department has led to the

             8     computer revolution, but let's recognize that as

             9     people speak against government regulation, what

            10     got them to a point where they can speak about

            11     that.

            12               Second of all, I think already from today

            13     and all the years I've seen leading up to this, on

            14     the issue of warranty cards, I think there's enough

            15     evidence to justify an investigation of unfair and

            16     deceptive trade practices.

            17               I think it's widely understood that

            18     consumers fill out warranty cards thinking that

            19     they need to do this for the warranty to be good,

            20     and in fact you do not need to fill out a warranty

            21     card for the warranty to be good.

            22               The purpose of warranty cards is generally

            23     to collect information by database companies.              It

            24     is then sold and used for other purposes, and

            25     warranty cards are one of the primary sources of


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             1     unlisted phone numbers, which people are unable --

             2     companies are unable to buy from phone companies,

             3     but they can get them.

             4               And I think it shows that people who pay

             5     extra for an unlisted phone number would not be

             6     giving their unlisted phone numbers if they knew

             7     that information was going to be sold on the open

             8     market, so I think we have a real problem there

             9     that deserves official attention.

            10               I think another example -- since I only

            11     have three minutes, another example of something

            12     that cries out for concern is say a company like

            13     American Student Lists based in New York.

            14     Factually, for instance, they have over 12 million

            15     names of children ranging in age from 2 to 13 years

            16     representing PK through 8th grade.            All names are

            17     selectable by age, birth date and heads of

            18     households, and approximately 25 million age birth

            19     through 17 compiled from numerous direct response

            20     sources selectable by age, birth date, head of

            21     household, income and geography.

            22               Well, I doubt that most of the people in

            23     those categories or their parents really had a

            24     chance to exercise much in the way of notice and

            25     choice.


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             1               A third area of I think concern which now

             2     -- finally the good thing about the workshop -- is

             3     it is being described as a very routine process and

             4     it has been for years, but that is not known to

             5     consumers, is the idea of enhancing your database,

             6     which really means by virtue of being a customer of

             7     a bank or of an Internet provider or whatever,

             8     because you're a customer, then they go to outside

             9     sources of data and fatten their file on you

            10     saying, This is what kind of car you drive, this is

            11     what kind of home you own, this is your estimated

            12     income, do you have children.

            13               And I think that there is again no notice,

            14     awareness or education to consumers about what's

            15     happening and certainly no rights for individuals

            16     to do anything about it; and I think that is a very

            17     significant privacy issue because if you join a

            18     company, you know they're going to have information

            19     on you as a customer, but when they merge

            20     information, they're basically creating a whole new

            21     file that you don't know about.

            22               I think also the whole issue of public

            23     records, I think that in public records, it's a

            24     difficult issue.       As a FOIA advocate, I think there

            25     should be public access to public records, but when


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             1     it's personal data, I think we should apply the

             2     purpose test that we find in Fair Information

             3     Practices and that if it's a driving record, it can

             4     be accessed for driving purposes.

             5               Well, if it's a voter record, and in answer

             6     to one of the earlier questions, Are there

             7     restrictions on public records, half the states

             8     have laws that say you cannot use voting records

             9     and the other half don't, but I think the idea is

            10     that if it will interfere with people's right to

            11     vote, if they're concerned that their information

            12     will be used for commercial purposes, that's the

            13     purpose of the privacy law there.

            14               I think we have to apply that kind of

            15     purpose test where people can get access to a

            16     voter's list if they're doing a campaign.             How do

            17     we do that?      I think one way to do it is that I

            18     think we should have to certify to the record

            19     holder that you're using it for this purpose and

            20     then have a notice sent to the data subject so they

            21     know that someone has accessed their record.

            22               That can be done either by postcard or

            23     electronically to reduce cost, but I think that's

            24     the direction we need to go to handle the public

            25     records issue.


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             1               My final point is that I think there's a

             2     lot of important players missing at this workshop

             3     starting with Acxiom, which has records on over a

             4     hundred million Americans, something like 120

             5     million Americans pulled from all sorts of sources.

             6     I commend you to two articles in the Washington

             7     Post that dealt with Acxiom over the last couple

             8     years.

             9               I think a lot of hard work goes into

            10     putting a workshop together like this all the way

            11     up and down the Commission, and I think it's a

            12     disservice to the Commission and the American

            13     public if a major player like Acxiom and other

            14     players like that don't participate to shed light

            15     on what they do.

            16               Thank you.

            17               MS. RICH:     Our next panelist is Rick Lane.

            18     He's the director of E-Commerce and Internet

            19     Technology for the U.S. Chamber of Commerce, where

            20     he's responsible for coordinating the development

            21     and implementation of the Chamber's E-commerce and

            22     technology, legislative, and policy initiatives.

            23               Mr. Lane has served in leadership positions

            24     on a variety of federal, state and local

            25     commissions and committees, including the


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             1     Montgomery County Cable and Communications Advisory

             2     Committee.

             3                Rick?

             4                MR. LANE:    Thank you very much.        I just

             5     have a quick question.         How many people in the

             6     audience have started a small business, have

             7     started their own business?

             8                That's what this is all about.          That's what

             9     we're talking about in the free flow of information

            10     and being able to have entrepreneurialism in this

            11     country.

            12                I started my own business called Cyber

            13     Sports.     We spent a lot of money in development of

            14     a product, and basically what the product was was a

            15     database that college and university sports

            16     programs could use to help track the college

            17     recruits that they were recruiting through the

            18     recruiting process.

            19                In the old days they had paper files, and

            20     they had problems complying with NCAA requirements,

            21     but how did I get that product to market?             It was

            22     easy for the most part to develop the product, but

            23     how did we target our audience?           Our audience was

            24     college coaches.

            25                What we did was, first, we looked and


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             1     thought, Well, we can call every college and

             2     university sports program in the country.             I think

             3     there are about 5,000 colleges.           We were four

             4     people.     We couldn't afford to do that.

             5               So what we did was we found a list that was

             6     already available, that had information on all the

             7     college coaches in every sport across the country.

             8     It made our life easier.         Then we got additional

             9     information from other sources that put on top of

            10     it the coaches win-loss records.

            11               So we saw those coaches that were losing

            12     would be a better potential market for our product

            13     than those that were winning because the ones who

            14     were winning figured, Hey, we already understand

            15     this game.

            16               And then on top of that, we took the

            17     information of size of school because what we found

            18     was the smaller the school, the more kids that they

            19     had to recruit because they didn't have name

            20     recognition.

            21               I have a nephew who is six-three, 215, the

            22     fastest kid on the team.         He's not hard to find.

            23     He's going to be recruited by Michigan and Ohio

            24     State and other schools are going to find him and

            25     probably offer him a scholarship, but what about


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             1     the kids who are in the smaller towns and how do we

             2     get information about them?

             3               Here's the next part of the process, which

             4     is people send information on college kids

             5     throughout the country into these coaches'

             6     databases which they search on grade point

             7     averages, height, weight, positions and they fill

             8     them.

             9               Now, what we're talking about is, Is that a

            10     bad thing?     Is offering kids scholarships a bad

            11     endeavor?     We have information, these college

            12     coaches, on thousands of kids based on public

            13     information through newspaper articles and so on

            14     and so forth.

            15               Yet they are using it to offer kids

            16     scholarships, and those of us who enjoy March

            17     Madness think, well, maybe it's not a bad idea at

            18     all, but what we found is the academic side of the

            19     colleges liked it because we were tracking grades

            20     and other information for the kids that were being

            21     sent in, but then other departments who were

            22     offering scholarships began using our software to

            23     offer kids scholarships for music and academic

            24     scholarships and drama and so on and so forth.

            25               So the information flow is critical.            We


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             1     looked at it in Acxiom, yes, big macro, large

             2     company, important to look at, but there are also a

             3     lot of smaller, targeted uses of information

             4     database and flow that is beneficial to the

             5     foundation of this economy and how we operate.

             6               So from our standpoint, we look at this

             7     issue from a small business perspective.             Let's

             8     give small businesses the opportunity to grow and

             9     survive and to create competition in the markets

            10     unlike in the EU, and let's not arbitrarily just

            11     cut that information flow off.

            12               Thank you.

            13               MS. RICH:     Greg Miller is Interim Chief

            14     Privacy Officer and Vice President of Corporate

            15     Development for MEconomy, an Internet privacy

            16     infrastructure venture.         Before joining that

            17     company, Mr. Miller was Medicologic Netscape's

            18     chief Internet strategist of governmental affairs

            19     and a director of strategic marketing for Netscape.

            20               Mr. Miller has worked on issues involving

            21     technical Internet infrastructure, online marketing

            22     strategy, including personalization and data

            23     warehousing, and Internet security and privacy

            24     policy issues.

            25               Greg?


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             1               MR. MILLER:      Thank you, and I want to thank

             2     the Commission for inviting me to participate this

             3     afternoon.

             4               Actually a little bit beyond MEconomy, I

             5     have the privilege of being a venture capitalist,

             6     not to be confused with capitalist, so MEconomy is

             7     one of my portfolio companies.

             8               But in the process of doing that, I

             9     facilitate the development of emerging security and

            10     privacy companies in the digital economy and advise

            11     up-starts on issues of consumer privacy and

            12     information security, and two very different, yet

            13     perhaps paradoxically complementary sectors of

            14     digital entertainment and U.S. health care.

            15               I've been asked here today to participate

            16     with my esteemed colleagues on an exploratory

            17     discussion on the effects to business and consumers

            18     of the merger and exchange of consumer information

            19     and digital economy.

            20               And of potential applicability to this

            21     discussion, I spent the last six months working

            22     with a client start-up to engineer an inflow

            23     mediation and user registration system that was

            24     designed specifically to address required

            25     consorting of offline and online consumer


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             1     information for multiple sources in order to create

             2     the best possible user experience and online

             3     digital entertainment while simultaneously

             4     respecting the privacy of those subscribers.

             5               Our solution, which we dubbed JOIN for

             6     "just opt-in," addressed many of the issues raised

             7     by this workshop, so the net of my work there, as

             8     it may contribute to today's discourse, can

             9     probably be summed up as follows:           Over time the

            10     convergence, Consortium and brokering of personally

            11     identifiable information, or PII, we believe will

            12     require a balancing test between the needs of

            13     business and the needs of consumers, nothing too

            14     profound there.

            15               And I can see the broken smiles of the

            16     lawyers among us.       I call it YABT, "yet another

            17     balancing test," and thankfully for all of us I'm

            18     going to avoid going down that particular rat hole

            19     of jurisprudence.

            20               But anyway, what we learned last year in

            21     this online music start-up was that consumers might

            22     not worry about privacy per se as much as they

            23     worry about surprises and uninvited interruptions,

            24     and apparently Seth Goddin this week concurs at

            25     least in part with that finding in the current


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             1     issue of Red Herring Magazine.

             2               So I submit that consumers simply want to

             3     be left alone and are not interested in being

             4     interrupted, unless they've agreed to such as part

             5     of the deal for receiving the information, product

             6     or service that they're seeking.

             7               I also submit that the majority of

             8     businesses are not interested in snooping but

             9     simply selling more products and services.              For

            10     business success in the digital economy means

            11     gathering information to improve the customer

            12     experience and relationship.

            13               Compiling information on consumers from

            14     whatever source is legally available should be

            15     intended to improve the customer experience and

            16     nothing more, and this may mean not only sharing

            17     and consorting of PII, but synthesis of data into

            18     homogenized databases.

            19               This can raise potential concerns.            The

            20     ease with which PII can be extrapolated is

            21     improving -- it's proving really possible to be a

            22     very powerful thing and perhaps to one's detriment.

            23               Witness Web M.D.'s move last week or the

            24     week before to rescind their contractual

            25     obligations to provide certain data to Quintiles,


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             1     one of their supply chain trading partners, due to

             2     the technical wherewithal to ascertain an identity

             3     with only a date of birth and a postal code.

             4               I submit there are demonstrative benefits

             5     to PII compilation and the downside in terms of

             6     consumers' lack of confidence in business to do the

             7     right thing or unwillingness to participate I think

             8     can be addressed through what we call permission

             9     based approaches to the data gathering use.              Of

            10     course, consumers should be aware of the possible

            11     misuse of PII but also understand the cost benefit.

            12               So through that work we also came to the

            13     conclusion that unless and until the incentives of

            14     business and consumers are matched in a manner that

            15     encourages and authorizes the compilation and usage

            16     of PII, something we're studying right now at

            17     MEconomy, this so-called digital economy we think

            18     may stall.

            19               For the consumer the concern should

            20     probably run to security more than privacy as the

            21     real threat may lie in identity theft.

            22     Unfortunately we weren't able to find a lot of

            23     empirical evidence last year on the use or misuse

            24     of PII.

            25               I think the digital economy is still fairly


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             1     nascent, but I think prospectively industry should

             2     focus on the now well settled principles of notice,

             3     choice and access, and as they're equally important

             4     in the compilation of PII, we think the consumer

             5     should be notified of information gathering

             6     practices and policies whenever they're used in any

             7     service, online or not, and where appropriate or

             8     practical given the choice to participate in

             9     advance of such gathering.

            10               We think the compiled PII by business

            11     should be accessible to the consumer's review, too,

            12     and we think applying these three principles with

            13     equal force and meaningful standards for each

            14     empowers the consumer to take an active role in

            15     protecting their own identity and its uses.

            16               So as we grapple with the complex issues of

            17     the underlying and I think most valuable commodity

            18     of a digital economy, PII, I believe that notice,

            19     choice and access can serve as safeguards for over-

            20     reaching data collection, and I think that that

            21     would be the basis for my contributions today, if

            22     any, that are hopefully useful.

            23               Thank you.

            24               MS. RICH:     Thanks.     Lastly Brian Tretick is

            25     a principal with Ernst & Young, who works in the


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             1     area of global privacy assurance and advisory

             2     services.     He serves clients in the online

             3     financial services, retail and software industries

             4     focusing on the technological, organizational,

             5     regulatory and third-party relationship aspects of

             6     data privacy.

             7               He also works in the firm's global privacy

             8     practice where he helps to provide various

             9     consolidated services, technical, advisory, and

            10     legal, to Ernst & Young's global clients.             Brian?

            11               MR. TRETICK:      Thank you, Jessica.       Prior to

            12     this panel, you heard from marketers, and I

            13     represent here the assurance industry.

            14               I want to talk a little bit about what

            15     companies are doing, especially companies that hold

            16     on to marketing information, hold on to information

            17     about their customers, merge third-party

            18     information with that to get to know their

            19     customers better and perhaps then provide an avenue

            20     for other parties, their merchant partners,

            21     business partners, to reach the company's customers

            22     with those third-party messages.

            23               First off, I would like to talk a little

            24     bit about the organizational issues, namely, the

            25     appointment of privacy officials, and these aren't


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             1     the privacy officials, the celebrity CPOs that were

             2     appointed over the last year, year and a half.

             3               These are people with a lot less glamor.

             4     They have assurance, audit and compliance

             5     responsibilities, so what we're doing, we're seeing

             6     a push, an evolution of privacy and privacy

             7     responsibilities out of the PR, the business

             8     development type environments and down into the

             9     business.

            10               We're seeing an emergence of the roles and

            11     responsibilities, the policies and procedures out

            12     of marketing groups for marketing data, although

            13     they need to keep executing those policies and

            14     procedures.      There's someone with authority and

            15     accountability in companies who is much more,

            16     pardon the expression, humorless about the use of

            17     information because they're much more regimented

            18     and disciplined in their backgrounds.

            19               So we're seeing those again

            20     accountabilities and authorities extending outside

            21     of the marketing arrangement, marketing groups, and

            22     into business development, into other compliance

            23     and auditing functions.

            24               We're seeing the extension of security and

            25     controls, again not just on Web sites.             All this


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             1     data is back in enterprise systems and increasing

             2     technical, procedural controls in these situations,

             3     and also assurances where management needs to

             4     establish confidence among themselves that their

             5     technology groups, that their business development

             6     groups, customer service groups, marketing groups,

             7     sort of fulfillment groups, are all meeting these

             8     policies and procedures, these internal policies

             9     and procedures.

            10               So they're seeking assurance internally and

            11     externally on these practices.           They're providing

            12     training and awareness for their employees and

            13     third-party vendors on their policies, on their

            14     detailed practices, dos and don'ts, what they

            15     should and should not do regarding the use of

            16     collected data.

            17               And they're also reregulating their

            18     dealings with third parties, with people who they

            19     receive information from and people who they

            20     provide information to, vetting them, selecting

            21     them carefully and doing due diligence and

            22     including specific terms of use in contracts with

            23     third parties and also then various verification

            24     and monitoring.

            25               The final point here is that these


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             1     companies are working again internally or with

             2     third parties to establish assurances that their

             3     controls are in place to prevent bad things from

             4     happening, to discourage bad things from happening,

             5     and to put controls in place to encourage the right

             6     things, the appropriate business practices to

             7     happen.

             8               Thank you.

             9               MS. RICH:     Thanks to everybody for your

            10     prepared statements.

            11               We thought it would be useful next to open

            12     up the panel for a discussion of some of the issues

            13     you touched on in your opening statements.              Some of

            14     you have identified ways in which consumers and

            15     businesses benefit from the merger and exchange of

            16     data, for example, better targeting of ads, lower

            17     costs, better customer service, lowering end

            18     barriers for start-up, other examples.

            19               I think it would be useful if the panelists

            20     expanded on some of these points and had a chance

            21     to comment on others' points that were made in this

            22     area, and also if anybody has data to support or

            23     even contradict the points they're making, if you

            24     could mention it now, I think it would make for a

            25     better discussion if there was any data and


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             1     everyone could hear about it.

             2                I guess Jason is putting his tent up, so he

             3     would like to start it off.

             4                DR. CATLETT:     Thanks very much.       Let me

             5     talk about dynamic pricing a little.            There's very

             6     little data on this because companies don't put out

             7     press releases saying," We are able to gouge our

             8     customers to the extent of $6 million."

             9                However, I would point you to an article in

            10     Harvard Business Review last month that says that

            11     an unnamed consumer electronics store was able to

            12     differentiate between price sensitive consumers and

            13     price insensitive consumers who were in a hurry and

            14     to charge the more hurried customers a 20 percent

            15     premium over the more diligent shopper, so that's

            16     the only empirical data point that I have about

            17     dynamic pricing, an area that's shrouded in

            18     secrecy.

            19                What could we possibly do about dynamic

            20     pricing?     Well, there's a diversity of opinion

            21     about whether this is a good thing.            The airline

            22     industry does differential pricing, not based on

            23     personal information, but whether, for example, you

            24     want to be home with your wife and children on

            25     Saturday night.


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             1               A benefit to rationing that, and I think

             2     there's a diversity of opinion on whether dynamic

             3     pricing is a good thing.

             4               What privacy protections are necessary in

             5     that environment?       I believe the appropriate one

             6     here is that adopted in the EU's data directive

             7     which gives the data subject not only the right to

             8     see the base data on which the decisions are made,

             9     but also to have an automated decision-making

            10     process explained to him or her.

            11               So that, for example, if an E-commerce

            12     merchant is charging Fred $2 less for a paperback

            13     book than it is charging me, then I can, in

            14     principle, ask to have that decision-making process

            15     explained to me, and then the merchant can say,

            16     "Well, it's because of your past behavior in this

            17     area," and then at least I have some understanding

            18     on which to base my future behavior.

            19               MS. RICH:     Is that Rick down there?

            20               MR. LANE:     Yes.    Just a couple points.        On

            21     the dynamic pricing issue, obviously that just puts

            22     up red flags for us in terms of you're dictating

            23     how businesses are going to charge particular

            24     customers for particular items.           Does it mean

            25     dynamic pricing includes presenting certain


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             1     customers with coupons that provide a 10 percent

             2     discount over maybe my neighbor who doesn't get

             3     that and based on my buying habits, and so that is

             4     obviously of concern.

             5               Also market forces, if what happened at

             6     Amazon.com is accurate and all this brew-ha-ha

             7     erupted, obviously there is concern in the

             8     marketplace that reacted very quickly and swiftly

             9     that consumers weren't ready for that or did not

            10     appreciate that, and it stops, so there are market

            11     forces already out there.

            12               Also the direct marketing that Jason put

            13     forth in his discussion about the increase in

            14     direct marketing over the course of time, well,

            15     yes, obviously there's been more mailings done.

            16     There are more people in the country.

            17               So, of course, you're going to have more

            18     mailings.     There's more businesses.         There's more

            19     small businesses, and we've had a dynamic growth

            20     over the past couple years.          It's called economic

            21     growth.     I thought it was a good thing.

            22               So, yes, you're going to have more direct

            23     marketing out there, but the fact is you're getting

            24     less mail that's not of interest to you, and that's

            25     a critical point, and that's what this is all


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             1     about.

             2                DR. CATLETT:     Could I respond to that

             3     quickly?     There are several factors at work, the

             4     increase in population, the increase in the price

             5     of paper and the price of postage, which Jerry I

             6     guess constantly is working on, all work to cause

             7     the total number of solicitations to vary for a

             8     number of different areas.

             9                But I think if you learn DM Math 101, you

            10     will find that more information means more total

            11     solicitations, more accepted solicitations, but

            12     also more unwanted solicitations.

            13                And on the issue of dynamic pricing, I

            14     didn't seek to say that the Federal Trade

            15     Commission should stop dynamic pricing or stop a

            16     company from offering a coupon to a subset of its

            17     customers based on the Claritas Prism rating or

            18     whatever criterion.

            19                I simply think that from the point of view

            20     of privacy and fair information practices, the

            21     consumer should have the right to see the

            22     information that that decision is being based on.

            23     The information may be incorrect, and they may be

            24     missing out on something that they might otherwise

            25     be entitled to, and the decision-making process


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             1     should be transparent.

             2               If there is a trust gap, and I agree with

             3     Commissioner Swindle and the many other speakers

             4     who have said that there is a trust gap here, the

             5     way to close that gap surely is greater

             6     transparency, to give the consumer the right to see

             7     what's going on and the right to delete it if they

             8     don't want it.

             9               MS. RICH:     Evan, you've been waiting

            10     patiently, calmly.

            11               MR. HENDRICKS:       And unemotionally too.

            12               MR. RICH:     Unemotionally, yes.

            13               MR. HENDRICKS:       Well, let's talk about

            14     small business.       If you look -- I commend everyone

            15     to the latest study from Forrester.            Jason cited

            16     one earlier in our Privacy Times.           It's out on the

            17     table.    We report on the latest Forrester which

            18     looks at wireless, how privacy is not only integral

            19     to wireless, but privacy is integral -- it's the

            20     core business issue, and that it has to be dealt

            21     with top to bottom or businesses will suffer.

            22               And Forrester staff are not consumer

            23     advocates or political.         They're just worried about

            24     their clients' bottom line, and I think it's a very

            25     important analysis.


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             1               Let's talk about small business.           I mean,

             2     so much of being in business depends on your

             3     judgment as a businessman and what is your business

             4     model, and so sometimes you need information to

             5     make your business go, and sometimes you can

             6     configure your business so you don't need to rely

             7     on people's personal data.

             8               I started my small business in January

             9     1981, and I had $3 in my pocket, and I've not

            10     borrowed money, and I'm still in small business

            11     and -- is the business you described still going?

            12               MR. LANE:     It's the number 1 recruiting

            13     software in the country.

            14               MR. HENDRICKS:       Excellent, excellent.       So

            15     we like that, but I think the other thing that

            16     happened to be in the 1980s is when the federal

            17     agencies were making a lot of claims about computer

            18     matching and that computer matching -- when I

            19     wanted to match databases from different agencies

            20     to fight fraud, they would make these projections

            21     about how bad fraud was among federal agencies.

            22               And I was part of studies that actually

            23     drilled down and looked at the numbers, and we

            24     found that the costs and the fraud projections were

            25     completely specious.        There was no basis in fact to


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             1     them, and that they were just pulling numbers out

             2     of the air.

             3               So I look in today's Wall Street Journal,

             4     and I see that the cost of the 90 largest financial

             5     institutions will be $17 billion for some sort of

             6     restrictions on sharing or selling customer

             7     information, and Fred is quoted as saying that the

             8     costs run into the trillions, so I look forward to

             9     looking at those numbers too.

            10               I'm very skeptical that these will hold up

            11     to objective analysis and that the one thing when

            12     you hear about Gramm Leach Bliley, notices will be

            13     going to customers by banks of information

            14     practices and privacy policy.

            15               But Gramm Leach Bliley, the provisions in

            16     there were -- that's what the banking lobby wanted.

            17     They got what they wanted in this bill, and the

            18     other proposals advocated by the consumer advocacy

            19     community were rejected.

            20               So this is a case where maybe they didn't

            21     think out long enough what really were the best

            22     privacy standards and the most cost efficient ones.

            23               MS. RICH:     Fred?

            24               MR. CATE:     Thank you very much.        I think

            25     one of the points Evan makes, he raises one, and


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             1     frankly this goes to something Jason said which

             2     might be worth following up on, several people have

             3     mentioned, and Evan just did then, the question of

             4     how many people don't engage in an activity because

             5     of privacy fears and trying to put numbers, and

             6     Forrester certainly tried to do that.

             7               I think there's some reason to be a little

             8     skeptical of that, and I think Europe is the reason

             9     for that.     Europe offers the most restrictive set

            10     of privacy laws we have on the books.

            11               The polling data on reasons for staying

            12     offline is just as high as in the U.S., so in the

            13     presence of very high legal protection, you have a

            14     very high anxiety rate.

            15               Moreover, something else we seem to know is

            16     that there's a certain disconnect here between what

            17     you want to be worried about and what you are

            18     worried about, that what we might perceive because

            19     we don't know, because we don't understand, and

            20     that this is also reflected frankly in a lot of

            21     these -- a lot of these numbers.

            22               And if you read the whole survey you see

            23     what they were really talking about was something

            24     different.     They were talking about security or

            25     they were talking about some specific issue, not


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             1     the question of, Is this information going to be

             2     shared.

             3               They're worried about, Is the information

             4     even going to get to the end point, but this

             5     reminds me -- this is my segue alert.            This reminds

             6     me of Jason's point, which I think actually is

             7     excellent, dynamic pricing is an issue.             If it's a

             8     problem, it's a problem that should be looked at as

             9     a phenomenon itself.

            10               And if Commissioner Swindle can get me a

            11     cheaper fare home because I'm not going to be

            12     subject to the sort of pricing that the airlines

            13     use, I think that would be terrific.

            14     Unfortunately, I guess jurisdiction doesn't extend

            15     there.

            16               But it highlights the sort of need to focus

            17     on what is the use of the information that causes

            18     the problem; in other words, not what's the specter

            19     of uncertainty.       What's the way in which you can

            20     sort of look across sort of all possible uses of

            21     information.

            22               But if in fact there is a use of

            23     information, for example, we have all sorts of laws

            24     in this country prohibiting discrimination, that

            25     you would use information to discriminate in.              We


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             1     don't have nearly as many laws restricting the flow

             2     of that information.        We have laws restricting the

             3     use of that information.

             4               You cannot use it to discriminate in

             5     certain ways, housing, public accommodations and so

             6     forth, and so I think really both of these points

             7     highlight the importance of focusing on

             8     demonstrated behavior and real harms as opposed to

             9     sort of speculation and system wide regulation of

            10     information flows.

            11               MS. RICH:     Mary?

            12               MS. CULNAN:      This is another segue alert,

            13     but I think for the business people in the

            14     audience, I mean, one way to think about privacy,

            15     it's not really privacy, it's really disclosure.

            16     You want consumers to be comfortable disclosing

            17     information and allowing it to be used for

            18     marketing.

            19               And there have been a couple of good Harris

            20     surveys that have looked at people's willingness to

            21     disclose.     There was one done in 1997 so these were

            22     mostly computer geeks in the sample because at that

            23     time everybody wasn't on AOL like they are now.

            24               But they asked some questions about, Have

            25     you ever either lied or not disclosed information


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             1     to a Web site when they asked for it, and everybody

             2     knows the numbers.        A huge number of people say,

             3     Yes, at some point I did do this.

             4               So then they asked, Well, what if the Web

             5     site told you, gave you notice and choice, and a

             6     huge -- about half the people who did not disclose

             7     before or lied say, "Yeah, I'll disclose my

             8     information then," or if you already had a previous

             9     relationship with a firm, then a lot of people

            10     would disclose.

            11               I think what it says is you've got to get

            12     at least notice and choice into the equation, and

            13     it does make people more comfortable.

            14               Now, the other interesting side to this is

            15     there is still a clump of people that under any

            16     circumstances are still not comfortable disclosing,

            17     and the issue is, What is it that would make these

            18     people disclose or, in fact, is this just how

            19     marketing works, and there's a segment of people

            20     that don't want to do business online.

            21               MS. RICH:     Jason?

            22               DR. CATLETT:      Let me go from those

            23     habitual, non responders, who comprise

            24     approximately half of the United States, back to

            25     the dynamic pricing issue.


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             1               Rick said that market forces have corrected

             2     that, and in the case of Amazon, I would feel a lot

             3     more comfortable if Amazon disclosed the fact that

             4     they were doing dynamic pricing.           This was not the

             5     case.    It was discovered by someone who talked

             6     about it on an Internet discussion group, and then

             7     it went out to the media.

             8               So I think again the problem we have is a

             9     lack of transparency here.          If we want to

            10     investigate the practice, we have a very difficult

            11     time doing so, if we don't have a right of

            12     consumers to see what information is being held

            13     about them and how it is specifically being used in

            14     their case.

            15               MS. RICH:     Since we seem to be moving

            16     partly into what effect this has on consumers, let

            17     me just go back to a point made earlier, which is

            18     if there are cost efficiencies and lower costs

            19     generally from being able to share data, are any of

            20     these cost efficiencies passed on to consumers?

            21     Has anyone measured that or thought about that?

            22     No.

            23               Another point I just wanted to go back to

            24     before we move into effects on consumers completely

            25     is I heard different statements being made about


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             1     whether the number of solicitations is really

             2     reduced when you can share data and target more

             3     efficiently with some people saying that, Yes,

             4     people will get fewer solicitations and others

             5     saying, Well, they'll be targeted more.

             6               Does anyone have any data on that or any

             7     information that would be useful in talking about

             8     that issue?

             9               Evan?

            10               MR. HENDRICKS:       Well, in the credit cards,

            11     we do have data out, just in the last few months,

            12     showing that the response rate for pre approved

            13     credit card is plummeting, and I think that deals

            14     -- I mean, here's a situation where they're able to

            15     use credit bureau data, highly targeted, and it's

            16     just a question of the market is so saturated, and

            17     there's not much differentiation anymore among the

            18     credit card offers.

            19               So I can't remember, someone told me it was

            20     .4 percent or something was the response rate, so

            21     the customer acquisition is going much higher, and

            22     that's many factors.

            23               DR. CATLETT:       They key point there is the

            24     number of credit card solicitations is going up.

            25               MS. RICH:     Jerry?


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             1               MR. CERASALE:      The basic -- this isn't

             2     precise data, but the basic use of mail

             3     solicitation tends to be standard mail, although

             4     there are solicitations that go out first class,

             5     and standard mail growth is growing faster than the

             6     rest of the mail volume is growing, but

             7     significantly below what would be expected in

             8     the -- what was expected in the growing economy.

             9               The Postal Service is coming in and asking

            10     for new rates and so forth based on new market

            11     forces, so that the amount of total volume of

            12     standard mail is not growing, what would be

            13     expected in the economy.

            14               One of the things you can see has changed

            15     over time, however, is what used to be known as

            16     resident or occupant mail, that in standard mail

            17     the non resident, non occupant mail percentage of

            18     standard mail is growing, meaning that the

            19     targeting has increased.         It's not just the

            20     saturation shock on hitting every house everywhere,

            21     even though those have the lowest postage rates

            22     offered by the Postal Service.

            23               So that type of data we have seen as well,

            24     and the solicitations also tend to follow a pattern

            25     of the economy, that if the economy turns down, you


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             1     tend to get a significant increase in standard mail

             2     solicitations to try to drum up the business that's

             3     being lost, and that lags the drop in the economy

             4     about six months to nine months before that

             5     plummets down as it follows the economy.

             6               So that's what's happening.          You have an

             7     increase in targeted pieces, less saturation pieces

             8     going through the mail, but they are growing less

             9     rapidly than they have historically based upon

            10     what's happening in the economy.

            11               DR. CATLETT:      Jerry, could you just clarify

            12     that standard mail is what used to be called third

            13     class mail?

            14               MR. CERASALE:      Yes, that's what the Postal

            15     Service used to call third class mail.             They now

            16     changed it to standard.

            17               MS. RICH:     Before we get too deep into

            18     consumers, I realize I left out the piece of -- we

            19     talked about the benefits for businesses of these

            20     practices.

            21               Does Greg or Brian or anyone else want to

            22     talk about some of the downsides or the risks for

            23     businesses of these practices?

            24               MR. MILLER:      We both probably have

            25     interesting remarks to make about this, and just


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             1     perhaps as a segue from the business side over to

             2     the consumer side, I want to speak to you a moment

             3     about infrastructure cost on the business side and

             4     then how that transitions over to consumers.

             5               And I have two quick case points for you

             6     that would be great for you to comment on too, and

             7     I will start with health care, which is where I

             8     spent a lot of time in the medical records space,

             9     and what we were trying to do at Medicalogic was

            10     give to the consumer for the first time in history

            11     a secure, authorized access to their authentic

            12     medical history.

            13               Well, it turns out that for most of us, our

            14     medical history is comprised of several records,

            15     our primary care physician and at least a couple of

            16     specialists, and so what we were trying to do was

            17     give a view port to that comprehensive medical

            18     history, and that required literally the opt-in of

            19     several physicians and the proactive relationship

            20     building that went on with the patient to encourage

            21     them to allow that.

            22               That required a lot of infrastructure cost

            23     for us in the consorting and homogenizing of that

            24     data and creating the necessary safeguards to even

            25     create Chinese walls, if you will, between the


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             1     dermatologist and the OB-GYN and the primary care

             2     physician, so there was a view port challenge

             3     there.

             4               In the entertainment space, the most recent

             5     case, we had a very challenging one with -- another

             6     one of our panelists, Ted Wham and I worked

             7     together on a project in the music space, and the

             8     problem we had there was when you go buy music, you

             9     don't say to yourself, I've got to go get me one of

            10     those Sony records.        You say, I want to go buy a

            11     Dave Matthews album.

            12               You, the consumer, purchase by artist, but

            13     the music industry, by which I mean the five record

            14     labels that control 90 percent of the music that's

            15     distributed worldwide, have their view of the world

            16     on you.

            17               So we literally had to engineer what we

            18     called a data escrow service to ensure that privacy

            19     policies across five labels actually reconciled

            20     with one another and then the JOIN, the just opt-in

            21     program, was the means by which we encouraged the

            22     consumer to get the experience that we're really

            23     looking for which was a unified locker service

            24     which allowed them to compile all music they've

            25     ever purchased across any label from any retailer


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             1     in history into one homogenized database.

             2               This really presented a lot of problems

             3     because all the labels jumped up immediately and

             4     said, Not on my watch are you going to be mixing my

             5     data with the data of Universal without my customer

             6     explicit opting in says BMG, so we literally had to

             7     create this membrane.

             8               This produced some substantial costs, and I

             9     dare say it may have been the straw that broke the

            10     camel's back because unfortunately that company is

            11     now in receivership.        They spent tons of money on

            12     infrastructure to build the data escrow service

            13     that would ensure the privacy policies of five

            14     labels were maintained and protected and then still

            15     get the subscriber, the consumer, opting in to

            16     participate.

            17               And I think that put a lot of pressure on

            18     them from the standpoint of ensuring privacy as

            19     well as building infrastructure that would support

            20     and then shield them from a certain amount of

            21     liability which I think segues over to you.

            22               MR. HENDRICKS:       Also, Greg, wouldn't an FTC

            23     standard, a uniform standard solve that problem

            24     across those five Web sites?

            25               MR. MILLER:      I think to a certain extent


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             1     that's possible, yeah, but it's interesting the

             2     challenge of being a lawyer, working with lawyers

             3     and their view of each of their privacy policies.

             4               MR. TRETICK:      I think there are always some

             5     risks in the exchange of any valuable asset, both

             6     upstream and downstream from a marketing data

             7     provider to a marketing data consumer company.

             8               The providers are looking to make sure that

             9     the information that they provide is going to

            10     reputable and responsible parties and going to be

            11     used in reputable and responsible manners, that

            12     children's information that is being offered up

            13     about all these school kids and college kids isn't

            14     going out to market them, drugs, liquor, cigarettes

            15     to athletes, things like that upstream.

            16               Downstream is the same thing.          We want to

            17     make sure that when we receive information it's

            18     coming from sources that got this data under again

            19     a reputable and responsible regime and that we can

            20     reach out and touch these customers and make sure

            21     then that they're not annoyed by our message, that

            22     the frequency of being able to be touched is

            23     reasonable, that the method of touching these

            24     customers is reasonable and responsible and

            25     appropriate for that.


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             1               So these are the risks that are faced both

             2     upstream and downstream.

             3               MR. CERASALE:      I think we're switching to

             4     some risk to businesses.         I think the first risk a

             5     business has is they promise more than they can

             6     deliver, so that you have to make sure that you

             7     promise to do certain things and that you can and

             8     will be able to do it.

             9               The risk -- the real risk you have, a

            10     business has in sharing information is to become

            11     complacent and sloppy.         If you don't treat the

            12     information that's given to you as part of a trust

            13     relationship, ensure that you have safeguards to

            14     keep the data secure, you want to make sure -- as

            15     you just said, you want to make sure to whom data

            16     is being shared, what type of procedures, what type

            17     of marketing piece is going out.

            18               If you're just sharing data from one

            19     marketer to another, you want to see what the

            20     marketing piece is.        You want to make sure if

            21     you're -- for a one time use that the list is

            22     seeded so you can see, to make sure the person you

            23     dealt with actually does, in fact, live up to his,

            24     her, its agreement they had with you.

            25               So that those -- and you have to train your


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             1     employees as they work with -- we've seen that way

             2     back with -- an example that was publicly stated

             3     here with Metro Mail where on the 13th phone call,

             4     an untrained person gave information out.             You have

             5     to make sure that you work that way because you can

             6     quickly lose consumer trust.

             7                A 60 Minutes program, something like that,

             8     can destroy your business, so I think that that's a

             9     big downside for businesses.

            10                The upside is that you can try and grow and

            11     expand and give people who don't have as many

            12     choices more choices and so forth, but you can, if

            13     you are reckless, totally destroy your business

            14     with some mistakes.

            15                MS. RICH:    I'll take Jason, and we'll move

            16     on.

            17                DR. CATLETT:     Thanks.    Building on Jerry's

            18     point there, it's not any danger to the individual

            19     company.     It's a danger to the collective trust by

            20     consumers of companies and the technologies.

            21                I would refer you to another Harvard

            22     Business Review article by Susan Fornia called

            23     "Preventing the Premature Death of Relationship

            24     Marketing" in which she tells -- gives an example

            25     of a supermarket with a loyalty card that would


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             1     send out personalized letters saying, You haven't

             2     bought X lately, why don't you come in and buy some

             3     more.

             4                And of course, inevitably some woman became

             5     pregnant, and the company -- the supermarket sent

             6     out a solicitation saying, Why don't you come in

             7     and buy some more tampons.

             8                There are a number of similar horror

             9     stories.     We heard the miscarriage example this

            10     morning.     We've heard the prison inmate sending the

            11     personal letter to Beverly Dennis.

            12                It's very difficult to quantify the degree

            13     to which the average consumer is aware of these

            14     horror stories, but I think that the American

            15     public is largely aware that they have very few

            16     rights in these cases.         The company takes a PR hit.

            17     They change supplier, but what about the individual

            18     whose data was used inappropriately?

            19                And I submit that the American consumer,

            20     under current law in the U.S., has inadequate

            21     recourse.

            22                MS. RICH:    Well, in addition to these

            23     issues Jason has just raised about how consumers

            24     are affected, I think the main concern for

            25     consumers that I heard identified in the opening


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             1     statements was whether the practices are

             2     transparent to consumers.

             3               Mary, you're nodding.        Would you like to

             4     expand on the points you raised earlier in the

             5     panel?

             6               MS. CULNAN:      I just don't think people know

             7     what's -- the average consumer knows what's going

             8     on, and then the problem is, and it exacerbates the

             9     trust gap, that people are surprised.            Then they

            10     become unhappy.

            11               And it's when -- wasn't what they were

            12     expecting, wasn't the bargain that they bought

            13     into, and so then they write to their members in

            14     Congress or they do whatever, there end up being

            15     stories in the newspaper, et cetera, and it causes

            16     a lot of problems for the collective business

            17     community.

            18               One of the things I forgot to mention

            19     before too, the people who were sort of the least

            20     trusting and the more concerned about privacy and

            21     the least willing to disclose were also the ones

            22     who were most likely to favor legislation, so I

            23     think there's a take-away there.

            24               I think the industry can do a lot to help

            25     educate people as they've done in other areas,


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             1     online privacy, kids privacy.          There were some

             2     terrific presentations at today's sessions.              Why

             3     not put them up on the Web?          Why not try to get

             4     people to go there?

             5               I think the DMA can play a big role in

             6     terms of trying to push your members along to do

             7     better disclosures by putting -- changing the model

             8     disclosures in the compliance manuals to be more

             9     forthcoming about what is really happening to your

            10     information when it's shared or when you provide

            11     it.    I think -- go ahead.

            12               MS. RICH:     Before we talk about this issue,

            13     could somebody, Jerry, Brian, somebody describe

            14     what kind of notice is being provided regarding

            15     these practices?

            16               MR. CERASALE:      I can start this at least.

            17     Notice has been provided by catalogers, for

            18     example, for an awful long time, and the notices

            19     generally -- I have a box of catalogs I was going

            20     to give Martha, I forgot to do it, I'll do it later

            21     now, that show on the order forms, basically is

            22     where they are, mailing, preference service

            23     information, so forth on how to, and they state

            24     basically that information is shared with third

            25     parties to send you -- to market to you offers that


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             1     you might be interested in, and if you don't want

             2     that, either call this number or write to us here.

             3               MS. RICH:     Does that encompass --

             4               MR. CERASALE:      That's the notice that

             5     generally comes in the off -- I would say in the

             6     offline world.

             7               Online is a little different in the sense

             8     that there's more space.         The real estate is fairly

             9     inexpensive, and some privacy policies are very

            10     lengthy, as some people have heard when they went

            11     to testify up on the Hill, a little bit too long,

            12     so they can -- some of them are a little bit more

            13     detailed in the offline world.

            14               Plus if you have a network advertiser on

            15     there, you have to add -- there's a whole slough of

            16     more notices that are required.

            17               MS. RICH:     When you say the notice says we

            18     share with third-party, does that include sharing

            19     with compilers?

            20               MR. CERASALE:      Yes, that's the way it is

            21     today, sharing with third parties for marketing

            22     purposes to send you offers, and it does say for

            23     marketing purposes, and that's where DMA requires

            24     it be for marketing purposes as well, but that

            25     would include that at this point, yes.


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             1               MS. RICH:     Do the notices talk about

             2     bringing in data from third-party sources and to

             3     provide overlays or other enhancements?

             4               MR. CERASALE:      Generally the examples I

             5     have with catalogers, they do not.

             6               MS. CULNAN:      I would say, first of all, I

             7     think again saying you share for marketing

             8     purposes, most consumers understand that if you buy

             9     X, you get Y where Y is the same industry as X, but

            10     they don't understand compilers.

            11               Second thing -- and now I've forgotten what

            12     I was going to say.

            13               MS. RICH:     We'll come back to you.

            14               MS. CULNAN:      Oh, oh, oh.     The enhancement

            15     thing, I have seen -- there was one excellent

            16     financial services notice about enhancement that

            17     basically said, We do profiling, we do data mining,

            18     we acquire third-party data, non credit report

            19     data, to understand how you use our card and we use

            20     this to serve you better, and they had an opt-out

            21     form right with the notice, and you could mail that

            22     back or call the 800 number.

            23               Unfortunately, with the Gramm Leach Bliley

            24     requirement, that doesn't cause companies to have

            25     to specify how they're going to use information,


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             1     just what they collect and who they disclose it to.

             2     That very nice statement disappeared from the Gramm

             3     Leach Bliley notice that this company has sent out,

             4     which is now their de facto privacy notice.

             5               So I think that's an issue that's probably

             6     not going to get Congress to act on it, but again

             7     more disclosure I think makes people more

             8     comfortable.

             9               MS. RICH:     Fred, were you going to address

            10     this point?

            11               MR. CATE:     Yes, and I have to say I am

            12     genuinely confused, and that is we talk a lot about

            13     transparency and that we all want transparency and

            14     we want more transparency, we want more disclosure.

            15               On the other hand, we know as a statistical

            16     matter people don't read these, and therefore we're

            17     saying we're going to make ourselves feel better

            18     about privacy because we're going to mail a lot

            19     more notices to people so they can throw those

            20     away, but we can then say we've met disclosure

            21     obligations.

            22               And what I wonder is if there isn't a

            23     better way, in other words, if there isn't a way to

            24     make -- to go back to that point.

            25               I mean, two things that have been said.


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             1     One is people don't want to be bothered, period.               I

             2     think you could just stop there.           It doesn't need

             3     to be qualified.       They don't want to be bothered

             4     with privacy notices any more than they want to be

             5     bothered with anything else.

             6               And if you want empirical evidence of that,

             7     just go home and set your own browser so it asks

             8     you every time you get a cookie and see how long

             9     you live under that system.

            10               You just don't want to be bothered.            I

            11     mean, it's that simple.         You will set the default

            12     to accept all cookies or you will stop browsing on

            13     the Internet.       I'm only describing 97 percent of

            14     the population.       I know there are three of you out

            15     there who will be different.

            16               So is there a better way to provide to get

            17     rid of the surprises, if you will, yet recognizing

            18     people really don't want to be sort of educated

            19     generally about this?        I mean, as a professional

            20     educator, I know how hard it is to hold the

            21     attention of anybody at any time, but the idea of

            22     providing sort of a lesson on privacy at point of

            23     sale, it's a little easier maybe on the Internet.

            24               But it also comes back to that problem of

            25     thinking specifically about when are we talking in


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             1     a transaction and what is the impact on the

             2     consumer depending upon when that is?

             3               At time of collection it's probably much

             4     easier, Why am I asking you for this information,

             5     here's why I'm asking, but that requires of course

             6     that we're only talking someone who is dealing

             7     directly with the consumer.          We're not talking

             8     about any third-party activity there, and we're

             9     talking about they're going to anticipate all

            10     possible uses at that moment.

            11               And of course remember that notice, if it's

            12     complete, will be criticized as being overly

            13     detailed, and if it is incomplete will be

            14     criticized as forming a contract that doesn't

            15     include all of its correct terms.

            16               But what I worry about is the later use.

            17     Back to the AOL example, AOL decides it wants to

            18     start mailing disks to people's houses.             It didn't

            19     have any dealings with any of those people.              It had

            20     no chance to talk about consent with any of them.

            21     It can't mail them notices for consent because to

            22     do that, it would have to use the very information

            23     we want them to get consent before they use.

            24               What are they to do, buy ads educating

            25     people, I'm a start-up business.           You have $3 in


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             1     your pocket but you can buy an ad in the New York

             2     Times saying, let me educate you about something we

             3     know the public is not interested in generally

             4     being educated about?

             5               I think it's a real conundrum that frankly

             6     none of us, and I'm certainly including me, have

             7     done a very good job getting at.

             8               MS. RICH:     Evan?

             9               MR. HENDRICKS:        That's why I brought up

            10     earlier, I think it has to be case by case.              I

            11     think we have to be practical here because nobody I

            12     know in the privacy advocacy community wants to see

            13     bad things done in the name of privacy.

            14               That's why I brought up with the magazine

            15     publishers, How about putting a box at the bottom

            16     of the card?      It's not going to cost you anything.

            17     A lot of people -- and it's opt-out, which is the

            18     altar that many people here are praying at, and

            19     still there was no willingness to commit to

            20     anything like that, and I think that evidence is a

            21     certain level of bad faith, to be frank.

            22               I think the one -- the other thing I fear

            23     is like the two real harms to privacy, the most

            24     extreme harms are identity theft which is supposed

            25     to be the fastest growing crime in the U.S., and


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             1     information brokers, the guys that get your

             2     information.

             3               And for many years the credit reporting

             4     agencies have been the easiest target for those

             5     people, and I think because of litigation under the

             6     Fair Credit Reporting Act and business cases and

             7     settlements and losses, the credit reporting

             8     agencies, you're going to see them tightening and

             9     tightening and tightening the procedures and

            10     protections against those two threats.

            11               And what you're going to see is the

            12     identity thieves are going to be turning to these

            13     other sources of data, and so when the marketing

            14     material says this will only be used for marketing

            15     purposes, I think there's a real warning cloud out

            16     there about these existing threats that you can

            17     anticipate.

            18               And finally, I have to point to the

            19     ToySmart case which the FTC is familiar with.              I

            20     mean, here's a company that had a privacy policy.

            21     It went bankrupt, and its privacy policy lost out

            22     to its fiduciary duty to in that case the trustees

            23     and the bankruptcy, that they had to sell their

            24     data.

            25               And I think that if a marketing company


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             1     basically says they only want to sell this

             2     information for marketing, but if certain revenue

             3     streams and opportunities come up which says that,

             4     Well, you can sell more individual profiles for

             5     different purposes for screening, then that's going

             6     to create the same quandary because that

             7     corporation will have a fiduciary duty to its

             8     shareholders to go after those revenue streams.

             9               MS. RICH:     We'll take Greg and then Jason,

            10     and then we'll open it up for questions.

            11               MR. MILLER:      Just a quick couple of points.

            12     One, I also was sort of surprised this morning

            13     about the response with regard to the check box on

            14     the bottom of the card.

            15               For some empirical data from the

            16     entertainment industry from the focus groups we've

            17     been working on, we actually got quite a different

            18     result.     We discovered that if we engage consumers,

            19     a trust relationship was built.

            20               We started to minimize the notion of

            21     surprising, and we actually found there was an

            22     updraft or an uptake in people opting in if you

            23     gave them the permission to opt-in.

            24               I think one of the big fears about this,

            25     from the marketers is that, Gosh, if we start


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             1     asking people for permission, they're going to say

             2     no.    That was a suggestion this morning that was

             3     made that, no, people won't fill it out.             They'll

             4     actually not opt-in.        In fact, we find -- we have

             5     empirical data that shows they will.

             6               Another point we found out is nobody reads

             7     the privacy policies, as Professor Cate observed

             8     correctly, and we once we started describing to

             9     people the notions of data gathering and what can

            10     be done with it, that was really what started

            11     sending people into a tizzy because, let's face it,

            12     people have no idea what an aggregator is.

            13               They don't know the difference between an

            14     aggregator and a marketer.          They couldn't recite

            15     that slide up there to make a conscious decision

            16     about whether they should participate or not, and

            17     as you begin to educate them, you end up drifting

            18     into this rat hole of technicalities and nuances.

            19               So we had that problem, and to speak to Mr.

            20     Cate's notion of what do we about it, one thing

            21     that we have been experimenting with is the sort of

            22     interactive privacy policy, and it was because on

            23     advice of legal counsel, somebody started saying,

            24     Guess what, it turns out it's not really a policy,

            25     it runs more like an agreement, like a terms of


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             1     service agreement.        We're going to find that a

             2     privacy policy is in fact a contract, and that sent

             3     up the red flag.

             4               And we said, Okay, so we need to reengineer

             5     the privacy policy and be an interactive document,

             6     so what we did with the JOIN program is that we

             7     asked people to actually read through the policy,

             8     meanwhile in the back while we're consorting their

             9     data and setting up their locker, and we asked them

            10     to click off a check box between each major section

            11     in the privacy policy.

            12               And we started compiling that data to see

            13     which sections people were reading and what they're

            14     doing with it.      It also gave us some affirmation

            15     that they had at least seen the privacy policy,

            16     whether they were going to do anything about it or

            17     not, and we found that that was pretty instructive.

            18               And then finally the last thing was that in

            19     the focus groups that we ran, and they were in New

            20     York and Texas and North Carolina and Seattle,

            21     Washington, Los Angeles as I recall, it turned out

            22     that the most common thing that people reacted to

            23     about what would happen with their data was again

            24     being surprised, being bothered, not being left

            25     alone.


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             1               They didn't give permission to get that

             2     piece of mail or that announcement or whatever, and

             3     the second thing, identity theft.           The second most

             4     popular concern turned out to be identity theft,

             5     and this is data, talking to people who are

             6     consumers of musical and video entertainment and

             7     are looking for ways to get that through the

             8     Internet.

             9               MS. RICH:     Jason?

            10               DR. CATLETT:      Thanks.    I think the solution

            11     to Fred's conundrum about transparency is to

            12     guarantee each individual access to the data about

            13     them.    If you think transparency means putting up a

            14     long notice, I think that's very much mistaken.

            15               Let's take the analogy with the federal

            16     government departments.          I don't read the mission

            17     statement of every federal government department

            18     that might have personal data about me, but I know

            19     that if I think they're doing something wrong, I

            20     can put in a FOIA request, find out the specific

            21     data they have and see if I need to fix something

            22     there.

            23               So I think a similar principle of

            24     transparency would provide a lot of assurances

            25     about direct marketing companies.           Unfortunately,


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             1     and other trade groups and companies have refused

             2     not only to give general access to marketing data,

             3     but also even at this workshop to show us specific

             4     examples of known individuals who have consented to

             5     it.

             6               I think that's astonishingly arrogant, and

             7     that the FTC should have a forceful response to

             8     open up that transparency to the degree people

             9     want.

            10               MS. RICH:     Let me follow up.       Jerry, when

            11     you said that the privacy policies, when they in

            12     general talk about sharing with third-parties and

            13     that encompasses sharing with compilers, is that --

            14     some of the comments here made me realize we may

            15     not have -- I didn't understand your response.

            16               Does it actually discuss sharing with

            17     compilers?

            18               MR. CERASALE:      No, no.     It's sharing with

            19     third parties.      The view of DMA is that data that

            20     is shared should be subject to a notice and an

            21     opportunity to say no, and that data can be shared

            22     with third-parties for marketing purposes and

            23     compilers.

            24               And I think Win talked about making sure

            25     the information they received had come from


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             1     marketers that had given notice and opt-out, so

             2     that's where it's at.

             3               As far as the general common notice, there

             4     is no statement concerning compilers at this point.

             5               MS. RICH:     We'll go to questions, but if

             6     Fred and Evan could -- did you want to say

             7     something?

             8               MR. HENDRICKS:       Go to questions.

             9               MS. RICH:     Fred, did you have something

            10     very quick to say.

            11               MR. CATE:     I just wanted to say, there is

            12     now a data set, which Jason has reminded me of, and

            13     that is if we're going to talk about the federal

            14     FOIA, there's excellent data under what access

            15     under FOIA costs, about the litigation it generates

            16     and about the amount agencies spend on it.

            17               At some point in the late 90s the agencies

            18     stopped collecting data because the process of

            19     collecting that data was high, but certainly for

            20     the preceding 20 years, there's excellent data

            21     which would be easily available to the Commission

            22     on what complying with an access regime costs.

            23               MS. RICH:     I saw some questions in the

            24     audience, lots of questions.          This gentleman right

            25     here was holding his hand up earlier, right here


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             1     with the gray or the -- I can't see in the light.

             2               MR. O'HARROW:      I don't know if this is

             3     going to work.      I'll talk into it.

             4               MS. RICH:     Could you say your name?

             5               MR. O'HARROW:      Robert O'Harrow.       I'm a

             6     reporter at The Washington Post, and I have written

             7     a little bit about this over the last couple years.

             8               MS. RICH:     I didn't know who he was when I

             9     called on him.

            10               MR. O'HARROW:      That's okay, and excuse me,

            11     and one thing I thought was very interesting, and

            12     I've actually noticed it for several years is the

            13     discussion oftentimes found its way back to the

            14     question of whether or not the use of data

            15     warehousing, data mining and so on increases or

            16     reduces the mail that an individual receives at

            17     home.

            18               And then the discussion sort of surrounds

            19     that for quite awhile, and I guess I wanted to sort

            20     of raise a question of whether that's really the

            21     issue.    It seems to me that in some ways it used to

            22     be the issue, but in many cases it might be a

            23     canard that tends to distract us from the larger

            24     issue at hand, which I think is profiling.

            25               And so I wanted to sort of raise that as an


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             1     open ended question, of whether or not that's

             2     something that's salient at this point.

             3               Secondarily, there was an assertion up

             4     there that people don't want to be educated, and I

             5     think what I've found in interviewing many, many

             6     people and industry folks, academics and so on is

             7     that the reality is that people don't want to read

             8     legalistic privacy policies that are written to

             9     meet a very low threshold for privacy disclosure.

            10               I find it very difficult, and I've read a

            11     lot of them, and some of them I've actually

            12     understood.      In fact, I would have to say as gently

            13     as possible that I don't think anything could be

            14     further from the truth, and that at my paper, it's

            15     one of the most widely read subjects that we've

            16     written about and that people can't seem to get

            17     enough of true, clear, explanation.

            18               And oftentimes a clear explanation will

            19     create a great deal of anxiety which, to loop back

            20     to my original assertion about the direct marketing

            21     and the mail and so on, the real issue, is the

            22     question is, Do people want to feel like they're

            23     being watched, and charted without their

            24     permission?

            25               Just some food for thought or if anybody


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             1     wants to address that.

             2               MS. RICH:     Evan?

             3               MR. HENDRICKS:        Yes, thank you.     I think it

             4     is because some of the steadiest pollings by Lou

             5     Harris and through the 1990s was, "Do you feel like

             6     you're losing control of your data," and that was

             7     the issue.

             8               And, of course, the direct marketing

             9     industry is in the business of sending out mail, so

            10     they're going to try to refocus the issue there,

            11     but the truth of the matter is what's driving this

            12     issue is people feel they're losing control of

            13     their data, and they don't like it, and they would

            14     like something to be done about it.

            15               MS. RICH:     Fred?

            16               MR. CATE:     Yes.     I think on the education

            17     point, of course it's exceptionally well taken.               If

            18     you write it in language that people don't

            19     understand, they're less likely to perceive it.

            20               I think, however, the issue goes much

            21     farther than that, and I think probably everyone in

            22     the room would know it, and if you want to try a

            23     test, have The Washington Post when people call to

            24     subscribe or to buy classified ads read the first,

            25     say, page of their privacy policy on the phone to


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             1     them, people aren't overly interested.

             2               They really didn't want to go on.           They

             3     want the service.       They couldn't care less.         Let's

             4     move ahead.      It might be different if you were

             5     going to a doctor or something, very contextual.

             6               I understand that, but I think the problem

             7     is, is when we talk about transparency, whether we

             8     mean notices or that you tell everything you do or

             9     you make it possible for them to find it, that

            10     there really is a reality that people are not that

            11     interested in that they love great stories.              They

            12     love human interest stories and all of that.

            13               But to describe the data processing

            14     operation of a corporation, to have anyone do it,

            15     the best marketer in the world, I just don't think

            16     it can be done.

            17               MR. O'HARROW:      If I could add one follow up

            18     thought, which I think is interesting.             One of the

            19     things that's interesting here is without a doubt

            20     that without a doubt, people love the services,

            21     even if they don't know how it's done.

            22               There's no question, people are loving the

            23     personalized services.         They're climbing on to the

            24     stuff like crazy, and it's definitely the future of

            25     business in our time.


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             1               Yet, when they find out how that service is

             2     provided, and not just necessarily in a human

             3     interest story, but let's say an analytical story,

             4     they find -- we find that oftentimes they get

             5     freaked out, and they're not so sure they like the

             6     service under the terms that they've taken it.

             7               MS. CULNAN:      Jessica, can I add just one

             8     quick point?      I think we don't really know a lot

             9     about sort of the consumer process of learning

            10     about this and what really works.           We haven't done

            11     a lot of research, and I think it's an area where

            12     now that we've moved past sort of the, yes,

            13     everyone is concerned about privacy kind of surveys

            14     that are coming in, is to really do some academic

            15     research.

            16               What are the trade-offs people make?            What

            17     kind of notices make sense?          I think the idea that,

            18     well, notices are too hard to understand so let's

            19     not have any notice at all is a bad idea, just my

            20     personal preference.

            21               There's also a lot of research that's

            22     looked at justice, fairness, because this is what

            23     this is really about, treating people fairly, and a

            24     lot of times people may not want to read the policy

            25     or they may not want to exercise their rights under


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             1     some kind of a justice system, but they want to

             2     know that they have the rights, and that then makes

             3     them more comfortable in participating, and it

             4     makes them think things are fair.

             5               So even if they don't click on the privacy

             6     policy, they may want to see that link.

             7               DR. CATLETT:      Just to comment on Robert's

             8     observation that people like the product but when

             9     they found out how it's made, they're not so sure,

            10     it reminds me of Prince Von Bismark's remark that

            11     the less people know about what goes into making

            12     laws and sausages, the better they'll sleep at

            13     night.

            14               I think that the food analogy is a useful

            15     one here.     Congress passed the Pure Food Act in

            16     1904.    It didn't actually say you couldn't put

            17     cocaine into the Coca-Cola.          They said you just

            18     have to label the fact that you're putting it in.

            19               And I think that transparency in terms of

            20     actually showing us the data about you and what

            21     goes into making it is part of enabling consumers

            22     to have a real choice about whether they want to

            23     buy or participate in that product.

            24               MS. RICH:     Let's take the next or a few

            25     more questions.


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             1                MR. LE MAITRE:      I'm sorry, I was going to

             2     respond on the point, Am I losing control of my

             3     data.     My name is Marc Le Maitre.        I work at

             4     Nextel.

             5                I moved to the U.S. about four years ago,

             6     and I started from ground zero literally.             Nobody

             7     had anything on me, including the credit reporting

             8     or anything, and the first pieces of mail and the

             9     first unsolicited phone calls were actually quite

            10     welcome.     My wife engaged the gentleman on the

            11     phone for an hour and a half.          She didn't buy

            12     anything but was delighted to receive the phone

            13     call.

            14                It actually taught me a lot about the

            15     community that I moved into, so I actually welcomed

            16     it, but it's now got to the point now where I can't

            17     sit down in the evenings to dinner with my children

            18     without getting an unsolicited phone call.

            19                And I think it's got to the point now where

            20     I -- at first I knew exactly who it was who was

            21     abusing it.      The first company I gave my

            22     information to was my bank.          I will not say which

            23     bank, unless you ask me afterwards, but it's now

            24     got to the point where I bought a DVD player two

            25     weeks ago, and I was getting unsolicited requests


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             1     to join clubs to buy DVDs.

             2               And so some of it is good.          My question is:

             3     Where is it going to end?         I don't have a great

             4     deal in the way of health information in this

             5     country yet, so I still don't know whether that's

             6     being abused.

             7               Financial information I'm fairly confident

             8     is being used without my knowledge, but working in

             9     the wireless industry, things like location

            10     services, where will it end?           At which point do I

            11     say, This data is sacrosanct, you cannot have

            12     access to it, or will I have the opportunity, or

            13     will it just be taken for granted that this is just

            14     another piece of information that can be used to

            15     market to me?

            16               MS. RICH:     Does anyone want to respond?

            17               DR. CATLETT:       Your video rental records

            18     are sacrosanct according to Congress.

            19               MR. LE MAITRE:       But not DVDs.

            20               DR. CATLETT:      I know the fact that you

            21     bought a DVD is not sacrosanct.

            22               MR. HENDRICKS:       Okay.    I think that to

            23     answer your question in the short run, no, you will

            24     not have that right.        I don't there's any realistic

            25     chance in the next six months to nine months that


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             1     significant legal protections for privacy and

             2     individual's personal information will be passed.

             3               I don't think the current power machine and

             4     the administration in the Republican leadership is

             5     interested, and so I think this is more of a long

             6     term struggle.

             7               MS. RICH:     The gentleman on the left there?

             8               MR. BEHRENS:      If this is working, I'm Ed

             9     Behrens with the Progress and Freedom Foundation.

            10               I wanted to follow up briefly on Mr.

            11     Miller's comments on providing notice, choice, et

            12     cetera, in the interest of serving consumers, but I

            13     think there's two dimensions to the question.

            14               One is:     Should they be provided?        The

            15     second is:     Should they be mandated?         And I think

            16     that's a separate question.

            17               And I would like to draw out the panel on

            18     the practical ramifications of mandated principles

            19     versus not, both beneficial and adverse.

            20               Thank you.

            21               MS. RICH:     Who would like to respond?

            22               MR. CERASALE:      Sure, what the hell?        I like

            23     to use an example of a business model that would

            24     not be allowed by the DMA guidelines and decide

            25     whether or not we want to outlaw that business


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             1     model.

             2               You go to my Web site, Jerry Cerasale.com,

             3     and the first thing you see, notice, and I sell

             4     radios, so it's a commodity.          I try and sell you,

             5     provide you these radios at the lowest price

             6     possible.     I hold down costs as much as possible.

             7     In that light I share and rent your information to

             8     others and provide the savings on to you.

             9               I do not provide you the opportunity to not

            10     participate in this sharing.          I do not provide

            11     access opportunity to you because both of those

            12     things will increase my costs and therefore

            13     increase the cost of my goods to you.            If you don't

            14     like this, please, please shop elsewhere.

            15               Is that business model illegal?           And that's

            16     what most -- a lot of people discussing would make

            17     that an illegal business model.           I don't think

            18     that's where we should be.

            19               MS. RICH:     If people are willing to go a

            20     little bit into the break, we could take some more

            21     questions, and it looks like everyone wants to ask

            22     questions.

            23               MR. HENDRICKS:       And, Jessica, just quickly,

            24     the OECD guidelines were adopted in 1980 and

            25     endorsed by the United States government and all


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             1     Western, European and Japan and Canadian.

             2               Yes, I would say we want to see those

             3     guidelines incorporated into law across the board,

             4     yes.

             5               MS. LEGIEREM:        (Phonetic)     My name is Ann

             6     Legierem with a banking agency, and my question's

             7     really with as far as I'm a consumer, this morning

             8     there were statements made that best practices

             9     would have it that marketing associations disclose

            10     that you're going to share the information or

            11     whatever.

            12               And I was wondering if there's any kind of

            13     figures that you collect that you really have an

            14     idea of how many do really make disclosures to

            15     their consumers.

            16               And then as a consumer, a mother and all, I

            17     saw an article on the CNN Web site recently, about

            18     two weeks ago, about how schools had -- the kids

            19     were surfing the Internet I think as part of their

            20     classroom studies, and there was a marketing

            21     company who had software on the computers.

            22               They were following the click streams.

            23     Well, the parents didn't know about it, but then

            24     that, like the dynamic pricing, somebody tripped

            25     over it, found out about it, caused an uproar, it


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             1     was pulled.

             2                So I guess what I'm saying is this morning

             3     representations were made about -- representations

             4     were made about, Well, our best practices are that

             5     we disclose to consumers but I'm wondering in

             6     reality how many really do.

             7                MS. RICH:    Would anyone like to respond?

             8     Jerry's on the hot seat.

             9                MR. CERASALE:     DMA has a privacy promise

            10     that requires disclosure.         We have an FTC letter

            11     exempting us from antitrust problems as long as we

            12     can kick people out.        There are 3,000 marketers,

            13     3,500 marketers that have signed it.

            14                I would say that 80 percent of the mail you

            15     receive is probably from members of the Direct

            16     Marketing Association, and so we have -- so those

            17     are the numbers we've got.          We have our own mail

            18     preference service, telephone preference service to

            19     pull people off of lists.

            20                There are well over 3 million names on each

            21     of them.     They're free to consumers to get on, and

            22     so those are the numbers that we have, so the major

            23     marketers who are members of ours do direct

            24     marketing, which are some of the largest marketers

            25     in the country, do provide notice and an


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             1     opportunity to say no.

             2               They in a sense would not follow that

             3     business model I just mentioned.

             4               MR. LANE:     Can I just make a comment

             5     getting back to Mr. Behrens' comments about

             6     federally mandated laws?

             7               I think what this panel has shown, for the

             8     most part because it was supposed to be empirical

             9     evidence about the effects of mergers and

            10     acquisitions or mergers and exchange on consumer

            11     businesses, and there are reports that are

            12     beginning to come out to highlight what some of the

            13     costs are.

            14               But I think what we have found is we don't

            15     have a lot of information, that we are just looking

            16     at the impact that information sharing has on the

            17     overall economy.       Who is in Mary's first survey on

            18     Web sites and who has privacy policies and who

            19     doesn't and what impact that has on consumers.

            20               We have the Forrester research that says $2

            21     billion lost on Internet sales.           Are they real?

            22     What other information do we have?

            23               So from our point of view, what our biggest

            24     concern to get to federally mandated legislation is

            25     that we don't have enough information on what harms


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             1     are we trying to address specifically and how those

             2     harms -- and the cost benefit ratio of those harms

             3     and where really are the American people.

             4               We know the American people are concerned

             5     about privacy.      We all know that.       That's why this

             6     room is filled.       Yet we don't have the details of

             7     what are those concerns, the next five layers below

             8     that, and I think before we move forward in any

             9     federal legislation, we need -- or state

            10     legislation -- we need to get a little more

            11     dynamics and not the rhetoric that we constantly

            12     hear across the board on both sides, but some real,

            13     factual data of what are we talking about.

            14               And I don't think we're there yet, and this

            15     panel is a perfect example.          We don't have a lot of

            16     facts.    We're all saying the same rhetoric that

            17     we've been saying for five years now.            Yet nothing

            18     has improved, but we're beginning slowly to get

            19     information, and that's critical.

            20               MS. RICH:     The gentleman back here?

            21               MR. MEISINER:      Thank you, Madam Chair.

            22     Speaking of facts, my name is Paul Meisiner from

            23     Amazon.com.      I have to do this stand up routine

            24     now.

            25               Maybe it's the lack of oxygen in this room,


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             1     but I understand it was alleged that we engaged in

             2     dynamic pricing last fall.          In fact, there was

             3     apparently some long description of how this

             4     so-called dynamic pricing was discovered.

             5                But let me assure you that policy making is

             6     difficult enough based on facts, but when it's

             7     based on fiction, it cannot go right.            We did not

             8     engage in dynamic pricing.          We never have, and we

             9     actually have promised never to do it, even though

            10     it would be perfectly legal for us to do so.

            11                Let me repeat, back last fall we engaged in

            12     some random price tests where we would serve up

            13     different prices to consumers based on when they

            14     came on.     If you were the same person sitting at

            15     the same terminal, same browser, you hit our site

            16     several times, you're going to get a different

            17     price for the same item.

            18                The whole idea was to figure out where to

            19     price the item.       Well, random, again based not on

            20     demographic information.         It was not a privacy

            21     issue, full stop.

            22                Well, we got a lot of flack for it and

            23     rightfully so.      It confused our consumers, our

            24     customers, and we regretted doing it.

            25                As a result what we did is we promised


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             1     never to engage in dynamic pricing ever again,

             2     something that would be perfectly legal for us to

             3     do, and then we went and refunded all of our

             4     customers, even the ones who had paid willingly 12

             5     bucks for a CD.

             6               We went and refunded them the difference to

             7     the very lowest price, and we said, If we ever in

             8     the future ever do this random price testing again,

             9     we'll do the same thing so that everyone will

            10     always pay the lowest price.

            11               Frankly we're being held to a much higher

            12     standard than other businesses are being held to,

            13     but I think frankly it really pains us all when we

            14     have to sit through one of these meetings and find

            15     out that what has been discussed here is factually

            16     inaccurate.

            17               DR. CATLETT:      Paul, I don't think I

            18     misrepresented that Amazon did the random pricing.

            19     I think I said that it was accused of -- we'll have

            20     it in the record.

            21               MS. RICH:     Ted Wham has a quick comment,

            22     and then we'll take one more question, and I think

            23     everyone wants to splash water on their face, it's

            24     so hot in here.

            25               MR. WHAM:     Ted Wham with Database Marketing


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             1     for the Internet.       I had one quick statistic I

             2     wanted to share.       I previously worked at

             3     Excite@Home, and when I was there, I was the Chief

             4     Privacy Officer among several hats that I wore at a

             5     rapidly growing company.

             6               There was a segment on 60 Minutes regarding

             7     Internet privacy.       It was approximately two years

             8     ago, two and a half years ago.           Jason Catlett

             9     actually was one of the speakers on that session

            10     just describing -- so you hold it closer, it works

            11     -- describing the risks to the consumer on the

            12     Internet basis.

            13               We were asked by 60 Minutes to participate

            14     as one of the companies being interviewed, and we

            15     originally said yes, and then we went, Oh, God, we

            16     don't want to do this, and we said no.

            17               And because we additionally owned a

            18     third-party ad serving firm, MatchLogic, we were

            19     concerned that we were going to be targeted within

            20     the segment and wanted to be very prepared, so we

            21     went full out and made certain everything was

            22     aboveboard, and we went through the privacy policy

            23     links, privacy policy on absolutely every page of

            24     the site, where they remain I believe to this day,

            25     and really tried to make certain that we were


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             1     ready.

             2               The day immediately following the airing of

             3     one of the top five most watched television shows

             4     in the United States where portions of our site

             5     were shown and the risks to consumers of privacy,

             6     Excite@Home, as it does every day for the past year

             7     or so forth, received over 20 million unique users

             8     visiting the site that day.          If my recollection is

             9     correct fewer than 100 of them accessed our privacy

            10     policy links.

            11               The notion that consumers want to take --

            12     now, you can argue whether the privacy policy that

            13     I wrote was easily readable and comprehensible and

            14     so forth, but only a hundred people got there to

            15     find out.

            16               The notion that the consumer is interested

            17     in learning about this and spending the investment

            18     I think is mistaken.        I think the comments that

            19     Fred brought up, Fred Cate brought up that most

            20     consumers want to have, quote, privacy, don't

            21     bother me with the details, is much, much more

            22     accurate.

            23               MS. RICH:     One more quick question, and the

            24     gentleman over here.

            25               MR. SMITH:      Yes, Richard Smith, The Privacy


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             1     Foundation.      One thing we're hearing a lot about,

             2     how profiling and gathering of consumer information

             3     benefits businesses.

             4               I've heard very little about cost, other

             5     than two very interesting numbers.            One person said

             6     acquisition costs today for E-commerce sites was

             7     $2,000 a customer, which is probably on the high

             8     side, but I don't know of really any business,

             9     other than maybe the yacht business, that could

            10     afford that.

            11               And then also the issue of the credit card

            12     offers, that the number that are going out is going

            13     up dramatically in the last two or three years.                 At

            14     the same time the response rate inversely

            15     proportional is going down at the same rate.

            16               So I'm wondering here in business how much

            17     feedback in the process is really going on.              Were

            18     these online and data gathering things cost

            19     effective really or is it just we're on a sled here

            20     and we're heading in this direction and we'll go

            21     on?

            22               Thanks.

            23               MR. LANE:     I think a lot of businesses, and

            24     if you look at the downturn in ad revenue on the

            25     Web sites, as we all know, they're hurting, in the


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             1     newspaper industry where San Jose Merc is laying

             2     off hundreds of people because ad revenue is

             3     dropping, and companies are beginning to

             4     reevaluate, Is it worth spending $2 million

             5     advertising on the Super Bowl.

             6               I think there's a wholesale looking at what

             7     is the best way to reach out to your customers, and

             8     that is the whole goal, but what I think is great

             9     though, having said that, there hasn't been a lot

            10     of facts in terms of pure data and research from

            11     this panel.

            12               What I think has been very important, and

            13     one of the reasons why I was one who supported the

            14     FTC putting this workshop together, was we do have

            15     an education process to consumers of how

            16     information is used in the economy.

            17               And I think the other previous panels were

            18     better at doing that than maybe this one, but I

            19     think once you have a better understanding, I think

            20     there will be less fear, and the trust deficit will

            21     be reduced once there is again an educated

            22     consumer.

            23               And so I appreciate and I wanted to thank

            24     the FTC for putting this forth to begin our efforts

            25     at having the business community focus our efforts


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             1     on educating consumers on I think these critical

             2     issues because they are all about how our economy

             3     is going to grow and work in the future.

             4               MS. RICH:     Thank you.     Finally we're at our

             5     break.    If you could keep it at a short break since

             6     we did get into the break, maybe five minutes, and

             7     then come back, maybe we can try to open the

             8     window.

             9               (A brief recess was taken.)

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             1     SESSION 5:     EMERGING TECHNOLOGIES AND INDUSTRY

             2     INITIATIVES:      WHAT DOES THE FUTURE HOLD?

             3

             4     DANA ROSENFELD, Assistant Director, Bureau of

             5     Consumer Protection, FTC, Moderator

             6

             7     PANELISTS:

             8

             9     JOHN KAMP, Counsel, CPExchange

            10     LAWRENCE PONEMON, Founding Board Member,

            11     Personalization Consortium

            12     BECKY RICHARDS, Director of Compliance and Policy,

            13     TRUSTe

            14     ARI SCHWARTZ, Senior Policy Analyst, Center for

            15     Democracy and Technology

            16     RICHARD SMITH, Chief Technology Officer, Privacy

            17     Foundation

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             1                                 SESSION FIVE

             2        EMERGING TECHNOLOGIES AND INDUSTRY INITIATIVES:

             3                       WHAT DOES THE FUTURE HOLD?

             4                        -    -      -      -    -   -

             5               MS. ROSENFELD:           Okay.   Everybody, we're

             6     getting ready to start our last panel of the day.

             7     Please take your seats.             Please take your seats.

             8     Thank you.

             9               Welcome, everyone, to our last panel of the

            10     day.    I'm Dana Rosenfeld.           I'm an Assistant

            11     Director in the Office of the Director and the

            12     Bureau of Consumer Protection.

            13               Our final panel is entitled emerging

            14     technologies and industry initiatives, what does

            15     the future hold, which I think will be a very

            16     interesting panel.

            17               We are going to discuss whether new

            18     technologies are emerging that will increase the

            19     sharing of detailed consumer data, and also we will

            20     focus on what self-regulatatory initiatives are

            21     underway to address the privacy of consumer data in

            22     the merger and exchange process.

            23               Our first presenter today is John Kamp.

            24     John is an attorney with Wiley, Rein & Fielding in

            25     town and serves as counsel for CPExchange.               He has


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             1     extensive experience in privacy and other

             2     regulatory issues through his work of over more

             3     than ten years as senior vice president with the

             4     American Association of Advertising Agencies, the

             5     four As, and from his ten years at the FCC before

             6     that.

             7                CPExchange Network is a volunteer

             8     Consortium of over 90 business organizations.              It's

             9     dedicated to developing a vendor-neutral open

            10     standard to facilitate the exchange of privacy-

            11     enabled customer information across enterprise

            12     applications.

            13                CPExchange facilitates the management and

            14     promotion of customer relationships by businesses

            15     across industry sectors.

            16                Special data elements of the CPExchange

            17     specification support the development of privacy

            18     policies by companies consistent with Fair

            19     Information Practices.

            20                And with that, I will turn the podium over

            21     to John.

            22                MR. KAMP:    Thank you, Dana.       As I'm

            23     bringing this up, I must remind some of you, many

            24     of you know that I'm a former college professor,

            25     and as such, we former college professors know that


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             1     there is only one class in the day that's worse

             2     than teaching an eight o'clock in the morning

             3     class, and that's a four o'clock class.

             4               So we're going to make this quick.            We're

             5     going to keep it lively and go forward from there,

             6     and we also, as professors, know that we learn more

             7     from our students, and thank you to the FTC for

             8     organizing this today because I know that we all

             9     have learned a lot.

            10               The CPExchange is about consumers

            11     generally, and one of the things I think as we've

            12     listened today through the morning, we heard people

            13     talking about it, was businesses who were doing

            14     most of this, but they were doing it in order to

            15     reach consumers.

            16               And looking at our sort of then and now

            17     kind of yin and yang here, this is about long-term

            18     customer-focused relationships, about new business

            19     processes, but it's mostly about high consumer

            20     knowledge, mass customization, multiple channels,

            21     proactive, integrated and highly responsive to

            22     consumer preferences.

            23               We want to know who are our customers, what

            24     are their wants and needs, what are the economic

            25     value of those needs, and how do we apply that


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             1     knowledge and how do we focus on those consumers.

             2               So the successful enterprise interacts with

             3     consumers through many channels such as -- and has

             4     many opportunities to understand those consumers.

             5               The imperatives in all of this, this

             6     customer driven, are protection of privacy, the

             7     sensing and responding to consumers' needs,

             8     satisfying those needs, reducing those costs to

             9     consumers and increasing the shareholders' equity

            10     of the company.

            11               Looking at this, the CPExchange was really

            12     designed to facilitate an enterprise's ability to

            13     share consumer information internally in large

            14     companies.     Of course it's gone forward.          It's no

            15     longer just used, designed for consumers.

            16               If you look at this model here, the

            17     schematic here, the CPExchange core, the group got

            18     together to look at the preferences, business

            19     objects, whatever, also added the functionality of

            20     the Web, most importantly through Dan Jaye, also

            21     someone who is very familiar in these quarters, at

            22     Engage Technologies, was part of the FTC Advisory

            23     Committee on Access and Security, worked very hard

            24     to develop the CPExchange privacy principles, which

            25     are P3P compatible, and all this is an XML


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             1     schemata.

             2               Looking at just the privacy declaration

             3     component in the P3P compatible, you see in that,

             4     you see very specific data elements for purpose,

             5     retention and access, and looking just at one of

             6     those, the retention component, you can see that

             7     there are many data elements that make it possible

             8     for this system, this protocol to ensure that there

             9     is a face with the consumer.

            10               Now, remember, CPExchange is not a data

            11     aggregator or a business that's in the business of

            12     aggregating these data.         It essentially is the

            13     development of a protocol that people can use, may

            14     use.    It's wholly voluntary, can be used by

            15     companies for the purposes they wish.

            16               But because in this -- in these late data

            17     sensitive times, privacy times, it was created

            18     during the period that the FTC was looking at these

            19     privacy principles and customers were making their

            20     preferences so apparent to companies, these privacy

            21     elements were contained in it.

            22               So quickly our summary slide, CPExchange

            23     facilitates that customer awareness and focus,

            24     enables corporate privacy policy implementation and

            25     addresses the privacy preferences of the consumer.


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             1                It's platform, vendor and application

             2     independent, provides a comprehensive view of the

             3     customer and the way that customer interacts with

             4     the many facets of the enterprise, provides

             5     granular privacy and an authorization model and is

             6     designed to promote optimal query and reporting

             7     systems.

             8                We suggest that you, as you look at this,

             9     remember that it's neutral, and it's open, and you

            10     also can find more information about it by going to

            11     the Web site CPExchange.org.

            12                Thank you.

            13                MS. ROSENFELD:      Thank you, John.      That was

            14     very succinct.

            15                Our next presenter is Ari Schwartz.           Ari is

            16     a policy analyst at the Center for Democracy and

            17     Technology, CDT.        His work focuses on protecting

            18     and building privacy protections in the digital age

            19     by advocating for increased individual control over

            20     personal information and expanded access to

            21     government information via the Internet.

            22                Ari also serves on the advisory committee

            23     of the Worldwide Web Consortium and is a monthly

            24     columnist for Federal Computer Week Magazine.

            25                Ari?


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             1               MR. SCHWARTZ:      Thank you.     This is the

             2     first time I've ever seen the windows opened up in

             3     this room, and I kind of like it actually.

             4               I'm going to talk about how technology has

             5     both -- kind of the positive ways that these new

             6     technologies can be used to protect privacy.              The

             7     story with most of these new technologies is always

             8     bad news for privacy and good news for privacy.

             9               In this case the bad news is you look at

            10     XML technologies, technologies that allow companies

            11     to tag information and exchange it more clearly and

            12     more openly means that there's greater sharing and

            13     that there's going to be greater profiling.

            14               Richard Smith will go into this in a little

            15     bit more detail, but the good news is that these

            16     same technologies open the door for new types of

            17     privacy enhancing technologies.

            18               I'm just going to give you two examples of

            19     this to kind of kick things off.           At CDT we don't

            20     build technologies, and that's for other people to

            21     come up with those kind of -- these kind of

            22     applications, but just to give some ideas of what

            23     people have been talking about and what they've

            24     been thinking about.

            25               The first one is the idea of tagging data


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             1     collections with a current privacy policy using the

             2     P3P vocabulary.       John talked about this a little

             3     bit, but I'm going to try to explain a little bit

             4     more what P3P is and how other technologies can use

             5     this.

             6               P3P was really designed originally to do

             7     business to-consumer transactions, to get at the

             8     question that we heard on the last panel asked

             9     maybe seven or eight times, about how consumers are

            10     having trouble reading privacy policies, that

            11     they're seven pages long, that they don't go there.

            12               Ted Wham brought up the point that people

            13     aren't going to a page.         Well, having read many,

            14     many, many privacy policies over the past six

            15     years, I can tell you that I find them difficult to

            16     read, and therefore I know how consumers must feel,

            17     that you go to one, you don't really feel the need

            18     to go to the next one if you're not going to be

            19     able to understand it.

            20               The idea of P3P was to allow a consumer to

            21     put in their preferences, their expectations of

            22     what they want to see out of a site and have the

            23     site put in what their privacy policy is.             When the

            24     browser gets to that site, they match up, and at

            25     that point the consumer has more control, and they


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             1     can decide whether to block that site.             They can

             2     decide whether to provide information.             They can be

             3     prompted.

             4               Really that's up to the browser

             5     manufacturer right now, and we're going to be

             6     seeing some of these applications in the next few

             7     months, but in order to do this, we had to create a

             8     vocabulary because we went around looking for

             9     vocabularies for privacy that went in to the real

            10     details about retention, as John showed us.

            11               And no vocabularies existed that really

            12     gave kind of multiple choice answers in the way

            13     that a Web site would need to be able to describe

            14     it if P3P were going to work.

            15               So we created this vocabulary.           Let me see

            16     if I can get it open now.         I lost the mouse.       Oh,

            17     here it is.      This mouse, okay.

            18               So this is just the basic P3P vocabulary,

            19     and we came up with these questions based on the

            20     Fair Information Practices.          The eight Fair

            21     Information Practices in the OECD guidelines were

            22     the starting point, but we really instead of --

            23     because those are really at a high level and we had

            24     to go into the detail and answer the multiple

            25     choice questions underneath, we worked with -- this


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             1     is a P3P working group, worked with data

             2     commissioners in the EU and in Canada, privacy

             3     advocates, companies and others, and really built

             4     this kind of -- the kind of questions that would

             5     need to be answered.

             6               But the idea here is that this is -- while

             7     this was -- we originally came up with this

             8     vocabulary to be used for business to consumers,

             9     people quickly found out you can use this for

            10     business to business as well, for sharing of

            11     information.

            12               You can tag this on and use it to help

            13     companies audit internally or have third parties

            14     come in and audit for them, to set up software that

            15     controls the use of information so that you can't

            16     send out, put people's Email addresses in the "to"

            17     field when it has -- when individuals sign up to a

            18     policy saying that their Email address would not be

            19     shared.

            20               There's a company called Privacy Wall

            21     that's building this kind of software right now, so

            22     there's a whole bunch of uses for this technology

            23     not originally envisioned, but you can use this

            24     vocabulary to answer that.

            25               Also, there's the ability of access that


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             1     these new technologies provide.           We heard a lot in

             2     the last panel again about cost and how cost -- how

             3     this was going to be -- that access was too

             4     expensive for consumers, this was discussed a lot,

             5     to provide to consumers.

             6               Well, if companies can provide the sharing

             7     between companies and make that less expensive,

             8     then they can also make it less expensive to

             9     provide it to consumers as well, and we shouldn't

            10     be overlooking the fact that making it cheaper in

            11     one aspect is also making it cheaper in another

            12     aspect.

            13               And then the final point here is the

            14     question of how this is really going to work and

            15     whether there will be market incentives for

            16     companies to use this vocabulary, to use the new

            17     access features, and that's still really

            18     questionable.

            19               This is obviously all stuff that happens

            20     behind the scenes, and right now responsible

            21     companies seem to be taking up these ideas, but

            22     will it be wide spread practice?            And the answer to

            23     that is that we still don't know.

            24               MS. ROSENFELD:       Thank you.     Ari.

            25               Our next presenter is Richard Smith.


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             1     Richard is the Chief Technology Officer for The

             2     Privacy Foundation, where he directs The

             3     Foundation's research activities.           He also has

             4     primary responsibility for explaining The

             5     Foundation's research findings to the media and at

             6     public events like this.

             7               Richard?

             8               MR. SMITH:      First of all, I want to thank

             9     the FTC for inviting me to speak today, and I was

            10     asked to actually look into the crystal ball here

            11     to see where technology is heading in terms of

            12     sharing more data, this idea of emerging

            13     technologies increasing the sharing, and very

            14     fortuitously yesterday, Steve Ballmer, the CEO of

            15     Microsoft Corporation, gave a speech for the

            16     Association of Computing Machinery, that's sort of

            17     like the Bar Association for the lawyers in the

            18     group here, gave a talk about XML which was going

            19     to be my topic so I thought that was very good.

            20               And I would like to quote from the article

            21     that ZDNet wrote which said that XML as the lingua

            22     franca of cyberspace would affect -- and it would

            23     effectively clear away lingering barriers blocking

            24     companies from exchanging information over the

            25     Internet.     And then the article goes along to talk


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             1     about the tools that are being developed to support

             2     XML and so on.

             3               What I found very interesting was there was

             4     really no discussion of what kind of data is going

             5     to be going back and forth, and pretty obviously

             6     some of it is going to be about widgets, about

             7     cars, packages and whatever, but it also is going

             8     to be personal information, so the answer here,

             9     looking into the crystal ball, is clearly yes,

            10     we're going to see more sharing because tools are

            11     being developed to make it easier to do.

            12               There's nothing magical about XML.            It's a

            13     particular specification of how companies agree to

            14     communicate data from one place to another, just

            15     like English is a way that humans communicate.

            16               The nice thing about it, it's very easy to

            17     understand, and it's also human readable, so for

            18     folks like myself who kind of like to look at

            19     privacy practices of companies, it's actually going

            20     to make it easier to look into things, but clearly

            21     we're going to see it's -- XML is going to help in

            22     the sharing of data, but it's also going to help in

            23     some of these areas like P3P and CPExchange,

            24     providing some privacy controls.

            25               The question is is, Will they be


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             1     implemented?      Just because they're in a

             2     specification there's still the issue of, Will they

             3     be implemented.

             4               Now, another issue, if you want to predict

             5     the future, I believe in looking in a crystal ball,

             6     you have to also follow the money.            We first follow

             7     the technology, but then we also follow the money.

             8               And pretty clearly in the Internet I think

             9     the most ardent cheerleader would now say that

            10     we've had a dot com meltdown of companies literally

            11     wasting billions of dollars on business models that

            12     are not going anywhere.

            13               But one thing is very clear is that the

            14     Internet is a very good place to get information on

            15     things.     If I wanted to go to the Google Search

            16     Engine, I could get information about anyone in

            17     this room probably, except for myself because I

            18     have a common name.

            19               But if you have a not so common name, it's

            20     a lot easier to find out information, and I think

            21     that really shows a good business model here, which

            22     is the idea that people are going to go to the

            23     Internet to make purchase decisions but then go to

            24     the offline world and buy stuff, like buy a car.

            25               And so I really see that as sort of the


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             1     money starting to focus people and business models

             2     in that direction, and what that's going to mean is

             3     the people that provide the information on the

             4     Internet are going to want a piece of the action

             5     when the sale is made in the offline world.

             6               So I see technologies like XML and

             7     CPExchange being done for that, so let me give you

             8     a quick example here.        We've all bought cars, and

             9     it's always an interesting experience.             Now that

            10     I'm older, I actually feel fairly confident about

            11     going in the showroom but at a younger age, it was

            12     sort of like me against them, and they had the

            13     information, and I think that's going to get more

            14     interesting here.

            15               For example, we go to a car Web site,

            16     research three different models of cars that we're

            17     interested in, and the Web site remembers that

            18     information.

            19               Well, the fun thing is going to be I

            20     believe in the future is you can walk into the car

            21     dealer.     They ask for your driver's license in

            22     order to do a test drive, and the other thing

            23     they're using that for is to go find out what

            24     you've been researching on the Web here, for what

            25     kind of cars you're interested in.


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             1               And that gives the salesman one up on you,

             2     which is he knows the other competitive models

             3     you're looking at, and he can have computer

             4     software that recommends how to sell against these

             5     cars.    You can also be scored on the likelihood of

             6     buying a particular model that you express interest

             7     in and so on.

             8               So I think we're going to see this very

             9     strong economic push, and I think it's basically

            10     inevitable that when we have one part of the market

            11     which seems to be dollar poor and another part of

            12     the market where the money is being spent, that the

            13     business models are going to have to go that

            14     direction.

            15               And we're going to see -- be forced into

            16     more information sharing.         It's just an inevitable

            17     part of this economics, much more so than we've

            18     seen on the Internet itself.

            19               Thank you very much.

            20               MS. ROSENFELD:       Thank you, Richard.

            21               Our next panelist is Lawrence Ponemon, who

            22     is the president of Guardent, a services and

            23     technology company enabling security, privacy and

            24     data protection.

            25               Prior to joining Guardent, Larry was the


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             1     founder of the PricewaterhouseCoopers global

             2     privacy practice.       Larry is a founding board member

             3     of The Personalization Consortium, and he will talk

             4     about that organization today.

             5               MR. PONEMON:      Thank you.     Everyone looks

             6     really hot and really tired.          Is that true or is

             7     that just a perception that I have?            I need to

             8     personalize on you.

             9               How many people worry about personalization

            10     and privacy?      Raise your hand.       Oh, come on.      I

            11     know it's late, everyone.         How many people worry

            12     about personalization privacy in the wireless Web?

            13     Let's see if we can get those hands a little bit

            14     higher?

            15               Quite frankly, there is actually a lot to

            16     worry about, in my opinion, and I know I sound like

            17     a heretic as a founding member of the

            18     Personalization Consortium.          I have good news.         I'm

            19     going to be fast in my presentation, and I do not

            20     have Power Point slides so you can actually watch

            21     me.

            22               The bad news is I'm going to read to you

            23     our blurb about what the Personalization Consortium

            24     is, and I'm going to tell you where we are and what

            25     we are trying to achieve.


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             1               The Personalization Consortium is an

             2     international advocacy group formed to promote the

             3     development and use of responsible one-to-one

             4     marketing technology and practices on the worldwide

             5     Web.

             6               The Consortium encourages the growth and

             7     success of electronic commerce that delivers the

             8     benefits of personalized electronic marketing while

             9     articulating best practices and technologies that

            10     protect the interest of consumers, and I want to

            11     underscore consumers.

            12               To achieve its goal of expanding the scope

            13     and use of personalization technology that respects

            14     consumer privacy, the Consortium has many

            15     functions, for example, to provide a forum for

            16     industry discussion and information, sponsor

            17     research, foster standards for technology and best

            18     practices and work towards consumer understanding.

            19     And toward this end the Consortium has established

            20     ethical information and privacy management

            21     objectives that articulate its goal to create a

            22     solid process that enables consumers to confidently

            23     use personalization technology for their benefit.

            24               Now, the Consortium was established about a

            25     year ago chaired by Don Peppers and a few other key


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             1     folks.     I was co-oped into joining the Consortium

             2     because of my very strong and very weird views on

             3     privacy.     So like you, I was pretty suspicious.

             4                So I attended my first board meeting, and

             5     at the first board meeting were about 30 or 40

             6     company representatives, and I saw a sincere

             7     interest to do it right, and I had this kind of

             8     vision in my mind.

             9                If someone could invent a cigarette that

            10     didn't cause cancer, wasn't habit forming, maybe it

            11     won't be so bad to smoke, right, and maybe that's

            12     where we are in the evolution of personalization.

            13     It's probably a bad analogy unfortunately, unless

            14     you're a smoker.

            15                But the idea is that we've grown from a

            16     small group of good companies to 67 great

            17     companies, and there are many, many other companies

            18     that are taking a wait and see attitude.

            19                Let me tell you a little bit about some of

            20     the challenges.       First, we set high standards.          If

            21     you read the Personalization Consortium and you go

            22     to our Web site which is www.Personalization.org, I

            23     don't know how to spell personalization, but my

            24     friend Jason can spell it for you.            And I think at

            25     the end of the day though when you go to that Web


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             1     site, you're going to find that these principles

             2     are about equal, not better than, not worse than,

             3     but about equal to many wonderful statements about

             4     privacy.

             5                So then you scratch your head and you say,

             6     "What's the difference here."          The difference is

             7     we're basically holding our members to a very high

             8     standard.     That is, it's not just good enough to

             9     say you're going to comply with these principles,

            10     but you have to undergo an audit, the A word,

            11     audit.

            12                And that's pretty scary because if you're a

            13     small organization or a large organization and you

            14     say you're going to be a member and suddenly you're

            15     no longer a member, you're basically killed or

            16     kicked off the membership list, it's a signal that

            17     basically suggests -- not suggests, that tells the

            18     universe that the company failed to comply.

            19                Let me just tell you the courage of

            20     members.     The founding members are very courageous

            21     because right now they just generally assume that

            22     they're going to pass this audit, but my guess is

            23     many will fall by the wayside and that the end

            24     result will be that some members will not make the

            25     grade.


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             1                Now, let me just tell you it's not for pure

             2     altruism, it's not because we're good guys.

             3     There's a real economic value proposition,

             4     something a little bit different than regulation

             5     and lawsuits, and that is if we do it right,

             6     becoming a member is going to be a good thing.

             7     It's going to be something that is of great value.

             8     It's going to be a way to differentiate your

             9     services and product in this ever evolving

            10     marketplace.

            11                Now, if that's so, then people will knock

            12     the door down to become a member.           To become a

            13     member will have real substantive meaning, and

            14     that's really what we're trying to achieve through

            15     the independent verification.

            16                Also, some people are confused, and the

            17     next speaker will talk about TRUSTe.            The next

            18     speaker will also discuss the issue of seals.              This

            19     is not just a seal.        It's not a new form of a seal

            20     program.     It is in fact about an independent audit

            21     conducted by a trusted party.

            22                So that's all I want to say about the

            23     Personalization Consortium.          I'm very proud to be a

            24     member, even though I was co-oped to becoming a

            25     member originally.        It's a great group, and I


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             1     really encourage everyone here, as well as in the

             2     spillover rooms, to go to our Web site and to find

             3     out more about what we are and what we want to

             4     become.

             5               Okay so without further ado, I'll sit down.

             6     Thanks.

             7               MS. ROSENFELD:       Thanks.    Thank you, Larry.

             8     Our next panelist is Becky Richards.            Becky is the

             9     Director of Compliance and Policy for TRUSTe, an

            10     Internet privacy seal program.           She oversees all

            11     aspects of enforcement operations and policy

            12     developments for the TRUSTe program, including

            13     TRUSTe's compliance operations and the TRUSTe Watch

            14     Dog Dispute Resolution Process.

            15               Prior to joining TRUSTe, Becky was an

            16     international trade specialist on the electronic

            17     commerce task force at the U.S. Department of

            18     Commerce's International Trade Administration.

            19               Becky?     That's a mouthful.

            20               MS. RICHARDS:      It is a mouthful.       I don't

            21     have a Power Point presentation either, so being

            22     the last person to speak on the last panel, I hope

            23     we'll get through this quickly.

            24               I'm actually not going to really talk about

            25     seals today.       Most of you probably know what they


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             1     are.    Instead, I'm going to talk -- we've heard

             2     today a lot about merging and exchanging of

             3     consumer data and what the benefits are and what

             4     the risks are.

             5               And at TRUSTe, we've been following the

             6     practices of merging and exchanging consumer data

             7     closely, but TRUSTe's main focus in the past has

             8     been on the explicit and inexplicit collection of

             9     information from consumers and the sharing of such

            10     information.

            11               TRUSTe's monitored the increasing practice

            12     of merging and exchanging and has been and will

            13     continue to work to ensure that consumers are aware

            14     of these practices.

            15               Mary Culnan in the previous panel brought

            16     up a very good point.        Transparency is very

            17     important.     If we're going to continue to increase

            18     growth via E-commerce, we need to have consumers'

            19     trust, and trust comes through transparency and

            20     understanding of what those practices are.

            21               Currently because we've really been looking

            22     at how information is collected from the consumer

            23     as opposed to the other way around, our license

            24     agreement doesn't -- does not explicitly address

            25     the disclosure of merging and exchanging of


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             1     information, although depending upon the practices,

             2     it could be required.

             3               As we look to the future, we will

             4     explicitly require companies to disclose the

             5     practices of merging and exchanging information, to

             6     increase the transparency and to increase trust.

             7               Our current practices are that we ask Web

             8     sites whether they're combining information from

             9     third parties by asking in the self-assessment," Is

            10     your company supplementing the information that you

            11     receive directly from users with information

            12     received by an offline means or from a third-party?

            13     If so, explain."

            14               So if a Web site states that information is

            15     being supplemented from such sources, this should

            16     be disclosed in the privacy policy.

            17               TRUSTe has a model privacy statement that

            18     is currently used by a number of companies as a

            19     privacy resource, and in this model privacy

            20     statement, we provide two different examples of how

            21     a company can address the supplementation of

            22     consumer information from third parties.

            23               The first example is really more

            24     appropriate for gathering of financial information,

            25     and so I won't go over that specifically.


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             1                Our second example deals with the combining

             2     of marketing information with consumer information.

             3     It states:     "In order for this Web site to enhance

             4     its ability to tailor the site to an individual's

             5     preference, we combine information about the

             6     purchasing habits of users with similar information

             7     from our partners, Company Y and Company Z, to

             8     create a personalized user profile."            So this is

             9     the disclosure.

            10                Now, for perhaps maybe a more real world

            11     example.     I have three examples.        The first one is

            12     one of our licensees that states explicitly that

            13     they do not supplement consumer information by

            14     stating that all information excluding our user

            15     passwords originates solely from our primary

            16     client.

            17                Now, in the case of a company that does

            18     supplement consumer information, one of our

            19     licensees states:       "We may research demographics,

            20     interests and behavior of our customers based on

            21     the information provided to us upon registration."

            22                And finally, a third example that gets

            23     lengthier; and as we've discussed, privacy policies

            24     can be rather long:        "The combination of offline

            25     and online information provided by the customer has


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             1     the ability to enhance the customer experience and

             2     make customers' interaction more meaningful and

             3     relevant.     Company X requires that any consumer

             4     profiling or purchasing behavior captured online

             5     and combined with offline information be clearly

             6     stated to the consumer at the time of the online

             7     data collection.       The consumer will have the

             8     ability to choose not to be part of a subsequent

             9     marketing campaign."

            10               So in this last disclosure, the company is

            11     giving the individual the opportunity to opt-out of

            12     being profiled.

            13               I would like to thank the Commission for

            14     having today's workshop.         I think it's been very

            15     informative as to both the benefits and risks

            16     involved in merging and exchanging information

            17     across businesses.

            18               The important part of each of these, in

            19     thinking about this for both businesses and

            20     consumers, is that the consumer needs to be

            21     informed of the practice if we are going to

            22     continue to increase transparency and trust and

            23     continue to see increase in business on the

            24     Internet.

            25               And as I mentioned at the beginning, TRUSTe


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             1     will be changing our license statement to

             2     explicitly address this particular practice in the

             3     future.

             4               Thank you.

             5               MS. ROSENFELD:       Thank you, Becky.      I have a

             6     few questions, we want to try to stick to the time

             7     frame here, and then we'll open up the floor to

             8     questions from the audience.

             9               John, we know CPExchange is an open and

            10     it's a voluntary standard, and I think that means

            11     that the privacy related features also have to be

            12     voluntarily adopted by the users.

            13               How likely is it that companies are going

            14     to deplore the privacy-related features of the

            15     specification in your view?

            16               MR. KAMP:     I hope they don't deplore them.

            17     It is getting late though.

            18               MS. ROSENFELD:       Did I say deplore?

            19               MR. KAMP:     Deploy.

            20               MS. ROSENFELD:       I'm sorry, the heat is

            21     getting to everyone here.

            22               MR. KAMP:     We don't know.      In fact, we have

            23     reason to believe that they don't deplore them,

            24     that they will deploy them, but because it's a

            25     voluntary standard, as Jason once described it,


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             1     it's a safety that may or may not be used.

             2                We expect though, because remember the

             3     whole point of all of this day has been businesses

             4     are interested in customization because consumers

             5     are demanding it.

             6                As consumers demand more and more privacy

             7     transparency, the privacy transparency will be used

             8     by the successful companies, and they will use that

             9     part of the CPExchange protocol.

            10                MS. ROSENFELD:      Is there any effort

            11     underway to develop a code of best practices for

            12     those users of the specification?

            13                MR. KAMP:    We worked first of all to make

            14     sure it was P3P compatible because we believe

            15     that's really very important, and we have, just in

            16     the last week, sat down again with the P3P people,

            17     CDT, and are exploring alternatives, ways in which

            18     we can continue to ensure that the protocol is as

            19     multifunctional in this regard as possible and will

            20     be looking at those very kind of things going

            21     forward.

            22                MS. ROSENFELD:      I guess on a related note,

            23     in terms of being multifunctional, will the

            24     specification be used to facilitate merger and

            25     exchange of consumer data across media, for


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             1     example, into wireless space?

             2                MR. KAMP:    Again, it's a neutral protocol.

             3     It was designed for internal data sharing within

             4     companies, and as we went forward, we added the

             5     other functionality.

             6                My guess is that all of the things that

             7     will be possible and will be used by companies are

             8     likely to use this protocol because we think that

             9     it's valuable in that regard, and, yes, it could

            10     very well be used for wireless or whatever other

            11     scary things that might happen in privacy going

            12     forward.

            13                But because of the kinds of focus there has

            14     been on privacy by this agency and others going

            15     forward, I'm convinced that the American public are

            16     learning what privacy is all about and learning how

            17     to use, how to make their choices, and that those

            18     kinds of things will automatically develop as the

            19     industry develops.

            20                The important point here is not that the

            21     functionality will be required, but that it's built

            22     into the system so that it can be used and the

            23     commitment by CPExchange to make sure that the

            24     system does have that functionality.

            25                MS. ROSENFELD:      Go ahead, Ari.


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             1               MR. SCHWARTZ:      In terms of functionality of

             2     CPExchange and whether that alone will spur

             3     individual -- spur companies to use it, I do think

             4     that the regular P3P that I was talking about

             5     earlier in terms of Web sites, Web browsers going

             6     to Web sites and seeing whether they have privacy

             7     policies that match consumers' policy, that has a

             8     -- direct impact on the consumer.

             9               There's direct feedback that a consumer

            10     will want to see a privacy policy because it will

            11     show up in their browser.         CPExchange doesn't have

            12     that ability to be right in the consumer's face

            13     like that, so there is that missing step there.

            14               It really does have to be a responsible

            15     company to take that on, and I look forward to

            16     working with the CPExchange people, but we have to

            17     recognize that there is that missing piece with all

            18     of this behind the scenes type transaction.

            19               MS. ROSENFELD:       Larry, can you just

            20     describe the kinds of companies that are members of

            21     the Personalization Consortium and what kinds of

            22     companies you expect will join in the future?

            23               MR. PONEMON:      Good question.      Of our

            24     members today, we have a combination of tool

            25     makers, people who are inventing new technologies,


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             1     both in the wired and the wireless area, and

             2     they're the largest chunk of members.

             3               We also have vendors, companies that are

             4     not actually making the technology but selling that

             5     technology or embedding that technology into other

             6     tools, so for example in the CRM universe we see

             7     companies fall into that space.

             8               Then we have end users, companies that, for

             9     example, like AMR, American Airlines or Charles

            10     Schwab, that are actually the users of this

            11     technology.

            12               If you kind of think about the model, the

            13     model is a little bit weird because it's a

            14     B-to-B-to-C model.        We're adding now a new element,

            15     and so the key is to get to the consumer.

            16               Even if you are in a business mode, and you

            17     personally -- as an organization you do not have

            18     direct access to personal information, there's

            19     still a chain of trust and responsibility, and

            20     that's really what the audit is attempting to

            21     prove.

            22               So you can't say," Well, we passed but

            23     guess what, the audit was simple because we don't

            24     have personal information, we don't collect any

            25     information because we're a tool maker."             You can't


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             1     get away with that.

             2                That's obviously a very slippery slope, but

             3     that's not what the audit is about, so the members

             4     are primarily in those three categories, and we're

             5     really -- to answer your question about what is the

             6     future, if you'll look at all of the users of

             7     personal information, there's a huge body of end

             8     user organizations that would love to learn more

             9     and become a member and to make sure that they're

            10     using the technology that is ethical and that is

            11     being managed at a high level.

            12                Unfortunately to get there, we really have

            13     to have those rigorous standards in place, and it's

            14     ultimately the responsibility of the tool maker to

            15     ensure that the process is a fair one, is a good

            16     one, and so we would encourage end users as well as

            17     tool makers and vendors to participate in this

            18     process.

            19                MS. ROSENFELD:      Thank you.     What about

            20     enforcement with the guidelines?

            21                MR. PONEMON:     You had to ask the

            22     enforcement question, end of the day, we're all

            23     sweating here.      Now I'm really sweating.

            24                Basically if you don't comply with this,

            25     and you know my favorite word, we're going to kill


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             1     our members.      We have a license.       They've agreed

             2     to -- no, we're not going to kill our members, but

             3     what we're going to do is you're going to get

             4     kicked off the membership scroll.

             5               And we're actually in the final stages of

             6     establishing a disclosure standard.            While it has

             7     not been defined as yet, the plan is to have a

             8     status report on our Web site to show where members

             9     are in the auditing process, so obviously if you're

            10     not there, if you mysteriously disappear one day,

            11     you could reach your own natural conclusion.

            12               But understand that enforcement is very,

            13     very important for this to work.           Without

            14     enforcement, it is a wasted effort.            It is

            15     virtually a wasted effort, so self regulation means

            16     that the organizations that have become members

            17     have to work hard to maintain their membership, and

            18     enforcement is going to be very costly for some

            19     organizations that don't make the grade.

            20               MS. ROSENFELD:       Becky, you talked about

            21     TRUSTe intending to revise your licensing

            22     agreements to require disclosures about data merger

            23     and exchange of information, and I'm wondering if

            24     you have a time table for that.

            25               MS. RICHARDS:      We last updated ours I think


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             1     in August, September, and I'm told that the legal

             2     fees have to stay lower so I'm not supposed to give

             3     it to our lawyers for a couple more months, and we

             4     also want to have a certain level of stability in

             5     the program.

             6               And we're actually on the sixth version

             7     right now, we'll be going to the seventh, and there

             8     will be a number of revisions, not just this one

             9     but also to sort of-- what we have done always is

            10     to follow along what the privacy debate is, where

            11     are we going with things and make sure we're a step

            12     ahead.

            13               And so I think that we can anticipate to

            14     see those sometimes in the July/August time frame

            15     as we move forward.

            16               MS. ROSENFELD:       I think now I'm going to

            17     open up to audience questions.           The gentleman back

            18     there, and again please identify yourself and your

            19     organization.

            20               MR. LE MAITRE:       Hi.   I'm Marc Le Maitre.       I

            21     work with Nextel Communications.

            22               Larry, I agree absolutely, entirely with

            23     you that privacy without enforcement doesn't fly.

            24     During the B-to-B world, very few businesses would

            25     do anything without signing a contract, and I'm


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             1     aware that P3P is policy based, no need for a

             2     contract in P3P, how do you get from policy based

             3     to contract based so that you've got some basis on

             4     which to place -- to put some enforcement around?

             5               MR. PONEMON:      You're asking a very good

             6     question, and we've tried to address this over the

             7     course of the last few years, especially with my

             8     involvement with the FTC and the Advisory

             9     Committee.

            10               Quite frankly, one of the problems you have

            11     is a policy, doesn't necessarily suggest truth, so

            12     you have a lot of organizations that are very quick

            13     to post a policy, and P3P by the way is kind of an

            14     offshoot of that.

            15               P3P is good, but unless you have an ability

            16     to say, Okay, you have this policy, how do we know

            17     you're complying, it's kind of an interesting

            18     problem because a lot of organizations aren't

            19     really evil and they're really not trying to dupe

            20     the consumer.      It's not that at all, but they're

            21     not actually digging deep enough into their own

            22     business models or into their own organizations to

            23     determine where they have vulnerability and risk.

            24               And in many cases, in most cases

            25     unfortunately, the legacy of being an auditor,


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             1     right, you basically stumble on some incredible

             2     problems.     Bad news doesn't necessarily get up to

             3     the right people.       That's the job of an auditor is

             4     to communicate it ultimately to the board, and I've

             5     been in many board meetings to say to major

             6     companies," You know what, what you say you do on

             7     privacy, you're just not doing, and it's going to

             8     be very costly to fix it."

             9               So then that's the other issue.           What's the

            10     accountability on the other side to actually now

            11     fix the problem now that you have that information.

            12               Audits are a good thing though.           If there's

            13     self regulation you might be able to move the bar.

            14               MR. LE MAITRE:       I think there's some

            15     direction on it.       The notice and choice aspects of

            16     Fair Information Practices are well understood.               My

            17     own feelings are that it may take some sort of

            18     binding between notice and choice.

            19               This is the notice you gave me, this is the

            20     choice I gave back to you, and some notion that

            21     that forms a bond, a contract, that has some legal

            22     status that we can both rely upon in an audit

            23     situation.

            24               MR. PONEMON:      Can I just make one comment

            25     about that?      If you just look at the current


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             1     implementations around GLBA, Gramm Leach Bliley,

             2     we've seen a lot of organizations having a very

             3     difficult time just operationalizing choice.              We're

             4     starting to see evidence that companies are

             5     failing.

             6                They're getting the reply back, but

             7     companies are having a difficult time making sure

             8     that it sticks in their legacy systems, and they're

             9     spending virtually no resources to fix the problem,

            10     so I think we're going to have a lot of interesting

            11     issues on the horizon in terms of lawsuits,

            12     organizational culpability, but that's a problem.

            13                And so even if you have a contract, even if

            14     it's a legally binding contract, I'm not sure

            15     that's going to change behavior in the short term.

            16                MS. ROSENFELD:      John?

            17                MR. KAMP:    I just wanted to mention, and

            18     not in any way to slight the FTC enforcement

            19     authority or even the authority of auditors, that

            20     perhaps the most important thing that will happen

            21     in the marketing space is happening, and that is

            22     privacy is becoming part of the brand, and as part

            23     of the brand, it's part of that image of the

            24     product and the company that is part of the

            25     relationship that the customer has with the brand,


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             1     and either a company is going -- going forward, I

             2     think either companies are going to respect the

             3     privacy of their consumers and treat them

             4     appropriately or they're not, and that consumers

             5     are going to take it out on them, and that the

             6     value of the brand and the need to ensure that the

             7     brand stands for something in the privacy space as

             8     well as in the basic historical places where it

             9     talks about quality, product quality and

            10     consistency and value proposition, that privacy is

            11     going to stand along that, and the American

            12     consumers are going to make sure that their privacy

            13     is protected in ways that they consider

            14     appropriate.

            15               MS. ROSENFELD:       You in the back.

            16               MR. KAMINSKI:      Hi.    My name is Jim Kaminski

            17     from Arent Fox.       This is a question for Ms.

            18     Richards.     I was wondering if you had a sense -- I

            19     have two questions actually.          My first question is:

            20     Do you have a sense of what the industry practice

            21     is for disclosing the company's enhancement

            22     practices, and also when that new standard is in

            23     place, are you going to require the companies to

            24     provide access on the Web site to the data

            25     collected offline to keep that parallel?


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             1               MS. RICHARDS:      The lovely question access.

             2     This is always difficult to answer.            Let me maybe

             3     revise a little of how I answered Dana's question.

             4               Right now there isn't an explicit

             5     requirement for you to disclose, but if we go

             6     through your privacy practices and we find that

             7     it's very appropriate and you should be disclosing

             8     it, we will force you to disclose that information.

             9               So it's sort of an implicit requirement if

            10     you could have that, and so -- and what we have

            11     been working with our account managers is to make

            12     sure that they know this is an important aspect and

            13     they need to be probing more about the questions,

            14     and so I think on that aspect it's something that

            15     we're -- as the practice becomes more prevalent,

            16     we're seeing more disclosures.

            17               When I asked the question around the office

            18     of if they can give me some different examples, we

            19     came out with some different ones, and it was a

            20     really good learning experience for everybody to

            21     see what is happening.

            22               I would say that there's -- I can't give

            23     you any numbers in terms of how prevalent it is or

            24     how not prevalent it is in terms of how many

            25     companies are doing it at this point.            It's just a


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             1     sense that it's definitely increasing and that it's

             2     something we're addressing as we go along.

             3               I don't have a good answer for your access

             4     question at this point.

             5               MS. ROSENFELD:       There in the middle.

             6               MR. TUROW:      Joe Turow from the University

             7     of Pennsylvania.       I just wanted to know if anyone

             8     has a sense of whether what you guys have been

             9     talking about is going to change when things go in

            10     the not too terribly distant future to a much more

            11     broadband, very dynamic environment where people

            12     will be watching television, doing the Web stuff,

            13     doing this, constantly moving between sites at such

            14     a rapid speed with so many parties involved in a

            15     transaction that the kind of privacy policy issues,

            16     I'm just wanting to know, might be totally

            17     irrelevant, the ones that we've been talking about.

            18               If you have four or five parties that have

            19     an interest in dealing with the data at the same

            20     time who have very different notions of what's

            21     acceptable, is that a scenario that's realistic,

            22     and then what do you do?

            23               MS. ROSENFELD:       Would anyone like to take a

            24     shot at that?      Ari.

            25               MR. SCHWARTZ:      Well, I was just about to


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             1     say that's why XML technology, people are focusing

             2     on XML technology, because it's really the only

             3     realistic way the different parties can come in at

             4     different points, and that's why I focus so much of

             5     my time on P3P because I see it as the only

             6     realistic way to provide notice in that realm.

             7               Now, obviously Larry brought up the point

             8     that P3P has a weakness that it doesn't do

             9     enforcement.      P3P, that's not what P3P was meant to

            10     do.    It's not supposed to do enforcement.           It's

            11     supposed to do notice and do it well, and that's

            12     what we've tried to focus on.

            13               So of course tying in all these access

            14     points is going to make it very difficult for the

            15     consumers to follow, it's difficult enough to

            16     follow on the Web the way they do it today.              In a

            17     pervasive computing environment only XML

            18     technologies will help do that so we need to map

            19     everything to some --

            20               MR. TUROW:      Can you explain how?       I don't

            21     see how it's helping to solve the problem.

            22               MR. SCHWARTZ:      How will XML help to solve

            23     it?

            24               MR. TUROW:      Yes.

            25               MR. SCHWARTZ:      Well, what's going to happen


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             1     is that you'll have -- it's a complex system, and

             2     there's a few different ways that schemas will

             3     work, but basically that everyone will be relating

             4     to the same basic vocabulary or schema, and then

             5     information will be flowing into points back and

             6     forth using this same underlying data, using the

             7     same tags.

             8               So that we don't have the confusion that we

             9     have today where everyone has different databases

            10     labeled in different ways and uses the information

            11     in different ways.        It's a whole new infrastructure

            12     that Tim Berners-Lee from the World Wide Web

            13     Consortium calls the semantic Web.

            14               MS. ROSENFELD:       Jason?

            15               DR. CATLETT:      I have a quick question for

            16     Larry.    Does the Personalization Consortium require

            17     its members to provide access to consumers about

            18     the data they hold, and does it require an

            19     opportunity to delete the information?

            20               MR. PONEMON:      That was probably again one

            21     of the most contentious issues with our principles,

            22     but we ruled.      We prevailed.        Basically access and

            23     accuracy are actual principles, and that means that

            24     you have to provide access, reasonable access which

            25     means that -- I don't like that word reasonable


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             1     because it opens up for interpretation.

             2               We're going to have to be really smart as

             3     auditors in terms of finding what's the line

             4     between reasonable and unreasonable, but more

             5     importantly, if someone finds a problem, you have

             6     to be able to provide that individual the proper

             7     approach for fixing those problems as well as

             8     redress if that is not being handled well.

             9               But also this is opening up a can of worms

            10     in terms of security and authentication issues that

            11     have to be built into the system.           From that point

            12     of view it could be very costly to members, but

            13     that's just what we have to do.

            14               DR. CATLETT:      But it was a requirement that

            15     was accepted by the 67 companies.

            16               MR. PONEMON:      All but one company agreed to

            17     it, and that one company basically has agreed to go

            18     along with it so it was amazing, but it was a

            19     battle.     It wasn't like, Gee, it makes a lot of

            20     sense.    It had to be -- it took weeks and months,

            21     as Win knows, a lot of work to kind of get us to

            22     that point.

            23               MS. ROSENFELD:       Any other questions?       No.

            24     I want to -- was there anybody else?            No?

            25               I want to thank the panelists.           This was an


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             1     excellent panel, and it's not over yet.             I want to,

             2     first of all, commend all of you for staying

             3     throughout the day.        I apologize for our air

             4     control problems, but after this panel can step

             5     down, we have some closing remarks by Joel Winston.

             6               (Applause.)

             7               MR. WINSTON:      I think it's fitting that we

             8     were able to get these curtains and windows open,

             9     because the purpose of this workshop was to shed

            10     some light and bring in some fresh air on a very

            11     important subject, data merger and exchange, and I

            12     hope we were able to accomplish that today.

            13               I did notice that it took a crow bar to get

            14     some of those windows open, and I don't want to

            15     carry the metaphor too far, but actually I think

            16     people were very open and honest with us, and we

            17     really appreciate that.

            18               I want to thank all of our panelists today

            19     and our audience for a very lively and interesting

            20     day.    I also want to express my appreciation to the

            21     FTC staff who really worked tirelessly to put this

            22     workshop on and to do so really in record time.

            23               Specifically I want to thank Martha

            24     Landesberg, Allison Brown, Jessica Rich, and Ellen

            25     Finn from the Financial Practices Division, Lou


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             1     Silversin from the Bureau of Economics, and Dana

             2     Rosenfeld from the Bureau Directors Office, and of

             3     course our intrepid team of support staffers who

             4     really made this possible today.

             5               Let me just close with a few brief remarks.

             6     The Commission's been studying online data

             7     collection for over five years now, and we've

             8     hosted several workshops on a variety of topics

             9     related to collection issues, but I think the

            10     subject matter of this workshop is an especially

            11     timely one.      It seems like every day we hear or

            12     read about new ways in which consumer data are

            13     being collected and combined and put together for

            14     various purposes.

            15               It's been a very educational day for us and

            16     we hope for all of you.         Although some of the

            17     practices we've heard about today are practices

            18     that have been going on for many decades, new

            19     technologies and other recent developments have

            20     increased the speed and amount of data that

            21     businesses exchange both online and offline, so

            22     being able to discuss these practices really helps

            23     us keep up with all of these recent developments.

            24               We learned today, for example, about

            25     various sources of consumer data used for creating


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             1     profiles such as public records, census data,

             2     survey data, warranty cards and consumer

             3     transactions.

             4               In addition, many companies described their

             5     business models and how the merger and exchange of

             6     data benefits both the businesses and consumers.

             7     For example, by purchasing third-party data,

             8     companies are able to target their advertising more

             9     effectively and efficiently and to personalize Web

            10     content, so that consumers may get more advertising

            11     that they want to see and fewer advertising offers

            12     that they don't want to see.

            13               Several panelists raised questions about

            14     the transparency of these practices to consumers,

            15     in particular, whether consumers know about the

            16     existence of data compilers and the practice of

            17     enhancing consumer information with data from

            18     third-party sources.        Do consumers know how and why

            19     this data is exchanged between companies?

            20               Well, I would harken back to what

            21     Commissioner Swindle said this morning and many of

            22     the panelists raised throughout the day, this

            23     notion of the trust gap and the information gap,

            24     the misunderstanding gap.

            25               From what I heard today it seems like the


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             1     key problem here is that there's a gap between what

             2     businesses are actually doing in their collection,

             3     merger and exchange of data versus what consumers

             4     think they're doing.

             5               I haven't seen any specific survey

             6     evidence, and I would certainly welcome it, but I'm

             7     willing to bet that most people either dramatically

             8     underestimate or dramatically overestimate the

             9     scope and detail of information that businesses are

            10     compiling about them.

            11               On the one hand, I suspect that there are

            12     lots of consumers who really have no idea that

            13     hospitals and government offices and bankruptcy

            14     trustees and lots of other people are selling or

            15     providing personal information to businesses, all

            16     of which may be combined and enhanced in various

            17     ways to form consumer profiles.

            18               On the other hand, I imagine there are lots

            19     of consumers who think that their every action is

            20     being traced, recorded, combined and deposited into

            21     some mega database for anyone to use and see.              What

            22     I heard today is that the information that's

            23     actually being compiled and combined out there is

            24     not nearly that comprehensive or nearly that

            25     granular.


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             1               To me this raises a real challenge.            Alan

             2     Westin did a survey several months ago on consumer

             3     attitudes toward privacy.         He found that there are

             4     a fair number of people who simply don't want their

             5     information shared or used by anyone for any

             6     reason.

             7               On the other side of the equation, he found

             8     that there were some people who really didn't care

             9     about their information.         They were happy to allow

            10     it to be used for any purpose whatsoever.             But,

            11     what he also found is that there are about

            12     two-thirds of the survey participants who fit into

            13     the category of what he called privacy pragmatists;

            14     that is, people who are willing to share their

            15     information under certain circumstances for certain

            16     reasons and if they're promised certain benefits.

            17               Now, the task for business is to convince

            18     these pragmatists that in particular situations,

            19     it's to their benefit for the businesses to combine

            20     and use the information that they're putting

            21     together about them.

            22               My hope is that through workshops like

            23     this, we can help bridge the information and trust

            24     gaps and enhance public and business awareness of

            25     what is and what is not going on out there.


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             1               I'm not going to get into the debate about

             2     the value of privacy policies, but I think we can

             3     all agree that shedding more light and fresh air on

             4     this subject has to be a good thing.

             5               Again, I just want to thank all the

             6     panelists for contributing to this workshop and to

             7     remind you that we do have a record that will

             8     remain open for 30 days, and I encourage you to

             9     file comments.

            10               Thank you very much for coming.

            11               (Timed noted:       4:51 p.m.)

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                                      For The Record, Inc.
                                        Waldorf, Maryland
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             3     CASE TITLE:      MERGING AND EXCHANGING CONSUMER DATA

             4     WORKSHOP

             5     MATTER NO.:      P014803

             6     HEARING DATE:      MARCH 13, 2001

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             8                We HEREBY CERTIFY that the transcript

             9     contained herein is a full and accurate transcript

            10     of the notes taken by us at the hearing on the

            11     above cause before the FEDERAL TRADE COMMISSION to

            12     the best of our knowledge and belief.

            13

            14                                     DATED: MARCH 26, 2001

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            16                                     SALLY J. BOWLING

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            18                                     DEBRA L. MAHEUX

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            20     C E R T I F I C A T I O N         O F     P R O O F R E A D E

            21                I HEREBY CERTIFY that I proofread the

            22     transcript for accuracy in spelling, hyphenation,

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            25                                     DIANE QUADE


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                      Commissioner Pamela Jones Harbour

         Remarks Before FTC Exploring Privacy Roundtable
                         Washington, D.C
                        December 7, 2009


   Introduction

          Welcome back from lunch, and thank you for the opportunity to offer a few thoughts to

   begin the afternoon.

          As many of you know, my time at the FTC is coming to a close. Throughout my term,

   privacy issues have been among my highest priorities. I am encouraged that the Commission,

   through this roundtable series, is now engaging stakeholders in a holistic discussion of privacy. The

   2007 Ehavioral Town Hall initiated an important conversation by focusing attention on behavioral

   targeting.   But even more importantly, the Town Hall raised the key questions that have since

   triggered a return to first principles, as the FTC re-evaluates the frameworks it uses to analyze

   privacy.



   More Data = Need for Greater Attention to Privacy

          As part of its promise of change, the current Administration has embraced technology and

   innovation, along with a new era of openness. But real change cannot just be aspirational. It

   requires concrete action. And unfortunately, with respect to privacy, I believe action has not been

   a high enough priority to date. I certainly do not intend to criticize Representative Boucher’s efforts

   to craft legislative guidance on behavioral advertising. But as I have previously stated, the United


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   States needs comprehensive privacy legislation. If we continue the piecemeal approach to privacy

   in this country, we merely push aside the underlying issues.

          The privacy debate goes far beyond online advertising, because behavioral targeting

   represents just one aspect of a multifaceted privacy conundrum. Data collection, aggregation, and

   use (as well as reuse, sale and resale) are driving the creation of on- and offline “digital dossiers.”

   Capturing data reflecting individual interests and habits is an enormous and growing business –

   evidence that consumer privacy is under siege.

          Online advertising is an enormous source of information collected about consumers, and

   serves as an important lens to focus our understanding of data collection and use. Most consumers

   cannot begin to comprehend the types and amount of information collected by businesses, or why

   their information may be commercially valuable. Data is currency. The larger the data set, the

   greater potential for analysis – and profit.

          Collection of consumer data is by no means new. Census information, credit reports, and

   Nielsen data have existed for decades. The Internet, however, enables the creation of vastly larger

   quantities of consumer data. These data are collected every time we send email, update status on

   a social networking site, read a news article, run a search, or make an online purchase.

          Of course, these technologies have the potential to offer valuable benefits to consumers. The

   problem, however, is that many consumers are completely unaware of the privacy implications of

   these services, which makes it difficult for consumers to exercise informed choices about the sites

   they visit and the data they disclose. In many instances, consumers pay for “free” content and

   services by disclosing their personal information. Their data are then used to generate targeted

   advertising that subsidizes online activities.



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           I am especially troubled by the asymmetry between consumer perceptions and business

   realities. If consumers do not comprehend how their personal information is collected and used, it

   is impossible for them to knowingly consent to either disclosure or use. And once data are shared,

   they cannot simply be recalled or deleted. The cumulative consequences for consumers are

   magnified, whether they realize it or not.

           It is possible that small, discrete disclosures of information do not raise concerns for an

   individual consumer. But large aggregations of data, based on a lifetime of commercial activity,

   might evoke a different response. I fear we may reach a “tipping point” whereby consumers decide

   they want to exercise greater control over the use of their data, but their attempts to exercise control

   become futile, because so much of their digital life already has been exposed.

           Industry attempts to provide notice and choice to consumers have been insufficient thus far.

   I hope we would all agree that disclosures about information collection, use, and control are not

   meaningful if they are buried deep within opaque privacy policies. Even if we can decipher the

   cryptic disclosures, they provide consumers with no meaningful access or choice, which renders

   those concepts largely illusory. We have strayed far from the Fair Information Practices that should

   serve as a baseline for any comprehensive privacy legislation.

           All of this matters because consumers really do care about their personal privacy, and are

   willing to take steps to protect it. The findings of the Turow/Hoofnagle report conclude that 66

   percent of American adults reject tailored ads to begin with. That number increases to over 75

   percent when consumers are actually educated about the relevant marketing techniques. Yet,

   companies are not delivering the privacy protections that consumers prefer.

           Even where consumers have the ability to opt-out, the effects are limited. If consumer data

   are unavailable from one source, often they can be obtained from another. Flash cookies and other

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   technology largely circumvent cookie controls. We may soon long for the day when all we worried

   about were cookies. For every company crafting a response that addresses notice, choice, or

   transparency, there are several more firms trying to parse and evade the intent of Commission

   guidance. We have entered a digital arms race, and the current outlook is troubling.



   Privacy = Consumer Protection + Competition

          Privacy issues are important enough that the Commission should use every possible tool at

   its disposal. During my term as a Commissioner, I have been immersed in both consumer protection

   and competition issues. I have steadfastly argued that the Commission should apply its competition

   expertise to the privacy arena.

          For example, when the Commission approved the Google/DoubleClick merger in December

   2007, I wrote a dissenting statement that, among other things, highlighted the nexus between privacy

   and competition. While my colleagues at the time disagreed with my premise, subsequent changes

   in the marketplace have reinforced the validity of my concerns, as well as my premise that privacy

   protection is increasingly viewed as a non-price dimension of competition.

          My dissent in Google/DoubleClick proposed the concept of a market for data itself, separate

   from markets for the services fueled by the data. The dissent discussed John Battelle’s “database

   of intentions” concept, which he describes as the “aggregate results of every search ever entered,

   every result list ever tendered, and every path taken as a result.” Battelle asserts that no single

   company controls this collection of information, but posits that a few select companies share control.

   One of my key concerns in Google/DoubleClick was that the merged entity might move closer to

   dominating the database of intentions, and that the network effects generated by combining the two

   firms might have long-term negative consequences for consumers. In response to questions raised

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   during the concurrent U.S. and EU review of the proposed Google/DoubleClick merger, Google

   assured regulators that the deal was not motivated by a desire to enter the behavioral advertising

   market. In March of this year, however, the company did in fact begin to engage in interest-based,

   or behavioral, advertising.

          And last month, Google purchased mobile advertising company AdMob. This acquisition

   enhanced Google’s ability to extend its advertising strategy into the fast-growing mobile market –

   a important market in which I hope, and expect, the Commission will remain vigilant.

          Turbulent economic times are forcing companies to seek out new sources of revenue. Those

   sources are driven, in turn, by increasingly large amounts of data, as well as the ability to mine the

   various connections between pieces of data. As firms continue to develop new data-based markets –

   including, for example, cloud computing and smart grid services – we must engage in more serious

   inquiries regarding both the privacy and competition issues that affect consumers.

          It is worth noting that, to the extent one might define a putative market for consumer data,

   recent mergers have further concentrated the competitive landscape. It may also be the case that

   Comcast’s announced acquisition of NBC from GE should be analyzed from both competition and

   consumer protection angles.

          In any event, competition on the basis of privacy protection is likely to increase as consumer

   awareness grows. The issues raised by data collection and use provide ripe opportunities for

   companies to develop pro-consumer privacy tools, and to market these features to distinguish

   themselves from competitors.




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   Conclusion

          I know the Commission will continue to be the thought leader on privacy. I will certainly

   do my part to push the Commission, as I have done for six years now, by challenging mainstream

   opinions and asking tough questions. Wherever the conversation may lead, I am proud of the efforts

   of talented Commission staff, and extremely gratified that we have reached the point where we are

   hosting today’s roundtable.

          Thank you.




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Á±ÀÀ±¶­¹®ÿº±»ÉÿÊ»²ÿº±»ÿ·°´ÿÊ´­¹®ÿ¶·²¸³´ÃÿÏÿ¹±²ÿÊºÿ·
Ã­¸²·²±°ÉÿÊ»²ÿÊºÿ·ÿ³·¹ÃÁ»Àÿ±Áÿ̧±ÂÄ·¹­´µÿ²³·²ÿÂ·Ð´ÿÊ­®
Ê»¸Ðµÿ·®®°´®·²­¹®ÿ²­¹ºÿµ¸°·Äµÿ±Áÿ­¹Á±°Â·²­±¹ÿ·Ê±»²
º±»ÿ·¹ÃÿÄ»²²­¹®ÿ²³´ÿÄ»ÌÌÀ́ÿÄ­´¸´µÿ²±®´²³´°ÿ²±ÿÊ»­ÀÃ
º±»°ÿÃ­®­²·ÀÿÄ°±Á­À́¼ÿÑ­®³²ÿÀ·¶Â·Ð´°µÿ·°´ÿÃ´Â·¹Ã­¹®
²³·²ÿ²³´µ´ÿ̧±ÂÄ·¹­´µÿ̧°·¸Ðÿ±Ä´¹ÿ²³´­°ÿÎ·»À²µÿµ±
Ò±¹®°´µµÿ̧·¹ÿµ´´ÿ¶³·²ÿ²³´º¿°´ÿ̧±ÂÄ­À­¹®ÿ·Ê±»²ÿ»µ
·¹Ãÿ¶³·²ÿ²³´º¿°´ÿÃ±­¹®ÿ¶­²³ÿ­²¼                                                                               QRSSTÿVWXYRZ

Ó­®³²ÿ¹±¶Éÿ²³­µÿÂ»À²­Ê­ÀÀ­±¹ÔÃ±ÀÀ·°ÿ­¹Ã»µ²°ºÿ­µÿÀ·°®´Àºÿ»¹°´®»À·²´Ã¼ÿËÿÕÖ×
ØÙÚÛÿÝÞßÖàÿ·°²­¸À́ÿ́·°À­´°ÿ²³­µÿº´·°ÿ·Ê±»²ÿ·ÿÃ·²·ÔÂ­¹­¹®ÿ̧±ÂÄ·¹ºÿÄ°±ÂÄ²´Ã                   [\]^_\`
²³´ÿ²¶±ÿ̧±Ô¸³·­°µÿ±Áÿ²³´ÿ¬­Ä·°²­µ·¹ÿÒ±¹®°´µµ­±¹·Àÿá°­Î·¸ºÿÒ·»¸»µÿ·¹Ãÿµ­âÿ±²³´°              abYÿcXSXÿdeÿfXWghZÿijkÿmkn
Ò±¹®°´µµÿÂ´ÂÊ´°µÿ²±ÿµ´¹Ãÿ·ÿÀ́²²´°ÿ²±ÿ¹­¹´ÿ̧±ÂÄ·¹­´µÿ²³·²ÿ̧±ÀÀ́¸²ÿÄ´°µ±¹·À                   opqrÿistku
Ã·²·¼ÿ¾³´º¿Î´ÿ·µÐ´Ãÿ²³´µ´ÿ̧±°Ä±°·²­±¹µÿ¶³´°´ÿ²³´ºÿ®´²ÿ²³´­°ÿÃ·²·Éÿ³±¶ÿ²³´º                  fdWgXebRZÿvhYYRZSÿwXTZ
µÀ­¸´ÿ·¹ÃÿÃ­¸´ÿ­²Éÿ·¹Ãÿ²±ÿ¶³±Âÿ²³´ºÿµ´ÀÀÿ·¹Ãÿµ³·°´ÿ­²¼                                      QdxRyeWReSÿcXSXÿfdhz{ÿaR
                                                                                            |dyRÿ}yXeZgXyReSÿijk
«¬ºÿ̧±ÂÊ­¹­¹®ÿÃ·²·ÿÁ°±Âÿ¹»Â´°±»µÿ±ÁÁÀ­¹´ÿ·¹Ãÿ±¹À­¹´ÿµ±»°¸´µÉÿÃ·²·ÿÊ°±Ð´°µ                   ~ujspÿpu
³·Î´ÿÃ´Î´À±Ä´Ãÿ³­ÃÃ´¹ÿÃ±µµ­´°µÿ±¹ÿ·ÀÂ±µ²ÿ́Î´°ºÿã¼ä¼ÿ̧±¹µ»Â´°É½ÿ²³´ÿÀ́²²´°
µ·ºµ¼ÿ«¾³­µÿÀ·°®´ÿµ¸·À́ÿ·®®°´®·²­±¹ÿ±Áÿ²³´ÿÄ´°µ±¹·Àÿ­¹Á±°Â·²­±¹ÿ±Áÿ³»¹Ã°´Ãµÿ±Á
Â­ÀÀ­±¹µÿ±ÁÿËÂ´°­¸·¹ÿ̧­²­Ì´¹µÿ°·­µ´µÿ·ÿ¹»ÂÊ´°ÿ±Áÿµ´°­±»µÿÄ°­Î·¸ºÿ̧±¹¸´°¹µ¼½
å¹Á±°Â·²­±¹ÿ­µÿ̧»°°´¹¸ºÉÿÊ»²ÿ¶´ÿ²´¹Ãÿ²±ÿÁ±°®´²ÿ²³·²¼ÿ¾³´ÿ¶·ºÿ¶´ÿÊÀ­¹ÃÀºÿ̧À­¸Ðÿ«±Ð·º½ÿ±¹ÿÄ°­Î·¸ºÿÄ±À­¸­´µÉÿÿ®´±À±¸·²´
¶³´°´ÿ¶´ÿ¶·¹²ÿ²±ÿ́·²ÿ·¹ÃÿÄÀ·ºÿ®·Â´µÿ¶­²³ÿ±»°ÿÁ°­´¹Ãµÿ±¹ÿÂ±Ê­À́ÿ·ÄÄµÿ²±ÿÐ­ÀÀÿ²­Â´Éÿ¶´¿°´ÿÊ·µ­¸·ÀÀºÿÄ»²²­¹®ÿ­²ÿ·ÀÀÿ±¹
²³´ÿ²·ÊÀ́¼ÿ¾³´ÿ́âÄÀ±µ­±¹ÿ±Áÿµ±¸­·ÀÿÂ´Ã­·ÿ·¹Ãÿ²³´ÿ»µ´ÿ±Áÿæ·¸´Ê±±Ðÿ·µÿ·ÿÀ±®Ô­¹ÿÁ±°ÿ́Î´°º²³­¹®ÿÁ°±Âÿ¹´¶µÿµ­²´µÿ²±ÿ±¹À­¹´
°´²·­À́°µÿ®­Î´µÿÃ·²·ÿ̧±ÂÄ·¹­´µÿ·ÿÂ»¸³ÿÃ´´Ä´°ÿÄ´´Ðÿ­¹²±ÿº±»°ÿÄ´°µ±¹·ÀÿÀ­Á´ÿ·¹Ãÿ²´ÀÀµÿ²³´ÂÿÂ»¸³ÿÂ±°´ÿ·Ê±»²ÿº±»°
À­Ð´µÉÿÄ°´Á´°´¹¸´µÿ·¹Ãÿ³·Ê­²µ¼
çèéÓÑêÿë³ºÿäÂ·°²Ä³±¹´µÿë±¹¿²ÿ¬´ÿÓ´ÄÀ·¸­¹®ÿë·ÀÀ́²µÿË¹º²­Â´ÿä±±¹ì
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         4:22-cv-10685-SDK-CIECF
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  KdWÿDOMNJWLLGOMISÿbG̀eIJKGLIMÿeJGfIc^ÿDIPcPLAÿGMÿSWKKWJLÿLWMKÿKOYI^ÿKOÿMGMWÿUIXOJÿYIKIÿFJOVWJINWÿcOUHIMGWLÿgPWJ^GMNÿWIcdÿIFOPKÿdOTÿGKÿcOSSWcKLA
  ILLWUFSWLÿIMYÿLWSSLÿcOMLPUWJÿGMQOJUIKGOMÿKOÿKdGJYÿHIJKGWLCÿ@KdWJÿLGNMIKOJGWLÿOMÿKdWÿSWKKWJLÿGMcSPYWÿZWHLCÿ;WMJ^ÿ9Cÿ8IRUIMÿ_B`DISGQCaAÿ:KWfW
  DdIFOKÿ_Z`@dGOaAÿ>ChCÿbPKKWJiWSYÿ_B`=CDCaAÿ9PLKGMÿ:cOKKÿ_Z`>ICaAÿbOFF^ÿZPLdÿ_B`<SSCaAÿIMYÿ\IMÿ:cdIVOTLV^ÿ_B`<SSCaCÿ
  ÿ
  ZWHJWLWMKGMNÿIÿUPSKG̀FGSSGOMÿYOSSIJÿGMYPLKJ^AÿYIKIÿFJOVWJLÿdIfWÿINNJWNIKWYÿGMQOJUIKGOMÿIFOPKÿdPMYJWYLÿOQÿUGSSGOMLÿOQÿ9UWJGcIMLÿQJOUÿFOKdÿOMSGMW
  IMYÿOQjGMWÿLOPJcWLAÿTdGcdÿKdW^ÿKdWMÿLWSSÿKOÿKdGJYÿHIJKGWLÿQOJÿKIJNWKWYÿIYfWJKGLGMNÿIMYÿOKdWJÿHPJHOLWLAÿOQKWMÿTGKdÿSGKKSWÿcOMLPUWJÿVMOTSWYNWCÿ9
  JWcWMKÿ=WTÿkOJVÿ?GUWLÿLKOJ^Aÿl9ÿBIKIÿ>GIMKÿGLÿ]IHHGMNAÿIMYÿ:dIJGMNAÿKdWÿDOMLPUWJÿ>WMOUWmÿYWKIGSWYÿdOTÿYIKIÿFJOVWJLÿdIfWÿYWfWSOHWY
  cOMLPUWJÿHJOiSWLÿKdIKÿNOÿFW^OMYÿFILGcÿYWUONJIHdGcÿGMQOJUIKGOMÿKOÿGMcSPYWÿFP^GMNÿdIFGKLAÿdOPLWdOSYÿdWISKdÿcOMcWJMLAÿHOSGKGcISÿIQiSGIKGOMLÿIMY
  WfWMÿKGUWÿLHWMKÿOMÿfIcIKGOMCÿ?dWÿSITUIVWJLnÿSWKKWJLÿJWgPWLKÿGMQOJUIKGOMÿQJOUÿKdWÿYIKIÿFJOVWJLÿOMÿHOSGcWLÿIMYÿHJIcKGcWLÿJWSIKWYÿKOÿHJGfIc^A
  KJIMLHIJWMc^ÿIMYÿcOMLPUWJÿMOKGicIKGOMAÿGMcSPYGMNÿILÿKdW^ÿJWSIKWÿKOÿcdGSYJWMÿIMYÿKWWMLCÿ
  ÿ
  opÿqrstuvuvwÿxyzyÿ{|rsÿv}s~|r}ÿr{uv~ÿyvxÿrvuv~ÿr}|q~ÿxyzyÿt|r~|ÿy~ÿx~~r ~xÿuxx~vÿxru~|ÿrvÿysrzÿ~~|pÿ93
  qrv}s~|ÿTJGKWÿKdWÿSITUIVWJLÿGMÿKdWÿSWKKWJÿKOÿKdWÿYIKIÿFJOVWJLCÿouÿy|w~ÿqy~ÿyww|~wyzurvÿr{ÿz~ÿ~|rvyÿuv{r|syzurvÿr{ÿ}vx|~xÿr{
  suurvÿr{ÿs~|uqyvÿquzu~vÿ|yu~ÿyÿv}st~|ÿr{ÿ~|ur}ÿ|uyqpÿqrvq~|vÿ
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  9ÿcOH^ÿOQÿKdWÿSWKKWJLÿKOÿKdWÿYIKIÿFJOVWJLÿcIMÿFWÿQOPMYÿ;[Z[Cÿ
  ÿ
  ?dWÿcOUHIMGWLÿLWMKÿSWKKWJLÿGMcSPYWÿ9cRGOUAÿ[HLGSOMÿ_9SSGIMcWÿBIKIÿ:^LKWULaAÿ[gPGQIRAÿ[RHWJGIMAÿ;IJKW`;IMVLAÿ<MKWSGPLAÿIGJÿ<LIIcAÿ]WJVSWAÿIMY
  ]WJWYGKdÿDOJHCÿ
  ÿ
  ?dWÿSITUIVWJLÿILVÿKdWÿMGMWÿYIKIÿFJOVWJLÿKOÿHJOfGYWÿGMQOJUIKGOMÿKdIKÿGMcSPYWLÿ
  ÿ
      9ÿSGLKÿOQÿWMKGKGWLÿKdIKÿdIfWÿHJOfGYWYÿYIKIÿQJOUÿOJÿIFOPKÿcOMLPUWJLÿKOÿKdWÿcOUHIM^
      9ÿSGLKÿOQÿYIKIÿGKWULÿcOSSWcKWYÿQJOUÿOJÿIFOPKÿcOMLPUWJLAÿIMYÿKdWÿUWKdOYLÿF^ÿTdGcdÿGKÿGLÿcOSSWcKWY
      eJOYPcKLÿOJÿLWJfGcWLÿOQQWJWYÿKOÿKdGJYÿHIJKGWLÿKdIKÿPKGSGWÿcOMLPUWJÿYIKIC
      ?dWÿGMQOJUIKGOMÿcOMLPUWJLÿIJWÿNGfWMÿIccWLLÿKOAÿGQÿGKÿGLÿJWgPWLKWYAÿIMYÿIM^ÿHOSGcGWLÿIJOPMYÿLdIJGMNÿOJÿYWSWKGOMÿOQÿKdIKÿYIKI
      [McJ^HKGOMÿOJÿOKdWJÿLIQWK^ÿHJOKOcOSLÿPLWYÿKOÿHJOKWcKÿYIKIC
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  ?INLÿeJGfIc^Aÿ?WSWcOUUPMGcIKGOMLAÿKdWÿ<MKWJMWKÿÿeJGfIc^
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            8ÿ:;<=>ÿ?@ÿAÿBC;DEÿ:FAGÿHIJKCEEÿ>;<=>L
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            TKAJÿO?ÿU=?NÿVW?SJÿXEAYÿZ?=JE>J>ÿA=[ÿBC;DE>ÿHINKAJL
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   $6554ÿ%0&&ÿ6'ÿ61'7(01ÿ73ÿ7ÿ'3)4ÿ531'ÿ*4ÿ64ÿ%6'ÿ7('ÿ74'ÿ73ÿ740+ÿ'3)ÿ0173ÿ7(01+01ÿ'3)ÿ46&&'
   %31ÿ6ÿ,40-
       ./011234ÿ406ÿ7826932ÿ:3;1ÿ782ÿ<;=23>12>7ÿ?82>ÿ7826932ÿ>;7@ÿ$6554ÿ74'ÿ73ÿ&33+ÿ3A006&ÿB('
       %617ÿ'3)ÿ73ÿ7(01+ÿ'3) ÿ%31ÿ6ÿ341517C),40ÿ&3774'ÿ34ÿ%,76+ÿB('ÿ56+ÿ),ÿ26+
       165ÿ&0+ÿ7(ÿDE670316&ÿ$%,76+ÿF)46)8Gÿ34ÿ,471 ÿ7('4ÿ2435ÿ6ÿ46&ÿ61'
       H(77,IJJ%%%31)54K3J6470&JLLMNC341517C05,374C65Oÿ&0+ÿ7(ÿP46&ÿB46
       Q3550031ÿB(ÿ74)7(ÿ08ÿ7(ÿ341517ÿ%317ÿ6&&ÿ'3)ÿ73ÿ561 ÿ531'ÿ3ÿ'3)ÿ61ÿ3&&7ÿ6ÿ,40-
       ./011234ÿR42ÿ>0124ÿ;:ÿ;3<0>ST07S;>4ÿ6;Rÿ1S<87ÿ32/;<>ST2@ÿ$6554ÿ50(7ÿ,471 ÿ73ÿVÿ2435
       %&&C+13%1ÿ35,610ÿ7(67ÿ4)1ÿ46&ÿ%,76+ÿF)7ÿ13ÿ46&ÿ%,76+ÿ35,61'ÿ%0&&ÿ31767ÿ'3)
       73ÿ6+ÿ234ÿ531'ÿ3ÿ'3)ÿ61ÿ&605ÿ6ÿ,40-ÿ2ÿ'3)4ÿ)1)48ÿ31767ÿ7(ÿ46&ÿ35,61'ÿ047&'ÿ73ÿ201
       3)7ÿ7(ÿ74)7(ÿX1 ÿ&33+ÿ),ÿ7(ÿ46&ÿ35,61'ÿ31767ÿ01234567031ÿ'3)4&2ÿY317ÿ4&'ÿ31ÿ7(ÿ,431
       %(3ÿ46(ÿ3)7ÿ73ÿ'3)ÿ73ÿ,430ÿ'3)ÿ%07(ÿ7(ÿ46&ÿ31767ÿ01234567031
       ./011234ÿ42>Zÿ6;Rÿ0ÿ12440<2ÿ[=S0ÿ72\7]ÿ210S^]ÿ;3ÿ4;/S0^ÿ12ZS0_ÿ7;ÿ<27ÿ6;R3ÿ̀234;>0^
       S>:;3107S;>@ÿa3)ÿ50(7ÿVÿ73&ÿ7(67ÿ'3)ÿ%31ÿ6ÿ0Kÿ64ÿ34ÿ6ÿ03)17ÿ3 ÿ73ÿ6ÿ&36&ÿ734ÿb4ÿ7(
       56ÿ56'ÿ6'ÿ'3)ÿ%31ÿ357(01ÿc,108ÿ&0+ÿ61ÿ0d6ÿ34ÿ6ÿ1%ÿ64ÿ2435ÿ'3)4ÿ&36&ÿ6&4(0,
       $6554ÿ(3,ÿ'3)&&ÿ4,31 ÿ%07(ÿ'3)4ÿ,4316&ÿ01234567031ÿ34ÿ&0+ÿ31ÿ&01+ÿ7(67ÿ61ÿ76+ÿ'3)4
       ,4316&ÿ01234567031ÿ34ÿ3%1&36ÿ56&%64ÿ3173ÿ'3)4ÿ0ÿY317ÿ4,31 
       ./011234ÿ10e2ÿS7ÿ4221ÿ^Se2ÿ6;R932ÿ782ÿ;>^6ÿ̀234;>ÿ?8;ÿ?;>ÿ0ÿ̀3ST2@ÿfR7ÿ782ÿ4012ÿ72\7]ÿ210S^]ÿ;3
       ^27723ÿ?2>7ÿ7;ÿ^;74ÿ;:ÿ̀2;`^2@ÿ2ÿ'3)4ÿ56ÿ65ÿV'ÿ560&8ÿ(+ÿ7(ÿ,37564+ÿ31ÿ7(ÿ1&3,ÿ34
       ,3764ÿ2ÿ'3)4ÿD1370Gÿ%6ÿ560&ÿV'ÿV)&+ÿ4678ÿ07ÿ561ÿ561'ÿ37(4ÿ,3,&ÿ37ÿ7(ÿ65ÿ13708
       733ÿP34ÿ37(4ÿ7',ÿ32ÿ568ÿ(+ÿ31&01ÿ73ÿÿ02ÿ37(4ÿ64ÿ4,34701ÿ7(67ÿ7('ÿ37ÿ7(ÿ65
       56
       ./011234ÿ406ÿ6;R9=2ÿ?;>ÿ0ÿ:;32S<>ÿ^;77236]ÿ;3ÿ7807ÿ6;Rÿ/0>ÿgR6ÿ7S/e274ÿ:;3ÿ;>2@ÿh6ÿ6V3)7ÿ6
       23401ÿ&3774'ÿ64ÿ6&537ÿ47601&'ÿ2435ÿ6ÿ6554ÿiÿ61 ÿ07ÿ6ÿV6ÿ06ÿ73ÿ4,31 ÿP0478ÿ07jÿ0&&6&
       234ÿk$ÿ070-1ÿ73ÿ,&6'ÿ6ÿ23401ÿ&3774'8ÿ3ÿ317ÿ74)7ÿ3531ÿ%(3ÿ6+ÿ'3)ÿ73ÿV46+ÿ7(ÿ&6%
       $31 8ÿ02ÿ'3)ÿV)'ÿ6ÿ23401ÿ&3774'ÿ70+78ÿc,7ÿ561'ÿ534ÿ3A4ÿ234ÿ26+ÿ&37740ÿ34ÿ655'
       017517ÿD3,,347)1070GÿP016&&'8ÿ7(4ÿ64ÿ13ÿ47ÿ'75ÿ234ÿ%01101ÿ23401ÿ&377408ÿ3ÿ317
       V&0ÿ3531ÿ%(3ÿ7&&ÿ'3)ÿ7('ÿ61ÿ(&,ÿ'3)ÿ%01
       ./011234ÿ̀3244R32ÿ6;Rÿ7;ÿ0/7ÿ>;?ÿ7;ÿ<27ÿ0ÿ̀3ST2@ÿ./011234ÿ?0>7ÿ6;Rÿ7;ÿ8R336ÿR`ÿ0>Zÿ̀06ÿ;3ÿ<S=2
       7821ÿS>:;3107S;>@ÿB('ÿ7&&ÿ'3)ÿ07ÿ6ÿ&0507ÿ705ÿ3A4ÿ34ÿ'3)ÿ(6ÿ73ÿD67ÿ13%Gÿ73ÿ&605ÿ'3)4ÿ,40-
       B('ÿ317ÿ%617ÿ'3)ÿ73ÿ(6ÿ705ÿ73ÿ6&)67ÿ%(67ÿ46&&'ÿ(6,,101ÿY317ÿVÿ4)(ÿiÿ,06&&'ÿ02
       7('ÿ%617ÿ'3)ÿ73ÿ3ÿ357(01ÿ73ÿ7ÿ'3)4ÿ,40-
       ./011234ÿ42>Zÿ6;Rÿ0ÿ/82/eÿ0>Zÿ04eÿ6;Rÿ7;ÿ42>Zÿ4;12ÿ;:ÿ782ÿ1;>26ÿg0/e@ÿB(0ÿ0ÿ6ÿ26+ÿ(+
       65ÿ2ÿ'3)ÿ,307ÿ7(ÿ(+8ÿ07ÿ61ÿ76+ÿ7(ÿV61+ÿ%+ÿ73ÿ20)4ÿ3)7ÿ7(67ÿ07ÿ26+ÿ1ÿ7(ÿ5617058
       7(ÿV61+ÿ(6ÿ73ÿ56+ÿ7(ÿ2)1 ÿ660&6V&8ÿ3ÿ07ÿ61ÿ&33+ÿ&0+ÿ7(ÿ531'ÿ0ÿ01ÿ'3)4ÿ63)17ÿF)7ÿ31ÿ7(
       V61+ÿ201 ÿ3)7ÿ7(ÿ(+ÿ0ÿ26+8ÿ7('&&ÿ%617ÿ'3)ÿ73ÿ,6'ÿV6+ÿ7(ÿ2)1 ÿl6ÿ*3%ÿ73ÿ$,378ÿX308ÿ61
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           198ÿ34ÿ341ÿ52
    ÿ!3"41ÿ35ÿ41ÿ8#35ÿ8ÿ3515ÿ34ÿ51ÿ328!ÿ1ÿ!3ÿ8ÿ24$1ÿ35853%ÿ184 ÿ31ÿ53ÿ11ÿ
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Bilking the Elderly, With a Corporate Assist




                                                          Richard Guthrie, 92, was tricked into giving banking data
                                                          to telephone callers, who then stole money from his
                                                          account, investigators say.
                                                          Ozier Muhammad/The New York Times



By Charles Duhigg

May 20, 2007


The thieves operated from small offices in Toronto and hangar-size rooms in India. Every night,
working from lists of names and phone numbers, they called World War II veterans, retired
schoolteachers and thousands of other elderly Americans and posed as government and insurance
workers updating their files.

Then, the criminals emptied their victims’ bank accounts.

Richard Guthrie, a 92-year-old Army veteran, was one of those victims. He ended up on scam
artists’ lists because his name, like millions of others, was sold by large companies to telemarketing
criminals, who then turned to major banks to steal his life’s savings.

Mr. Guthrie, who lives in Iowa, had entered a few sweepstakes that caused his name to appear in a
database advertised by infoUSA, one of the largest compilers of consumer information. InfoUSA
sold his name, and data on scores of other elderly Americans, to known lawbreakers, regulators say.

InfoUSA advertised lists of “Elderly Opportunity Seekers,” 3.3 million older people “looking for
ways to make money,” and “Suffering Seniors,” 4.7 million people with cancer or Alzheimer’s
disease. “Oldies but Goodies” contained 500,000 gamblers over 55 years old, for 8.5 cents apiece.
One list said: “These people are gullible. They want to believe that their luck can change.”

As Mr. Guthrie sat home alone — surrounded by his Purple Heart medal, photos of eight children
and mementos of a wife who was buried nine years earlier — the telephone rang day and night.
After criminals tricked him into revealing his banking information, they went to Wachovia, the
nation’s fourth-largest bank, and raided his account, according to banking records.

“I loved getting those calls,” Mr. Guthrie said in an interview. “Since my wife passed away, I don’t
have many people to talk with. I didn’t even know they were stealing from me until everything was
gone.”

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Telemarketing fraud, once limited to small-time thieves, has become a global criminal enterprise
preying upon millions of elderly and other Americans every year, authorities say. Vast databases of
names and personal information, sold to thieves by large publicly traded companies, have put
almost anyone within reach of fraudulent telemarketers. And major banks have made it possible for
criminals to dip into victims’ accounts without their authorization, according to court records.

The banks and companies that sell such services often confront evidence that they are used for
fraud, according to thousands of banking documents, court filings and e-mail messages reviewed by
The New York Times.

Although some companies, including Wachovia, have made refunds to victims who have
complained, neither that bank nor infoUSA stopped working with criminals even after executives
were warned that they were aiding continuing crimes, according to government investigators.
Instead, those companies collected millions of dollars in fees from scam artists. (Neither company
has been formally accused of wrongdoing by the authorities.)

“Only one kind of customer wants to buy lists of seniors interested in lotteries and sweepstakes:
criminals,” said Sgt. Yves Leblanc of the Royal Canadian Mounted Police. “If someone advertises a
list by saying it contains gullible or elderly people, it’s like putting out a sign saying ‘Thieves
welcome here.’ ”

In recent years, despite the creation of a national “do not call” registry, the legitimate telemarketing
industry has grown, according to the Direct Marketing Association. Callers pitching insurance
plans, subscriptions and precooked meals collected more than $177 billion in 2006, an increase of
$4.5 billion since the federal do-not-call restrictions were put in place three years ago.

That growth can be partly attributed to the industry’s renewed focus on the elderly. Older
Americans are perfect telemarketing customers, analysts say, because they are often at home, rely
on delivery services, and are lonely for the companionship that telephone callers provide. Some
researchers estimate that the elderly account for 30 percent of telemarketing sales — another
example of how companies and investors are profiting from the growing numbers of Americans in
their final years.

While many telemarketing pitches are for legitimate products, the number of scams aimed at older
Americans is on the rise, the authorities say. In 2003, the Federal Trade Commission estimated that
11 percent of Americans over age 55 had been victims of consumer fraud. The following year, the
Federal Bureau of Investigation shut down one telemarketing ring that stole more than $1 billion,
spanned seven countries and resulted in 565 arrests. Since the start of last year, federal agencies
have filed lawsuits or injunctions against at least 68 telemarketing companies and individuals
accused of stealing more than $622 million.

“Most people have no idea how widespread and sophisticated telemarketing fraud has become,”
said James Davis, a Federal Trade Commission lawyer. “It shocks even us.”




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Many of the victims are people like Mr. Guthrie, whose name was among the millions that infoUSA
sold to companies under investigation for fraud, according to regulators. Scam artists stole more
than $100,000 from Mr. Guthrie, his family says. How they took much of it is unclear, because Mr.
Guthrie’s memory is faulty and many financial records are incomplete.




What is certain is that a large sum was withdrawn from his account by thieves relying on Wachovia
and other banks, according to banking and court records. Though 20 percent of the total amount
stolen was recovered, investigators say the rest has gone to schemes too complicated to untangle.

Senior executives at infoUSA were contacted by telephone and e-mail messages at least 30 times.
They did not respond.

Wachovia, in a statement, said that it had honored all requests for refunds and that it was
cooperating with authorities.

Mr. Guthrie, however, says that thieves should have been prevented from getting access to his funds
in the first place.

“I can’t understand why they were allowed inside my account,” said Mr. Guthrie, who lives near Des
Moines. “I just chatted with this woman for a few minutes, and the next thing I knew, they took
everything I had.”

Sweepstakes a Common Tactic

Investigators suspect that Mr. Guthrie’s name first appeared on a list used by scam artists around
2002, after he filled out a few contest entries that asked about his buying habits and other personal
information.

He had lived alone since his wife died. Five of his eight children had moved away from the farm. Mr.
Guthrie survived on roughly $800 that he received from Social Security each month. Because
painful arthritis kept him home, he spent many mornings organizing the mail, filling out
sweepstakes entries and listening to big-band albums as he chatted with telemarketers.

“I really enjoyed those calls,” Mr. Guthrie said. “One gal in particular loved to hear stories about
when I was younger.”
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Some of those entries and calls, however, were intended solely to create databases of information on
millions of elderly Americans. Many sweepstakes were fakes, investigators say, and existed only to
ask entrants about shopping habits, religion or other personal details. Databases of such responses
can be profitably sold, often via electronic download, through list brokers like Walter Karl Inc., a
division of infoUSA.

The list brokering industry has existed for decades, primarily serving legitimate customers like
magazine and catalog companies. InfoUSA, one of the nation’s largest list brokers and a publicly
held company, matches buyers and sellers of data. The company maintains records on 210 million
Americans, according to its Web site. In 2006, it collected more than $430 million from clients like
Reader’s Digest, Publishers Clearinghouse and Condé Nast.

But infoUSA has also helped sell lists to companies that were under investigation or had been
prosecuted for fraud, according to records collected by the Iowa attorney general. Those records
stemmed from a now completed investigation of a suspected telemarketing criminal.

By 2004, Mr. Guthrie’s name was part of a list titled “Astroluck,” which included 19,000 other
sweepstakes players, Iowa’s records show. InfoUSA sold the Astroluck list dozens of times, to
companies including HMS Direct, which Canadian authorities had sued the previous year for
deceptive mailings; Westport Enterprises, the subject of consumer complaints in Kansas,
Connecticut and Missouri; and Arlimbow, a European company that Swiss authorities were
prosecuting at the time for a lottery scam.

(In 2005, HMS’s director was found not guilty on a technicality. Arlimbow was shut down in 2004.
Those companies did not return phone calls. Westport Enterprises said it has resolved all
complaints, complies with all laws and engages only in direct-mail solicitations.)

Records also indicate that infoUSA sold thousands of other elderly Americans’ names to Windfall
Investments after the F.B.I. had accused the company in 2002 of stealing $600,000 from a California
woman.

Between 2001 and 2004, infoUSA also sold lists to World Marketing Service, a company that a judge
shut down in 2003 for running a lottery scam; to Atlas Marketing, which a court closed in 2006 for
selling $86 million of bogus business opportunities; and to Emerald Marketing Enterprises, a
Canadian firm that was investigated multiple times but never charged with wrongdoing.

The investigation of Windfall Investments was closed after its owners could not be located.
Representatives of Windfall Investments, World Marketing Services, Atlas Marketing and Emerald
Marketing Enterprises could not be located or did not return calls.


                                                               Steve St. Clair, an Iowa assistant attorney general,
                                                               investigated the sale of mailing lists that may have been
                                                               used in the first step of a scam aimed at the elderly.
                                                               Ozier Muhammad/The New York Times




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The Federal Trade Commission’s rules prohibit list brokers from selling to companies engaged in
obvious frauds. In 2004, the agency fined three brokers accused of knowingly, or purposely ignoring,
that clients were breaking the law. The Direct Marketing Association, which infoUSA belongs to,
requires brokers to screen buyers for suspicious activity.

But internal infoUSA e-mail messages indicate that employees did not abide by those standards. In
2003, two infoUSA employees traded e-mail messages discussing the fact that Nevada authorities
were seeking Richard Panas, a frequent infoUSA client, in connection with a lottery scam.

“This kind of behavior does not surprise me, but it adds to my concerns about doing business with
these people,” an infoUSA executive wrote to colleagues. Yet, over the next 10 months, infoUSA sold
Mr. Panas an additional 155,000 names, even after he pleaded guilty to criminal charges in Nevada
and was barred from operating in Iowa.

Mr. Panas did not return calls.

“Red flags should have been waving,” said Steve St. Clair, an Iowa assistant attorney general who
oversaw the infoUSA investigation. “But the attitude of these list brokers is that it’s not their
responsibility if someone else breaks the law.”

Millions of Americans Are Called

Within months of the sale of the Astroluck list, groups of scam artists in Canada, the Caribbean and
elsewhere had the names of Mr. Guthrie and millions of other Americans, authorities say. Such
countries are popular among con artists because they are outside the jurisdiction of the United
States.

The thieves would call and pose as government workers or pharmacy employees. They would
contend that the Social Security Administration’s computers had crashed, or prescription records
were incomplete. Payments and pills would be delayed, they warned, unless the older Americans
provided their banking information.

Many people hung up. But Mr. Guthrie and hundreds of others gave the callers whatever they
asked.

“I was afraid if I didn’t give her my bank information, I wouldn’t have money for my heart
medicine,” Mr. Guthrie said.

Criminals can use such banking data to create unsigned checks that withdraw funds from victims’
accounts. Such checks, once widely used by gyms and other businesses that collect monthly fees,
are allowed under a provision of the banking code. The difficult part is finding a bank willing to
accept them.

In the case of Mr. Guthrie, criminals turned to Wachovia.
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Between 2003 and 2005, scam artists submitted at least seven unsigned checks to Wachovia that
withdrew funds from Mr. Guthrie’s account, according to banking records. Wachovia accepted those
checks and forwarded them to Mr. Guthrie’s bank in Iowa, which in turn sent back $1,603 for
distribution to the checks’ creators that submitted them.

Within days, however, Mr. Guthrie’s bank, a branch of Wells Fargo, became concerned and told
Wachovia that the checks had not been authorized. At Wells Fargo’s request, Wachovia returned the
funds. But it failed to investigate whether Wachovia’s accounts were being used by criminals,
according to prosecutors who studied the transactions.

In all, Wachovia accepted $142 million of unsigned checks from companies that made unauthorized
withdrawals from thousands of accounts, federal prosecutors say. Wachovia collected millions of
dollars in fees from those companies, even as it failed to act on warnings, according to records.

In 2006, after account holders at Citizens Bank were victimized by the same thieves that singled out
Mr. Guthrie, an executive wrote to Wachovia that “the purpose of this message is to put your bank
on notice of this situation and to ask for your assistance in trying to shut down this scam.”

But Wachovia, which declined to comment on that communication, did not shut down the accounts.

Banking rules required Wachovia to periodically screen companies submitting unsigned checks. Yet
there is little evidence Wachovia screened most of the firms that profited from the withdrawals.

In a lawsuit filed last year, the United States attorney in Philadelphia said Wachovia received
thousands of warnings that it was processing fraudulent checks, but ignored them. That suit,
against the company that printed those unsigned checks, Payment Processing Center, or P.P.C., did
not name Wachovia as a defendant, though at least one victim has filed a pending lawsuit against
the bank.

During 2005, according to the United States attorney’s lawsuit, 59 percent of the unsigned checks
that Wachovia accepted from P.P.C. and forwarded to other banks were ultimately refused by other
financial institutions. Wachovia was informed each time a check was returned.

“When between 50 and 60 percent of transactions are returned, that tells you at gut level that
something’s not right,” said the United States attorney in Philadelphia, Patrick L. Meehan.


                                                               AFTERMATH Tony Unspach takes care of bills and
                                                               banking for his grandfather, Richard Guthrie, a victim of
                                                               fake telemarketers.
                                                               Ozier Muhammad/The New York Times




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Other banks, when confronted with similar evidence, have closed questionable accounts. But
Wachovia continued accepting unsigned checks printed by P.P.C. until the government filed suit in
2006.

Wachovia declined to respond to the accusations in the lawsuit, citing the continuing civil litigation.

Although Wachovia is the largest bank that processed transactions that stole from Mr. Guthrie, at
least five other banks accepted 31 unsigned checks that withdrew $9,228 from his account. Nearly
every time, Mr. Guthrie’s bank told those financial institutions the checks were fraudulent, and his
money was refunded. But few investigated further.

The suit against P.P.C. ended in February. A court-appointed receiver will liquidate the firm and
make refunds to consumers. P.P.C.’s owners admitted no wrongdoing.

Wachovia was asked in detail about its relationship with P.P.C., the withdrawals from Mr. Guthrie’s
account and the accusations in the United States attorney’s lawsuit. The company declined to
comment, except to say: “Wachovia works diligently to detect and end fraudulent use of its
accounts. During the time P.P.C. was a customer, Wachovia honored all requests for returns related
to the P.P.C. accounts, which in turn protected consumers from loss.”

Prosecutors argue that many elderly accountholders never realized Wachovia had processed checks
that withdrew from their accounts, and so never requested refunds. Wachovia declined to respond.

The bank’s statement continued: “Wachovia is cooperating fully with authorities on this matter.”

Some Afraid to Seek Help

By 2005, Mr. Guthrie was in dire straits. When tellers at his bank noticed suspicious transactions,
they helped him request refunds. But dozens of unauthorized withdrawals slipped through.
Sometimes, he went to the grocery store and discovered that he could not buy food because his
account was empty. He didn’t know why. And he was afraid to seek help.

“I didn’t want to say anything that would cause my kids to take over my accounts,” he said. Such
concerns play into thieves’ plans, investigators say.

“Criminals focus on the elderly because they know authorities will blame the victims or seniors will
worry about their kids throwing them into nursing homes,” said C. Steven Baker, a lawyer with the
Federal Trade Commission. “Frequently, the victims are too distracted from dementia or
Alzheimer’s to figure out something’s wrong.”

Within a few months, Mr. Guthrie’s children noticed that he was skipping meals and was behind on
bills. By then, all of his savings — including the proceeds of selling his farm and money set aside to
send great-grandchildren to college — was gone.

State regulators have tried to protect victims like Mr. Guthrie. In 2005, attorneys general of 35
states urged the Federal Reserve to end the unsigned check system.



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“Such drafts should be eliminated in favor of electronic funds transfers that can serve the same
payment function” but are less susceptible to manipulation, they wrote.

But the Federal Reserve disagreed. It changed its rules to place greater responsibility on banks that
first accept unsigned checks, but has permitted their continued use.

Today, just as he feared, Mr. Guthrie’s financial freedom is gone. He gets a weekly $50 allowance to
buy food and gasoline. His children now own his home, and his grandson controls his bank account.
He must ask permission for large or unusual purchases.

And because he can’t buy anything, many telemarketers have stopped calling.

“It’s lonelier now,” he said at his kitchen table, which is crowded with mail. “I really enjoy when
those salespeople call. But when I tell them I can’t buy anything now, they hang up. I miss the good
chats we used to have.”




https://www.nytimes.com/2007/05/20/business/20tele.html                                                              8/8
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   R ES E AR C H R E P O RT


                 TRUSTe 2014 US Consumer
                 Confidence Privacy Report
                 Consumer Opinion and Business Impact




            CONSUMER                 CONSUMER                  BUSINESS
             CONCERN                   TRUST                    IMPACT




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     INTRODUCTION
     2013 saw privacy become a mainstream concern.

     The year saw revelations about government surveillance programs such as PRISM,
     continued debate over “Do Not Track,” the introduction of new FTC Mobile guidelines,
     changes to the Children’s Online Privacy Protection Act (COPPA) and European
     concern over international data transfers under EU Safe Harbor to name but a few.

     It concluded with the United Nations passing a privacy resolution on “The Right to
     Privacy in the Digital Age,” and President Obama announcing changes to the National
     Security Agency (NSA) practice of bulk data collection and storage and, in Europe, the
     debate over the proposed new Data Protection Regulation intensifying ahead of the
     end of the current parliament in May 2014.

     Technological advances also brought new privacy implications including the introduction of wearable tech such as
     Google Glass, commercial use of facial recognition technology to track shoppers’ in-store activities, increased use
     of location-based targeting and the rise of smart devices in what’s being called “The Internet of Things.”

     But what is the impact of these new technologies, political debates and media headlines on consumer opinion?

     As part of our commitment to helping companies to safely collect and use consumer data to power their
     businesses, we wanted to get behind the headlines and find out what effect the events of 2013 have had on
     consumer privacy concerns and provide an accurate picture of the potential impact this could have on businesses
     in the year ahead.

     TRUSTe commissioned independent research to look into the degree and causes of online privacy concern
     amongst US internet users. The TRUSTe 2014 US Consumer Confidence Research is part of a long-term
     commitment to privacy education from TRUSTe. Now in its third year, this research series offers a valuable
     barometer of consumer confidence, business impact and recommended business practices.

     Reports from previous years can be found online at truste.com. The 2014 findings will be presented at a series of
     events in the US and the UK to coincide with Data Privacy Day on January 28.

     If you have questions on the research, or would like additional information on how TRUSTe can help you with your
     data privacy management strategy, please let us know.




     Best Regards,




     Chris Babel
     CEO, TRUSTe




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     EXECUTIVE SUMMARY
     The TRUSTe 2014 US Consumer Confidence Privacy Report provides a comprehensive analysis of current
     consumer opinions about online privacy across the US. The study was conducted by Harris Interactive, on behalf of
     TRUSTe, with more than 2,000 US internet users from December 11 – 13, 2013. A similar report is also available for
     the UK.

     The research found that consumer online privacy concerns remain extremely high with 92% of US internet users
     worrying about their privacy online compared with 89% in January 2013. The high level of concern is further
     evidenced by 47% saying they were always or frequently concerned and 74% were more concerned than last year.

     All those who said they were more concerned about their online privacy than last year were asked why they were
     more concerned. The top two responses were - 58% were concerned about businesses sharing their personal
     information with other companies and 47% were concerned about companies tracking their online behavior to
     target them with ads and content.

     Despite the constant media coverage of US government surveillance programs only 38% listed this as a reason for
     their increased concern. These figures are in stark contrast to the number of media articles about online privacy,
     which focus on government surveillance over commercial data collection.

     The potential impact of this concern over business privacy practices is significant as consumer trust is falling.
     Just over half of US internet users (55%, down from 57% in 2013) say they trust businesses with their personal
     information online. Furthermore, 89% say they avoid companies they do not trust to protect their privacy, the same
     as in January 2013.

     70% said they felt more confident that they knew how to manage their privacy than one year ago, but this
     can cause consumers to take actions, which negatively impact businesses. Increased privacy concerns, mean
     consumers are:


                   Less likely to click on online advertisements                              83%


                   Avoid using apps they don’t believe protect their privacy                  80%


                   Less likely to enable location tracking on smartphone                      74%


     On a positive note, in addition to these actions, 3 out of 4 consumers are more likely to look for privacy
     certifications and seals to address their privacy concerns.




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     TRUSTe 2014 US CONSUMER CONFIDENCE PRIVACY RESEARCH

     Survey Methodology
     The research was conducted by Harris Interactive on behalf of TRUSTe, from December 11-13, 2013.

     Questions were asked online of 2,019 adults aged over 18.

     The survey data were weighted to be nationally representative of the US Online Adult Population.

     Numbers may not always add up to 100% due to computer rounding or multiple answers. Full data tables are
     available on request.



     DETAILED FINDINGS

     Section 1 — Consumer Concern
     1.1   Are consumers concerned about online privacy?

     Consumer online privacy concerns remain high. 92% of US internet users worry about their privacy online
     compared with 89% in January 2013 and 90% in January 2012.

     Of the 92% who are concerned about their online privacy, 18-34 aged men are less likely to worry (83%) than women
     of the same age (93%). Men aged 65+ are more likely to be concerned (97%) than women of the same age (91%).


                                  “How often do you worry about your privacy online?”


                              5
                         4           6                                          8%
                                                                                                      Never
                     3                    7                           26%
                                                                                                        Sometimes
                 2                            8       92%
                                                     WORRY                           45%              Frequently
                                                                      21%
                     1                    9                                                             Always

                         0           10       9.2



     1.2   How often are they concerned about online privacy?

     What is the extent of privacy concern? Respondents were asked how often, if at all, they worried about their online
     privacy. 47% said they were always or frequently concerned, 45% were sometimes concerned. Just 8% have never
     worried about the issue compared with 11% in January 2013.

     1.3   What online activities cause them to be concerned?

     This research was conducted in mid-December during the peak of the holiday shopping season. Online shopping
     continues to be the activity that causes the greatest levels of concern with 93% of US consumers now worried
     about their privacy when shopping online, compared with 89% in January 2013.




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     Privacy concerns have also increased across other online activities. 90% were concerned about privacy when
     banking online compared with 86% in January 2013. 90% of those who used social networks worried about their
     privacy when using these sites compared with 87% in January 2013.

     There has also been a significant rise in privacy concern when using mobile apps, with 85% of smartphone users
     now worried when using apps compared with 77% in January 2013.

                                          Activities Where Consumers have Privacy Concerns


                                                                                               89%
                             Online Shopping
                                                                                                93%

                                                                                              86%
                               Banking Online
                                                                                               90%
                                                                                                      2013
                                                                                                      2014
                                                                                              87%
                           Using Social Media
                                                                                               90%

                                                                                        77%
                           Using Mobile Apps
                                                                                              85%


     1.4   Has concern about online privacy increased since last year?

     Respondents were asked about whether their privacy concerns had changed from one year ago. 74% of US
     internet users are more worried about their online privacy than one year ago.




                             74% of internet users are
                             more worried about online
                             privacy than one year ago                            74%




     A higher percentage of those over age 55 (78%) are more worried about their online privacy than one year ago.
     The groups that are least concerned compared with last year are men aged 18-34 (67%) and women aged 35-44
     (69%).

     Perhaps surprisingly, the increase in privacy concerns is lower (66%) in families with children compared to those
     without (77%). Other factors such as income, education, employment, marital status and home ownership appear
     to make little difference to growing online privacy concerns.




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     Section 2 — Reasons for Concern
     2.1   Why have online privacy concerns increased?

     All of the respondents who indicated that they were more concerned about their online privacy this year than last
     year (74%) were asked what had caused them to be more concerned.

     Businesses sharing personal information with other companies (58%) and tracking online behavior to show
     targeted ads and content (47%) were the two largest causes of increased online privacy concerns.

     Despite the constant media coverage of US government surveillance programs such as the NSA’s PRISM, only 38%
     listed this as a reason for their increase in privacy concerns.

     29% were concerned about the privacy policies of Facebook and other social media networks, 24% were
     concerned about companies tracking their location on their smartphone and 21% were concerned about the
     privacy policies of Google and other search engines.

                                       Top 6 Reasons for Increase in Online Privacy Concerns in 2013


                                 Businesses sharing my personal
                              information with other companies                                               58%

                         Companies tracking my online behavior
                             to target me with ads and content                                         47%

                            Reports of government surveillance
                       programs (e.g. NSA, PRISM) in the media                                 38%

                                    Privacy policies of Facebook
                                     and other social media sites                       29%

                                        Companies tracking my
                                    location via my smartphone                        24%

                                      Privacy policies of Google
                                       and other search engines                  21%


     2.2   Does everyone share the same reasons for concern?

     There were some differences in the causes of concern in different age groups. Businesses sharing personal
     information online with other companies, was the top cause of concern amongst all age groups apart from 18-34
     year old men who were more concerned about government surveillance programs.

     The second highest cause of concern for everyone over 35 was companies tracking their online behavior to provide
     targeted ads and content. For 18-34 year olds the second highest cause of concern was government surveillance
     followed by online tracking.




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     2.3     Detailed analysis of top causes of privacy concerns

     2.3.1    Businesses sharing personal information with other companies

     Overall 58% of those whose concerns about online privacy had increased in the last year listed businesses sharing
     personal information with other companies as a cause.

     This was the greatest concern for retired people (74%) followed by those who left education after high school
     (63%) and the unemployed (63%).

     Concerns increase sharply with age with 42% of 18-34 year olds listing companies sharing personal information as a
     reason for concern, rising to 74% of 65+ year olds.

                                 80%

                                 60%

                                 40%

                                 20%

                                    0       18 – 34      35 – 44      45 – 54          55 – 64      65+
                                                                   Age Groups

     The greatest level of concern (76%) was amongst women aged over 65. 62% of married people were concerned
     about businesses sharing their personal information compared with 52% of those who were not married.

     2.3.2    Companies tracking online behavior to provide targeted ads and content

     Concerns about companies tracking online behavior to provide targeted ads and content increased sharply with
     age and peaked amongst those aged 55-64.

                                    60%

                                    45%

                                    30%

                                    15%

                                        0      18 – 34      35 – 44      45 – 54          55 – 64         65+
                                                                      Age Groups



     Online tracking to provide targeted ads and content was less of a concern amongst students (37%) than for retired
     people (55%).

     53% of married people were concerned about companies tracking online behavior to provide targeted ads and
     content compared with 40% of those who were not married.


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     2.3.3   Media reports of government surveillance programs such as NSA’s PRISM

     Overall 38% of those whose online privacy concerns had increased over the last year attributed this to media
     reports of government surveillance programs such as the NSA’s PRISM program.

     This was the third highest concern for 35-65 year olds. For 18-34 year olds and those over 65 government
     surveillance was their second highest concern and more of a concern than online tracking.

     In general, men were more concerned about government tracking them (44%) than companies (38%) whereas
     women were more concerned about companies tracking their activities (41%) than the government (32%).

     Students (43%) were also more concerned about reports of surveillance programs (43%) than companies tracking
     their web surfing behavior (29%).

     2.3.4   Privacy policies of Facebook and other social media sites

     Overall 29% of internet users attributed their increase in online privacy concern to the privacy policies of Facebook
     and other social media sites. However these concerns were greater amongst certain groups rising to 36% of college
     graduates and 34% for parents of children under 18.

     2.3.5   Companies tracking my location data via my smartphone

     Overall 24% of internet users attributed their increase in online privacy concern to companies tracking their location
     via their smartphone. These concerns were significantly higher amongst younger people whether male or female.

                            40%

                            30%

                            20%

                            10%

                                0     18 – 34      35 – 44      45 – 54      55 – 64         65+
                                                             Age Groups

     These figures are based on all internet users so are likely to be significantly higher as a proportion of smartphone users.

     2.3.6   Privacy policies of Google and other search engines

     21% of internet users listed the privacy policies of Google and other search engines as a reason for the increase in
     their online privacy concerns. For younger people this is the lowest concern, however for over 55 year olds this is
     more of a concern than location-based tracking. This is particularly the case amongst older men. 29% of men aged
     55-64 are concerned about Google’s privacy policies, whereas location based tracking is only a concern for 16% of
     this age group.




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     Section 3 — Consumer Trust
     3.1   Do consumers trust companies to protect their online privacy?

     Consumer trust decreased from last year. 55% of US internet users trust businesses with their personal information
     online, compared with 57% in January 2013 and 59% in January 2012.

     In general, men over 45 are less likely to trust companies with their personal information online than women of the
     same age. For example, 53% of men aged 55-64 do not trust companies with their personal information compared
     with 39% of women of the same age.


                                “I trust most companies with my personal information online.”


                                5.5
                            5
                      4               6                                 7%
                                                                               16%               Strongly Disagree
                  3                       7
                                                                                                 Somewhat Disagree

              2                               8       55%
                                                      AGREE                      29%             Somewhat Agree

                                                                   47%                           Strongly Agree
                  1                       9


                      0            10




     3.2   What is the level of consumer mistrust?

     Respondents were asked to what extent they agreed with the statement “I trust most companies with my personal
     information online.” 45% strongly or somewhat disagreed with this statement, 47% somewhat agreed. 7% strongly
     agreed that they trusted most companies with their personal information online compared with 9% in January 2013.




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     Section 4 — Business Impact
     4.1   Business impact of online privacy concerns

     The business impact of online privacy concerns remains high. 89% of US internet users say they avoid companies
     that do not protect their privacy compared with 89% in January 2013 and 88% in January 2012.

     When it comes to avoiding companies where consumers have online privacy concerns, there is little difference
     between men and women but age is a major factor. 83% of 18-34 year olds avoid businesses they do not trust
     rising to 96% of over 65 year olds.
                      “I avoid doing business with companies who I do not believe protect my privacy online.”

                                                                                          2%
                             5
                      4             6
                                                                                         9%
                  3                      7                                                                   Strongly Disagree

                                                                                                             Somewhat Disagree
              2                              8                89%            53%                             Somewhat Agree
                                                              AGREE                         36%
                                                                                                             Strongly Agree
                  1                      9       8.9
                      0            10




     4.2   To what extent do consumers avoid businesses they don’t trust?

     Respondents were asked to what extent they agreed with the statement “I avoid doing business with companies
     who I do not believe protect my privacy online.” 53% strongly agreed with this statement, 36% somewhat agreed,
     9% somewhat disagreed. 2% strongly disagreed that they avoided doing business with companies that they didn’t
     believe protected their privacy online.

     4.3   Effects of privacy concern on consumer behavior

     70% of US internet users feel more confident that they know how to manage their privacy online than one year ago
     but what does this mean for businesses? As consumers become smarter about managing their privacy and decide
     to opt out of services such as location tracking, could this hinder business’ ability innovate? A series of additional
     questions were asked this year that looked in more detail at the potential business impacts of consumer online
     privacy concerns.

     Enabling consumers to take control of their online privacy can help with 76% consumers more likely to look for
     privacy certifications and seals to address their privacy concerns.

                                             Top 4 Consumer Actions due to Online Privacy Concerns


                                          Less likely to click on
                                         online advertisements                                         83%

                                   Avoid using apps they don’t
                                   believe protect their privacy                                      80%

                                 More likely to look for privacy
                                        certifications and seals                                     76%

                                  Less likely to enable location
                                       tracking on smartphone                                        74%


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     CONCLUSION

     Businesses Need To Do More To Build Online Trust
     Privacy concerns are growing with 74% more concerned about their online privacy than a year ago. Despite the
     constant media coverage of US government surveillance programs such as NSA’s PRISM, this is not the main
     driver of online privacy concerns. People are far more concerned about businesses sharing personal information
     with other companies and tracking their online behavior to show targeted ads and content than anything the
     government is doing.

     Many companies have already responded to growing consumer concern and are improving their privacy practices,
     but the bar continues to rise. For those who have not yet realized the importance of this issue, they are going to be
     left behind by their competitors.

     But consumer concern is just one of the challenges businesses face in 2014 as the privacy landscape continues
     to get more complex in terms of regulation and technology. 2013 saw changes to the COPPA, continued debate
     over “Do Not Track,” the introduction of new FTC Mobile guidelines and European concern over international data
     transfers under EU Safe Harbor.

     The good news is that there are a number of different ways in which businesses can help consumers to manage
     their online privacy and build trust. These include privacy assessments and certifications to build and demonstrate
     best practices, alongside tools for managing consumer advertising preferences, monitoring site and app tracking
     activity, and cookie consent preferences under the EU Cookie Directive. This research showed that 76% are more
     likely to look for privacy certifications and seals due to concerns about their online privacy.

     In the year ahead, companies need to innovate to succeed but these findings show they also need to proactively
     address online privacy concerns to stay ahead of the competition, minimize risk and build online trust.




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     Our cloud-based Data Privacy Management Platform delivers innovative technology products, including website
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                                                    CLOUD          MOBILE




                                        WEB                 DATA                   ADS




                             ASSESS             CERTIFY            MONITOR           CONTROL

                                    Data Privacy Management Platform



     More than 5,000 companies worldwide, including Apple, Disney, eBay, Forbes, LinkedIn and Oracle rely on our DPM
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Start-Ups Seek to Help Users Put a Price on Their Personal Data

By Joshua Brustein

Feb. 12, 2012


Facebook’s pending initial public offering gives credence to the argument that personal data is the oil of the digital age. The company was
built on a formula common to the technology industry: offer people a service, collect information about them as they use that service and
use that information to sell advertising.

People have been willing to give away their data while the companies make money. But there is some momentum for the idea that
personal data could function as a kind of online currency, to be cashed in directly or exchanged for other items of value. A number of start-
ups allow people to take control — and perhaps profit from — the digital trails that they leave on the Internet.

“That marketplace does not exist right now, because consumers are not in on the game,” said Shane Green, who founded a company called
Personal in 2009.

The idea behind Mr. Green’s company involves two steps. First, his team created a series of personal data vaults, which contain thousands
of data points about its users (the company calls them owners). This data can be as prosaic as birth dates, or as specific as someone’s
preference for spicy foods. People control what information they share and remove data they don’t want to share at any time.

The problem is that companies don’t need to pay for the information when they get it free.

“The killer app isn’t here yet,” said William Hoffman, who is working on a multiyear study of the economics of personal data for the World
Economic Forum. But with increased consumer awareness of the value of that information — Facebook could be worth as much as $100
billion — that may soon change. “I’m willing to bet that within the next 12 months something big will catch on,” he said.




                                      Shane Green, standing, founded Personal, a company that helps people control their
                                      personal data on the Internet, using what is known as a data locker. Daniel Rosenbaum for
                                      The New York Times




The concept of treating data like currency has long excited certain computer programmers and academics. But to almost everyone else, it
is boring. Personal data management has none of the obvious appeal of social networks or smartphones. But concerns about privacy may
be changing that, Mr. Hoffman said.

Many of the new ideas center on a concept known as the personal data locker. People keep a single account with information about
themselves. Businesses would pay for this data because it allows them to offer personalized products and advertising. And because people
retain control over the data in their lockers, they can demand something of value in return. Maybe a discounted vacation, or a cash
payment.

Proponents of personal data lockers do not see them simply as a solution to privacy concerns. Rather, they hope that people will share
even more data if there is a market for them to benefit from it.

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The first step seems to be establishing trust. Reputation.com monitors the Internet for potentially harmful information and tries to remove
it, while the Locker Project looks to create a single place where users can find what they see and do online. On Connect.me, which is in a
private testing period, users vouch for one another, confirming that, for instance, someone is indeed a basketball player or a bookworm in
an attempt to create a credible online reputation.


                                      Let Us Help You Protect Your Digital Life

                                        With Apple’s latest mobile software update, we can decide whether apps monitor
                                        and share our activities with others. Here’s what to know.

                                        A little maintenance on your devices and accounts can go a long way in
                                        maintaining your security against outside parties’ unwanted attempts to access
                                        your data. Here’s a guide to the few simple changes you can make to protect
                                        yourself and your information online.

                                        Ever considered a password manager? You should.

                                        There are also many ways to brush away the tracks you leave on the internet.




To popularize the concept of the data locker, Personal wants to create a market for exchanging access to data. Mr. Green says users will
reap either cash or other benefits, like heavy discounts on certain products. In January the White House announced that it would work
with Personal and several other companies to allow students to download their academic data from federal databases and store it in a data
locker. Personal says it is also working on partnerships with businesses.

A challenge for the company will be whether it can offer enough money to persuade people to use the system. Consumer information is
worth billions in aggregate, but individually, the bits of data are worth practically nothing. A study by JPMorgan Chase last year showed
that a unique user was worth $4 to Facebook and $24 to Google. Others looked at Facebook’s recent filings with the Securities and
Exchange Commission and placed the value of a user as high as $120.




                                      The data that people store in their locker can be as prosaic as birth dates, or as specific as
                                      a preference for spicy foods.



Singly, a similar service that is still in a testing period, feels that developers can create better personalized services for people if all of the
personal data can be accessed from a single location. With a person’s permission, Singly draws data about them from around the Web, and
allows them to share it with developers.


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Jason Cavnar, a founder of Singly, is skeptical that personal data will be exchanged in the straightforward transactions that other data
locker companies propose. While people may be willing to share their lists of Facebook friends, the bar is set higher for, say, the specifics of
their financial history. Developers can build dozens of apps based on what one’s friends on social media like to eat, but they are not
churning out nearly so many that rely on, say, private financial data.

Instead, he says people will create data lockers and share their contents because they will receive compelling services by doing so. This
idea has already been successful with Mint.com, which has shown that people will share confidential financial information in exchange for
money-management advice.

People will not share information without a level of trust, and that is what the personal data management companies are trying to sell. The
final barrier is that people may find creating detailed databases about themselves too onerous to justify the potential rewards. In order to
create a real market for data, enough people need to see an immediate, tangible benefit in filling up their lockers, said Mr. Green of
Personal.

He said he took note of this while presenting his product to groups of potential users. They nodded along with him as he told them about
privacy and control. But when he showed his audience how entering their data into Personal allowed them to fill out online forms with a
single click, something snapped for them.

“I don’t think we quite realized how much of an emotional vein that tapped into,” he said, “It’s not easy to make data sexy or fun. It’s not
sharing photos with your friends on Facebook.”




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  1   Executive summary
  Personal data is nowadays traded like other commodities in the market place, yet our
  understanding of cost–benefit trade-offs that individuals undertake when making purchases
  on the Internet and disclosing personal data is far from complete. This study analyses the
  monetisation of privacy. ‘Monetising privacy’ refers to a consumer’s decision of disclosure or
  non-disclosure of personal data in relation to a purchase transaction.
  Privacy is a human right; thinking about the economics of privacy does not change this basic
  fact. The authors of this report consider an economic analysis of privacy as complementary to
  the legal analysis as it improves our understanding of human decision-making with respect to
  personal data.
  Do some customers of online services pay for privacy? Do some individuals value their privacy
  enough to pay a mark-up to an online service provider who protects their information better?
  How is this related to personalisation of services? The main goal of this report is to enable a
  better understanding of the interaction of personalisation, privacy concerns and competition
  between online service providers.
  Consumers benefit from personalisation of products on the one hand, but might be locked in
  to services on the other. Moreover, personalisation also bears a privacy risk, i.e. that data may
  be compromised once disclosed to a service provider.
  This report employs different methods in order to analyse the questions above. A theoretical
  model is introduced that takes into account the competition between two service providers.
  In this respect, consumers may select the service provider of their choice, depending on their
  privacy concerns and the offers made by service providers. In a variation of the model,
  consumers may select a service provider, but they may also choose whether they would like
  to have their services personalised in the future. The analysis of the data requirement of
  service providers and their pricing strategies shows that different data requirements serve as
  a differentiation device by which the providers may alter their prices/offerings.
  A simplified version of the model was implemented in the laboratory in order to better
  understand how consumers make choices on the basis of the above-mentioned criteria. With
  443 participants, the experiment is the largest laboratory experiment in the field of privacy
  economics to date. Different scenarios were implemented (so-called treatments), where
  participants were faced with two different service providers offering cinema tickets. The
  majority of participants who purchased two tickets in the laboratory experiment remained
  loyal to the service provider used for the first purchase (142 of 152 participants).
  The laboratory experiment also shows that the majority of consumers buy from a more
  privacy-invasive provider if the service provider charges a lower price. A non-negligible
  proportion of the experiment’s participants (13–83%), however, chose to pay a ‘premium’ for
  privacy. They did so in order to avoid disclosure of more personal data or because the privacy-
  friendly service provider promised not to use their data for marketing purposes.
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     The laboratory experiment was complemented by a hybrid and field experiment with over
     2,300 participants and 139 transactions and observations. The field experiment confirmed the
     trends observed in the laboratory; the only difference noticed is that in case of no price
     difference the privacy-friendly service providers which request less personal data obtained a
     greater market share.
     The report concludes with recommendations derived from this study. Users should be
     provided with options that allow them to disclose less personal data. Since such
     differentiation might lead to higher service prices, the EU regulatory framework should be
     sufficiently flexible to allow differentiation between service providers, enabling comparison of
     prices and requiring market players to offer privacy-friendly services.
     In the future, easy-to-understand comparison of the data protection practices of service
     providers will become more important. Only if information practices (i.e. the collection and
     use of personal data) are more easily comparable will they play a useful role in the consumer’s
     decisions.
     Finally, portability of profiles for consumers will reduce potential switching costs which may
     arise if consumers choose to personalise their product at a particular service provider. Such
     profile portability should be conditioned on the consent of the consumer.
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  2      Introduction

  2.1 Context and scope
  The advances in Information and Communication Technologies (ICTs), the spread of the
  Internet and new business models, including social networks, as well as new practices such as
  behavioural profiling, web and location tracking (ENISA 2011a) are posing challenges1 and are
  motivating the reform of the data protection legal framework in Europe.2
  In a 2011 EuroBarometer Survey,3 74% of Europeans stated that they see disclosing personal
  data as an increasing part of modern life and 43% of Internet users say they have been asked
  for more data than necessary when trying to obtain access to or use an online service. A
  better understanding is needed of the basic mechanisms of consumers’ data disclosure given
  their existing privacy concerns. Therefore, the rationale of this report is to better understand
  the consumers’ trade-offs with respect to monetising personal information by disclosure or
  non-disclosure of it to a service provider (ENISA 2011a: 25). Our knowledge about the
  economics of privacy; that is, the cost–benefit trade-offs individuals undertake when
  conducting economic transactions that involve personal information, is far from complete.
  Likewise, more understanding is required to address questions such as whether and how
  service providers can gain a competitive advantage by collecting less information on
  consumers.
  In its Communication on the Digital Agenda for Europe 4 the European Commission states that
  a lack of trust in the online environment is hampering the development of Europe’s online
  economy and that consumers will not shop online if they do not feel their rights are clear and
  protected.
  Personal data is nowadays traded among service providers like other commodities, meriting
  an analysis of individual transactions in the market place. For example, according to ENISA
  (2011b: 26–27), 47% of the service providers interviewed treated personal data as a
  commercial asset; and 48% revealed that they share data with third parties (ENISA 2011b: 26–
  27).
  Therefore, it is important to also understand the economic dimension of privacy.

  1
    Reding, V. (2011), The reform of the EU Data Protection Directive: the impact on business, European Business Summit,
  Speech/11/349; Hustinx, P. (2011), Opening Session: ‘General context – where we are now and where we are heading –
  current and future dilemmas of privacy protection’, International Data Protection Conference, Hungarian Presidency,
  Budapest, 16 June 2011, pp. 7–8.
  2
    European Commission, Proposal for a regulation of the European Parliament and of the Council on the protection of
  individuals with regard to the processing of personal data and on the free movement of such data (General Data Protection
  Regulation),    COM(2012)      11    final,   25    January    2012,     available at    http://ec.europa.eu/justice/data-
  protection/document/review2012/com_2012_11_en.pdf
  3
     Eurobarometer (2011), Attitudes on Data Protection and Electronic Identity in the European Union, SPECIAL
  EUROBAROMETER 359, available at: http://ec.europa.eu/public_opinion/archives/ebs/ebs_359_en.pdf
  4
    European Commission (2010), Communication from the Commission to the European Parliament, the Council, the European
  Economic and Social Committee and the Committee of Regions – A Digital Agenda for Europe COM(2010) 245, Brussels,
  19.05.2010.
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     2.2 Methodology, experiments and assumptions
     In the first stage of this project the authors reviewed the literature on the economics of
     privacy, focusing in particular on economic experiments. A number of references are provided
     and discussed in section 4. One of the main findings is that a large share of literature is
     devoted to social exchange (such as surveys) and that economic experiments that implement
     real purchase transactions are rather scarce.
     To the knowledge of the authors, there are no works in economics that combine theoretical
     and experimental methods for the analysis of the interplay of privacy concerns, product
     personalisation and competition. Identification of individuals is a precondition for the
     collection of their personal data and it is therefore also a precondition for personalisation.
     Personalisation is the tailoring of characteristics of a product or service to an individual
     consumer’s preferences. Personal information as a base for personalisation allows the
     differentiation of consumers and dynamic price discrimination.
     Personalisation can increase switching costs, if consumers who want to switch to a rival of
     their current service provider cannot simply transfer information from the old to the new
     provider. Disclosure of personal data might also induce privacy concerns for some individuals;
     this may limit the number of service providers to which the individual wants to disclose
     personal data.
     For this study an economic model has been developed assuming competition between two
     service providers. The model developed and used in the study assumes an environment with
     differentiated products, i.e. differentiation in price, in personalisation level and/or personal
     data required. The model provides, on the one hand, insights into service providers’ behaviour
     with regard to the collection of personal data on consumers in a competitive environment,
     and, on the other hand, information on how consumers react to the collection of such data.
     The model is presented in two versions – (a) a one-period version, which is used to illustrate
     some of the effects in the most basic setup where consumers make just one purchase; and (b)
     a two-period version including product personalisation and consumer ‘lock-in’, where
     consumers repeatedly interact with the service providers. The models used, the assumptions
     and the different scenarios are introduced in section 5 and the mathematical background is
     presented in the Annex.
     To validate the model, different types of experiments have been conducted: the laboratory
     experiment, and a hybrid and field experiment (section 6). These are complementary to each
     other.
     The laboratory experiment is a controlled environment, where the participants (in this study,
     students at a university in Berlin) know that they are part of an experiment. Laboratory
     experiments are widely used in economics for the analysis of economic incentives and
     decisions of individuals by involving them in real tasks and actions. Moreover, they can be
     used to test theories or the assumptions of theories. The actions of individuals do have real
     monetary and information implications for the individuals, which makes this research
     different from survey-based research.
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  At the end of the laboratory experiment, the participants filled out an exit questionnaire
  covering questions regarding privacy concerns and interest in personal data protection.
  The hybrid experiment is a combination of laboratory and field, because we invited students
  from the experimental pool to a website on the Internet, where they could carry out a
  purchase transaction. Finally, in the field the participants (who come from the Internet-using
  population) do not know that they are part of an experiment. The websites used for the
  hybrid and field experiment are the same as for the laboratory experiment, with the only
  difference being the graphical design to make it more attractive for field visitors.
  Theoretical as well as experimental methods have their limitations and rely on a few key
  assumptions. To reduce the complexity of the model, a number of simplifications were
  introduced, i.e. only two types of consumers were assumed, those with low and those with
  high privacy concerns. Regarding service providers, only two different types of requirements
  were assumed regarding the amount of personal data collected. 5 This was implemented in the
  experiment, however, without introducing strategic behaviour of service providers. The latter
  would have created problems from a data protection perspective and would have needed to
  be tested in separate experiments. Finally, the participants in the laboratory experiment were
  students at a large German university; this is a non-random selection and generalising the
  results to other populations and other types of transactions should be done with caution.
  Future research should use experimental methods to further expand to other types of
  transactions such as social networks.

  2.3 Some findings
  The answers that participants provided in the exit questionnaire with regard to privacy
  concerns and interest in personal data protection by organisations showed a rather high
  concern for privacy as well as a high interest in the topic (section 6.3.1).
  Some other findings:
     - Almost all participants in laboratory experiment (over 90%) stayed with the service
        provider they first selected in case of two purchases;
     - If the price is the same at the two providers, the majority of purchases in the
        laboratory are conducted at the privacy-friendly online service provider (about 83% of
        all tickets sold); this observation shows that if offers are placed next to each other and
        consumers can compare the amount of data collected, consumers take information
        practice into account;
     - In the cases where also the price differs, the market share of the privacy-friendly
        service provider drops, below or close to one third.
  When comparing the treatments in the laboratory and the field for all purchases, is noticeable
  that the privacy-friendly service provider has a much larger market share, if the differences in

  5
    A study published by ENISA in 2012 shows that the practice regarding data collection and how the principle of minimal
  disclosure is understood differs for the same type of service provided across Member States. See ‘Study on data collection and
  storage in the EU’, available on the ENISA web page: http://www.enisa.europa.eu/act/it/library/deliverables/data-collection .
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     data collection are obvious and prices are the same. However, once prices change and a
     privacy-unfriendly competitor charges a lower price the privacy-friendly service provider loses
     market share. However, about a third of purchases of consumers show that are willing to pay
     a mark-up at the privacy-friendly service provider.

     2.4 Structure of the study
     This report is structured as follows. Section 2 provides an introduction. Section 3 covers the
     fundamentals of the economics of privacy, which are important for its economic analysis.
     Section 4 provides an overview of the recent theoretical and experimental research in
     economics on personalisation, behaviour-based pricing and privacy.
     In section 5 an introduction to the economic model is provided. The details of this model are
     given in the Annex (section 10). Section 6 provides an overview of the experimental work,
     which tests some of the assumptions and scenarios considered in the model. Finally, in
     section 7 conclusions are drawn and recommendations made. The report is accompanied by a
     glossary of terminology.
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  3      The fundamentals of the economics of privacy
  The economics of privacy is a field of research at the intersection of economics, law and
  computer science. It is devoted to the study of the economic cost–benefit trade-offs
  individuals undertake when disclosing personal data in economic transactions (so-called
  ‘privacy calculus’) as well as the competitive implications of protection of personal data for
  service providers.6 In the following, however the focus is on the demand-side, i.e. the
  consumers. Two different types of exchanges are differentiated in the report to achieve a
  better classification of exchange models observable. Another basic taxonomy of online Service
  Models with a baseline differentiation into commercial and non-commercial can be found in
  ENISA (2011b: 11).

  3.1 Identification and personal information
  Identification is the process whereby a subject,7 for example a natural person, is singled out
  from an anonymous mass, the so-called ‘anonymity set’.8 Identification can occur with
  different degrees, where higher degrees denote a more precise identification. Identification as
  differentiation may occur on the basis of personal information 9 such as name, address,
  identity numbers, behavioural and/or biometric data. The European Data Protection Directive
  applies four key elements to the definition of personal data, stating that personal data is (1)
  any information that is (2) relating (linked) to an (3) identifiable or identified (4) natural
  person.10
  In the context of this report, we distinguish between personal information and private
  information as used in economics. Personal information contains differentiation power,
  because it singles a person out from the mass. Private information, on the other hand,
  denotes an unequal distribution of information among market players (e.g. consumers and
  firms), where one player has the information and the other does not. Therefore, information
  is private if it is not common (public) knowledge. 11 Personal data can be public, such as the
  names and birth dates of celebrities, yet it retains its differentiation power. However,
  personal information can also be private, for example if an individual manages to keep their
  real name and birth date private by using a false name and fictitious birthday.



  6
     An overview of the development of the field is presented in Acquisti (2010), Hui and Png (2006) and Jentzsch
  (2007).
  7
     The precise description is ‘personal identification’, i.e. the identification of a natural person based upon that
  person’s identifiers. Other types of identification might be possible, but are not relevant in the context here, such
  as pseudonymisation. Therefore, we will use ‘identification’ synonymously with ‘personal identification’.
  8
    Pfitzman and Köhntopp (2000).
  9
    We use the expression ‘personal information’ interchangeably with ‘personal data’.
  10
      For an in-depth discussion see Article 29 Data Protection Working Party (2007). Opinion 4/2007 on the concept
  of personal data, adopted on 20 June, 01248/07/EN WP 136. As stated, we use ‘personal data’ and ‘personal
  information’ interchangeably.
  11
     See Akerlof (1970).
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     From the economic point of view as employed in this report, the state of privacy arises with
     asymmetric distribution of personal data between market participants, where one side
     privately holds personal information. Note that we do not suggest this as general definition,
     but rather as a definition employed in this report. Privacy is therefore a relationship of
     asymmetric distribution of personal data between market players. Many other definitions of
     privacy originate in the legal, political and philosophical disciplines. 12 The economic view does
     not devalue these concepts, but is complementary to them.
     There are situations of symmetric and asymmetric identification. Symmetric identification
     occurs where both market sides can identify each other; in the asymmetric situation only one
     side can identify the other, not vice versa. Reciprocity in identification is an important
     ingredient for trust and can influence an individual’s actions (see also section on ‘Experiments
     with Identification’). Identification may or may not be subject to negotiation in economic
     transactions (Preibusch 2006). If the transaction is a take-it-or-leave-it offer conditioned on
     identification, consumers have no choice but to opt out completely. This means a potential
     customer does not buy the product or service.
     If identification is not a component of the negotiations, challenges arise regarding the optimal
     level of identification. Identification differs among different types of transactions. While 90%
     of online shoppers state that they have disclosed their name and 89% their address for online
     shopping (Special EuroBarometer 2011: 40); among people using social networks, 79% state
     that they disclosed their name and 39% their home address when using social networks.
     Online purchases are often conditioned on identification. This is different for social networks,
     where truthful disclosure of identity data can be voluntarily chosen.13

     3.2 Economic exchange of personal data
     At the most basic level, we consider economic exchange as exchange intermediated by
     money. It should be differentiated from social exchange based on either real or perceived
     reciprocity between transaction partners. It is important to understand these concepts in
     order to understand the focus of this study. Social exchange, where consumers disclose
     personal data to firms in exchange for using their unpaid services, is not considered here. This
     would involve use of social networks or online services that are ‘for free’, except the
     consumer is monitored while using them (Internet search engines, free email services, etc.).
     We exclude social exchange and focus on transactions that are intermediated by money. In
     the transaction the consumer trades off monetary wealth and privacy.14 Two different types
     of exchanges can be differentiated: (1) pure information transactions; and (2) composite
     transactions involving goods/services and information as a by-product (see Figure 1).


     12
           See     for   an     example       the    Stanford    Encyclopedia     of   Philosophy (2006).  Privacy,
     http://plato.stanford.edu/entries/privacy/
     13
        Google+ tried to implement a mechanism where users needed to identify themselves with their real name, but
     this met resistance from users; see TAZ (2011). Sag mir wer du bist, www.taz.de/!74756/.
     14
        This is based upon Levitt and List (2007) regarding trading off morality and wealth.
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                                      Information Transaction

                                           1 - Information request
                                                                            Service
                       Consumer          2 - Information disclosure        Provider




                                      Composite Transaction

                                           1a - Offer of good/service
                                         1b - Information request
                                                                            Service
                       Consumer               2a           -
                                                                           Provider
                                              Purchase
                                        2b – Information disclosure




  Figure 1 Information and composite transactions


  In the pure information transaction (see upper part of Figure 1) consumers disclose personal
  data in the transaction. For example, consumers who participate in a survey disclose personal
  information.15 A pure information transaction, which does not involve a physical product,
  allows the consumer to focus on the terms of trade (TOT) for personal data. Pure information
  transactions are not analysed in this report, because they involve different trade-offs and
  motivations. However, this is a topic for further research in future, requiring a social exchange
  analysis.
  The second type of transaction displayed in Figure 1 (lower part) is a composite transaction,
  which involves a good or service and information as by-product. The main focus of the
  consumer is on the good or service the consumer wants to purchase. The exchange of
  personal data can be implied in the transaction 16 or be a by-product of it, where a person
  needs to disclose personal data actively. We lump these two versions of the composite
  exchange together under the term ‘by-product’. Consider Internet shopping for music CDs:
  browsing behaviour and purchase actions of a customer are recorded by the firm and this


  15
     In many surveys consumers are not identified – they can provide information under conditions of anonymity.
  This is very different from the transactions analysed in this report.
  16
     ‘Implied’ means that the purchase itself already reveals preferences of the consumer and therefore personal
  information, if the consumer is identified.
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     might go unnoticed by the consumer. However, if the consumer wants to have the CD shipped
     to his/her home address, this address needs to be disclosed.
     A composite transaction is more complex when compared to a pure information transaction.
     A composite transaction requires greater cognitive processing (‘thinking’), because the TOT
     for the good’s purchase aside, there are also TOT for the information disclosure. The
     consumer has to weight (a) the costs and benefits of obtaining the good; and (b) the costs and
     benefits of information disclosure.
     Note: It is important to separate the different types of transactions, because they entail
     different incentives and motives. At the most basic level, there is economic and social
     exchange. Transactions can be classified into pure information transactions or composite
     transactions involving goods/services and information, which gives rise to salience.
     This brings us to another important concept: salience (DellaVigna 2009). Salience is ‘relevance’
     or ‘attention’: if a feature of a product or service is salient, it stands out. Consider again the
     purchase of a CD on the Internet. While one firm might hide the terms of the privacy policy
     somewhere under the general commercial clauses, another might state directly, right next to
     the CD, that purchase will be recorded and purchase information shared with third parties. In
     this case, the terms of the policy stand out. More simply stated, consider a composite
     transaction T involving the transaction of a good ( GT ) and the transaction of information
     ( IT ):
                                      T  GT  IT                                                (1.1)
     With salience included in (1.1) above,
                                      T  GT  (1 )IT                                          (1.2)
     The salience parameter  , with 0   1, decreases the weight of IT in the composite
     transaction.   0 , on the other hand, denotes equal weight in attention devoted to the
     information and thegood. Consider the example where a consumer compares offers for car
     insurance on the Internet. She will look for the best insurance at the lowest price. Privacy
                              
     policy terms in the insurance contract are often not as important (i.e. they have low salience)
        
     as other product features. They may enter the consumer’s cost–benefit trade-off concerning
     insurance with little or no weight in the decision.17 The reason is that the primary purchase of
     car insurance is already highly complex. In Figure 1 (lower part) the bold print and arrows
     denote the consumer’s focus. Composite transactions involve a privacy risk, i.e. a probability
     that personal data are compromised. It depends on the consumer’s privacy concern or
     awareness and interest in data protection issues, whether the terms of the privacy policy are
     important or not in her decision.




     17
       In fact, privacy terms can bear additional costs for consumers by adding additional complexity to product
     comparisons. Individuals may then resort to external cues or heuristics in their decision-making.
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  3.3 Truthful disclosure of personal information
  Much theoretical work in economics is devoted to finding incentive-compatible mechanisms,
  which ensure that individuals reveal their true valuation of a good or service. The true
  valuation is private information held by the individual. In economics, if the revelation of
  truthful information is optimal for an individual, the mechanism of revelation is said to be
  ‘incentive-compatible’. If a market mechanism is not incentive-compatible, individuals will
  reveal some valuation, but not necessarily their true one. Consider a situation where
  consumers are asked for personal data in order to obtain a discount. This personal data is
  their private information and there is no mechanism to verify whether the information they
  disclose is true. If consumers are utility-maximising and at the same time concerned about
  their privacy, it is a dominant strategy to lie to obtain the discount while cushioning the
  potential negative effects that arise from truthful disclosure of their personal data.18,19
  Individuals then resort to disclosing some information, which must not be related to their
  natural identity. Disclosing arbitrary information reduces differentiation power. Examples of
  such behaviour are the adoption of fake identities or pseudonyms in order to conceal the real
  identity (e.g. ‘Donald Duck’ instead of the real name). If differentiation power is reduced,
  privacy concerns fade away, which is problematic as they are at the very core of research in
  the economics of privacy. This is a lesson we learnt from the pilot conducted for this study:
  Here we observed individuals who strategically invalidated their personal data by disclosing
  obviously wrong information.20
  Note: In order to protect their personal data, some individuals who are concerned with their
  privacy strategically invalidate their personal identifiers by disclosing bogus information. They
  have an incentive to do so given that the detection probability is low and the consequences of
  such information disclosure are not negative.
  Much of the research screened for this study as potential literature background is not
  incentive-compatible, because the information disclosed by participants is not checked for
  accuracy. In particular, where individuals are asked for sensitive personal data that cannot be
  verified, results could be biased. Information that cannot be externally verified includes
  opinions, attitudes and norms, for example. However, a problem also arises where individuals
  are asked for verifiable data such as name, address, weight and height, but then this
  information is not verified. Thus, we classify research with no real economic/monetary


  18
     This explains why for incentive-compatibility it is not enough that a transaction is paid; rather, truthful
  revelation of private information must be the best response, no matter what other market players do; i.e. it must
  be optimal.
  19
     This behaviour is common. In an anonymous representative survey conducted by BITKOM (2010) in Germany,
  almost every fourth Internet user stated that he/she has given false information on the Internet in the past. This
  amounts to about 12 million Germans. It is especially the name and age that are misrepresented, followed by
  telephone numbers, email addresses, income and to a lesser extent gender. In a recent Eurobarometer Survey it is
  reported that only 2 to 11% (depending on country) of Europeans provide false information (no context is given in
  the question); see Special Eurobarometer 359: 53; 135.
  20
     For instance, the telephone number was indicated by ‘123456789’.
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     component and no verification mechanism as ‘not incentive-compatible’ in the economic
     sense and exclude it from our literature review. This also excludes all studies that rely upon
     unpaid participation of individuals in surveys on privacy attitudes.
     We also find that a pure information transaction is not comparable to a composite
     transaction, because a survey reply is T  IT and social exchange, whereas an Internet
     purchase is T  GT  (1 )IT and economic exchange. In addition we excluded works with
     paid participation in surveys and studies that present participants with hypothetical choices,
     not involving any real actions and consequences. In hypothetical choice situation, respondents
     might not be able to tell how they would act or value a specific task/good in a hypothetical
        
     situation (Krahnen et al. 1997).

     3.4 Privacy, personalisation and competition
     To our knowledge, there are no works in economics that combine theoretical and
     experimental methods for the analysis of the interplay of privacy concerns, product
     personalisation and competition. Identification is a precondition for the collection of personal
     data and therefore it is also a precondition for personalisation. Personalisation is the tailoring
     of characteristics of a product or service to an individual consumer’s preferences (see also
     Glossary, section 8). The base for personalisation is personal information. It allows
     differentiation of consumers and dynamic price discrimination.
     When disclosing personal data, consumers often incur costs such as typing effort or some
     other disclosure aversion. At the same time, personalisation might increase consumer utility,
     if the consumer obtains a more tailored product. Once the product better fits the personal
     preferences of the consumer, he/she might be less inclined to switch to another firm. This
     might be the case because disclosing personal information had costs and the firm can now
     offer a better product.
     In this case, it could be that price differences must increase to induce switching of consumers
     to the rival, once the consumer obtained a personalised product. Personalisation can increase
     switching costs, if consumers who want to switch to a rival of their current service provider
     cannot simply transfer information from the old to the new provider.
     Disclosure of personal data might also induce privacy concerns and for some individuals these
     might increase with the rise in the number of service providers to which personal data are
     disclosed. These people might opt to stay at one service provider.
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  4    Literature discussion

  4.1 Microeconomic theory

  4.1.1 Behaviour-based pricing and product personalization
  In the area of personalisation and behaviour-based pricing (BBP), theoretical research can be
  separated into monopoly and duopoly models. While personalisation is the tailoring of the
  product to a customer’s preferences, behaviour-based pricing is the practice of basing the
  price upon a customer’s past purchase history. 21 We identified nine papers that use monopoly
  models and 27 papers that use duopoly models, which are relevant for our study. In this
  report, we use a duopoly as the existence of a rival competitor that allows consumers to
  choose between offers. Such choice is not the case in a monopoly setting. Choice is at the
  same time a precondition for switching behaviour. Thus, our approach excludes all monopoly
  models.
  Among duopoly models, the majority are devoted to BBP. A classic result from this literature is
  that once both firms set personalised prices, they face a ‘Prisoner’s dilemma’ due to
  intensified localised competition (Villas-Boas 1999; Fudenberg and Villas-Boas 2006; Stole
  2006). Firms can now identify their own customers (their ‘strong market’) as well as those of
  the rival (‘weak market’) and accordingly compete in prices. For several different reasons,
  behaviour-based price discrimination is not the same as product personalisation. 22 Similar to
  the Prisoner’s dilemma result above is the market outcome if both firms start to personalise
  products and lose a degree of differentiation.23 In this case both firms are worse off in the
  second period of the game compared to the situation where both only provide standard
  products.
  Zhang (2011) combines BBP24 and product personalisation in one model. This paper, however,
  does not include consumer privacy concerns arising from product personalisation. The most
  closely related work is a duopoly with product personalisation and heterogeneous consumers
  in terms of brand preferences and privacy concerns. We identified Lee et al. (2011) as such a
  work. The authors use a Hotelling model 25 of two firms, which may offer standard and
  personalised products with personalised prices. Firms face three different kinds of consumers:
  the ‘unconcerned’ who always share information, ‘pragmatic’ ones who only share if a firm
  adopts privacy protection, and fundamentalists who never share data. The game has three
  stages. In the first, the firms decide simultaneously on privacy protection, in the second they
  decide on the price of standardised products and in the third on the pricing of personalised

  21
     Firms can differentiate between new customers and existing customers, who purchased their product in the
  previous period.
  22
     For a discussion, see Zhang (2011: 171).
  23
     Differentiation occurs where one firm personalises the product and the other does not.
  24
      Firms can differentiate between new and existing customers, who purchased their product in the previous
  period.
  25
     The Hotelling model is explained in the Annex to this report.
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     products. Finally the consumers make their choice. The authors show that privacy protection,
     in the case where only one firm adopts it, works as a competition-mitigating effect. The
     privacy-friendly firm can enlarge market share by inducing pragmatists to share personal
     information. From this expansion it can earn substantial profits rather than compete with the
     rival for the other consumers.
     Innovation in Modelling. Our model differs from the above as it introduces a second period,
     where consumers are able to switch to the rival. This is different from Lee et al. (2011), where
     the consumer choice is the final stage. Moreover, unlike Lee et al. (2011) and Zhang (2011), we
     do not introduce personalised prices, but a discount for information disclosure which is the
     same for all customers. Moreover, we have switching costs for consumers who decide to have
     their information stored for future periods. In that sense our research is also related to
     literatures on customisation (Dewan et al. 2000), but these works in general do not formalise
     privacy concerns.

     4.1.2 Theoretical welfare effects of privacy regulations
     Another fruitful area of research is the theoretical welfare effects of privacy regulations. For
     example, such regulations could prevent firms from sharing information with third parties. No
     general conclusions on consumer welfare can be derived from this literature, because the
     welfare effects of the regulations depend on the peculiarities of the model. At the most
     general level, the literature can be differentiated into models that analyse endogenous
     privacy policies; that is, a firm’s incentive to adopt a privacy policy (Calzolari and Pavan 2006;
     Akçura and Srinivasan 2005), a consumer’s choice to adopt anonymisation technologies or
     otherwise avert identification by the firm (Acquisti and Varian 2005; Conitzer, Taylor and
     Wagman 2010) and the effects of exogenous privacy regimes. In the latter, an outside
     regulator imposes rules on the market. In order to limit the discussion, we only consider one
     model (Hermalin and Katz 2006). The interested reader is referred to models such as Dodds
     (2008), Kahn, McAndrews and Roberds (2000) and Taylor (2004).
     Consider a situation where there are laws on data protection. These laws function as a
     commitment device: consumers can sue a firm in case of breaches of data protection. Further,
     companies cannot influence the legal framework and change the rules in the short term.
     Therefore, laws are not considered as endogenous, but as an exogenously given framework
     for economic action. Since the legal framework influences the incentives of players, it also has
     an effect on economic welfare and rent distribution among market participants. In Hermalin
     and Katz (2006), n firms post a menu of offers to a finite number of households. Households
     are of two types, either good or bad.26 There is no intrinsic valuation of privacy in this model
     on the part of the households. Two cases are outlined: a situation where firms move first and
     a situation where households move first.



     26
       ‘Bad’ simply denotes a least-favoured indicator variable associated with the households. This is experimentally
     implemented in Giannetti and Jentzsch (2011).
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  Firms move first – There are two scenarios: the Recognition Regime and the Privacy Regime.
  (i) Recognition Regime: Here, the firms make an offer and can compel households to reveal an
  indicator variable. This variable is a signal of the households’ private information; (ii) Privacy
  Regime: In this regime firms can be forced not to use the indicator variable. However, they
  can write incentive-compatible contracts. These assure truthful revelation of private
  information. This leads all good types to reveal themselves, leading to the automatic
  revelation of bad types at the same time.
  Households move first – In this situation, households can decide whether to reveal
  information or not. The outcome is identical to the Privacy Regime above. Good types will
  reveal their information (assumed bad types cannot mimic them). The firm then builds a
  certain belief about those households that did not disclose information and makes two offers
  to both groups. The authors establish conditions under which the location of property rights
  to information (firm or household) does not matter, as incentives to disclose by good types
  will automatically also reveal bad types.

  4.2 Experimental economics
  The literature devoted to empirical evidence on privacy is very diverse. In order to limit the
  review for this report, we apply a rigid approach. Firstly, we review only papers with an
  economic experimental design. To be classified as such, the experiment must entail a real
  economic transaction inducing a real monetary or reputational impact for the participant. The
  experiment might be a lab or a field experiment. Therefore, we exclude any study that elicits
  privacy attitudes or data disclosure with no further action derived from information
  collection, except for the privacy research conducted with the information collected by the
  researcher. Experiments in which experimenters deceive participants are excluded as well.
  Most of these experiments cannot be considered incentive-compatible. From 31 papers
  reviewed in the area of privacy, 12 were classified as surveys and 19 as experiments. Among
  the latter there are five identification experiments and four papers devoted to privacy (Adar
  et al. 2005; Beresford et al. 2011; Tsai et al. 2009; Giannetti and Jentzsch 2011). We refer
  briefly to the identification experiments and then discuss the other works.

  4.2.1 Experiments with personal identification
  Standard experiments are conducted in anonymity. The reason is the fear on the part of the
  experimenters that interpersonal effects arising through identification might contaminate
  economic incentives. For example, through identification an implicit multi-stage game could
  arise, individuals leave the laboratory and are still identified by others outside of it. 27
  However, identification has proven to be a powerful variable that has – once introduced
  properly in a controlled way – a powerful impact on economic actions. At times this powerful
  impact reaches the extent of reversing theoretically predicted results (Bohnet and Frey 1997
  1999; Charness and Gneezy 2008; Jenni and Loewenstein 1997). For example, identification in


  27
       In our experiment, individuals are not identified to other participants, but to the firm they are trading with.
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     Dictator games28 leads to greater contribution to the partner compared to anonymous
     situations. In fact the variation in the amount of money the Dictator leaves on the table for
     the recipient is a function of the degree of anonymity (Hoffman et al. 1996). Another example
     of the powerful impact of personal identification is public good games. In these games,
     individuals can decide upon a contribution to a public good. Identification leads to greater
     contribution in these games, because the actions of participants change significantly with less
     anonymity (Levitt and List 2007). Personal identification, therefore, has an impact on an
     individual’s economic actions. Much more research is needed in this area in future. In our
     experiment, we introduce privacy considerations. Our participants need to identify
     themselves with a ‘portfolio of personal information’ (their real name, date of birth, etc.).
     Unlike in the above literature, our participants are not identified to other participants in the
     lab, but identify themselves to the firm at which they purchase, once they choose to have
     their information stored on the purchase form.

     4.2.2 Economic experiments on privacy
     Experimental designs that implement real purchase transactions are scarce. To the knowledge
     of the authors, there are only Beresford et al. (2010), Tsai et al. (2010), Gideon et al. (2006)
     and Gianetti and Jentzsch (2011). Other works are either survey-based experiments or
     incentivised pure information transactions (see for example Huberman et al. 2005). Beresford
     et al. (2010) use a hybrid field experiment29 to analyse the willingness to pay for privacy,
     where participants were given the choice of buying a DVD from one of two competing online
     stores. While these stores were identical, one required more sensitive personal data than the
     other. In the test treatment, when the DVDs were one Euro cheaper at the privacy-invasive
     firm, virtually all buyers chose the cheaper store. In the control treatment with identical
     prices, people did not systematically prefer the more privacy-friendly firm, but chose both
     firms equally often. Not studied in this experiment was the effect of privacy policies and data
     usage. The authors conclude from their research that individuals are not willing to pay one
     Euro for their privacy.
     In the experimental design of Giannetti and Jentzsch (2011), participants are of two types in
     terms of results they achieve in a test; they are either above or below a median, mimicking
     ‘good’ and ‘bad’ types. They can purchase a voucher and reduce the price of it by disclosing
     their test result. During each period there is a specific probability that information gathered
     by the firm to which data was disclosed will be compromised. Such an incident can lead to the
     disclosure of the data to other participants. The purpose of this experiment is to learn about
     the participants’ decision-making, when there is a probability that information is
     compromised.



     28
        In a Dictator game, the Dictator has the task of dividing a specific amount of money between him- or herself
     and a recipient.
     29
         We call a hybrid those experiments that are (a) laboratory combined with a live website; or (b) field
     experiments combined with an invitation to students registered in a laboratory pool.
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  In Tsai et al. (2010), participants in the laboratory experiment are offered two different items
  by several vendors that differ in their protection of personal data. The offered products were
  a pack of batteries or a sex toy. 30 The experiment had three components: an ‘online’ survey
  about privacy concerns, the shopping simulation, and an exit survey. The authors state that
  the informational and monetary payoffs were real. They set the experiment up in such a way
  that individuals could find their valuation of privacy by making comparisons of the price
  charged by protective merchants vis-à-vis non-protective ones. This is a one-shot situation
  (one purchase) compared to our two-purchase situation. The stimulus varied included a
  simple link to a privacy policy as currently encountered on the web; and a way of making it
  more salient by having the search engine presenting privacy icons. Participants had to use
  their credit card to make the purchase from a real merchant online. The authors find that
  when privacy policy information is displayed in a more salient way, participants take the
  privacy policy into account and tend to purchase from online retailers that score higher on the
  privacy protection index. In this case, they are even inclined to pay a premium for websites
  that protect their privacy better. For example, for the sex toy purchases, ‘participants in the
  privacy information condition made significantly more purchases from the high privacy
  website (33.3%) than participants in the no privacy indicator condition’ (Tsai et al. 2010: 26).
  The researchers conclude that consumers are willing to pay for privacy once presented with
  easier-to-digest information.
  Gideon et al. (2006) presented laboratory participants with an engine for searching or
  selecting websites to purchase two products (a surge protector and a box of condoms). The
  participants were asked to first purchase the less sensitive product and then the more
  sensitive product using the ‘Privacy Finder,’ which displays privacy policies in a more salient
  way. The authors found that the ‘Privacy Finder’ had a significant impact on purchases made
  with respect to the privacy-sensitive purchase. This is similar to Tsai et al. (2010). It is
  dissimilar to our experiment, however, in that we hold salience constant by not varying
  privacy policies or displaying privacy seals. Moreover, we introduce repeated purchases and
  with it personalisation and switching possibilities.




  30
       The product is intended to evoke privacy concerns.
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     5    The model

     5.1 Assumptions
     Firms.31 The supply side of the market consists of two firms j { A, B} located at opposing
     ends of the Hotelling 32 line of length 1. 33 Firm A is assumed to be placed at location 0 and firm
     B at location 1. The firms sell a homogeneous good in each period t {1, 2} with production
     cost normalised to 0. 34 Moreover, the firms require consumers to pay a price p j , t and to
     provide either a small or large set of personal data d j {d , d } .35 In each period, each firm
     offers the good at a price/data requirement combination ( p j , t , d j ) , which we refer to as a
     ‘bundle’. The firms receive some exogenous benefit from collecting data. We assume that firm
     j receives benefit q>0 each time a consumer buys at firm j if d j  d .36

     Consumers. Consumers are differentiated in their location. Each consumer has an address
      i  [0,1] , which means that there are infinitely many consumers with their mass normalised to
     1. Additionally, consumers have an exogenously given concern  i for disclosing their personal
     information. This privacy concern (or interest in data protection) may either be high or low
     and is denoted by  i { , } with   Pr(i   ) .37 In each period a consumer chooses a firm
     to buy from. Consumers have a homogeneous valuation for the good, which is denoted by v
     and assumed to be sufficiently large to guarantee participation. Consumers incur a
     transportation cost for buying the good, which is equal to the unit transportation cost r times
     the distance between their own and the firm’s location. Additionally, consumers face costs for
     disclosing personal data, which is denoted by c( i , d j ) with c( , d j )  c( , d j ) and
      c( i , d )  c( i , d ) . Highly concerned consumers have higher cost for any data requirement
     and higher data requirements imply higher cost for any type of consumer. Furthermore, we
     assume that c( , d )  c( , d )  c( , d )  c( , d ) , i.e. that the difference between costs from a
     low and high data requirement is higher for highly concerned consumers than for others.

     31
        We use ‘firms’ to refer to service providers.
     32
         This model is named after its inventor Harold Hotelling (1895–1973). It is used to analyse competition with
     differentiated products.
     33
         Setting the degree of differentiation to 1 can be done without loss of generality and just gives some fixed
     degree of differentiation.
     34
        In the one-period version of the model the subscript t is dropped from the notation.
     35
        The assumption of high/low requirements is a simplification to keep the model aligned with the experiment.
     Also note that this choice is made for the entire game. This is due to the assumption that the data requirement is
     a technological specification of the firm’s services, like a form, which cannot be changed between periods.
     36
        One might think of q as being an exogenous price, which a firm receives for selling its consumers’ profiles to a
     third party. It might also represent some other benefit, for instance in-house use for market research.
     37
        This is a simplifying assumption as the true type-space may be much richer. However, it increases tractability of
     the model. As in the experiment, firms set one price for all consumers; therefore they would not be able to
     discriminate further.
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  In the two-period model we introduce the possibility of product personalisation: Consumers
  may choose to get an increased value from the product, if they buy from the same firm in
  both periods. Personalisation can be a pre-filled form or some other modification of the
  product based upon personal data the consumer provided. However, in order to receive this
  benefit consumers also incur some cost, which is thought of as cost from an increased data
  requirement in order to carry out the personalisation. Consumers decide at the end of the
  first period whether they want personalisation. This is implemented in the experiment as the
  decision to have information stored for a pre-filled form. The possibility to personalise the
  product not only increases the benefit to consumers, but also induces the possibility of
  consumer lock-in.38 Consumers only receive the benefit if they stay with the same firm
  throughout the entire game. In terms of utility this translates into consumers being able to
  gain some exogenously given benefit b, which is homogeneous across consumers. The
  consumers’ decision whether to have the product personalised is denoted by  {0,1} and
  comes at the cost of c(i ,  ) with the same assumptions as on the cost function as above.39
  This means that in addition to disclosure consumers must – for personalisation to work –
  allow storage of their data, which is associated with higher costs for highly concerned
  customers.

  5.2 Timing in the model
  One-period model: The timing of the game is such that in the first period, firm A starts by
  choosing a data requirement and a price. Afterwards firm B observes these choices and makes
  its choices on data requirement and price. This sequence of decisions can be justified by the
  observation that a large retailer (e.g. Amazon) moves first, while other smaller retailers are
  able to observe prices and data policy of the large firm and react accordingly. Then the firms
  offer the chosen bundles to the consumers, who make their choices. At the end of the period
  all choices are observed and utilities and profits are realised.
  Two-period model: In this model the first period is played as in the one-period model. At the
  end of the first period, however, consumers decide on personalisation. Then the second
  period starts. The data requirement choices are the same as in the previous period. This can
  be thought of as choice of a specific technology to which the firm is tied for the entire game. 40
  Again, firms choose prices in a sequential way and reveal their bundles. Consumers make their
  choices after observing these bundles. At the end of the second period respective utilities and
  profits are realised.41

  38
       For example a pre-filled form allows consumers to save on costs and time once they return to the same firm.
  39
       Without loss of generality we make the simplifying assumption that c(i , 0)  0,  . This means consumers
  do not face any costs, if they choose not to have their product personalised.
  40
     Take for instance an online retailer, who decides upon a certain online form, which has to be completed by all
  consumers in order to carry out a transaction. This form is considered to be constant across periods.
  41
     Note that we do not assume a discount factor. This is done in order to avoid an additional variable, which may
  drive behaviour in the model. One could argue that in online market environments periods are sufficiently close to
  each other.
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     5.2.1 One-period model
     In the one-period model, firms maximise the profit function:
                                    arg max  j ()  n j ( p j   (d j )q)
                                              pj ,d j

     where a firm’s market share is denoted by n j and  (d j )  {0,1} denotes the firm’s decision
     whether to have a high or low data requirement. Thus,  (d ) 1 and  (d )  0 . We will write
      j for  (d j ) .
     Consumers maximise their utility by deciding which firm to buy from:
                               arg max ui ()  v  p j  r j  i  c(i , d j )
                                          j


     To analyse the firms’ pricing and data requirements decisions, we start with the case where
     consumers do not incur any transportation cost. This allows us to focus on the fact that
     different data requirements serve as differentiation devices, which softens price competition
     and thus increases the firms’ profits. Furthermore, zero transportation costs mimic the online
     environment in which the experiment takes place, where differences in location or exogenous
     brand preferences are absent. On the experimental website, the firms’ offers for tickets are
     placed right next to each other. This is comparable to price comparison machines on the
     Internet, where offers are put right next to each other. The impact of positive transportation
     cost is also analysed below.

     5.2.1.1 Special version with transportation costs equal to zero
     With zero transportation costs firms face full price competition as differentiation in terms of
     location becomes irrelevant to consumers. The only differentiation which is still available to
     firms is the choice of different data requirements. Consumer choices are determined by the
     difference in prices and costs the firms impose on consumers with their data requirements.
     Since costs are different for the two groups of consumers the market may be segmented
     along the privacy concern of consumers. This holds in asymmetric equilibria where firms
     differentiate in terms of their data requirement and equilibrium prices are such that only
     highly concerned consumers choose the firm with the low data requirement. We can in fact
     observe such a situation in the laboratory experiment.
     While asymmetric equilibria lead to positive profits, they only exist if the firms’ benefit q from
     collecting data is not extreme; that is, neither very high nor very low. For extreme values of q
     both firms choose either high data requirements (if q is very high) or low data requirements
     (if q is very low) and earn zero profits. The logic behind these results is that, because firm B is
     the second mover, it might always choose to undercut firm A in prices and also decide to take
     the same or a different data requirement. Firm A anticipating firm B’s behaviour tries to set its
     own price and data requirement such that firm B acts in a way which leaves firm A with
     positive profits. However, such a strategy is not available to firm A if q is either very high or
     very low.
     Case
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          Case 1: Let us start with the assumption that q  c( ) .

                                                              
          With q  max c( ), 1 c( )  (1  )c( ) we have a symmetric equilibrium with
          d *j  d , j and p *A  p B*  q . Firms subsidise consumers and make zero profits. 42 This
          equilibrium is efficient since q  c( ) implies that the gains from high data requirements are
     
          higher than consumers’ cost. Efficiency thus requires that both firms choose d .

                                 
          With c( )  q  1 c( )  (1  )c( )      firms play a market segmenting asymmetric
          equilibrium with d A*  d and d B*  d . In this equilibrium consumers with  i   buy from firm
        A while others buy from firm B. For prices it holds that p B*  p *A . Note, however, that this
      equilibrium is inefficient as efficiency still requires that all consumers provide a large amount
        of personal data.
          Case 2: Now, turn to the case that q  ( c( ), c( )) .

          In this case we get two asymmetric equilibria with the firm, which chooses d *j  d attracting
          all consumers with  i   . These equilibria are efficient as q only outweighs the increased
          cost for one group of consumers and firms make positive profits.
          Case 3: The final case left is that q  c( ) .

                                                   
          If in addition q  11 c( )  c( ) holds, we again get an inefficient market segmentation
          in an asymmetric equilibrium with d A*  d and d B*  d . Prices are now such that p *A  p B* and
          profits are positive.
          If q                                     
               min c( ), 11 c( )  c( ) , we get an efficient equilibrium with d *j  d , j and
           p  p  0 . Firms make profits equal to zero.
               *
               A
                   *
                   B

          Summarising the cases we get asymmetric equilibria with positive profits for intermediate

          values of q, which are efficient only if q  ( c( ), c( )) . For very high (low) values of q we
          get efficient symmetric equilibria with both firms choosing the high (low) data requirement. In
          the laboratory and field we test whether there is a significant share of consumers with a high
          privacy concern that choose a privacy-friendly firm, if both firms are differentiated from each
          other.




          42
            Subsidisation occurs when firms provide consumers with a platform where they can store information and earn
          money with it; see also Lohr, S. (2010), ‘You Want My Personal Data? Reward Me for It’, New York Times, 17 July
          2010, https://www.nytimes.com/2010/07/18/business/18unboxed.html
Case
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     5.2.1.2 General version with positive transportation costs
     We now solve a general version of the one-period model with positive transportation cost.
     The firms’ pricing strategies now change drastically, because they are ex-ante differentiated.
     We solve the game by backward induction, starting with consumers’ choices for given sets of
     data requirements and prices.
     Solving for the critical consumer (denoted with superscript c), who is indifferent between the
     two firms A and B, depending on the type yields:
                                                 1 p A  p B  c( i c , d A )  c( i c , d B )
                                i c ( i c )      
                                                 2                   2r

     Market shares can now be denoted by:
                                       n j  L( j )  ( i c ( )  (1   )i c ( ))

     with location L( A)  0 and L( B)  1.
     Then solving for firm B’s reaction function in prices yields:
                       1
                  pB  (r  pA  (c( ,dA )  c( ,dB ))  (1  )(c( ,dA )  c( ,dB ))  q B )
                       2
     The pricing function indicates the following:
            The higher the cost firm B imposes on consumers compared to the cost firm A imposes
       
             on them, the lower will be firm B’s price.
            Firm B’s optimal prices increase, if the unit transportation cost r rises, as it becomes
             more costly to choose the firm which is located further away from one’s own location.
            The decision to have a high data requirement and the pricing decisions are strategic
             substitutes. Thus, if firm B requires d , p B decreases.
     Comparing profits under the two different data requirements leads to the following decision:
                                             d , if c( )  (1   )c( )  q
                                      d B  
                                                       d , otherwise

     Note that c( i )  c( i , d )  c( i , d ) and thus firm B’s data requirement decision is
     independent of A’s data requirement.
     In the next step, solving for A’s pricing function in general yields:
                     1
                pA  (3r  (c( ,dA )  c( ,dB ))  (1  )(c( ,dA )  c( ,dB ))  q A  q B )
                     2
     Under c( )  (1   )c( )  q comparing A’s profits for the different data requirements
     leads to the following equilibrium:
     
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                                                                     3r                  5r
                                            (dA  d, pA              ),(dB  d, pB  )
                                                                     2                   4
  If c( )  (1   )c( )  q , the same comparison of profits leads to the equilibrium:
                                          3r  2q             5r  4q
                          (dA  d, pA  2 ),(dB  d, pB            4
                                                                          )

  In both equilibria we obtain market shares of:
                                                3        5
                                          n A  ,n B 
                                              8        8
  Note that both equilibria are symmetric and efficient in terms of comparing the benefits from
  high data requirements and the average cost for providing personal data. Symmetry comes
                                 data choice is optimal for one of the firms it also has to be
  from the fact that once a certain
  optimal for the other firm, as these choices balance the firms’ benefits from high data
  requirements and the negative impact on their demand.

  5.2.2 Two-period model
  In this model consumers not only make a choice on the firm, but also whether to have
  personalisation or not. This leads to the following maximisation problem for the consumers:
                                                   2
                     arg max ui ()   (v  p j , t  r j  i  c(i , d j ))  c(i ,  )  b
                         j1 , j 2 , 
                                                 t 1

  with  1 if the consumer opts for personalisation and   0 otherwise as well as   1 if
  j1  j 2 , and   0 if j1  j 2 , i.e. the benefit from personalisation b can only be received if
  the same firm is chosen in both periods. In the laboratory experiment, we call these buyers
  ‘loyals’.
  The firms’ profit function is the sum of the firms’ profits in both periods with consumers
  buying at price p j , t plus the exogenous benefit q if d j  d for each consumer. Thus firms
  maximise:
                                        arg max  j ()   n j , t  p j , t   (d j )q 
                                                                         2

                                            p j ,1 , p j , 2 , d j
                                                                        t 1


  Again, it holds that  (d j )  {0,1} with  (d ) 1 and  (d )  0 and we will write  j for  (d j ) .

  The consumers’ decisions to have their products personalised are influenced by a trade-off
  between the costs and benefits of personalisation. A consumer only chooses a personalised
  product if c( i ,1)  b . But as consumers can only realise the benefit under the condition that
   j1  j 2 rational expectations may lead them to strategically avoid personalisation in order to
  prevent being locked in in the second period.43 This can be the case if, for instance, the price

  43
    We note that a more realistic assumption might be that consumers are not aware that personalisation can lead
  to lock-in. However, in the laboratory, most participants behaved rationally. We observed few switchers that
  stored their data, but still switched.
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     differences are such that the firm charging a lower price in the first period charges a higher
     price in the second period. If the net difference is higher than the net benefit for the
     consumer, this consumer may choose not to have the product personalised although
     c( i ,1)  b . Due to this reason, there can be no equilibria in which consumers personalise and
     switch firms in the model.
     Turning to the different cases and defining b( )  b  c( ,1) , we have to consider the
     following three scenarios (note that c( ,1)  c( ,1) also implies b( )  b( ) ):
            a) No consumer chooses to get a personalised product: 0  b( )  b( )
            b) Only those with a low concern choose to personalise: b( )  0  b( ) and do not
               switch
            c) All consumers have their product personalised b( )  b( )  0 and do not switch.

     5.2.2.1 Special case with transportation costs equal to zero
     Again, we start by considering the case with transportation cost of zero, which mimics the
     online environment of the experiment. Comparing the one- and two-period model and
     considering the impact of personalisation on the firms’ decisions with respect to their data
     requirements, we have two counteracting effects. On the one hand firms have a higher
     incentive to differentiate their products by choosing different data requirements, which
     increases the parameter range, where inefficient equilibria exist. Only by differentiating are
     firms able to make positive profits in both periods.
     On the other hand, personalisation abates this effect as it allows firms to make positive profits
     even if they choose the same data requirements. These profits require transferring surplus
     from consumers to the firm, but as the possibility of personalisation increases welfare,
     consumers may still be better off in equilibrium. To analyse these two effects we first consider
     the case in which no consumer opts for personalisation. The impact of personalisation is
     analysed in the next subsection, where we assume that only consumers with  have an
     incentive to opt for personalisation. In the following, we restrict the analysis to the case with
     no personalisation as well as the case with a share of consumers personalising.
     5.2.2.1.1 No personalisation: 0  b( )  b( )
     The range of inefficient market segmentations, where consumers with a low (high) privacy
     concern choose the firm with the high (low) data requirement, increases in this scenario. 44
     This is due to the fact that differentiating from the competitor becomes more attractive, as
     there is two times the surplus to be extracted from consumers, compared with the one-period
     model. Still, symmetric equilibria, which are efficient, exist if q is sufficiently high or low. In
     the first case it becomes too attractive to choose the high data requirement, while in the
     second case it becomes too prohibitive to impose high costs on consumers, so that firms


     44
          A detailed formal analysis is provided in the appendix of this report.
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  rather refuse to differentiate. For intermediate values of q the asymmetric equilibria are
  efficient.
  5.2.2.1.2 Personalisation with b( )  0  b( )
  We solve the model for different kinds of parameterisations. Starting with an intermediate
  value of   1/ 2 , we derive several different kinds of equilibria. Similar to the case with
   0  b( )  b( ) these equilibria are symmetric for either high or low values of q . For
  intermediate values of q we get asymmetric equilibria. However, due to the lock-in effect
  even symmetric equilibria allow firms to make positive profits, as they are able to extract
  some surplus from their consumers, without losing too many of them to the competitor.
  For other parameterisations, i.e. for c( )  23 , c( )  13 and   14 as well as   34 , we
  obtain the result that only asymmetric equilibria exist for a wide range of parameters q and b.
  In all cases except for one, Firm A chooses to be the firm with the high data requirement. Only
  in one case, where q is comparably low, does Firm A choose to be the firm with the low data
  requirement.45 Firms’ choices are simulated in the laboratory and field by implementing
  different situations, i.e. situations where firms are similar in their offers and situations where
  they differ on the data requirements. The experiment would otherwise have become too
  complicated, also from a data protection point of view.46
  Comparing the firms’ profits shows that Firm B may lose its second mover advantage, which is
  usually found in models where firms compete on prices and decide sequentially. This is due to
  the fact that in an equilibrium, where consumers are segmented, Firm A (being the first
  mover) is able to secure all consumers with a low concern. These consumers react more
  strongly to price increases, but as they are at the same time choosing to get their product
  personalised, they are also prone to lock-in. Therefore, firm A is able to extract more surplus
  from its consumers in the second period and thereby can gain higher overall profits under
  most parameterisations.

  5.2.2.2 General version with positive transportation costs
  Under the scenario that no consumer chooses to have the product personalised, we get a
  simple repetition of the pricing game. Thus, the equilibria are as in the one-period model with
   p j ,1  p j , 2 , j . In all cases where at least some of the consumers have an incentive to choose
  personalisation the solution of the second period requires solving the whole game. The reason
  is that consumers who choose to personalise base their decision of firm choice in the first
  period on the expected prices in the second period: with rational expectations no consumer
  who anticipates that it is optimal for him to buy from different firms would opt for

  45
     However, one may also be able to replicate the result of symmetric equilibria in case of extreme values of q, if
  less parameters were fixed.
  46
     For example, we would have to introduce strategic players (participants) that act as firms. However, in an
  experiment with true personal data disclosed, we create additional data protection problems, if other participants
  (and not the experimenter) collect this information.
Case
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     personalisation. As along as consumers anticipate rather high price differences in the second
     period, avoidance of personalisation may be the optimal behaviour. 47 Moreover, as the
     fraction of consumers who opted for personalisation in the first period also determines the
     equilibrium prices in the second period, second-period prices and first-period decisions and
     demands are interdependent. The implied maximisation problem of the firms becomes rather
     complex; therefore we focus on the case with b( )  0  b( ) , as it features consumers
     who choose to personalise as well as those who refuse personalisation. Using the result from
     the one-period model with positive transportation costs, we also restrict the analysis to
     symmetric equilibria. As r  0 already provides differentiation between firms, the
     differentiation tool of choosing different data requirements becomes obsolete. Thus, if it is
     beneficial for one of the firms to choose d j  d it is also beneficial for the other. We still have
     two different scenarios as equilibrium candidates. The first is one where not all consumers
     with  opt for personalisation, but instead switch the firm they buy from. The second
     scenario is such that all consumers with  opt for personalisation and do not switch firms.
     Concerning the first candidate and taking into account equilibria with both interior and corner
     solutions for the firms’ pricing decisions, we can show that no equilibrium exists where some
     of the consumers with  switch. With interior solutions the difference between firms’ optimal
     prices is too low in order to compensate consumers for losing their personalisation benefit,
     which means that none of them would want to switch (the respective equilibrium does not
     exist). Considering corner solutions, where firms set the maximum price within certain
     intervals, all consumers would either choose Firm A or Firm B in the second period. However,
     the maximum prices, which allow for such a scenario, are also not part of an equilibrium, as it
     gives the firm which would be without consumers in the second period high incentives to
     marginally reduce its price in order to attract at least some consumers who did not
     personalise.
     Turning to the second scenario, where all personalising consumers are loyal and focusing on
     interior equilibria in which both firms serve both types of consumers, the analysis shows that
     the firms’ equilibrium profits do not depend on q or on b . These results resemble the results
     obtained in the one-period model. They are based upon the fact that the firms’ pricing
     behaviour is driven by the marginal profits from attracting additional consumers. Moreover,
     analysing the firms’ profits with respect to  , i.e. the fraction of consumers who do not
     personalise, shows that the firms’ profits are the higher the lower  and thus the higher the
     number of personalising consumers. Intuitively, the more consumers that personalise the
     more consumers are locked in in the second period and the higher the firms’ equilibrium
     prices and profits. A similar but more complex reasoning holds for the firms’ pricing strategies
     in the first period. Although firms try to attract a high number of personalising consumers by
     charging low prices, firms also take into account that price competition in the second period

     47
       In order to focus on the differences in data requirements and prices in the experiment, we avoided prices
     changes from one period to the next. The participants were informed that prices remained constant. Note that in
     the laboratory the two-period model without transportation costs was implemented.
Case
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  tends to be less intense if the firms’ market shares in the first period are rather symmetric.
  This holds especially for Firm B , which can anticipate that the price Firm A will choose in
  the second period is the higher the more personalising consumers Firm A has attracted in the
  first period. The last effect dominates the first and the firms’ first-period equilibrium prices
  will be the higher the more consumers personalise. Summarising these results indicates that
  while the consumers’ benefits from personalisation do not affect the firms’ pricing strategies
  directly, personalisation induces different strategic effects, which soften price competition
  and lead to higher firms’ profits.
  The Annex contains the technical background of this model.
Case
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       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
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     6    The privacy experiments
     We now discuss the design, experimental protocol and results from the different types of
     experiments we conducted: the laboratory experiment, hybrid and field experiment. These
     are complementary to each other. The laboratory is a controlled environment, where the
     participants know that they are part of an experiment. Participants are students at a
     university in Berlin. The hybrid is a combination of laboratory and field, because we invited
     students from the experimental pool to a website on the Internet, where they could do a
     purchase transaction online without coming to the laboratory. Finally, in the field the
     participants do not know that they are part of an experiment and they must not be students,
     but come from the Internet-using population as a whole.

     6.1 Translation of the model into the experiment
     We implemented a simplified two-period version of the model without transportation costs.
     The implementation is described in detail below. In essence we tested the following aspects:
     whether there are different types of consumers with different privacy concerns, as well as
     their firm choice and switching behaviour. The following situations were implemented:
         - Two-period version of the model with zero transportation costs and with both firms
              choosing the same data requirements and prices. This version contains the
              personalisation option for consumers as well as constant prices; 48
         - Two-period version with one firm choosing a low data requirement and the other a
              high data requirement either with or without price differences. This version also
              contains the personalisation option and constant prices.
     There were two real private companies (Event Sales and Cine Sales) offering the tickets over
     the Internet. Their offers were placed right next to each other in order to obtain a scenario
     with no transportation costs. Note that strategic firm behaviour as in the model was not
     implemented in the laboratory, because the firms were ‘computerised’. Moreover,
     participants were informed that prices do not change across periods. This restriction was
     implemented to preclude participants disclosing their personal data to other (human)
     participants, which could create severe data protection problems outside of the laboratory.

     6.2 Laboratory experiment
     Laboratory experiments are widely used in economics for the analysis of economic incentives
     and decisions of individuals by involving them in real tasks and actions. Moreover, they can be
     used to test theories or assumptions of theories. The actions of individuals do have real
     monetary and information implications for the individuals, which makes this research very
     different from survey-based research; see section 3 of this report.


     48
       To enable a focus on and a testing of the reaction of consumers with respect to the difference in the data
     requirements only, we held the prices constant across periods. This was necessary in order to reduce the
     variation in stimuli.
Case
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  6.2.1 Place, time period and participants
  We conducted the experiment at the Technical University of Berlin in Berlin, Germany,
  between June and November 2011. 49 Altogether 443 students of different disciplines
  participated, which makes this experiment the largest laboratory experiment on the
  economics of privacy to date. The students who participated are registered in a student pool
  and they were invited to the lab sessions with a neutral email invitation. While they knew that
  they were participating in an experiment, they were aware that they were carrying out
  transactions on a live website on the Internet. They had no details about the ultimate purpose
  of the experiment and did not know that it was about personal data disclosure in particular.

  6.2.2 Design of the laboratory experiment
  The invitation was framed in a neutral way by referring to an economic experiment only. This
  way, we avoided pre-selection effects that might arise if the experiment only attracted
  individuals who were interested in privacy matters.50 Participation was voluntary. After
  admission to the laboratory, the participants were given the instructions for the experiment.
  These instructions explained the rules of the experiment in simple terms. After signing the
  consent form to participate, each participant started the experiment by doing a brief
  comprehension test that allowed us to ensure that instructions were well understood by the
  students. Participants used a website in the laboratory that is similar to the field website. The
  website is an Internet portal of providers of cinema tickets. On this website, they could
  choose a cinema and showing and then purchase the ticket from one of the two firms
  providing the tickets (Figure 2 shows a screenshot from the field experiment, Table 1 shows
  the different treatments). The difference between the firms is described below. After the
  finalisation of the purchase, the participants could repeat the transaction if they wanted to
  buy a second ticket. Only the repetition ensures that we can observe switching behaviour and
  it ensures that we implement the two-period model.
  Note: In the laboratory, hybrid and field, all components of the composite transaction were
  real, meaning the collection of personal data, the cinema tickets sold and the payment with
  the participants’ own money. Participants were not deceived, either about the transaction, the
  firms, the data collection, or data usage.
  Participants could compare the offers of the two firms and choose the offer they liked best or
  not purchase at all, because purchase was voluntary. We varied the differences between the
  two firms in order to extract the effects of one firm requesting more information than the
  other or the effect of different data usages. Regardless of the firm chosen, each purchase was
  subsidised by the experimenters by €2, resulting in residual prices as low as €3 per cinema
  ticket even for peak cinema times.


  49
     Two pilots were conducted, one in June and one in July. The main sessions then took place in August, September
  and November.
  50
     This interest or motivation could be associated with experimental outcomes and therefore bias the results
  obtained in this study.
Case
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     Figure 2 Order summary and choice of firms
     At the end of the experiment the participants filled out an exit questionnaire, paid the
     subsidised ticket price, obtained the ticket/s and left the laboratory. A show-up fee was paid
     out and set off against any outstanding payments for the purchases made. Individuals who did
     not purchase anything obtained only the show-up fee, as is common in experimental
     research. Note that the participants had to pay the outstanding balance with their own
     money. This way we avoided budget effects and ‘gambling’ arising from money given to the
     participants upfront, before the experiment took place.
     In order to extract the effect that differences in data requirements between firms make on
     purchase behaviour, we varied the stimulus. The situations with a varied stimulus were then
     compared to a basic control treatment in which the firms are similar. Next, the difference
     between the offers of the two firms were either: (a) differences in number of data items
     required from the participant; (b) differences in data items required and differences in prices;
     (c) differences in data usage, while both firms have the same prices; and (d) differences in
     data usage and prices; see Table 1.
     We conducted two pilot sessions with 48 participants aimed at testing the design. In the
     treatments with price difference and different number of items, the privacy-invasive firm
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3205
                                          PageID.1068 Filed
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  charged a ticket price €0.50 below its competitor.51 The pilots showed that a €0.50 price
  difference leads to a noticeable variation in behaviour of the participants; they do not all
  choose the same firm, but vary in their choice.

  Table 1 Variation in treatments
            Treatment                    Settings (Variations)
            1                            Difference in data usage
                                         Difference in prices
                                         Privacy policy exists at both firms
            2                            Difference in data usage
                                         Same prices
                                         Privacy policy exists at both firms
            3                            Difference in number of data items
                                         Difference in prices
                                         Privacy policy exists at both firms
            4                            Difference in number of data items
                                         Same prices
                                         Privacy policy exists at both firms
            5                            Same information items
                                         Same prices
                                         Privacy policy exists at both firms

  In the basic control treatment (5 in Table 1), the firms are identical with regard to the prices
  and/or their data requirements. This is our benchmark scenario. In the other treatments,
  either the prices or the data requirements are varied. Note that prices remain constant from
  one period to the next in all treatments.
  Difference in data requirements: Both firms in the experiment always asked for a minimum
  set of personal data such as full name, email address and date of birth. Depending on the
  treatment, the stimulus in data collection was either: (a) the collection of additional data
  items (such as mobile phone number) by the privacy-unfriendly firm; or (b) the usage of the
  email address for advertising at the privacy-unfriendly firm.
  In order to create incentive compatibility, we implemented a ‘lie detection device’ that
  ensured truthful revelation of actual personal data by participants. While this can affect
  external validity, it ensures that individuals have a real privacy concern. As explained above, if
  participants have the opportunity to misstate personal information, they can cushion
  potentially negative effects arising from its disclosure. We introduced a mechanism in which
  we verified the students’ personal data. Participants knew that once they provided wrong
  information their payoff would collapse to zero. Any incorrect personal data was detected



  51
       We chose this to be below the 1 Euro price difference in Beresford et al. (2010).
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3206
                                          PageID.1069 Filed
                                                       Filed04/06/23
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     with 100% probability, because the research assistants checked the data provided by all
     buyers in the laboratory.

     6.3 Results from the laboratory experiment
     As stated, there were 443 participants in the laboratory experiment including 24 participants
     in the second pilot, where we did identity verification. 52 Of these 443 people, 40.41% were
     women and 59.59% men. In the general population in Germany, there are 51% women and
     49% men. However, in the German population there is a higher share of men (about 80%)
     who use the Internet, compared to 70% of women. 53
     Summary statistics: The purchase statistics are given in Table 2. Across the whole sample
     (n=443), 251 individuals did not buy any tickets, 40 bought only one and 152 bought two
     tickets, which is a relatively high share of two-time buyers (57%). Among those who bought
     two times, 142 (93.42%) stayed with the firm they had chosen in the first period and only 10
     switched (6.58% of two-time buyers).54 Therefore, by far the larger share remained with the
     same company. Note that this is the sample across all treatments, some of which have
     variations in prices or data requirements, although there is no variation over the two periods
     in those.
     Furthermore, there is no significant difference in terms of privacy concern or interest in data
     protection between the buyers and non-buyers. This means that the purchase action does not
     seem to introduce a pre-selection effect in terms of attracting only individuals that have little
     to no privacy concern or little to no interest in data protection. 55
     In the analysis below, we disaggregate the different treatments, because these differences
     influence the decision of individuals in terms of which company they choose. Interestingly,
     there were 10 people who switched from one firm to another. Whereas 9 people switched
     from Firm 1 to Firm 2, one person switched from 2 to 1. Three of the 10 switchers did not
     store data and seven individuals stored data, but still switched to the other company in the
     second period to buy their tickets there. These people had to re-enter the information at the
     new company. Note that the instructions clearly explained to individuals that prices remained
     constant across periods. In the exit questionnaire, we could probe the reasons for switching.
     All switchers recognised that they had bought from different firms. Some mentioned that they
     randomised, because prices were the same; others wanted to try out the other firm.
     Therefore, there seems to be no systematic behavioural bias.


     52
        We did two pilots for the experiment: one without identity verification and one with identity verification. Only
     data of the latter was included in the laboratory dataset.
     53
        Initiative D21 e. V.; TNS Infratest (2008, 2011): (N)Onliner-Atlas.
     54
        Those that stayed with the same firm were defined by us as ‘loyals’ and those two-time buyers that did not
     were defined as switchers. If we refer to both types of buyers (loyals and switchers), we refer to two-time buyers.
     55
         We conducted the Mann-Whitney test on differences in medians as well as t-tests to analyse if there is a
     difference between the group of non-buyers and the group of buyers who bought at least one ticket in either
     period. The latter variable also included two-time buyers.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3207
                                          PageID.1070 Filed
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  Table 2 Overview statistics (whole sample, all treatments)

                                                            Bought at Firm 1 Bought at Firm 2
                                              Percentage of
   Overview Statistics                 Number     total     (privacy-friendly)  (privacy-
                                                                               unfriendly)

   Participants                                               (across periods, percentage of total)
   - Did not buy any ticket             251         56.66              -                      -
   - Bought one ticket                   40          9.03              -                      -
   - Bought two tickets                 152         34.31              -                      -
   Total                                443         100.00


   Two-time buyers
   No. of two-time buyers               152
   - of which are loyal to same firm    142         93.42       59 (41.55%)            83 (58.45%)
   * loyals who stored data                                  27 (45.76% of 59) 49 (59.04% of 83)
   - of which are switchers              10          6.58
                                                               9 persons switched from Firm 1 to 2; one
                                                                   person switched from 2 to Firm 1

   Total                                152        100.00

  6.3.1 Privacy concern and interest in data protection
  In the questionnaire, we collected answers to a number of questions related to the
  participants’ purchase experience, trust and risk perceptions as well as data protection.
  Moreover, we used the instrument developed in Smith et al. (1996) on measuring the privacy
  concern of individuals. The instrument is a battery of 15 questions, where answers are given
  on a Likert scale, ranging from ‘strong disagreement’ to ‘strong agreement’ with higher values
  denoting higher concern. We have calculated the average and median across individuals (see
  Figure 3 for the average).
  This figure shows that the there is a high frequency of individuals (over 361 out of 443
  participants) with an elevated privacy concern. Note that we posed these 15 questions in an
  exit questionnaire. When using data from the whole sample, the privacy concern (median) is
  weakly correlated with the choice of the firm in period 1 (Pearson coefficient 0.0953, p-
  value=0.0449). But the choice is not correlated with the average privacy concern.
  Apart from the 15 questions used for calculating the privacy concern, we asked one additional
  question on the interest in the practices of organisations with regard to protecting personal
  data. The answers to this question were not used in the computation of the privacy concern.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3208
                                          PageID.1071 Filed
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     The overwhelming majority of participants in the laboratory experiment revealed that they
     are either ‘interested’ or ‘very interested’ in whether a firm protects their information (about
     93%). Only about 0.7% of participants stated that they are ‘not interested at all’ if
     organizations that collect personal data also protect this information.
                                  200


                                                                                                    175
                                  150
                     Frequency




                                                                                         107
                                  100




                                                                                                          79
                                    50




                                                                                    43


                                                                             22
                                                                      11
                                                1        1      4
                                        0




                                            0       .2            .4             .6            .8              1
                                                             Privacy concern - average




     Figure 3 Privacy concern among participants

     6.3.2 Monetising privacy
     Do some people pay for privacy? Meaning, do some individuals value their privacy enough to
     pay a mark-up at the firm which collects less information? Or asked in a different way, would
     it pay for firms to differentiate according to the concern for privacy of consumers? In order to
     analyse this question, we conducted a number of statistical tests that allowed us to compare
     the different aforementioned treatments. To obtain results, we compare the average
     outcome of the treatment and control group in terms of purchases conducted at Firm 1.56 For
     example, we can compare the basic control treatment 5 with identical firms (same data
     requirements and same prices) with the treatment 4 (different number of data items and
     same prices).57 In the latter treatment, one firm requests more information than the other,
     meaning that both firms are differentiated. Since participants are randomly assigned to
     treatments we can be sure to capture a causal effect. If we compare the treatment 4 (same
     prices and different number of data items) to treatment 3 (different prices and different
     number of data items) we are able to extract the effect of a price difference in terms of shares
     of purchases at firms that differ on the number of data items they collect. In the following, all
     numbers are rounded; see Table 3 and 4.
     Comparison of treatment 4 and treatment 5: We now compare the situation in which firms
     are identical (treatment 5) to the situation where they vary on the number of items they


     56
        Switchers were encoded in the variables that measured purchases as missing values. We also ran the test with
     inclusion of switchers in these variables, but the test results do not change much.
     57
        The privacy policies were always equal at both firms to avoid introducing an additional stimulus.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3209
                                          PageID.1072 Filed
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  collect (treatment 4). We vary only one stimulus (number of data items collected) from one
  treatment to the next such that we can be sure of the effect of the stimulus. Moreover, both
  firms’ offers are located right next to each other on the website, such that the difference in
  data collection is rather obvious to the buyer. We find that the market share of Firm 1, the
  privacy-friendly firm, is significantly higher in treatment 4 compared to treatment 5.

  Table 3 Overview of buyers and their purchases at both firms: all
                          No.                  Firm 1                                        Firm 2
                         buyers               (tickets                       Firm 1         (tickets        Total no.     Firm 2
                                   Total    purchased)   Total no.          %-share       purchased)         tickets    %-share of
            Number      Zero, one   no.   Period Period tickets               of all    Period Period       over two    all tickets
            of parti-    or two   tickets   1          2 over two            tickets      1          2       periods        sold
            cipants      tickets    sold                  periods              sold                         (Firm 2)      (col. 4)
   Treat      (no.       bought                          (Firm 1)           (col. 4)                                     rounded
   ment     buyers)                                                        rounded
    (1)        (2)         (3)**    (4)**      (5)      (6)       (7)         (8)         (9)      (10)       (11)         (12)
              104       0 - 53
   1***       (51)      1-7           95        7        5         12         13%         42        41         83          87%
                        2 - 44
               68       0 - 36
   2          (32)      1-9           55       20       14         34         62%         10        11         21          38%
                        2 - 23
               80       0 - 43
   3***       (37)      1-6           68       12        9         21         31%         25        22         47          69%
                        2 - 31
               69       0 - 38
   4          (31)      1-4           58       26       22         48         83%         4          6         10          17%
                        2 - 27
                        0 - 81
   5          122       1 - 14      68        27      15          42        62%        13          13         26          38%
              (41)      2 - 27
   Total      443                   344       92      65         157      Avg. 50%     94          93        187       Avg. 50%
   *
    There is no difference between firms in treatment 5; in all other treatments Firm 2 is the privacy-unfriendly firm. ** Column
    (3) adds up to the number of buyers in column (2). The column means that in treatment 1, seven buyers bought one ticket
                                                                             ***
        and 44 bought two tickets. Column (4) is based upon these numbers. In these treatments, price differences exist.

  The difference between the treatment groups is statistically significant based upon the Mann-
  Whitney tests at the conventional .05-significance level.58 If there are no price differences and
  data requirement differences, over 60% of market share in terms of purchases is picked up by
  Firm 1. This increases to 83% if there are differences in data requirements. If we do the
  analysis only with loyals, ignoring one-time buyers, the share of tickets sold to loyals of Firm 1
  is higher in treatment 4 compared to treatment 5. Thus, if it is very obvious that one firm
  collects more information than the other, all else being equal, a majority of purchases are
  made at the privacy-friendly firm.


  58
    In more technical terms, the null hypothesis of the Mann-Whitney test is that there is equality in medians. If the test result is
  not significant, this null cannot be rejected, such that there is not a detectable difference between the groups. We also
                2
  conducted Chi -tests as well as t-tests. These results were significant as well, but are not reported here.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3210
                                          PageID.1073 Filed
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     This is in line with the literature stating that consumers take privacy protection into account,
     once it is more salient in the purchase (Tsai et al. 2010; Gideon et al. 2006). In our case, the
     differences in data collection efforts are obvious in treatment 4. Since consumers had the
     offers right next to each other, they could compare which information was required from
     them by the firms.
     Comparison of treatment 3 and treatment 4: Next is the comparison of the situation where
     firms vary on the number of data items they collect (treatment 4) with the situation in which
     they vary on the data items and prices (treatment 3). In the latter case, the privacy-friendly
     Firm 1 charges €0.50 more compared to its privacy-unfriendly competitor. The share of tickets
     sold by the privacy-friendly firm now decreases strongly (from 83% to 31%) from treatment 4
     to 3. The difference between the treatments is statistically significant based upon the Mann-
     Whitney tests. This means that the market share of the privacy-friendly firm is significantly
     reduced, once a competitor charges a lower price, while collecting more information. This
     result also holds if we only account for loyals. The market share of Firm 1 decreases from 84%
     to 29% between treatment 4 and 3. However, we also observe a significant share of purchases
     still conducted at Firm 1, despite the fact that these customers have to pay a higher price. This
     holds for about a third of buyers.

      Table 4 Overview of buyers and their purchases at both firms: loyals
             Number                      Total no.    No. of
             of parti-  No. buyers        tickets      loyal    No. tickets    Firm 1      No. of        No.        Firm 2
      Treat  cipants        who             sold      buyers     sold to    % share of      loyal      tickets    % share of
      ment (no. buyers)   bought         to loyals    picking     loyals     all tickets   buyers      sold to    all tickets
                        two tickets         col.      Firm 1    by Firm 1     sold to      picking      loyals        sold
                           at the         (6)+(9)                              loyals      Firm 2     by Firm 2    (10)%(4)
                         same firm                                            (6)%(4)
                                                                            rounded
          (1)      (2)         (3)**        (4)         (5)         (6)          (7)         (8)          (9)         (10)
                  104
      1***        (51)          43           86          4          8            9%           39          78          91%

                   68
      2           (32)          20           40         12          24          60%           8           16          40%

                   80
       ***
      3           (37)          31           62          9          18          29%           22          44          71%

                   69
      4           (31)          25           50         21          42          84%           4           8           16%


                  122           23           46         13          26          57%           10          20          43%
      5*          (41)

      Total       443           142         284        59           118       Avg. 48%        83          166     Avg. 52%
      *There is no difference between firms in treatment 5. Individuals who did not choose Firm 1 either choose Firm 2 or no firm.
            **This variable excludes two-time buyers, who switched firms. ***In these treatments, price differences exist.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3211
                                          PageID.1074 Filed
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  Comparison of treatment 2 and treatment 5: Again in treatment 5 firms are identical,
  whereas in treatment 2 they differ on data usage only. We find that there is not a significant
  difference between the two treatment groups. The Mann-Whitney test was not significant
  and the result is analogous if only loyals are used in the analysis.
  Comparison of treatment 1 and treatment 2: Finally, we compare the treatment, where firms
  only differ on data usage (treatment 2) and on data usage and price (treatment 1). Since we
  vary only one stimulus (price differences) from one treatment to the next we can be sure of
  the effect of this variation. Similar and in line with the above observations, the market share
  of Firm 1 is higher in treatment 2 (62%) than in treatment 1 (13%), considering all one- and
  two-time sales across both periods. This difference is statistically significant. The share of
  loyals’ purchases at Firm 1 is higher in treatment 2 (60%) compared to treatment 1 (9%).
  All in all, we observe the following regularities in the laboratory experiment: in treatments
  without a price difference (treatments 5, 4, 2), the privacy-friendly firm is able to snatch a
  higher share of the market, i.e. a higher share of purchases made by participants. In
  treatments where there is a price difference between firms (treatments 1, 3) the privacy-
  unfriendly firm obtains a greater market share. The result is similar if we conduct the analysis
  only for loyals. A higher share of the sales to loyals of the privacy-friendly firms occurs in
  treatments without price differences. However, once the privacy-unfriendly firm charges a
  lower price, it can obtain a greater share of all ticket sales to loyals.59

  6.4 Field and hybrid experiment
  The field and hybrid experiment is complementary to the laboratory experiment. For the field
  and hybrid experiment, we used an experimental website with the same features as in the
  laboratory. While hybrid participants were invited to the experimental website, visitors in the
  field did not know that they were part of an experiment.

  6.4.1 Place, time period and participants
  We conducted the field experiment between September and December 2011. The website
  featured advertising. Within the time frame we had 2,300 visitors, 87 of which chose a firm
  (‘choosers’), including 10 buyers. One of the reasons for this low number might be the credit
  card payment facility. Implementing direct debit would have been too risky for this project,
  but would probably have reduced the number of non-buyers. We will primarily use the
  number of choosers for the analysis. The hybrid is a mixture of laboratory and field, as the
  invitations were directed to individuals in different pools at different universities in Germany.
  We invited the students to the experimental website.
  Participation was voluntary. The invitations were sent out in November to TU Berlin students
  (roughly 900 registered students who had not already participated in the lab); ESMT (about
  300 registered students); and Heinrich-Heine University in Düsseldorf (about 1,300 registered

  59
    Note that this result holds for a price difference of €0.5 and a ticket price of about €7. We did not make tests
  with other price differences (or ticket prices) as this would have required a greater number of sessions.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3212
                                          PageID.1075 Filed
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     students). The hybrid experiment ran until the end of December as well. Of 750 individuals
     who were on the website, 52 chose a firm including 16 bought tickets. In addition, we invited
     friends to the experimental website. Hybrid participants and friends obtained an extra link,
     which helped us to identify them in order to separate them from the pure field visitors, which
     were not personally invited, but found the website on the Internet.

     6.4.2 Design of the field and hybrid experiment
     The websites used for the hybrid and field experiment were exactly the same as for the
     laboratory experiment, with the only difference being the graphical design to make it more
     attractive for visitors. In order to attract buyers to the field website, we had to take a number
     of advertising measures. For example, after launching the website, we started advertising on
     the Google, Facebook, VZNetworks, Yahoo and Bing networks and introduced film teasers.
     One of the outcomes of the field experiment is that it is notoriously difficult to attract
     potential customers to a new website, because the setting is real and risk aversion of
     individuals could prevent them from trying out purchases. Because of the low number of
     buyers, we refrained from sending out questionnaires. However, we have enough
     observations on choice of a firm in the field, i.e. visitors chose a firm, and typed in their
     personal information.

     6.5 Results from the field and hybrid experiment
     For the analysis, we used data from both types of deployments, field and hybrid. This way, it
     was possible to compare treatments 3 and 4 as well as 4 and 5 (see Table 5). As stated above,
     the field data are generated in a more natural environment, where we cannot influence
     external factors that might also influence the individuals’ decisions. Therefore, it is important
     to run experiments in the laboratory as well in order to extract the effects in a more
     controlled environment. We are particularly interested in whether the share of all choosers
     (one- and two-time choosers) varies with the treatment as above and whether the same is the
     case for loyals, i.e. two-time choosers of the same firm. Note that we work with data on
     choice behaviour; i.e. individuals who chose a firm, entered their data and then either made
     the purchase or for some reason did not make a purchase.
     Comparison of treatment 4 and treatment 5: We compare the situation of two identical firms
     (treatment 5) with the situation where they differ only on the number of data items they
     collect (treatment 4), analogous with the laboratory experiment. In this comparison we find
     that there is no significant difference between the two treatment groups, because the Mann-
     Whitney test was not significantly different from zero. 60 However, this result is significant at
     the 0.1 significance level when only using data on loyals, i.e. people who chose the same firm
     two times, while ignoring one-time choosers. We find that the share of loyal choosers of the
     privacy-friendly firm is significantly higher in treatment 4 compared to treatment 5 (42%

     60
       In more technical terms, the null hypothesis of the Mann-Whitney test is that there is equality in means. If the
     test result is not significant, this null cannot be rejected, such that there is not a detectable difference between
     the groups.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
                                   39-1, PageID.3213
                                          PageID.1076 Filed
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  versus 19%). However, in the field treatment 4 the privacy-unfriendly firm has a greater share
  among loyals.

  Table 5 Overview of choosers at Firm 1 and Firm 2 in the field and hybrid experiments
                                                 All choosers                              All loyal choosers
                   No.                    Choose        Did not choose              Choose             Did not choose
   Treatment of participants
                                           Firm 1           Firm 1                   Firm 1                Firm 1
                                        (%, rounded)     (%, rounded)             (%, rounded)          (%, rounded)
          3**             67                  42               58                        5                    95
          4               29                  90               10                       42                    58
          5*              43                  16               84                       19                    81
   *There is no difference between firms in treatment 5. Individuals who did not choose Firm 1 either chose Firm 2 or no firm.
                                          ** In this treatment, price differences exist.

  Comparison of treatment 3 and treatment 4: To extract the effect of a price difference we
  compare a situation of two firms that collect different amounts of information, but have equal
  prices (treatment 4) to the situation, where they collect different amounts of information and
  charge different prices (treatment 3). In treatment 4, the privacy-friendly firm is chosen much
  more often than not (90%). In treatment 3 the share is 42% for Firm 1. Through the price
  difference is just €0.50, the share in consumers’ choices drops. There is a statistically
  significant difference in medians between the two treatment groups with respect to the
  choice of Firm 1 across both periods.61
  This is similar in the case where we use only observations on the loyals who chose the same
  firm two times. The share in this market is higher for the privacy-friendly firm in treatment 4
  (42%), compared to the situation where the rival charges a lower price (5% only) in treatment
  3.
  From comparing the treatments 3, 4, 5 in the laboratory and the field for all purchases, we
  find that the privacy-friendly firm has a much larger market share, if the differences in data
  collection are obvious and prices are the same. However, once prices change and a privacy-
  unfriendly competitor charges a lower price the privacy-friendly firm loses market share. But
  more than a third of purchases by consumers show that they are willing to pay a mark-up at
  the privacy-friendly firm. In case of loyals a comparison shows inconsistencies, as more two-
  time buyers pick Firm 2, the unfriendly firm, than Firm 1 in the field treatment 4.

  6.6 Assumptions used for the experiments and caveats
  The laboratory and the field experiments rely on a number of assumptions. Future research
  could focus on relaxing these assumptions. In order to reduce the complexity of the
  theoretical model, we introduced a number of limitations, i.e. we have limited the model to
  the case of two firms and consumers of two types, with high and low privacy concerns. This is


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       We applied the Mann-Whitney test just as in the laboratory.
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     a simplification, because there are a greater variety of privacy types among consumers.
     Moreover, in the model consumers are sophisticated, but in the real world they might not
     anticipate that personalisation could lock them in and lead to higher prices in future periods.
     But there are also a number of caveats related to the empirical research conducted here.
     Research studies based on random sampling of participants generalise to the population from
     which the sample was drawn. Our research, which follows the common design for economic
     experiments, is not based on a random sample. We worked for the laboratory with
     participants registered at the experimental pool of the Technical University of Berlin. While
     participation in the experiment was based upon a neutral invitation, there is an element of
     self-selection in terms of motivation to come to the experiment. However, once in the
     laboratory, participants were randomly assigned to a treatment.
     It is debatable whether results obtained on students in a laboratory environment can be
     generalised to the general population. In general, results from the laboratory are considered
     to be a useful tool in providing qualitative evidence (Levitt and List 2006). Only to a small
     extent could we observe more natural behaviour in the field. In fact the field experiment
     would have needed a much longer running time in order to collect more observations on
     choice and especially purchase behaviour. One of the questions is whether the experimental
     manipulation is in fact the main cause of the observed choices of participants (internal
     validity). It relates to other factors that could potentially cause change in choice/behaviour.
     We have conducted tests on whether the participants in the different treatments were drawn
     from the same population in terms of age and gender (such that there is no bias due to a
     selection effect). These tests showed no bias in selection. And we are also planning to conduct
     tests of ranking and whether participants tend to choose the firm located on the left-hand
     side. These will be part of a future research study.
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  7   Conclusions and recommendations
  This study is focused on economic transactions; that is, economic exchange intermediated by
  money, where the disclosure of personal information is a by-product and at times gets the
  consumer a discount. This excludes transactions which we consider to be social exchange,
  such as social networks, voluntary participation in anonymous surveys and usage of free
  services on the Internet. Therefore, the presented research should not be generalised to other
  populations or transactions that individuals conduct with regards to their personal data.
  In order to reduce the complexity of the theoretical model used herein, we introduced a
  number of assumptions. Future research could focus on relaxing these assumptions. For
  example, we have limited the model to the case of two firms and consumers of two types,
  with high and low concern. This is a simplification, because we can assume that there is a
  greater variety of privacy types among consumers, as in fact we observed during this study.
  Moreover, in the model consumers are sophisticated, but in the real world they might not
  anticipate that personalisation could lock them in and lead to higher prices in future periods.
  We implemented a simplified version of the model in the laboratory and field. For example,
  we implemented the version of the model with no transportation costs by placing the offer of
  the two service providers right next to each other. At the moment, it is too difficult for the
  consumers to compare different information practices of online service providers. This is
  exactly the area where we would propose that policy-makers ought to improve transparency
  for consumers.
  Recommendation 1 – If there are little to no differences in the prices offered by service
  providers on homogeneous goods, a competitor who has a reduced data requirement (privacy-
  friendly service provider) can obtain a competitive advantage as long as this type of
  differentiation is obvious to the consumer. The reason is that consumers can – by choosing the
  service provider with a lower data requirement – reduce their costs of disclosure of personal
  data.
  Recommendation 2 – The regulatory framework should allow for sufficient flexibility that
  online service providers can offer different menus regarding prices and personal data
  requirements: from personalised services where identification is required and as such more
  personal data is collected to less personalised services with fewer requirements for collection
  of personal data. In fact, it should be required – if no other legal requirements restrict this in
  specific cases or areas such banking – that service providers also offer services without
  identification of customers, in order to limit the collection of personal data.
  If it is obvious which online service provider collects less personal information a significant
  share of the market is gained by the privacy-friendly service providers, given that the prices
  are similar and the products are similar. This observation was especially pronounced in the
  field experiment.
  An increase in transparency of information practices of firms must to be accompanied by an
  increase in price transparency. Prices should be advertised excluding any discounts for which
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     consumers are only eligible by providing additional personal data. Moreover, if personal data
     are used for price discrimination, the consumer should be informed about the fact that this is
     taking place and what type of discrimination is used.
     Recommendation 3 – The differences in data requirements, data protection and privacy
     policies must be made more visible to consumers in order to enable comparison of terms
     between online service providers. The more standardised and simple these terms are, the
     easier comparison will be.
     If data practices are difficult to compare, the terms of trade for personal data might not
     influence the decision of the consumer, who would otherwise pay attention to privacy issues.
     In this case, the consumer tends to ignore them because of their complexity. The result is that
     online service provider cannot use privacy settings to fit consumer preferences to obtain a
     competitive advantage.
     Recommendation 4 – Personal profiles are often the base for personalisation of products or
     services. If portability of profiles among firms is mandated, consumers will face decreased
     switching costs and benefit from intensified price competition in the market. However the
     transfer of profiles should be conditioned on the consent of the consumer and in accordance
     with personal data protection legislation.
     The majority of the participants in the study express their concerns for privacy (section 6.3.1).
     However, the results of the experiments show that when there is a price differentiation the
     consumers show a tendency to choose cheaper services/goods.
     Recommendation 5 – Personal data protection and privacy is a human right. The European
     Commission, EU Member States and data protection authorities should enforce a clear and
     consistent legal data protection framework.
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  8   Glossary
  This glossary is complementary to the glossary of terms in ENISA (2011b: 38) and the
  definitions of key terms in ENISA (2011c: 9). These are only working definitions in the context
  of this study.
  Addressability: The firms’ ability to reach consumers based upon their personal data. The
  degree of addressability can be represented as the proportion of consumers at each point in
  the market who are in the firm’s database; the firm can offer these consumers customised
  prices. (Source: Chen and Iyer 2002).
  Behaviour-based pricing: Behaviour-based pricing is a mechanism whereby a firm uses a
  consumer’s previously observable behaviour to set prices based upon this personal
  information.
  Customisation: Customisation refers to a consumer’s own specification of product features to
  purchase. The customer and not the firm initiate customisation. This is the main difference to
  personalisation (Source: Arora et al. 2008).
  Data protection: Data protection denotes the legal and regulatory codes enacted to protect
  personal information of individuals.
  Lock-in: Lock-in effects arise where consumers are prevented from switching easily and
  without costs to another provider.
  Personalisation: Personalisation refers to a firm’s tailored product offerings to an individual
  consumer based on its data about that consumer. This research follows this terminology and
  uses the word ‘personalisation’ for the strategy analysed. The firm and not the consumer
  initiates personalisation. This is the main difference from customisation (Source: Arora et al.
  2008).
  Privacy: The term denotes a social convention of keeping specific personal data private, i.e.
  not releasing it to the public. In the context of this study, the term denotes the asymmetric
  distribution of personal information between market participants.
  Privacy Policy: Privacy policies are terms set by firms, which inform about their personal data
  handling practices. Consumers who read these terms are informed about the terms of trade
  for their personal data.
  Targeting: A firm's targetability is the ability to predict the preferences and purchase
  behaviour of consumers for the purpose of customising prices or product offers (Chen,
  Narasimhan and Zhang 2001).
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     10 Annex. Technical appendix
     The technical appendix illustrates how the predictions and equilibria described in the report
     are derived.
     One-period model with r=0
     Consider first the decisions of the consumers. With r  0 each consumer maximises its utility
     which leads to
                                         1    if p A  c(i c , d A )  pB  c(i c , d B ) 
                                                                                            
                           i c (i c )  1/ 2 if p A  c(i c , d A )  pB  c(i c , d B ) 
                                         0    if p A  c(i c , d A )  pB  c(i c , d B ) 
                                                                                            
     Turning to firms' decisions we first analyse different scenarios and then characterize the
     optimal decisions of firm A.
     Scenario A d A  d : Considering different data requirement decisions of firm B and its
     potentially optimal pricing decisions leads to the following profits for B and A :

     In order to earn positive profits, firm A has to ensure that B reacts as described in the third
     line. Thus firm A will try to set p A such that
                                              3B  max{1B ,  2B }
     Taking into account different parameter constellations, the above inequality leads to
                 0                                 if q  c( ) and c( )  (1   )c( )  q
                 1
                  (c( )  (1   )c( )  q) if q  c( ) and c( )  (1   )c( )  q
           p A  1
                   (q  c( ))                   if c( )  q  c( )
                 0                                 if c( )  q
                 

     Scenario B d A  d : Proceeding as above we obtain:
                        dB  d     1B : p A  q            1A  0
                        dB  d     2B : p A  c( )       2A  0
                        dB  d     3B : ( p A  c( ))   3A  ( p A  q)(1   )
     Analyzing
      3B  max{1B ,  2B }
     leads to the following pricing decisions of firm A
                       q                   if q  c( )
                      1
                           
                       c( )  q
                p A  11
                                            if c( )  q  c( )
                                          
                      1 c( )  c( ) if c( )  q and c( )   c( )  (1   )q 
                                                                         1

                       q
                                            if c( )  q and c( )  1 c( )  (1   )q 
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  Substituting these prices in firm A 's profit function and comparing its profits, we get the
  following equilibrium data requirement decisions and equilibrium profits
        q  c( )
        d A  d  d B  d  A  0 if q  1 (c( )  (1   )c( ))
        d A  d  d B  d  A  c( )  (1   )c( )  q if q  1 (c( )  (1   )c( ))
             
        q  c( ), c( )   
        d A  d  d B  d  A  (1   )(q  c( )) if q  (1   )c( )  c( )
        d A  d  d B  d  A   (c( )  q ) if q  (1   )c( )  c( )
        q  c( )
                                                                                       
        d A  d  d B  d  A  c( )  c( )  (1   )q if q  11 c( )  c( )                  
                                                          
        d A  d  d B  d  A  0 if q  11 c( )  c( )               
  One-period model with r  0

  Solving by backward induction we first turn to the consumers and compute the location of the
  indifferent consumers, given any combination of prices and data requirements.
                                         1  p A  pB c (i c , d A )c (i c , d B ) if i c ( c )  [0,1]
                                        
                                        
                                          2                    2r                                i
                         i c ( i c )                         1 if i c ( i c )  1
                                                                  0 otherwise
                                        
                                        
  This leads to the following market shares for firm A and B:
                                     n A  i c ( )  (1   )i c ( )
                                             nB  1  n A
  Then, solving for firm B’s price reaction function yields:
                 1
           p B  (r  p A   (c( , d A )  c( , d B ))  (1   )(c( , d A )  c( , d B ))  q B )
                 2
  Now, comparing profits under the two different data requirements leads to the following:
          1 : 81r (r  p A   (c( , d A )  c( , d ))  (1   )(c( , d A )  c( , d ))) 2    dB  d
     B   2B
           B : 8r (r  p A   (c( , d A )  c( , d ))  (1   )(c( , d A )  c( , d ))  q) d B  d
                   1                                                                                2



  Thus, firm B’s data requirement decision will be:
                                      d if c( )  (1   )c( )  q
                               d B  
                                               d otherwise
  Then regarding firm A, we can compute the pricing function:
                  1
            p A  (3r   (c( , d A )  c( , d B ))  (1   )(c( , d A )  c( , d B ))  q A  q B )
                  2
  This leads to the following profits:
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                  1
              A    (3r   (c( , d A )  c( , d B ))  (1   )(c( , d A )  c( , d B ))  q A  q B ) 2
                16r
     We now have to consider two different cases separately:
     1. Case: c( )  (1   )c( )  q
     Taking into account firm B’s decisions, we get the following price for A:
                           1
                     p A  (3r   (c( , d A )  c( , d ))  (1   )(c( , d A )  c( , d ))  q A )
                           2
     This in turn leads to the comparison of the following profits:
                 1 : 16   9r
                                                                                                           dA  d
            A   2A
                  A : 16r (3r   (c( , d )  c( , d ))  (1   )(c( , d )  c( , d ))  q) d A  d
                              1                                                                         2


     As in this case c( )  (1   )c( )  q , we get as the optimal data requirement decision:
                                                      d A  d
     Collecting the decisions, the equilibrium in this case is:
                                                      3r                    5r
                                    (d A  d , p A  ), (d B  d , p B  )
                                                      2                     4
     2. Case: c( )  (1   )c( )  q
     In this case the pricing function is:
                         1
                   p A  (3r   (c( , d A )  c( , d ))  (1   )(c( , d A )  c( , d ))  q A  q)
                         2
     Thus, the profits, which have to be compared, are now:
                  1 : 161r (3r   (c( , d )  c( , d ))  (1   )(c( , d )  c( , d ))  q) 2 d A  d
            A   2A
                   A : 16                                                                                dA  d
                            9r


     As in this case it holds that c( )  (1   )c( )  q , we can state:
                                                          d A  d
     This gives the following equilibrium:
                                            3r  2q                        5r  4q
                                   (d A  d , p A ), (d B  d , p B          )
                                               2                              4
     In both equilibria market shares are equal to:
                                                    3          5
                                             nA  , nB 
                                                    8          8
     Two-period model with r=0

     Scenario a): 0  b( )  b( )
     To characterise the equilibria in the two-period model we start with the second period where
     we analyse the firms’ pricing decisions for d A  d  d  d B and d A  d  d  d B . We then turn
     to the first period where we analyse both the firms' pricing decisions as well as the firms'
     profits for different data requirement decisions of firm B . Using these results and comparing
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  the profits of firm A with d A  d and d A  d allows us to determine the equilibrium in the
  overall game. Note further that d A  d B leads to zero profits in both periods.
  Second period prices and profits

  a) d A  d  d B  d : Using the potentially optimal pricing decisions of firm B , firm B 's and A 's
  second period profits are given by
                         1B , 2 : p A, 2  c( ) ; 1A, 2  0
                         2B , 2 : ( p A, 2  c( )) ;  2A, 2  ( p A, 2  q)(1   )
                         3B , 2 : 0                   ;  3A, 2  (q  c( ))
  As in the one-period model, firm A tries to induce firm B to set its prices such that firm A
  earns the highest possible profit. Comparing profits and calculating firm B 's best response as
  well as the implied profit of firm A , we get the following pricing decisions of firm A :
                             c( )             if q  c( )  1 c( )  c( )            
                            1
                                                     
                   p A, 2  1 c( )  c( ) if q  c( )  1 c( )  c( )            
                             q
                                                                    
                                                  if q  11 c( )  c( )               
  Using these prices the firms' second period profits are given by
                       q  c( )                   if q  c( )  1 c( )  c( )                 
                       
               A, 2  c( )  c( )  (1   )q if q  c( )  1 c( )  c( )                 
                       0
                                                                       
                                                     if q  11 c( )  c( )        
                         0                          if   q  c( )  c( )  c( )
                                                                         1
                                                                         
                         
                             
                B , 2  1 c( )  c( )      if   q  c( )  c( )  c( )
                                                                         1
                                                                         
                         c( )  q
                                                    if   q  c( )  c( )
                                                               1
                                                              1 


  b) d A  d  d B  d : Employing the potentially optimal pricing decisions of firm B , firm B 's and
  A 's second period profits are given by
                       1B , 2 : p A  q  c( )             ; 1A, 2  0
                        2B , 2 : ( p A  q  c( ))(1   ) ;  2A, 2  p A 
                        3B , 2 : 0                           ;  3A, 2  c( )  q
  Proceeding as above and calculating the firm B 's best response and the implied profit of firm
  A , we get the following pricing decisions of firm A :
                        0                                                   
                                                        if q  1 c( )  (1   )c( )            
                         
                        1
                                                                            
               p A, 2    c( )  (1   )c( )  q if q  1 c( )  (1   )c( )            
                        c( )  q
                                                                                
                                                        if q  11 (2   )c( )  c( )              
  The firms' second period profits can be written as
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                             0                            if                                  
                                                                                         q  1 c( )  (1   )c( )     
                             
                     A, 2  c( )  (1   )c( )  q if                                  
                                                                                         q  1 c( )  (1   )c( )     
                             c( )  q
                                                          if                                      
                                                                                         q  11 (2   )c( )  c( )       
                              q  c( )                       if               
                                                                         q  1 c( )  (1   )c( )             
                              
                                     
                     B , 2  1 c( )  c( )            if               
                                                                         q  1 c( )  (1   )c( )             
                              0
                                                               if                   
                                                                         q  11 (2   )c( )  c( )               
     First period prices and firm B 's data requirement decision

     In order to calculate the firms' pricing decisions in the first period as well as firm B 's profit
     given either d B  d or d B  d we have to consider the second period profits given above.

     a) d A  d : In this case there are 4 different parameter constellations to be analysed.
                                                       
     Case 1): q  c( )  1 c( )  c( ) ; Employing firm B 's potentially optimal pricing decisions
     in the first period as well as the second period profits given above we get the following overall
     profits for firm B and A :
                dB  d              1B : p A,1  q                      ;    1A  0
                dB  d               2B : p A,1  c( )                ;     2A  q  c( )
                dB  d               3B :  ( p A,1  c( ))           ;     3A  ( p A,1  q)(1   )  q  c( )
                dB  d               4B : 0                             ;     4A  q  c( )  q  c( )
     Using 1B   2B and comparing profits shows that firm A is not able to induce firm B to
     choose d . Hence, we get d B  d and
                                                                 A  B  0

                                                                                   
     Case 2): c( )  1 c( )  c( )  q  c( )  1 c( )  c( ) ; Here overall profits for
     firm B and A are given by
      dB  d    1B : p A,1  q                                              ; 1A  0
      dB  d                                    
                 2B : p A,1  c( )  1 c( )  c( )                ;  2A  c( )  c( )  (1   )q
      dB  d     :  ( p A,1  c( )) 
                      3
                      B
                                                 
                                                1 
                                                        c( )  c( ) ;   ( p  q)(1   )  c( )  c( )  (1   )q
                                                                                         3
                                                                                         A     A,1


     Again, employing 1B   2B and comparing profits shows firm A can ensure itself strictly
     positive profits by inducing firm B to choose d B  d only if   0.5 . In this case the firms'
     profits are given by
                              A 
                                      1
                                     1 
                                                        
                                          q   (3  2 )(c( )  q)  c( )                              
                                     B 
                                                 
                                             (1   ) 2
                                                            
                                                        c( )(2   )  c( )  (1   )q                     
Case
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                           
                                                                           
  Case 3): c( )  1  c( )  c( )  q  11 c( )  c( ) ; Proceeding as above we have     
   dB  d     1B : p A, 1  q                                                         ;  1A  0
   dB  d           2
                                 c( )  c( ) ;   c( )  c( )  (1   )q
                          : p A, 1  c( )     
                                                 1 
                                                                                             2


   d  d   :  ( p  c( ))  c( )  c( ) ;   ( p  q)(1   )  c( )  c( )  (1   )q
                      B                                                                      A
                      3                                                                     3
    B                 B            A, 1                 1                                  A         A, 1


  Using    ,firm A sets its first period price such that  2B  3B
            2         1
                                                                                                                     which leads to
                                                                                                             
            B         B

                                                  A  2 c( )  c( )  (1   )q

                                                 B  2
                                                                     1 
                                                                         
                                                                             c( )  c( )
                                          
  Case 4): 11 c( )  c( )  q ; The profits of firm B and A are given by
                dB  d          1B : p A,1  q                        ; A  0
                dB  d           B : p A,1  c( )  c( )  q
                                   2
                                                                         ; A  0
                dB  d           B :  ( p A,1  c( ))  c( )  q ;  A  ( p A,1  q)(1   )
                                   3



  Since again  2B  1B and q is small enough, firm A chooses p A  q which leads to
                                    A  0 and  B  2c( )  q


  b) d A  d : Again there are 4 different parameter constellations to be analysed.


                                                            
  Case 1): q  1 c( )  (1   )c( ) ; The firms' reduced profits are given by
                dB  d          1B : p A,1                                      ; A  0
                dB  d           B : p A,1  q  c( )  q  c( )
                                   2
                                                                                   ; A  0
                dB  d           B : ( p A,1  q  c( ))(1   )  q  c( ) ;  A  p A,1
                                   3


  Proceeding as above we obtain
                                                        p A  0   A  0 and  B  0
  Case 2):
                                            1 
                                                                                
   c( )  (1   )c( )  q  max c( )   c( )  c( ) , 1  (2   )c( )  c( ) ;
   1                                                                1
                                                                                                                                     
  In this case the firms' profits are given by
   dB  d    1B : p A,1                                                                           ; A  0
   dB  d     2B : p A,1  q  c( )  1 c( )  c( )                                    ;  A  c( )  (1   )c( )  q
   dB  d     3B : ( p A,1  q  c( ))(1   )  1 c( )  c( )                         ;  A  p A,1  c( )  (1   )c( )  q

  Using  2B  1B firm A sets p A,1 such that  2B   3B which leads to
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                                                                    
                                                       A  2 c( )  (1   )c( )  q             
                                                      B  2
                                                                    1 
                                                                        
                                                                                c( )  c( )
     Case 3):
                                                               
                   c( )  1 c( )  c( )  q  11 (2   )c( )  c( )                           ; Calculating the firms'
     profits we get
      dB  d    1B : p A,1                                                                   ;   A  0
      dB  d                                                
                 2B : p A,1  q  c( )  1 c( )  c( )                             ;    A  c( )  (1   )c( )  q
      dB  d                                                                
                 3B : ( p A,1  q  c( ))(1   )  1 c( )  c( )                  ;    A  p A,1  c( )  (1   )c( )  q
     and thus 1B   2B . Using  3B  1B leads to
                                               A  c( )  2(1   )c( )  q(1  2 )

                                              B 
                                                         1 
                                                           
                                                                        c( )  q  2c( )
                       
     Case 4): q  11 (2   )c( )  c( ) ; Analyzing  
                  dB  d                    1
                                              B   : p A,1                         ; A  0
                  dB  d                    2
                                              B   : p A,1  q  c( )            ;  A  c( )  q
                  dB  d                    3
                                              B   : ( p A,1  q  c( ))(1   ) ;  A  p A,1   c( )  q
     reveals 1B   2B . Comparing  1B and  3B shows that firm A is not able to induce firm B to
     choose d . Hence, we get d B  d and
                                                                          A  B  0
     Collecting these results and comparing the profits of firm A for d A  d and d A  d we can
     deduce the profit maximising data requirement decision of firm A and thus the overall
     equilibrium of the game. However, we first have to compare the critical values of q which
     leads to
                             1
                                              1
                  1) c( )  c( )  c( )  c( )  (1   )c( )
                                      
                                                                                                        
                    2)
                         
                           
                           1
                            c( )  (1   )c( )  c( ) 
                                                                 
                                                                1 
                                                                     c( )  c( )    0.6
                           3) c( ) 
                                              1 
                                                  
                                                   c( )  c( )  c( ) 
                                                                                1 
                                                                                 
                                                                                     c( )  c( )
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              4) c( ) 
                                     
                                       
                                    1 
                                        c( )  c( )?
                                                           1
                                                          1 
                                                               c( )  c( )   ? 0.4
              5) c( ) 
                                     
                                       
                                    1 
                                        c( )  c( )?
                                                           1
                                                          1 
                                                               (2   )c( )  c( )   ? 0.2
              6)
                   1
                1 
                            
                       c( )  c( ) 
                                           1
                                          1 
                                                                  
                                               (2   )c( )  c( )                  
  Assuming   0.4, 0.6 we get the following outcomes:
                              1
             1.) q  c( )  c( )  c( )
                                           
                                                                  
                dA  d  dB  d   A  0

              2.) c( ) 
                                    
                                     1
                                      c( )  c( )  q  c( )  (1   )c( )
                                                             1
                                                             
                dA  d  dB  d   A 
                                                                1
                                                               1 
                                                                       
                                                                    q   (3  2  )(c( )  q)  c( )   
              3.)
                    1
                    
                      c( )  (1   )c( )  q  c( ) 
                                                                
                                                               1 
                                                                    c( )  c( )
                dA  d  dB  d   A 
                                                                1
                                                               1 
                                                                       
                                                                    q   (3  2  )(c( )  q)  c( )   
                                                
                d A  d  d B  d   A  2 c( )  (1   )c( )  q    
              4.) c( ) 
                            
                           1 
                                c( )  c( )  q  c( ) 
                                                                 1 
                                                                   
                                                                       c( )  c( )
               d  d  d  d    2c( )  c( )  (1   )q 
                        A                  B               A

               d  d  d  d    2c( )  (1   )c( )  q 
                        A                  B               A


              5.) c( ) 
                           1 
                            
                                c( )  c( )  q 
                                                         1
                                                        1 
                                                              c( )  c( )
               d  d  d  d    2c( )  c( )  (1   )q 
                        A                  B               A

                d A  d  d B  d   A  c( )  2(1   )c( )  q (1  2  )

              6.)
                     1
                    1 
                                
                         c( )  c( )  q 
                                                 1
                                                1 
                                                                          
                                                     (2   )c( )  c( )                 
                dA  d  dB  d   A  0
                d A  d  d B  d   A  c( )  2(1   )c( )  q (1  2  )

              7.)
                  1
                 1 
                                
                       (2   )c( )  c( )  q             
                dA  d  dB  d   A  0
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     The symmetric equilibria in case 1) and 7) are again efficient. The asymmetric equilibria are
     efficient for intermediate values of q only. For instance in case 2), as the upper bound is
     larger than c( ) , the equilibrium is inefficient as soon as q  c( ) . However, if q is
     smaller than c( ) the equilibrium is efficient. In the other cases the asymmetric equilibrium
     can be inefficient, if q is close to one of the limits.
     Scenario a): b( )  0  b( )
     We start with the assumption of symmetric data requirements d A  d B  d and d A  d B  d
     . Here the effect of personalisation is very pronounced as firms would otherwise make second
     period profits of zero in a symmetric equilibrium. Therefore let us turn to second period
     profits:
     i) Assume first period market shares are nA,1  nB,1  0.5 . Then we have to compare the
     following profits
                     1B , 2  12 (1   )( p A, 2  b  q)        ; 1A, 2  (1  12 (1   ))( p A, 2  q)
                          2B , 2  (1  12 (1   ))( p A, 2  q) ;  2A, 2  12 (1   )( p A, 2  q)
                          3B , 2  p A, 2  b  q                 ;  3A, 2  0
     Comparing the profits of firm B , calculating the optimal price p A, 2 leads to the following
     profits
                                  12 b(3   ) if     1   (6   ) S 1      2b (1  )
                                                                               1          if   1   (6   )
                       S1
                                 b (1 2 )                        ; 
                                                        (6   )  1 B , 2  b (14 )         (6   )  1
                        A, 2                                                            2

                                  4           if                                           if

     ii) If first period prices are p A,1  pB,1 , then all consumers buy at firm A in period 1. Thus,
     second period profits are given by
                             1B , 2  ( p A, 2  q)  ; 1A, 2  ( p A, 2  q)(1   )
                              2B , 2  p A, 2  b  q ;  2A, 2  0

     Therefore, we get
                                                                                    b
                                                      SA2, 2  b and  SB2, 2 
                                                                                   1 
     iii) If first period prices are p A,1  p B,1 , then all consumers buy at firm B in period 1 which
     leads to
                                   1B , 2  ( p A, 2  b  q)(1   ) ; 1A, 2  ( p A, 2  q) 
                                    2B , 2  p A, 2  q               ;  2A, 2  0

     and
                                                                                   1 
                                              SA3, 2  b(1   ) and  SB3, 2  b  1
                                                                                    
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  Note that in all cases no consumer, who has chosen personalisation in the first period,
  switches in the second period.
  Turning to the first period we get the following overall profits
               p A,1  q    SB3, 2  if p B ,1  p A,1          SA3, 2                  if p B ,1  p A,1
        B   2  p A,1  q    B , 2 if p B ,1  p A,1 ;  A   2  p A,1  q    A, 2 if p B ,1  p A,1
         S    1                     S1                        S   1                      S1

               S 2                     if p B ,1  p A,1          p  q  S2              if p B ,1  p A,1
               B, 2                                                A ,1             A, 2

  Comparing these profits we again have to consider different cases:

  Case 1): 1   6    ; Substituting the above given second period profits, overall profits can
  be written as
                                 
                  p A,1  q  b 1       if p B,1  p A,1   b(1   )                if p B ,1  p A,1
                 1
                                                             1
                                                                                                   
            B   2 p A,1  q  1  if p B,1  p A,1 ;  A   2 p A,1  q  b3    if p B ,1  p A,1
                                 2b (1  )

                 b                        if p B,1  p A,1   p  q  b                if p B ,1  p A,1
                  1                                          A, 1
  Comparing these profits and calculating the best response of firm B and the optimal price
  p A,1 leads to
                                                  2  1
                                      p A ,1  b            q
                                                  1   
  and the following profits
                                                                                    
                                                 SA  b(1   ) and  SB  b
                                                                                   1 
  Case 2): (6   )  1; Again, using the above given second period profits, we get
                                                                    b(1   )                         if pB ,1  p A,1
              p A,1  q  b 1          if pB ,1  p A,1
                                                                     2  p A,1  q   b 4  if pB ,1  p A,1
                                                                    1                          1  2

             
     B ,1   12  p A,1  q   b 14 if pB ,1  p A,1;  A,1  
                                         2



             b                                                    b1  112                 if pB ,1  p A,1 and   13
              1                         if p       p
                                                B ,1     A,1
                                                                    b 1 214 1        if pB ,1  p A,1 and   13
                                                                    
  Comparing these profits and calculating the best response of firm B and the optimal price
  p A,1 leads to
                                                          2  1
                                                      
                                                      b  1    q      if         13
                                             p A, 2    1  5   1
                                                      b 2  1    q if
                                                                                      13
  and the following profits
                                   b(1   )               if     13           
                                                                               b 1         if     13
                                  1    4 1
                                 S
                                                                        ; B   
                                                                           S
                                 A
                                   b 2  1             if     13        
                                                                               b 1         if     13
  Now, we turn to the case where d A  d  d  d B . Again we start with the second period and
  analyse the firms' profits given different market shares in period 1.
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     i) If first period market shares were either such that only consumers with  i   or all
     consumers regardless of their type bought from firm A then second period profits are given
     by:
                       1B , 2 : p A, 2  b  c( ) ; 1A, 2  0
                               2B , 2 : ( p A, 2  c( ))  ;  2A, 2  ( p A, 2  q)(1   )
                               3B , 2 : 0                    ;  3A, 2  c( )  q
     The optimal pricing decisions of firm A and the implied profits for both firms are given by
                          c  1c  b if q  c 1c  b
                         
               p A, 2   c  1c  b if 1  c c  b  q  c 1c  b
                          c 
                         
                                               if 1  c c  b  q

                         0                                                  if q  c 1c  b
                         
                               
               AA1, 2  c    c   b  q (1   ) if 1  c c  b  q  c 1c  b
                          c( )  q                                       if 1  c c  b  q
                         
                                                  
                          1 c   c   b if q  c 1c  b
                         
                                                  
               BA1, 2   1 c   c   b if 1  c c  b  q  c 1c  b
                         0                                    if 1  c c  b  q
                         
     ii) If in contrast all consumers bought from firm B in the first period, second period profits are
     given by
                             1B , 2 : p A, 2  b  c( ) ; 1A, 2  0
                              2B , 2 : ( p A, 2  c( ))     ;  2A, 2  ( p A, 2  q)(1   )
                              3B , 2 : 0                       ;  3A, 2  (b  c( )  q)

     Prices and profits are given by
                                            c  1c  b if b  c   q
                                 p A, 2                                            ;
                                             b  c  if b  c   q
                                             0                        if b  c   q
                                  AA,22                                              ;
                                              b  c( )  q if b  c   q
                                                 
                                             c   c   b
                                  BA,22   1
                                                                       if b  c   q
                                           0                             if   b  c   q

     Now, we turn to the first period pricing decisions when data requirements are asymmetric.
     We get the following overall profits:
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                               BA1, 2                            if         pB ,1  p A,1  c      
                              
                                                  
                         B   p A1  c    BA1, 2            if         p A,1  c   p B ,1  p A,1  c             
                               p  c    A2                  if         pB ,1  p A,1  c 
                               A,1            B, 2

                               p A1  q   AA1, 2                  if        pB ,1  p A,1  c        
                              
                         A  1    p A1  q    AA1, 2       if        p A,1  c   pB ,1  p A,1  c               
                               A2                                  if        pB ,1  p A,1  c 
                               A, 2
  In order to analyse the firms' decisions we again have to distinguish different cases concerning
  the value of q .
  Case 1): q   c 1c  b ; This leads to
                                                 
                  p A,1  c   1 c   c   b                       if         p A,1  c   pB ,1  p A,1  c             
                 
                              
            B   1 c   c   b                                          if      pB ,1  p A,1  c        
                  A,1           1               
                  p  c    c   c   b                                if      pB ,1  p A,1  c 
                 1     p A,1  q  if              p A,1  c   pB ,1  p A,1  c           
                 
            A  q  c              if              pB ,1  p A,1  c   
                 0                      if              pB ,1  p A,1  c 
                 
  Solving for firm A 's price and plugging back into the profit functions yields
         p A,1 
                     
                 1   2
                           2b 
                                 1
                                1 
                                                   
                                     c   c                        
                     0                                         if                                                      
                                                                                         q   1 2 2b  11 c   c          
                    
                                                                                                                      c   c 
               AA

                       1  2b  c   c   1    q if
                                                                                                   
                                                                q     2b 
               A                                                                                                  1
                                                                                                 1  2          1 


             AA  
               1   
               B        2c   c 1     b1   
                                  2



                          
  Case 2): b  c   q   c 1c  b ; Now, profits are
                               
          p A1  c   1 c   c   b   if p  c   p  p  c 
         
                                                 if p  p  c 
                                                                                     A,1                       B ,1       A,1

    B  1 c   c   b
                                             if p  p  c 
                                                                                     B ,1        A,1
          p  c    c   c   b
          A,1          1                                                          B ,1        A,1

       1    p  q   c    c   b  q (1   ) if p  c   p  p  c 
      c   q  c    c   b  q(1   )       if p  p  c 
       
                             A1                                                                        A,1                      B ,1   A,1

       A                                                                                               B ,1      A,1
            0                                                                              if    pB ,1  p A,1  c 
            
  Then, we get:
Case
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      p A,1 
                       
                   1   2
                             2b 
                                   1
                                  1 
                                         
                                       c   c            
                 0                                                if                                 
                                                                          q   211 2 b1     21    c   c 
                1 
                                                  if q     b1     21    c   c 
          AA

                   1  b  2 c   c   1    q
          A                                                                         1
                                                                                 2 1  2


        AA  
          1   
          B        2c   c 1     b1   
                            2




                                    
     Case 3): 1 c c  b  q  b  c  ; For these values of q , we have the following profits:
             p  c   c   c   b  if
                                         
                                        1                                    p A,1  c   pB ,1  p A,1  c 
          c   c   b                                                                 
           
                            A1

               B
                      
                     1                             if                        pB ,1  p A,1  c 
              p  c                                    if                 pB ,1  p A,1  c 
              A,1
                                                    
             1    p A1  q   c   c   1    q  b if                                                       
                                                                                            p A,1  c   pB ,1  p A,1  c 
             
                                      
        A   c   q  c    c   b  q(1   )           if                                      
                                                                                            pB ,1  p A,1  c 
              b  c   q                                       if                     pB ,1  p A,1  c 
             
     These profits lead to
                                       p A1   c( )

                                       BAA   c   c   b
                                                1 
                                                    

                                        c   q  c    c   b  q(1   )
                                        AA
                                        A


                             
     Case 4): b  c   q ; In this case, profits are
                                  
                              p A1  c       if        p A,1  c   pB ,1  p A,1  c 
                             
                        B  0                          if                    
                                                              p B ,1  p A,1  c 
                              p  c                 if   p B ,1  p A,1  c 
                              A,1
                             1    p A1  q   c( )  q if           p A,1  c   pB ,1  p A,1  c  
                             
                                  
                        A  2 q  c( )                     if           pB ,1  p A,1  c  
                              b  c( )  q                  if           pB ,1  p A,1  c 
                             
     Prices and profits are given by:
                               p A,1   c( );  BAA,1  0 and  AA
                                                                   A,1  2 q  c( )                 
     Finally, assume d B  d  d  d A . We proceed as in the previous case.
     i) If first period market shares were either such that only consumers with    or all
     consumers regardless of their type bought from firm B we get the following scheme
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                       1B , 2 : p A, 2  q  c( )                 ; 1A, 2  0
                        2B , 2 : ( p A, 2  q  b  c( ))(1   ) ;  2A, 2  p A, 2 
                        3B , 2 : 0                                  ;  3A, 2  c( )  b  q

  This leads to the following second period outcomes
                     c  1 c 1 bq if q  1 c ()b c ( )
                    
          p A, 2   c  1 c 1 bq if 1 c ()b  c ( )  q  2 c (1)b c ( )
                    c( )  b  q                    if 2 c (1)b c ( )  q
                    
                    0                                               if q  1 c ()b c ( )
                    
                          
          AA3, 2  c   1    c   b   q if 1 c ()b c ( )  q  2 c (1)b c ( )
                    c( )  b  q                                  if 2 c (1)b c ( )  q
                    
                                                    
                     1 b  c( )  c( ) if q  1 c ()b c ( )
                    
                                                    
          BA3, 2   1 b  c( )  c( ) if 1 c ()b  c ( )  q  2 c (1)b c ( )
                    0                                   if 2 c (1)b c ( )  q
                    

  ii) If all consumers bought from firm A in the first period we get
                      1B , 2 : p A, 2  q  c( )                 ; 1A, 2  0
                       2B , 2 : ( p A, 2  q  b  c( ))(1   ) ;  2A, 2  p A, 2 
                       3B , 2 : 0                                  ;  3A, 2  c( )  q

  And thus
                                          c  1 c  b q if q  b  c( )
                               p A, 2  
                                          c( )  q                     if q  b  c( )
                                           0                     if q  b  c( )
                                AA,42  
                                           c( )  q if q  b  c( )

                                  A4
                                          
                                                     
                                            1  c   c   b    if q  b  c( )
                                                                                   q  b  c( )
                                   B, 2
                                           0                                if

  Turning to the first period, profits and prices are given by:
                   BA,42                                  if pB ,1  p A,1  c 
                                                     A3
                                                                                      
            B  1     p A,1  c   q    B , 2 if p A,1  c   pB ,1  p A,1  c 
                   A,1               
                   p  c   q   A3
                                            B, 2            if pB ,1  p A,1  c             
                     p A1   AA,42          if   p B ,1  p A,1  c 
                    
               A  p A1   AA3, 2         if             
                                                   p A,1  c   pB ,1  p A,1  c 
                     A3
                     A, 2                    if                     
                                                   p B ,1  p A,1  c 
Case
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     Again, we have to consider different parameter constellations:
     Case 1): q  2 c (1)b c ( ) ; Analysing the profit functions
                                1     p A,1  c   q  if                   
                                                                          p A,1  c   p B ,1  p A,1  c 
                                
                           B  0                               if       p B ,1  p A,1  c 
                                 p  c   q
                                 A,1                          if       p B ,1  p A,1  c 
                                p A1  c   b  q if                       
                                                                     p A,1  c   p B ,1  p A,1  c 
                                
                                      
                           A  c   c   2q     if           p B ,1  p A,1  c 
                                c   b  q
                                                       if           p B ,1  p A,1  c 
     leads to the following price p A,1 and overall profits
                                   p A,1  c   q
                                                AB          
                                                 A,1  c   c   2q and  B ,1  0
                                                                                AB



     Case 2): b  c( )  q  2 c (1)b c ( ) ; In this case we have
                                                                 
            1     p A,1  c   q   1 b  c   c              if                  
                                                                                           p A,1  c   p B ,1  p A,1  c 
            
       B  0                                                                       if    p B ,1  p A,1  c 
                                   
             p  c   q  1 b  c   c 
             A,1                                                                  if    p B ,1  p A,1  c 
          p  c   1    c   b   q     if                                  
                                                                                 p A,1  c   p B ,1  p A,1  c 
          b  c 1     c 1     2q if
          
                     A1
                 1
                                                                                pB ,1  p A,1  c 
          c   1    c   b   q                                                       
         A

                                                        if                      pB ,1  p A,1  c 

     The optimal price p A,1 and the firms' profits are given by
                                                                                                       
               1 b  1 c   c 1     q if q  2  11   1    c   c 1  2   b1     2 
      p A,1   1
                                                                                                                                  
                                        
                 c   c 1     q                                                                                
                                                              if q  2  11   1    c   c 1  2   b1     2 

      AB   
                                                                                                               
                 1  b  c  1     c 1     2q if q  2  11   1    c   c 1  2   b1     
                                                                                                                                       2
                                                                                                                                         
        A        
                                              
                 b  2c 1     2 c   q                                                                              
                                                                     if q  2  11   1    c   c 1  2   b1     2 

      B   1 
                  0                                                               
                           if q  2  11   1    c   c 1  2   b1     2 
                                                                                    
        AB

                   b  if q  2  11   1    c   c 1  2   b1     
                                                                                                 2




      Case 3): 1 c ()b c ( )  q  b  c( ) ; Profits can be written as
Case
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                                                    
         1     p A,1  c   q   1 c   c   b          if                 
                                                                                    p A,1  c   p B ,1  p A,1  c 
         
               
    B  1 c   c   b                                             if    pB ,1  p A,1  c 
                                 
          p  c   q  1 c   c   b
          A,1                                                              if                       
                                                                                    pB ,1  p A,1  c 
           p  c   1    c   b   q if                           
                                                                        p A,1  c   p B ,1  p A,1  c 
         
                A1

    A  c   2b  q                                         if   p B ,1  p A,1  c 
               
         c   1    c   b   q                       if                      
                                                                        p B ,1  p A,1  c 

  The implied pricing decision of firm A and the firms' profits are given by
            p A,1 
                    1
                       
                            
                      c   c 1     q 
                   b  2c 1     2c   q  if q  c   c 1   
                                                                                    1
                                                                                    
                
                    c   1    c   b   q   if q  c   c 1   
                 AB
                 A                                                                  1
                                                                                    


                
                 AB
                 B
                   1 
                      
                          b  2c   c 
  Case 4): 1 c ()b c ( )  q ; In this final case, we obtain
                                                    
           1     p A,1  c   q   1 c   c   b       if p  c   p  p  c 
           
                                      
                                                                                    A,1              B ,1   A,1

      B  1 c   c   b                                           if    pB ,1  p A,1  c 
                                        
            p  c   q  1 c   c   b
            A,1                                                           if                      
                                                                                   pB ,1  p A,1  c 
           p A1           if                     
                                         p A,1  c   pB ,1  p A,1  c 
           
      A  c   q   if
                         2b
                                         p B ,1  p A,1  c 
           0
                           if                             
                                         p B ,1  p A,1  c 

  As well as
                               p A,1 
                                         1
                                         
                                             c   c   q 1   
                               AB
                                A  0 and  B 
                                            AB           1 
                                                           
                                                                   b  2c   c   q 
  With all these different cases in mind, we now turn to the firms' data requirement decisions,
  which are made at the beginning of the first period. To make the model more tractable we
  derive these decisions for a couple of different parameter values which feature the
  characteristic results, instead of the whole range of parameters.
  We start with an intermediate value of   0.5 . Under this assumption, a choice of d A  d
  leads to the following comparison for firm B 's profits:
                                         
                         q  3c   2c   2b :  BAA   SB                         dB  d
                                         
                         q  3c   2c   2b :  BAA   SB                         dB  d
Case
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     In contrast, d A  d implies that we have a symmetric equilibrium for low values of q only:
                                q  b  c( ) :  BAS   BAA      dB  d
                                q  b  c( ) :  BAA   SB       dB  d
     Considering the decision of firm A and evaluating the firms' profits for all parameter
     constellations we get
                           1) q  3c( )  2c( )  2b
                          d A  d  d B  d   A  3b
                         2) 2c( )  c( )  2b  q  3c( )  2c( )  2b
                          d A  d  d B  d   A  3b
                         3) 2c( )  c( )  q  2c( )  c( )  2b
                          d A  d  d B  d   A  3b
                          4) b  c( )  q  2c( )  c( )
                          d A  d  d B  d   A  3b  c( )  2c( )  q
                        5) b  c( )  q  b  c( )
                        d A  d  d B  d   A  3b  c( )  2c( )  q
                       6) b  2c( )  c( )  q  b  c( )
                                                          1                 3
                        d A  d  d B  d   A   c( )  c( )  b  q
                                                          2                 2
                       7) 3c( )  2c( )  2b  q  b  2c( )  c( )
                                                          1                 3
                        d A  d  d B  d   A   c( )  c( )  b  q
                                                          2                 2
                       8) 3c( )  2c(  2b  q
                        d A  d  d B  d   A  3b

     As a second parameterisation of the model we choose   14 , c( )  23 and c( )  13 .
     Starting with d A  d and analysing firm B 's best response we get
                                          q  12  4b : d B  d
                                           q  12  4b : d B  d
     Again, equilibrium candidates are asymmetric, except for sufficiently high q . With d A  d we
     obtain
                                         q  1  196 b : d B  d
                                           q  12  4b : d B  d
     Thus, all possible equilibria are asymmetric, except for the case in which if q is sufficiently
     low. Assuming different values of b and q leads to the following results:
Case
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                           b  12 , q  0      :   dA  d       dB  d      AA
                                                                             A  2
                                                                                   1
                                                                                         BAA,1  12
                           b  1, q  0        :   dA  d       dB  d      AB
                                                                             A  12
                                                                                   19
                                                                                         BAB  3
                           b  12 , q  12     :   dA  d       dB  d      AA
                                                                             A  4
                                                                                   5
                                                                                         BAA  12
                           b  1, q  12       :   dA  d       dB  d      AA
                                                                             A,1  4
                                                                                   5
                                                                                         BAA  79
                           b  12 , q  1      :   dA  d       dB  d      AA
                                                                             A  2       BAA  12
                           b  1, q  1        :   dA  d       dB  d      AA
                                                                             A  6
                                                                                   17
                                                                                         BAA  79
  As a third parameterisation we consider   34 , c( )  23 and c( )  13 . Again considering
  different values of b and q we get the following equilibria
                       b  12 , q  0 : d A  d d B  d  AAA  6
                                                                23
                                                                                         BAA  252
                       b  1, q  0 : d A  d d B  d  AA  A  3
                                                                22
                                                                                         BAA  23
                       b  12 , q  12 : d A  d d B  d  AA
                                                            A  12
                                                                49
                                                                                         BAA  252
                       b  1, q  12 : d A  d d B  d  AA A  12
                                                                91
                                                                                         BAA  23
                       b  12 , q  1 : d A  d d B  d  AAA  3
                                                                13
                                                                                         BAA  252
                       b  1, q  1 : d A  d d B  d  AA  A  6
                                                                47
                                                                                         BAA  23

  One can see that in a any of the examples firm A will choose d A  d , with firm B 's response
  given by d B  d . This leaves both firms with positive profits.


  Two-period model with r  0

  Scenario a): 0  b( )  b( )

  For both periods we get the same pricing functions as in the one-period model:
                      1
            p B ,t  (r  p A,t   (c( , d A )  c( , d B ))  (1   )(c( , d A )  c( , d B ))  q B )
                      2
                     1
           p A,t  (3r   (c( , d A )  c( , d B ))  (1   )(c( , d A )  c( , d B ))  q A  q B )
                     2
  Comparison of profits for the data requirement decisions also yields again:
                                       d if c( )  (1   )c( )  q
                                d j  
                                                d otherwise

  Thus, we have two equilibria. If c( )  (1   )c( )  q :
                                                3r                       5r
                            (d A  d , p A,t  ), (d B  d , p B ,t  ), t
                                                2                        4
  and if c( )  (1   )c( )  q :
                                                       3r                            5r
                                (d A  d , p A,t        q), (d B  d , p B ,t   q), t
                                                       2                             4
Case
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     The similarity to the one-period model is due to the fact that without personalisation the
     second period is just the repetition of the first periods pricing decision. As there is no lock in,
     there is no additional surplus to be distributed.

     Scenario b): b( )  0  b( )
     Using the result from the one-period model that both firms choose the same data
     requirement, we focus on the case with d A  d B  d . With d A  d B  d we would get the
     same results expect that equilibrium prices are reduced by q .
     Solving the model with backward induction, we first have to analyse the firms' and consumers'
     behaviour in the second period. Taking into account that all types consumers may switch in
     the second period, we first show that there are no equilibria in which consumers with  do
     actually switch. We then characterise the equilibria where all consumers of type  opt for
     personalisation and do not switch in the second period.
     Equilibrium with both types of consumers switching:
     First we show that an equilibrium in which consumers with  i   switch firm does not exist.
     We first consider the case in which consumers, who have bought from firm A in the first
     period, buy from firm B in the second period.
     In order to do so we construct indifferent consumers for both types:
                                                      r  pA,2  pB,2  b
                                         i2c ( ) 
                                                               2r
                                                      r  pA,1  pB,1  b
                                         i1c ( ) 
                                                               2r
                                                        r  p A,2  pB ,2
                                             i2c ( ) 
                                                               2r
                                                        r  pA,1  pB ,1
                                             i1c ( ) 
                                                               2r
     Note that i2c ( ) denotes an indifferent consumer of type  , who is indifferent between
     buying from firm A in both periods and switching from A to B. This means i1c ( ) is thought of
     as being indifferent between switching from A to B and staying with B in both periods. For
     consumers of type  , itc ( ) denotes the indifferent consumer in period t.
     To start with the firms’ pricing decisions we use the part of the profit function, which relates
     to the second period. Thus, we get:
                                                j ,2  n j ,2 p j ,2

     According to the indifference conditions above, we can rewrite the second period profit
     function as:
                                                               
                                    A, 2  ((1   )i2c    i2c  ) p A, 2
Case
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       4:22-cv-10685-SDK-CI ECF
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                                                                              
                                 B, 2  ((1   )(1  i2c  )   (1  i2c  )) p B, 2
  For firm B we derive the optimal reaction function, by plugging in the indifferent consumers
  and differentiating the profit function with respect to price:
                                                  r  (1   )b  p A, 2
                                       p Br , 2 
                                                            2
  By doing the same for firm A and plugging in B’s reaction we derive:
                                                 3r  (1   )b
                                       p *A, 2 
                                                       2
  Plugging back into the reaction function above we then derive:
                                                    5r  (1   )b
                                         p B* , 2 
                                                          4
  For the second period indifferent consumers we thus get:
                                                  3r  b(1  3 )
                                       i2c ( ) 
                                                         8r
                                       i2c    3(r  b(1   ))
                                                        8r
  Now, let us turn to the first period. We now consider the following profit functions:
                                                                    
                                  A,1  ((1   )i1c    i1c  ) p A,1   A, 2
                                                                         
                              B,1  ((1   )(1  i1c  )   (1  i1c  )) pB,1   B, 2

  Again, we derive the reaction function for firm B:
                                                r  (1   )b  p A,1
                                      p Br ,1 
                                                         2
  This leads to the optimal pricing for firm A and in turn also for firm B:
                                                     3r  (1   )b
                                           p *A,1 
                                                           2
                                                     5r  (1   )b
                                           p B* ,1 
                                                           4
  Then we again get the location of indifferent consumers in the first period:
                                                  3r  b(1  3 )
                                       i1c   
                                                        8r
                                       i1c    3(r  b(1   ))
                                                        8r
  By construction we would require i1c    i2c   . However, this does not hold here and thus
  optimal pricing decisions lead us to a contradiction.
Case
 Case2:22-cv-11389-DPH-EAS
       4:22-cv-10685-SDK-CI ECF
                            ECFNo.
                                No.17-15,
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     For the case of consumers switching from firm B to firm A, we get the similar results, which
     are derived accordingly. For the second period we now get:
                                                                   3r  (1   )b
                                                      p *A, 2 
                                                                         2
                                                                   5r  (1   )b
                                                      p B* , 2 
                                                                         4
                                                                   3r  b(1  3 )
                                                    i2c   
                                                                         8r
     For the first period, the results are now:
                                                                   3r  (1   )b
                                                      p *A,1 
                                                                         2
                                                               5r  (1   )b
                                                      p B* ,1 
                                                                     4
                                                                     (1  3 )
                                                    i1c   
                                                               3r   b
                                                                     8r
     Again, the necessary condition that i1c    i2c   holds is violated.
     Now, let us consider the possible corner solution, in which one firm sets a second period
     price, such that all consumers choose this firm. Therefore, assume any first period market
     share n A,1 and any second period price p A, 2 . If firm B wants to get all consumers in the second
     period, it has to choose a strategy p Bm, 2  p A, 2  b  r in order to compensate the consumer for
     whom choosing B is least favourable. Note that firm A would make zero profits in this period.
     Therefore, it could just lower the price according to a standard undercutting- argument until
     profits are driven out of the market. In such a situation firm B could choose to sacrifice a few
     consumers, but making positive profits on all other consumers with a slight increase of p B , 2 .
     Thus, switching to another strategy as p Bm, 2 is beneficial for firm B and thus one would have to
     consider candidates for an interior solution again. 62
     But as these candidates have already been shown to lead to contradictions, we are able to
     conclude that this type of equilibrium does not exist in this game.
     Equilibrium with only consumers with a high concern switching:
     Turning to the equilibria where only consumers with  switch, we first characterise the firms'
     pricing strategies in the second period. We then turn to the first period decisions of the
     consumers and the firms.



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          A similar argument can be constructed for firm A as well.
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  Calculating the firms' pricing decisions in the second period, we have to take into account that
  the firms' demand functions are kinked. More precisely, while the indifferent consumer i2c ( )
  is given by
                                                       p B , 2  p A, 2  r 
                                i2c ( )  min 1, max 0,                    
                                                                2r          
  firms also have the option to set their prices such that consumers with  would switch. Note
  that although this pricing strategy cannot be part of an equilibrium we nevertheless have to
  specify the induced profits as we have to calculate all deviation profits in the second period.
  Using b( )  0 and assuming that all consumers with  opted for personalisation, the
  indifferent consumer i2c ( ) is given by
                i c2 ( ) : max{ 0, pB , 2  pA, 2 r b } if          pB , 2  p A, 2  b  r (1  2i c ( ))
                                                    2r

     i2c ( )  i c ( )                                       if        b  r (1  2i c ( ))  pB , 2  p A, 2  b  r (1  2i c ( ))
                  c               p B , 2  p A , 2  r b
                i 2 ( ) : min{            2r             ,1} if       pB , 2  p A, 2  b  r (1  2i c ( ))
  where i c ( ) denotes the consumer with  who was indifferent between buying from firm A
  and firm B in the first period.
  Using i2c ( ) and i c ( ) the firms' profits in the second period can be written as
                                                                    
            1A, 2  p A, 2  i2c ( )  (1   ) i c2 ( ) if pB , 2  p A, 2  b  r (1  2i c ( ))
            
                                                                    
   A, 2   2A, 2  p A, 2  i2c ( )  (1   ) i c ( ) if  b  r (1  2i c ( ))  pB , 2  p A, 2  b  r (1  2i c ( ))
             3
                                 c                   c
                                                                     
             A, 2  p A, 2  i2 ( )  (1   ) i 2 ( ) if pB , 2  p A, 2  b  r (1  2i ( ))
                                                                                               c


  as well as
                                                                               
            1B , 2  pB , 2  (1  i2c ( ))  (1   )(1  i c2 ( ) if pB , 2  p A, 2  b  r (1  2i c ( ))
            
                                                                               
   B , 2   2B , 2  pB , 2  (1  i2c ( ))  (1   )(1  i c ( ) if  b  r (1  2i c ( ))  pB , 2  p A, 2  b  r (1  2i c ( ))
             3
                                       c                        c
                                                                                
             B , 2  pB , 2  (1  i2 ( ))  (1   )(1  i 2 ( ) if pB , 2  p A, 2  b  r (1  2i ( ))
                                                                                                           c




  We are now maximising  B , 2 with respect to p B , 2 and let p B , 2 denote the optimal price for
  firm B , i.e. p B , 2 : arg max  B, 2 and note that p B , 2 - depending on the parameter
  constellations- is given by one of the following prices
                                                    1
                     p1B , 2 :  arg max 1B , 2  ( p A, 2  r  (1   )b)
                                                    2
                                                    1                              1
                     p B2 , 2 :  arg max  2B , 2  ( p A, 2  r (1  2i c ( ))  r (1  i c ( ))
                                                    2                              
                            p B2 c, 2 :  p A, 2  b  r (1  2i c ( ))
                                                                1
                            p B3 , 2 :  arg max  3B , 2        ( p A, 2  r  (1 )b)
                                                                2
Case
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       4:22-cv-10685-SDK-CI ECF
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     where p B2c, 2 is the highest price p B , 2 such that no consumer with  switches. Using p B , 2 and
     turning to firm A , firm A 's profit function can be written as
                                                      
                       1A, 2   41r p A, 2 p A, 2  (1   )b  3r                                   if    p B , 2  p1B , 2
                        2
               A, 2   2 c
                                                      
                        A, 2   41r p A, 2  ( p A, 2  r (2  i ( ))  2r (1  i ( ))
                                                                   c                 c
                                                                                                         if    p B , 2  p B2 , 2
                        A, 2  2 r bp A, 2  p A, 2i ( )                                                    p B , 2  p B2c, 2
                                   1                      c
                                                                                                          if
                                                     
                        3A, 2   41r p A, 2 p A, 2  (1   )b  3r                                  if    p B , 2  p B3 , 2
     Note for later reference, that  A, 2 is linearly increasing in p A, 2 as long as p B ; 2  p B2c, 2 .
     Furthermore, undercutting firm A and inducing some consumers with  to switch by
     choosing pB , 2  p1B, 2 becomes more attractive for firm B the higher the price of firm A .
     Analysing  A, 2 and calculating the optimal price p A, 2 for firm A we get the following set of
     possible equilibrium prices
                                                                                        
                           p A, 2  p1A, 2 , p A2 , 2 , p 3A, 2 , p Ac1, 2 , p Ac 2, 2 with
                                     p Aj , 2 : arg max  iA, 2 with j  1, 2, 3 and
                                     p Ac1, 2 such that 1B , 2   2B , 2 for p B , 2  p B2 , 2 as well as
                                     p Ac 2, 2 such that 1B , 2   2B , 2 for p B , 2  p B2c, 2
     Taking into account that we are looking for an equilibrium in which consumers with  do not
                                          2               c1                     c2
     switch, we can focus on p A,2 and p A,2 as well as p A,2 which are given by
                     p A2 , 2 
                                 r
                                2
                                          
                                     2    2i c ( )(1   )            
                     p Ac1, 2  b  r 
                                         1
                                                      
                                             b  2r (1  i c ( ))  2r i c ( )
                                                  
                           p Ac 2, 2  b  3b  2 2 b(1   )(2r (1  i c ( ))  b )  r (3  4i c ( ))
     Turning to the first period, we start with the decisions of the consumers. While the indifferent
     consumer with  is again given by
                                                                 p B ,1  p A ,1  r
                                     i1c ( )  min{max{0,                           },1}
                                                                         2r
     the indifferent consumer with  , i.e. i c ( ) , is implicitly given by the solution of the following
     equation (assuming interior solutions)
                          b  p A,1  p A, 2  2r i c ( )  b  pB,1  pB , 2  2r (1  i c ( ))
     where the second period equilibrium prices p A, 2 and p B , 2 are functions of i c ( ) (see above).
     Solving this equation for the candidate equilibrium prices we get, assuming again i c ( )  (0,1)
Case
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    p A, 2  p A2 , 2 and p B , 2  p B2 , 2  i c ( ) 
                                                                  1
                                                                    
                                                            2r (3  5 )
                                                                         2r   (4( p B ,1  p A,1 )  5r                            
    p A, 2  p Ac1, 2 and p B , 2  p B2 , 2  i c ( ) 
                                                                     1
                                                            2r (1    2 )
                                                                                 
                                                                               2(r  r    ( p B ,1  p A,1  r ))  b(    3 / 2 )                      
                                           1
    p A, 2  p Ac 2, 2 and p B , 2  p B2c, 2  i c ( ) 
                                           2r
                                                               
                                              b  r  p B , 1  p A, 1                      
  Given the second period profits as well as i c ( ) , we are now able to specify the firms' overall
  profits:
                                                           
                  A  p A,1  i1c ( )  (1   )i c ( )   A, 2     
                                                                                             p A , 2  p A , 2 , pB , 2  pB , 2

                             p  (1  i ( ))  (1   )(1  i ( ))  
                               B        B ,1
                                                       c
                                                       1
                                                                                  c
                                                                                                              B, 2 p                                
                                                                                                                         A , 2  p A , 2 , pB , 2  pB , 2


  Using these profit functions and calculating the firms' optimal prices reveals that the
  equilibrium prices are given by p A, 2  p A2 , 2 and pB , 2  pB2 , 2 as long as  is high enough. To
  be more specific, using the same parameter constellations as in the case with zero
  transportation costs and calculating the firms' profits for all possible deviations, shows that
     1 / 4 suffices to guarantee that the firms' pricing decisions in the first period lead to an
  interior equilibrium with p A, 2  p A2 , 2 and pB , 2  pB2 , 2 in the second period. Solving for the
  optimal first period prices p A,1 and p B ,1 , we get that the firms' reduced profit functions do
  not depend on q and b . More precisely, we obtain
                                                              
               A  p A,1  i1c ( )  (1   )i c ( )   A, 2
                                                                        p A , 2  p A , 2 , p B , 2  p B , 2

                        (473   (1834   (1937  4 (87  4 ))))
                                                                   r
                                (7   ) 2 (19  3 (14   ))
                                                                        
               B  p B ,1  (1  i1c ( ))  (1   )(1  i c ( ))   B , 2
                                                                                                 p A , 2  p A , 2 , p B , 2  p B , 2

                        2(8901   (47424   (83307   (53252   (10999   (892  25 ))))))
                                                                                                r
                                              (7   ) 2 (19  3 (14   )) 2
  Differentiating  A and  B with respect to  reveals that both profits are decreasing in  .
  Intuitively, the higher  , the lower is the fraction of consumers who choose personalisation
  and thus the lower the fraction of consumers who are locked-in in the second period. Since
  second period equilibrium prices decrease in  ¸ an increase in  reduces the firms' profits.
  Considering first period decisions, firm B can anticipate that the price firm A will choose in
  the second period is the higher the more personalising consumers firm A has attracted in the
  first period. Firm B 's incentive to increase its first period demand by choosing a rather low
  price is therefore higher for an increased  , i.e the lower the number of consumers who opt
  for personalisation. Taking these effects together, shows that equilibrium prices in both
  periods and thus the firms' profits decrease with  .
Case
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       4:22-cv-10685-SDK-CI ECF
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Case
  Case
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                            Exhibit O
Case
  Case
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                      The Value of Online Information Privacy:
                            An Empirical Investigation


                Il-Horn Hann, Kai-Lung Hui, Tom S. Lee, and I.P.L. Png


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Case
  Case
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                                        Executive Summary

           Concern over online information privacy is widespread and rising. However, prior
   research is silent about the value of information privacy in the presence of potential benefits
   from sharing personally identifiable information. Analyzing individuals’ trade-offs between the
   benefits and costs of providing personal information to websites revealed that benefits –
   monetary reward and future convenience – significantly affect individuals’ preferences over
   websites with differing privacy policies. Quantifying the value of website privacy protection
   revealed that among U.S. subjects, protection against errors, improper access, and secondary use
   of personal information is worth US$30.49 – 44.62. Finally, three distinct segments of Internet
   consumers were determined – privacy guardians, information sellers, and convenience seekers.
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                  The Value of Online Information Privacy: An Empirical Investigation
                       Il-Horn Hann, Kai-Lung Hui, Tom S. Lee, and I.P.L. Png


   1. Introduction


             Privacy has been identified to be a major, if not the most critical, impediment to e-
   commerce: “In our view, the single, overwhelming barrier to rapid growth of e-commerce is a
   lack of consumer trust that consumer protection and privacy laws will apply in cyberspace.
   Consumers … worry, deservedly, that supposedly legitimate companies will take advantage of
   them by invading their privacy to capture information about them for marketing and other
   secondary purposes without their informed consent” (U.S. Public Interest Research Group 2000).
             Even before the advent of e-commerce, there was broad concern about collection of
   personal information in various contexts, including employment, retailing and direct marketing,
   and government. These concerns prompted government action. In 1974, the U.S. Congress
   passed the Privacy Act to regulate government collection and use of personal information.1 In
   1980, the Organization for Economic Co-operation and Development published guidelines for
   the collection and use of personal information by government and private organizations (OECD
   1980). Further, in 1995, the European Union adopted a data protection directive that regulates
   information within and beyond the Union (European Union 1995). The directive disallows
   transfer of information to other countries that do not provide adequate protection.
             Rapid improvements in computing technologies and the advent of e-commerce have
   amplified public concern about privacy, especially on electronic networks. With every website
   visit, a browser leaves an electronic trace which can later be retrieved and analyzed. Combined
   with technology to store identifying information (cookies), website operators can profile
   browsers to an unprecedented degree and subsequently merge these profiles with other
   demographic data. Such an enriched data set can then be used by the company or sold to other
   parties.2 This information could benefit the customer by more precisely identifying her need.
   However, it could also be used to her detriment. For example, Amazon.com was suspected of
   engaging in differential pricing based on prior shopping information and other customer


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     Specifically, the Privacy Act of 1974 prohibits unauthorized disclosures of records and gives individuals the right to review
   records about themselves to check whether records have been disclosed and to request corrections or amendments.
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     New York Times, “Giving the Web a Memory Cost Its Users Privacy,” September 4, 2001.
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   demographics for the sales of DVDs.3 Westin (2001) concludes: “There has been a well-
   documented transformation in consumer privacy attitudes over the past decade, moving concerns
   from a modest matter for a minority of consumers in the 1980s to an issue of high intensity
   expressed by more than three-fourth of American consumers in 2001”.
            Despite the passage of new legislation, including the 1998 Children’s Online Privacy
   Protection Act, which regulates the online collection and use of children’s personal information,
   there continues to be public pressure for increased regulation. Over fifty bills to regulate online
   privacy were introduced in the first session of the 107th Congress.                             Industry, however, is
   resisting the proposals to tighten regulation.                   The national cost of complying with these
   legislative proposals has been estimated to be US$9-36 billion (Hahn 2001). For just catalog and
   Internet clothing retailers, a study sponsored by the Direct Marketing Association estimated that
   opt-in restrictions to use of demographic information by third parties would raise costs by US$1
   billion (Turner 2001).
            The conflict between privacy advocates and industry motivates our research objective:
   Exactly how much do individuals perceive to be the cost of releasing personal information
   online? The real policy issue is not whether consumers value online privacy. It is obvious that
   people value online privacy. What is not known is how much people value online privacy and
   the extent to which people differ in their valuations. Despite tremendous debate and policy
   interest, there has, to date, been no research into this question (Hahn 2001). Indeed, it has been
   conjectured that “measuring the value of consumer privacy may prove to be intractable” (Ward
   2001).
            Businesses need to know the value of privacy in deciding whether to invest in privacy
   seals and what incentives to offer consumers for their personal information. Governments need
   this information to decide on public policy towards information privacy. For instance, Laudon
   (1996) and Varian (1997) have proposed to regulate privacy through markets in personal
   information. But the economic viability of such markets depends on individuals’ perceived
   value of privacy.
            In this study, we applied conjoint analysis, which is the standard way of measuring
   consumer trade-offs (Green and Srinivasan 1990; Wittink and Cattin 1989), to U.S. and

   3
    Amazon has subsequently apologized for charging different prices and refunded an average of $3.10 to each of 6,896 customers
   who bought a DVD. These consumers paid between 25-66 percent more than the lowest available price. While it has been
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   Singapore subjects’ rankings of alternative combinations of benefits and privacy protection in an
   online setting. The benefits were monetary reward and future convenience, while the privacy
   protection applies to errors in storing or processing personal information, unauthorized
   secondary use of information, and improper access to information.4 This allows us to make the
   following contributions:
            First, the conjoint analysis showed that the benefits had a significant effect on our
   subjects’ preferences.         Second, by comparing the value of protection on the three privacy
   concerns with the value of monetary reward, we provide the first estimates of the monetary value
   of privacy protection in the United States. Last, by applying cluster analysis to the subjects’
   marginal rankings of the various benefits and concerns, we found that our subjects could be
   categorized into three distinct segments – privacy guardians, information sellers, and
   convenience seekers. The majority of subjects were relatively sensitive to online information
   privacy concerns (“privacy guardians”). By contrast, a smaller proportion was relatively willing
   to provide information in exchange for money (“information sellers”), and an even smaller
   proportion was relatively willing to provide information in exchange for convenience
   (“convenience seekers”).
            All of the preceding results were robust in the sense that they held in both the U.S. and
   Singapore samples. Our results contribute directly to the public policy debate over whether
   online privacy protection is worth its cost to industry. They also inform businesses whether to
   invest in privacy seals and what incentives to offer consumers for their personal information.
            The remainder of this paper is organized as follows. We provide an overview of the
   relevant literature and our research questions in Section 2. The experimental procedure is
   explained in Section 3. Section 4 describes the results of the conjoint analysis and estimates the
   dollar value of privacy protection. Section 5 reports the results of the cluster analysis. Section 6
   discusses implications for public policy and business strategy.                           Section 7 concludes with
   limitations and directions for future research.




   speculated that Amazon engaged in price discrimination, Amazon claimed that these were ‘random’ tests.
   (http://www.internetnews.com/ec-news/article.php/4_471541, September 28, 2000).
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   2. Theory and Hypotheses


               Information privacy has been defined as the individual’s ability to control the collection
   and use of personal information (Westin 1967; Stone and Stone 1990). Research in consumer
   psychology suggests that individuals seek privacy to maintain self-identity, establish personal
   boundaries, and avoid unwanted disclosure and intrusion (Goodwin 1991, 1992). In many
   experimental and organizational settings, people are found to perceive privacy invasions when
   they are not granted sufficient control on the solicitation, storage, use and disclosure of various
   types of personal information (see, e.g., Eddy et al. 1999; Tolchinsky et al. 1981; Woodman et
   al. 1982). Such perception may deter them from taking part in transactions that involve personal
   information solicitation (Culnan 1993; Stone et al. 1983).
               Consumer research suggests that individuals face a degree of risk when they enter into
   marketing transactions, and their perceived risk may significantly affect their extent of
   information search and purchase decisions (Cox and Rich 1964). Generally, perceived risk
   encompasses both the uncertainty and adverse consequences of taking part in a transaction
   (Dowling and Staelin 1994). Advances in network and telecommunications technologies have
   fostered the growth of electronic commerce, which has added a new information dimension to
   marketing transactions. Increasingly, consumer information is acquired, exchanged, and used by
   online merchants. This has expanded the risk of consumers – other than the basic products (or
   services), they now face an additional uncertainty regarding how their personal information is
   handled.         Information privacy has been found to be of utmost concern to consumers in
   contemporary marketing exchanges (Culnan and Armstrong 1999; Hoffman et al. 1999; Phelps
   et al. 2000).
               One perspective through which the information privacy context of an Internet
   relationship between a consumer and a firm can be discussed is Social Exchange Theory (SET).
   In its most general form, social exchange theory proposes that people review and weigh their
   relationships in terms of costs and rewards. These costs and rewards are specific to a person and
   are used to guide behavior (Thibaut and Kelley 1959; Homans 1961; Blau 1964). This notion
   has found widespread application in diverse areas; social exchange theory has been used to
   understand marketing transactions (Alderson and Martin 1965; Bagozzi 1975), to predict the

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       The objective of this research certainly fits within Wittink’s (2001) “Encapsulation Model” in which business school research
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   perception of service level obtained from a government agency (Gutek 1999) and to analyze the
   reciprocity of venture capitalists to invite other venture capitalists to join in a continued funding
   of a start-up (Jan Piskorski). Specifically, in the context of online marketing, Chellappa and Sin
   (2002) propose several hypotheses based on social exchange theory.
            Invoking social exchange theory to analyze the Internet relationship, we first have to
   establish the costs and rewards to submitting private information to a firm. Regarding the costs,
   we identified the four concern dimensions previously established by Smith et al. (1996) –
   collection, error, unauthorized secondary use, and improper access. Collection refers to the
   concern that “extensive amounts of personally identifiable data are being collected and stored in
   databases”; error refers to the concern that “protections against deliberate and accidental errors in
   personal data are inadequate”; unauthorized secondary use refers to the concern that
   “information is collected for one purpose but is used for another, secondary purpose”; improper
   access refers to the concern that “data about individuals are readily available to people not
   properly authorized to view or work with this data” (Smith et al. 1996, page 172, Table 2).
   These dimensions were further validated by Stewart and Segars (2002).
            In online transactions, firms seek to reduce these costs through notices and protections
   which are often provided in the form of a detailed privacy statement. Because of the extra risk
   associated with the use of personal information, consumers value informed notices of how their
   information is handled, and they prefer fair information procedures and privacy protection
   (Culnan and Armstrong 1999; Hoffman et al. 1999). Hence social exchange theory would
   suggest that consumers prefer websites that reduce these costs. In addition, the expectancy
   theory-based model of privacy suggests that individuals seek to minimize negatively valued
   outcomes, which include physical and psychological harms due to the misuse of personal
   information. Further, individuals’ cognition of the desirability of the expected outcome due to
   disclosure is a direct, positive function of procedural factors related to information handling
   (Stone and Stone 1990). Therefore, our first hypothesis is formulated as:


            Hypothesis H1: Individuals value information privacy protection in online transactions that
            involve personal information solicitation; a website that provides a higher level of protection will
            be preferred to one that provides less protection.




   must have real-world relevance.
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            Besides information privacy protection, individuals’ preference toward a particular
   website may also be affected by extrinsic, positive reinforcements. The resource exchange
   theory characterizes six categories of interpersonal resources: love, status, information, money,
   goods and services, and it is well demonstrated that people are willing to trade one resource for
   another (Foa 1971; Donnenwerth and Foa 1974). Prior research has shown that this resource
   framework is quite general, and it can be applied to analyze different types of marketing
   transactions that involve interpersonal relationships and resource exchanges (Brinberg and Wood
   1983; Hirschman 1987).
            On the Internet, many websites provide monetary reward or exclusive, convenient
   services that help reduce transaction time to consumers who disclose certain personal
   information.5 Both money and service are primary elements in Foa’s (1971) theory, and they
   may act as positive incentives and resources for online firms to exchange for consumer
   information. Further, because privacy protection represents another type of service provided by
   online firms, the resource exchange theory predicts that people may be willing to forgo privacy
   protection in return for other resources (i.e., money or convenient services). Indeed, anecdotal
   evidence has shown that people are willing to disclose personal information for gifts and catalogs
   (Oberndorf 1999; Russell 1989), and even a $100 drawing (Jupiter Media Metrix 2002). The
   human capital model in economics also treats time as a primary resource to produce household
   activities (Becker 1965; Leclerc et al. 1995; Ratchford 2001). This implies that people may
   value services provided by websites that increase convenience and help save time, which can
   then be used for other consumption activities.
            The proposition that individuals value positive reinforcements when deciding whether to
   provide information to websites is also consistent with social exchange theories. Specifically,
   the social exchange framework of human behavior posits that people tend to perform actions that
   generate outcomes which, based on their past experience and personal interest, are rewarding to
   them (Blau 1964; Emerson 1972a, 1972b; Homans 1961). The more rewarding is a particular
   outcome, the higher the probability that people will perform the associated action.
            Because money and convenient service are both useful resources that most people find
   rewarding (Foa 1971), the social exchange theory suggests that people have a higher tendency to

   5
    For instance, it is common for websites to offer shopping vouchers or discount coupons to first-time consumers who register as
   members; Amazon’s one-click shopping facilitates quicker and easier transactions for customers who have previously provided
   personal information, such as delivery address and credit card profile.
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   enter into an exchange relationship with websites which provide more monetary reward or time-
   saving convenient services. Synthesizing the above theoretical arguments, our next hypotheses
   are posited as:


          Hypothesis H2a: Individuals value positive reinforcements, exemplified by monetary reward, in
          online transactions that involve personal information solicitation; a website that provides higher
          levels of money will be preferred to one that provides less money.

          Hypothesis H2b: Individuals value positive reinforcements, exemplified by time-saving services,
          in online transactions that involve personal information solicitation; a website that provides higher
          levels of time-saving services will be preferred to one that provides less time-saving.


          Note that H1, H2a and H2b describe basic individual preferences, and they may apply to
   general behavioral decisions, such as participation into online activities, information disclosure,
   or selection of websites for transactions. In particular, when individuals are presented with
   multiple websites that differ in terms of privacy protection or the provision of positive
   reinforcements, they may tradeoff the value that they attach to each of these dimensions.
          Theoretical models of privacy have suggested that individuals perform a privacy calculus
   to assess the cost and benefit of providing personal information (Laufer and Wolfe 1977; Stone
   and Stone 1990). In the online context, privacy cost consists of consumers’ perceived risk of
   information provision (cf. H1), whereas benefit can be any monetary rewards or services that
   consumers receive from websites (cf. H2a, H2b).                  Such a cost-benefit tradeoff calculus is
   coherent with Foa’s (1971) resource exchange hypothesis, as consumers may forgo privacy
   protection (a service resource) to acquire more money or services. Empirically, research has
   found that people often make tradeoff decisions involving money and time (Leclerc et al. 1995).
   In the context of direct mail participation, Milne and Gordon (1993) exposed subjects to a trade-
   off between compensation, targeting, volume, and permission, thereby making perceptions about
   negative consequences of revealing private information implicit.                     In their study, monetary
   compensation received the highest weight. As we illustrate later, a conjoint experiment allows
   us to test H1, H2a and H2b, to explore the extent of such cost-benefit privacy tradeoff explicitly,
   and to quantify the monetary value of different privacy protections.
          Finally, the social exchange theory posits that individuals’ choice of actions (and hence
   their preferences toward alternative stimuli) are influenced by their personal experience; the
   more frequently a person was rewarded by a particular stimulus in the past, the more likely she
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   would be to perform an action that leads to the stimulus (Emerson 1972a; Homans 1961). Also,
   the extent of privacy calculus posited by Laufer and Wolfe (1977) depends on personal and
   environmental characteristics, and Stone and Stone’s (1990) expectancy theory-driven privacy
   model includes individual and social factors such as personality and previous learning. In
   accordance with these models, individuals’ preferences toward privacy protection and positive
   reinforcement may be shaped by their personal characteristics. In the context of information
   privacy, these theories posit that individuals may vary in their judgments towards online privacy.
   In as much as expectations about rewards and costs across individuals are similar, groups may be
   identified. For example, past opinion surveys have divided the U.S. population into a majority of
   “privacy pragmatists” and minorities of “privacy fundamentalists” and “privacy unconcerned”
   (Westin 2001). In this research, other than testing the hypotheses and assessing privacy tradeoff,
   we use a variety of personal characteristics as predictors to verify whether such a categorization
   is appropriate, and whether individuals’ attitudes toward privacy can be systematically predicted.


   3. Experimental Procedure


          To address our primary set of research questions, we employed the technique of conjoint
   analysis. This technique presents test subjects with a set of alternatives (stimuli). Each stimulus
   consists of particular levels of various dimensions. The subject is asked to rank the stimuli
   according to her own preferences. Conjoint analysis assumes that the individual’s ranking of
   each stimulus can be decomposed into the sum of contributions from the multiple dimensions.
   For each dimension, the contribution is the part-worth multiplied by the level of that dimension.
   Essentially, the part-worth is the marginal utility of the dimension in the individual’s ranking of
   the conjoint stimuli.
          To keep the conjoint tasks to a manageable size, Green and Srinivasan (1990)
   recommend that the number of attributes be limited to six or fewer. Following Green and
   Krieger (1991), we conducted focus groups prior to the conjoint study.           Specifically, we
   conducted three focus group discussions with upper-division undergraduate and graduate
   students in the United States and Singapore to identify the key benefits that they expected from
   registration with websites and suitable attribute levels.      The focus groups suggested that
   individuals clearly value direct monetary savings. In addition, they also identified convenience
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   as another important benefit of providing personal information to a website. The focus groups
   identified two sources of convenience benefits – the explicit time saving per session and the
   expected visit frequency to the website.                      Accordingly, we operationalized convenience by
   “expected visit frequency/total time savings” in our conjoint experiment.6
             As mentioned before, we considered the four concern dimensions identified by Smith et
   al. (1996) – collection, error, unauthorized secondary use, and improper access – as the costs of
   privacy. For our purpose, collection is a necessary antecedent to the three other dimensions.
   Error, unauthorized secondary use and improper access of information can not happen without ex
   ante collection of personal information.                     Further, individuals’ concerns on the other three
   dimensions are a direct function of the amount of information collected – the more information a
   website collects, the higher should be the concerns with error, unauthorized secondary use, and
   improper access of information.                  Therefore, it would not be appropriate to manipulate the
   collection of information and let subjects assess the tradeoffs between collection and other
   concern/benefit dimensions.                Accordingly, in our conjoint analysis, we controlled for the
   collection of information and manipulated the other three concern dimensions.
             Taken together, our conjoint study assessed trade-offs among five dimensions – two
   benefits and three privacy concerns. We created three treatment levels each of monetary reward
   ($5, $10 and $20) and visit frequency/time savings (monthly, weekly and daily).7 The benefit
   levels were motivated by the focus groups. The three concerns (error, unauthorized secondary
   use and improper access of information) were manipulated by the presence (or absence) of
   proper information handling and access procedures.
             Based on these five dimensions and their treatment levels, there were a maximum of 3 x
   3 x 2 x 2 x 2 = 72 conjoint stimuli. To avoid asking subjects to rank too many alternatives, we
   selected 18 stimuli based on an optimal orthogonal design (Addelman 1962). For example, one
   particular stimulus was a website that provided a $5 monetary reward in return for personal
   information and which the subject visited once a month with a total time savings of 24 minutes
   per year.       Further, the website had no error correction procedure, no policies to prevent

   6
     The subjects were told during the experiments that if they expected to visit the website daily, their average time saving over the
   year would be 8 hours and 20 minutes (assuming an average saving of 2 minutes per transaction, 2 minutes x 5 days a week x 50
   weeks = 8 hours and 20 minutes); if they expected to visit the website weekly, the yearly saving would be 1 hour and 40 minutes;
   and if they expected to visit the website monthly, the yearly saving would be 24 minutes.
   7
     The monetary rewards were framed in the respective local currencies. As of April 2002, one Singapore dollar = 54 US cents.
   Due to the currency differences, the effective ranges of monetary rewards differed between the U.S. and Singapore experiments –
   in US dollars, the Singapore rewards were equivalent to US$2.70, US$5.40, and US$10.80, respectively.
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   unauthorized secondary use, and no policies to prevent improper access to information. Our
   conjoint analysis asked subjects to rank 18 websites (stimuli), which represented different
   combinations of benefits and privacy protection. In order to control for industry effects, we
   posed the conjoint stimuli in three settings – financial, healthcare, and travel. Within each of the
   three industries, we controlled for the degree of information collection by telling the subjects that
   all 18 stimuli (that is, hypothetical websites) requested the same set of personal information from
   the subjects. The personal information consisted of name, home address, phone number, e-mail
   address, credit card information, and some industry-specific information. In addition, travel
   websites requested the consumer’s occupation, travel purpose, destination and frequency of
   travel, as well as frequent flyer numbers, healthcare websites asked for medical history, drug
   allergies, and prescription record, and financial websites asked for household income, stock
   portfolio, and previous stock trading experience.
          Each subject was randomly assigned to one of the three industry settings and asked to
   rank the 18 stimuli (websites) according to her own preferences.              In other words, the
   benefit/concern dimensions were within-subject factors whereas industry was a between-subject
   factor. To capture the background of the experimental subjects, we also included demographic
   questions regarding subjects’ gender, age, Internet usage and previous experience with invasion
   of privacy.
          To strengthen the external validity of our study, we conducted the conjoint experiment in
   both the USA and Singapore. The U.S. subjects were upper-division undergraduate students
   from a major Eastern university.          The Singapore sample consisted of upper-division
   undergraduate students enrolled in an e-commerce technologies course at a major university.
   Table 1 presents some descriptive statistics about our subjects.
          The experiment proceeded as follows. First, all subjects completed the demographic
   questions. Then, the experimental task and the meanings of the five dimensions were explained.
   Finally, the subjects ranked the 18 stimuli based on their personal preferences. In the U.S.
   sample, 84 participants completed the experiment, and, among them, 35 students received course
   credit, while the remainder were compensated with US$7.8              In Singapore, 184 subjects
   completed the experiment and received course credit. We collected 268 responses in total.
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   4. Conjoint Analysis


               The key outcome of conjoint analysis is the part-worths (marginal utilities) of the various
   dimensions that comprise the conjoint stimuli. To estimate the part-worths, we used least-
   squares regression with the subjects’ rankings (from 1 to 18) as the dependent variable and
   indicators of the various levels of the two benefit and three privacy concern dimensions as the
   independent variables. Then, the coefficient of each independent variable would be the part-
   worth corresponding to that level of the dimension.                              Further, we calculated the relative
   importance of each dimension as the part-worth corresponding to the maximum level of that
   dimension divided by the sum of the part-worths corresponding to the maximum levels of all five
   dimensions. We expressed relative importance as a percentage.
               Table 2 reports the means of the part-worths and relative importance for the U.S. and
   Singapore subjects. Note that the part-worths and relative importance for the U.S. and Singapore
   samples are not directly comparable as the monetary rewards were framed in the respective local
   currencies. At the April 2002 exchange rate, the rewards specified to the Singapore subjects
   were equivalent to US$2.70, US$5.40, and US$10.80 respectively.
               We first examined whether the responses from the subjects differed across the three
   industries (financial, healthcare and travel).                     Since our U.S. and Singapore samples were
   relatively large, the central-limit theorem implies that the estimated part-worths for each
   independent variable should approximately follow a normal distribution. Based on this premise,
   we conducted one-way analysis of variance (ANOVA) and pairwise t-tests to compare the part-
   worths across the industries. The results suggested that the part-worths (or, equivalently, the
   subjects’ preferences) were not statistically different across financial, healthcare and travel
   websites. Accordingly, in all subsequent analyses, we pooled the data across industries.
               The part-worths on the privacy coefficients (error, improper access, unauthorized
   secondary use) show strong support for Hypothesis 1. A positive part-worth for a specific
   privacy dimension, which differs significantly from zero, indicates that subjects on average
   prefer a website with this privacy feature. For example, regarding the US sample, a privacy
   policy which restricts improper access will rise its ranking by 3.007 (out of 18). Referring to
   Table 2, the part-worths for protection against all three privacy concerns were statistically

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       We found no statistically significant difference in part-worths between those who received course credit and those compensated
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   significant at the 1% level in both samples. Among U.S. subjects, the part-worth for review
   (which enabled an individual to correct errors in his/her personal information) was 2.968, while
   that for disallowing unauthorized secondary use was 2.118. Among Singapore subjects, the part-
   worths for error review and editing, restricting improper access, and disallowing unauthorized
   secondary use were 1.787, 3.374 and 4.604 respectively.
            Comparing the part-worths between countries, we found that, consistent with previous
   research (Esrock and Ferre 1999; Milberg et al. 1995), Singapore subjects were relatively more
   concerned about improper access and unauthorized secondary use than errors in storing
   information. However, the U.S. subjects exhibited less concern for unauthorized secondary use
   than errors in storing information. Despite the discrepancy in relative preferences toward the
   different privacy protections across the two samples, our conjoint experiment confirmed previous
   findings that individuals are highly concerned about information privacy, and they value
   protective measures (Culnan and Armstrong 1999).
            Our results indicate support for Hypothesis 2a; i.e., that positive reinforcements such as
   monetary rewards are valued. For the U.S. sample, the part-worth for a US$20 reward was 3.141
   and was statistically significant. This means that a website offering a US$20 reward for personal
   information would raise its ranking by 3.141 (out of 18) as compared to an otherwise identical
   website offering the base level US$5 reward. Also, the part-worth for a US$10 reward was
   1.327 and significant. For the Singapore sample, the part-worth for a S$20 reward was 1.388
   and was statistically significant.            At the prevailing exchange rate, S$20 was equivalent to
   US$10.80, hence it was not surprising that the part-worth was much less than the US$20 part-
   worth in the U.S. sample (3.141). Interestingly, the S$20 part-worth among Singapore subjects
   (1.388) was very close to the US$10 part-worth among U.S. subjects (1.327). This result arose
   even though the base-level rewards were different in the two samples (S$5 and US$5
   respectively). The part-worth for a S$10 reward in the Singapore sample was 0.232 but not
   statistically significant. Apparently, the subjects were willing to trade away privacy protection
   or convenience only when the monetary reward exceeded a threshold, which lay between S$10-
   20 (US$5.40 – 10.80).
            Taken together, the results from the U.S. and Singapore samples suggest that a
   sufficiently large monetary reward did significantly increase the relative attractiveness of a

   with US$7. Hence, we pooled both groups into a single sample.
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   website independent of its privacy policy. Further, when the monetary reward was relatively low
   (as in the Singapore sample), the marginal utility of the reward was increasing, and when the
   monetary reward was relatively high (as in the U.S. sample), the marginal utility tended to
   decrease. These results indicate that the attractiveness of a monetary reward relative to privacy
   protection or convenience might follow the “S”-shape as shown in Figure 1. The results are
   consistent with economic analysis that utility functions tend to be non-concave (Friedman and
   Savage 1948; Hartley and Farrell 2002).
          We also find a support for Hypothesis 2b; i.e., that positive reinforcements such as time
   saving services, operationalized by visit frequency/time savings, are valued. Referring to Table
   2, in the U.S. sample, the part-worth for weekly visit was significant at the 5% level, but the part-
   worth for daily visit was significant only at the 10% level. Further, the part-worths for weekly
   and daily visits were not significantly different. In the Singapore sample, the part-worths for
   visit frequency/time savings were generally more significant.          However, as with the U.S.
   subjects, the effect due to weekly visit was not significantly different from that due to daily visit.
          From the results of both samples, we conclude that there is some evidence that subjects
   are sensitive to convenience. The evidence is stronger among Singapore subjects than U.S.
   subjects. Further, once the subjects expected to visit a certain website sufficiently frequently (at
   least once a week), more frequent visits did not seem to affect the subjects’ preferences.
          The part-worths and relative importance associated with visit frequency/time savings
   among U.S. and Singapore subjects were very close. In both samples, these were much lower
   than the part-worths and relative importance for the other dimensions. Apparently, among our
   subjects, convenience was only a minor factor when evaluating websites. By contrast, monetary
   reward and privacy protection were perceived to be much more important.
          We can use these results to calculate the marginal utility of a one-dollar reward.
   Referring to Table 2, in the U.S. sample, between the US$5 and US$10 rewards, the US$5
   increase raised the ranking by 1.327, or 0.265 per dollar of reward. Alternatively, between the
   US$10 and US$20 rewards, the US$10 increase raised the ranking by 3.141 – 1.327 = 1.814, or
   0.181 per dollar of reward. These two estimates provide a range of 0.181 – 0.265 per U.S. dollar
   of reward.9 In the Singapore sample, the S$10 part-worth was not significantly different from
   zero. Accordingly, we focus on the S$20 part-worth. Between the S$5 and S$20 rewards, the
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   S$15 increase raised the ranking by 1.388, which amounted to 0.0925 per (Singapore) dollar of
   reward or 0.171 per U.S. dollar of reward. This was quite remarkably close to the range (0.181 –
   0.265 per U.S. dollar of reward) that we found among U.S. subjects.
            Finally, using the marginal utilities of a dollar reward and the part-worths for privacy
   protection, we estimate the value of protection, on a per-subject basis, for each of the three
   privacy concerns. Recall that we estimated the marginal utility of a US$1 reward to be 0.181 –
   0.265 among the U.S. subjects. By Table 2, the part-worth for review and editing of information
   was 2.968. Using the lower bound for the marginal utility (0.181 per dollar), the value of review
   and editing of information is 2.968/0.181 = US$16.40. Using the upper bound for the marginal
   utility (0.265 per dollar), the value is 2.968/0.265 = $11.20. We can use the same method to
   derive the values of protecting against improper access and unauthorized secondary use. The
   results are reported in Table 3. We also computed the values for the Singapore subjects using the
   marginal utility of 0.171 per U.S. dollar.
            Generally, our results in Table 3 suggest that websites might need to offer substantial
   monetary incentives to overcome individuals’ concerns about error, improper access, and
   unauthorized secondary use of information. Among U.S. subjects, protection against errors,
   improper access, and secondary use of personal information is worth US$30.49 – 44.62.


   5. Cluster Analysis


            To address our secondary set of research questions – whether individuals systematically
   differ in their trade-off between benefits of disclosing personal information and privacy
   concerns, we applied cluster analysis (Green and Krieger 1991; Vriens et al. 1996). This
   technique groups subjects into distinct segments according to the similarity of their estimated
   part-worths for the various dimensions. In the present case, we apply cluster analysis to segment
   the subjects according to their estimated part-worths over the various benefits and dimensions of
   privacy protection.10
            Specifically, we applied hierarchical cluster analysis using average between-group
   linkage with (dis)similarity measured by the squared Euclidean distance to both the U.S. and

   9
    Between the US$20 and US$5 rewards, the US$15 increase raised the ranking by 3.141, or 0.210 per dollar of reward, which is
   within the range of 0.181 – 0.265 calculated using the other reward differences.
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   Singapore samples.           The hierarchical method was preferred because we had no a priori
   information on the number of clusters and initial cluster seeds/centers (Hair et al. 1998, pp. 493 -
   498). We used a distance measure for (dis)similarity as all the part-worths (the inputs to the
   cluster analyses) were derived from a common scale, the website rankings.
            For each sample, we began the analysis with every subject constituting a separate cluster.
   We then examined the percentage drops in the similarity coefficient as clusters were
   progressively merged. In both the U.S. and Singapore samples, we stopped at three clusters as
   further combination of any two clusters resulted in a sharp drop in similarity, a stopping rule
   recommended by Hair et al. (1998, pp. 499). Table 4 reports the three clusters and the respective
   mean part-worths. A small number of subjects could not be classified into any of the three
   clusters. We excluded these observations from subsequent analysis and discussion.11
            Consistent across the two samples, the majority of the subjects formed a cluster that
   could be characterized by a high value on information privacy. Specifically, 72% of the U.S.
   subjects and 84% of the Singapore subjects exhibited relatively high part-worths for protection
   against error, improper access, and unauthorized secondary use of their personal information. By
   contrast, their part-worths on monetary reward and visit frequency/time savings were relatively
   low. We label this group of subjects as “privacy guardians” – people who attach a relatively
   high value to information privacy.
            The next largest cluster consisted of subjects who attached a relatively high value to
   monetary reward. We call them “information sellers”, as they tend to “sell” personal information
   with little regard for convenience (visit frequency/time savings) or website privacy policies.
            The smallest cluster comprised subjects who focused exclusively on convenience
   (operationalized by visit frequency/time savings).                         In fact, their part-worths for visit
   frequency/time savings were so high that their preferences over alternative websites could almost
   be predicted by visit frequency/time savings alone.                        We call these subjects “convenience
   seekers” – people who prefer convenience with little regard for money or website privacy
   policies.



   10
      In the case of monetary reward and visit frequency/time savings, we used the maximum part-worths – $20 monetary reward
   and daily frequency respectively.
   11
      Some of these outliers formed small (one- or two-member) clusters that we could not interpret. Several subjects exhibited
   unusual preferences such as preferring improper access to personal information. They possibly misunderstood the experimental
   tasks. The outliers constituted 7% and 10% of the U.S. and Singapore samples respectively.
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               Across the three clusters, we observe very different attitudes toward benefits and privacy.
   The privacy guardians prefer protection, but they still value monetary reward (the mean part-
   worth for monetary reward was significantly different from zero). Only the convenience seekers
   value convenience; for all other clusters, the part-worths for visit frequency/time savings were
   insignificant.12          Among the three privacy concerns, only unauthorized secondary use was
   significant in all three clusters.
               Based on opinion surveys, Westin (2001, pp. 16) characterized 12% of the U.S.
   population as being “privacy unconcerned”: “for 5 cents off, they will give you any information
   you want about their family, their lifestyle, their travel plans, and so forth”. Interestingly, we
   found that 12.5% of the U.S. sample were “information sellers”. However, our evidence is that
   information sellers demand a great deal more than “5 cents off.” Indeed, this point distinguishes
   our analysis from opinion surveys: we can estimate the dollar amount that information sellers
   must be paid for their information.
               Further, our analysis revealed a cluster that Westin (2001) did not identify. This cluster
   consisted of convenience seekers, people who would “sell” their personal information for
   convenience rather than money. Finally, among the remainder of the U.S. population, Westin
   (2001) differentiated between “privacy pragmatists” (63%) and “privacy fundamentalists” (25%)
   according to their sensitivities to privacy, while our cluster analysis did not find such a
   distinction. We did detect some evidence among the U.S. subjects that the privacy guardians
   could be further segmented, with each sub-segment placing relatively greater weight on one of
   the three privacy concerns.
               Having identified three clusters, we investigated whether cluster membership depended
   systematically on particular demographic variables.                            We first sought systematic differences
   between information sellers and privacy guardians. Among the U.S. subjects, we found that
   information sellers had significantly more prior experience of providing personal information to
   websites than privacy guardians (t = 3.115, p < 0.01). The information sellers’ greater prior
   experience was consistent with their relatively high part-worths for money. However, among the
   Singapore subjects, there was no significant difference between information sellers and privacy
   guardians in terms of prior experience of providing personal information to websites.



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        Interestingly, our finding that the subjects were sensitive to convenience seems to be due solely to the convenience seekers.
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            We next investigated systematic differences between convenience seekers and privacy
   guardians. Among the U.S. subjects, convenience seekers were much more accepting of cookies
   than privacy guardians (t = 4.282, p < 0.001). Specifically, the convenience seekers were less
   concerned about cookies, and they typically accepted all cookie manipulations from websites
   without warning. By contrast, the majority of the privacy guardians requested to be warned
   about cookies.         Many of them even configured their browsers to reject all cookies.                                   The
   convenience seekers’ greater acceptance of cookies was consistent with their relatively high part-
   worths for visit frequency/time savings.
            Among the Singapore subjects, the convenience seekers were also less concerned about
   the use of cookies than the privacy guardians (t = 6.954, p < 0.001). This result was consistent
   with the preferences of the U.S. sample.
            Overall, we found some evidence that information sellers had more prior experience of
   information provision than privacy guardians, and strong evidence that convenience seekers were
   more accepting of cookies than privacy guardians.


   6. Policy and Business Implications


            We now address the key public policy issue – whether the benefit of increased privacy
   regulation justifies the cost. In the United States, the national cost of complying with various
   legislative proposals to increase regulation of online privacy has been estimated to be US$9-36
   billion (Hahn 2001).
            Referring to Table 3, we estimate that, on average, each individual values protection
   against errors, improper access, and secondary use of personal information at between US$30.49
   – 44.62. In March 2001, an estimated 58 million Americans made a purchase over the Internet
   (Horrigan and Rainie 2002). Based on the number of purchasers, we estimate the benefit of
   privacy protection to be US$1.77 – 2.59 billion, which falls quite far short of Hahn’s (2001) cost
   estimates.13 This estimate is conservative, hence understates the value of privacy protection for
   several reasons. Stronger privacy legislation might raise consumer participation in Internet
   commerce, hence generating additional benefit. Further, our calculation assumes that each

   13
     If each person values privacy at US$30.49, then 58 million persons would value privacy at a total of 58 x 30.49 = US$1,768
   million or approximately US$ 1.77 billion. Similarly, if we use the higher estimate of the value of privacy (US$44.62), the value
   of privacy to the entire population is US$2.59 billion.
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   consumer provides information to just one website. To the extent that they provide information
   to multiple websites, the value of privacy protection would be greater.
          Our results also address another public-policy issue – the viability of proposals to
   regulate privacy through markets (Laudon 1996; Varian 1997). Given that individuals’ concern
   for privacy is not absolute, but rather can be traded off against benefits such as money and
   convenience, we conclude that market solutions may well be viable.
          As for business implications, we identified three distinct segments – privacy guardians,
   information sellers, and convenience seekers – in terms of individual trade-offs between the
   benefits of disclosing personal information and privacy concerns. The immediate implication is
   that e-commerce providers must differentiate their services to serve these distinct segments. Just
   as an auto manufacturer makes differentiated models for various segments, an e-commerce
   provider must differentiate its services to best meet the needs of segments with differing trade-
   offs among money, convenience, and privacy concerns.
          Convenience seekers will be the first to register with a website if it simplifies web site
   navigation or enables personalized content. Businesses can exploit this by offering them the
   opportunity to provide personal information to customize the web site and simplify the shopping
   experience.
          Information sellers are distinguished from privacy guardians by prior experience of
   information provision. This customer type cannot be lured to provide personal information by
   offering them convenience. To the extent that businesses cannot observe a consumer’s prior
   experience, they must use indirect methods to induce segmentation by self-selection (Bhargava
   and Choudhary 2002; Moorthy 1984; Png 2002, Chapter 9). Businesses could use monetary
   rewards to attract information sellers to provide personal information. Preferably, businesses
   would seek convenience seekers first before enticing information sellers.
          By elimination, the consumers who do not respond to either monetary reward or
   convenience would be privacy guardians. Businesses would need to use other strategies, such as
   privacy seals (Benassi 1999) or procedural fairness (Culnan and Armstrong 1999), to persuade
   these consumers to provide their personal information.
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   7. Concluding Remarks


          By applying conjoint analysis, we have shown that individuals’ preferences over
   disclosing personal information to websites do systematically vary with monetary reward and
   convenience. Further, we provided the first analysis of the benefit vis-à-vis cost of increased
   privacy regulation in the United States. In addition, we identified three distinct segments in
   terms of individual trade-off between the benefits of disclosing personal information and privacy
   concerns – privacy guardians, information sellers, and convenience seekers. Finally, we made
   some headway in characterizing these segments.
          Our findings are subject to a number of limitations which are common to many
   experimental settings. All of our subjects were undergraduate students. They would be younger
   and probably be more familiar with the Internet and e-commerce than the general consumer
   population.   Further, they may have had relatively little experience of medical problems,
   relatively little travel experience, and had too little wealth to be familiar with investment
   opportunities and risks. This might explain why we found no systematic industry differences in
   subjects’ preferences.14 For all these reasons, it would be important to verify our findings with a
   more representative sample of subjects.
          We tested our hypotheses using experimental data collected from Singapore and U.S.
   subjects, which include students from diverse countries and cultures. Although our results are
   remarkably consistent across the two samples, future work could explore the possible influences
   of cultural values on individuals' preferences for privacy and positive reinforcements.
   Previously, using Hofstede's (1991) cross-cultural value indices, Milberg et al. (2000) find that
   privacy concern is positively related to power distance, individualism and masculinity, and
   negatively related to uncertainly avoidance. We do not have a priori information or checking on
   the cultural values of our subjects. Therefore, it is infeasible for us to interpret our results in
   light of cultural differences. It would be interesting for future research to extend our findings
   and introduce cultural factors when studying decisions involving privacy trade-offs.
          Further, the reported part-worths are sensitive to the specified attribute levels. For
   example, our conjoint stimuli specified only two levels of each privacy concern – no protection
   and protection. In reality, however, businesses have more flexibility. For example, they may
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   state that personal information is currently not used for secondary purposes, but that such a
   practice cannot be ruled out in the future. Similarly, rewards may range from cash or vouchers
   to lottery drawings. Different reward structures may imply different estimates for the marginal
   utility of a one-dollar reward. Future research may attempt to measure the impact of privacy
   policies and reward structures more directly.15




   14
      By contrast, Westin (2001) reported that Americans were particularly sensitive to privacy over financial and health
   information.
   15
      However, this may require a willingness of the businesses to share the kind of data that they have promised not to share for
   secondary use.
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                                Table 1: Descriptive Statistics
                                                       U.S.               Singapore
    Number of subjects                                 84                 184
    Percentage of females                              42%                44%
    Average age                                        24                 23.1
    Average Internet experience (years)                6.8                5.9
    Percentage of subjects having online purchase
                                                       95%                61%
    experience
                                                       U.S. (48), India
                                                                          Singapore (145),
                                                       (13),
                                                                          Malaysia (12), 9 other
    Subjects’ country of origin (number of subjects)   10 other
                                                                          countries (each less
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                          Table 2. Part-Worths and Relative Importance
                                                U.S.                             Singapore
                                                                 Relative               Relative
       Instruments            Level             Part-Worth+                 Part-Worth+
                                                                 Importance             Importance
                              $5#    0                                      0
                                     1.327***                               0.232
       Monetary       $10#
                                     (0.341)                     26.24%     (0.165)     11.69%
       Reward
                                     3.141***                               1.388 ***
                      $20#
                                     (0.534)                                (0.281)
                      Monthly        0                                      0
       Visit                         0.568**                                0.432***
                      Weekly
       Frequency/Time                (0.260)                     6.13%      (0.153)     6.02%
       Savings                       0.734*                                 0.715 ***
                      Daily
                                     (0.411)                                (0.254)
                      No Review 0                                           0
       Error                         2.968***                    24.80%     1.787***    15.06%
                      Review
                                     (0.355)                                (0.194)
                      No restriction 0                                      0
       Improper
                                     3.007***                    25.12%     3.374***    28.43%
       Access         Restriction
                                     (0.529)                                (0.349)
                      Allowed        0                                      0
       Unauthorized
                                     2.118***                    17.70%     4.605***    38.80%
       Secondary Use Not allowed
                                     (0.324)                                (0.297)
   +
     Standard errors in parentheses. The control stimulus consisted of the lowest levels of each of the included
   dimensions. Because the control was represented by a least squares intercept, we label all lowest level part-worths
   as zero. The mean intercept is not reported for brevity.
   #
     US dollars for U.S. subjects and Singapore dollars for Singapore subjects.
   ***
       significant at 1% level;** significant at 5% level;* significant at 10% level.



                              Table 3: Value of Privacy (in U.S. dollars)

                       Website privacy policy                     Value
                                                                  U.S.           Singapore
                       Review for error                           $11.18 - 16.36 $10.45
                       Restriction against improper               $11.33 - 16.58 $19.73
                       access
                       Secondary use not allowed                  $ 7.98 - 11.68      $26.93
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                                                  Table 4: Clusters
                                    Average part-worth
                                                Visit
  Segment                                                                              Unauthorized
                                    Monetary Frequency/                                             Improper
  (no. of observations)                                 Error                          Secondary
                                    reward      Time                                                Access
                                                                                       Use
                                                Savings
            Privacy
                             1.637***      0.027                       4.040***        2.576***    5.116***
            guardians
                             (0.385)       (0.316)                     (0.434)         (0.448)     (0.519)
            (56)
            Information
  U.S.                       10.865*** -0.781                          0.245           1.255**     -0.099
            sellers
  (78) +                     (0.330)       (0.753)                     (0.458)         (0.483)     (0.462)
            (16)
            Convenience
                             1.445         11.028***                   1.500**         0.750*      0.542
            seekers
                             (0.781)       (0.613)                     (0.348)         (0.371)     (0.945)
            (6)
  Number of outliers/unclassifiable observations: 6
            Privacy
                             0.464**       0.089                       2.234***        5.734***    4.973***
            guardians
                             (0.195)       (0.166)                     (0.183)         (0.318)     (0.314)
            (138)
            Information
  Singapore                  11.286*** -0.714                          0.107           1.768***    0.446
            sellers
  (165) +                    (0.360)       (0.855)                     (0.263)         (0.434)     (0.470)
            (14)
            Convenience
                             1.127         10.512***                   0.404           1.077**     0.173
            seekers
                             (0.862)       (0.682)                     (0.372)         (0.484)     (0.382)
            (13)
  Number of outliers/unclassifiable observations: 19
   +
    Number excluding outliers.
   ***
      significant at 1% level;** significant at 5% level;* significant at 10% level.
   Standard errors in parentheses.



   Figure 1: Part-Worths for Monetary Reward
         Part-worth                                U.S. sample
                                                   Singapore sample




                                                                   U.S.$
                                                                   Reward
                      5           10                       20
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     t[ZvwuÿeTRTÿgmWUgWRgÿW_ÿVfTÿo^]]XÿPlVfWRTiÿocÿZP]^_WRU^PÿOVPVTÿOTUPVWRÿvT]PUiÿxTTp
     yVÿfPiÿglmmWRVÿ_RWSÿ`WWh]TXÿqTQfzTVÿPUiÿVfTÿZWUglSTRÿsTiTRPV^WUÿW_ÿZP]^_WRU^PX
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